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       IN THE UNITED STATES COURT OF APPEALS
               FOR THE FIFTH CIRCUIT

ELECTRONIC SECURITY ASSOCIATION,
INTERACTIVE ADVERTISING BUREAU,
and NCTA – THE INTERNET &
TELEVISION ASSOCIATION,

                              Petitioners,      Case No. 24-____

               v.

FEDERAL TRADE COMMISSION,
                                                          Oct. 22, 2024
                             Respondent.

                     PETITION FOR REVIEW




Allyson N. Ho                        Helgi C. Walker
Brad G. Hubbard                      Lucas C. Townsend
Brian A. Richman                     Michael P. Corcoran
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                                      Counsel for Petitioners
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            CERTIFICATE OF INTERESTED PERSONS

     The undersigned counsel of record certifies that the following listed

persons and entities as described in the fourth sentence of Fifth Circuit

Rule 28.2.1 have an interest in the outcome of this case. These

representations are made in order that the judges of this Court may

evaluate possible disqualification or recusal.

     Further, pursuant to Federal Rule of Appellate Procedure 26.1, the

undersigned counsel of record certifies that there are no corporations that

are either parents of any petitioner or that own stock in the petitioners.

  A. Petitioners

  1. Electronic Security Association
  2. Interactive Advertising Bureau
  3. NCTA – The Internet & Television Association

  B. Attorneys for Petitioners

     Helgi C. Walker
     Lucas C. Townsend
     Michael P. Corcoran
     Lael Weinberger
     Andrew Ebrahem
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     1700 M Street, N.W.
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    Allyson N. Ho
    Brad G. Hubbard
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 C. Respondent

    Federal Trade Commission

 D. Attorneys for Respondent

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    General Counsel
    Federal Trade Commission
    600 Pennsylvania Avenue, N.W.
    Washington, D.C. 20580


Dated: October 22, 2024                    Respectfully submitted,

                                           /s/ Helgi C. Walker
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Brad G. Hubbard                            Lucas C. Townsend
Brian A. Richman                           Michael P. Corcoran
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                       PETITION FOR REVIEW

     Pursuant to 5 U.S.C. §§ 702–704, 706, 15 U.S.C. § 57a(e), and

Federal Rule of Appellate Procedure 15(a), the Electronic Security

Association, Interactive Advertising Bureau, and NCTA – The Internet

& Television Association petition this Court for review of the order

issuing the Final Rule of the Federal Trade Commission in Negative

Option Rule, RIN 3084-AB60 (“Final Rule”), issued on October 16,

2024. A copy of the Final Rule is attached as Exhibit A.

     Venue is proper in this Circuit under 15 U.S.C. § 57a(e)(1)(A)

because petitioner Electronic Security Association’s principal offices are

located in Dallas, Texas.

     The Final Rule is an attempt to regulate consumer contracts for all

companies in all industries and across all sectors of the economy in which

the customer purchases a service or subscription that will continue

unless the customer exercises the option to cancel. The Final Rule calls

these “negative option” contracts—estimated as covering over a billion

paid subscriptions in the United States, Final Rule at 175—and deems

them all to be deceptive unless they comply with onerous new regulatory

obligations   regarding     disclosures,      how    those     disclosures    are



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communicated, a “separate” consent requirement, regulations of truthful

company     representative      communications         with    customers,      and

prescriptive mandates for service cancellation, among others.

     Petitioners seek review of the order issuing the Final Rule on the

grounds that it is arbitrary, capricious, and an abuse of discretion within

the meaning of the Administrative Procedure Act, 5 U.S.C. § 701, et seq.;

unsupported by substantial evidence, 15 U.S.C. § 57a(e)(3)(A); based on

determinations that “precluded disclosure of disputed material facts

which w[ere] necessary for fair determination . . . of the rulemaking

proceeding taken as a whole,” id. § 57a(e)(3)(B); and in excess of the

Commission’s statutory authority, in violation of the U.S. Constitution,

and otherwise contrary to law, see 15 U.S.C. § 57a(e)(3); 5 U.S.C.

§ 706. Petitioners respectfully request that this Court hold unlawful,

vacate, enjoin, and set aside the Final Rule and provide such additional

relief as may be appropriate.




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October 22, 2024                          Respectfully submitted,

                                          /s/_Helgi C. Walker____________
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                                      3
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         CERTIFICATE OF ELECTRONIC SUBMISSION

     I hereby certify that: (1) any required privacy redactions have been

made; (2) the electronic submission of this document is an exact copy of

any corresponding paper document; and (3) the document has been

scanned for viruses with the most recent version of a commercial virus-

scanning program and is free from viruses.

                                  /s/ Helgi C. Walker
                                  Helgi C. Walker
October 22, 2024
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                        CERTIFICATE OF SERVICE

     I hereby certify that on October 22, 2024, I caused the foregoing

Petition for Review to be electronically filed with the United States Court

of Appeals for the Fifth Circuit by using the Court’s CM/ECF system.

     I further certify that I will cause a true and correct copy of the

foregoing Petition for Review, having been stamped by the Court with the

date of filing, to be served upon the Secretary of the Federal Trade

Commission via hand delivery at the following address. Such copy is

being submitted to the Federal Trade Commission pursuant to 28 U.S.C.

§ 2112 by the persons who filed the Petition for Review in the United

States Court of Appeals for the Fifth Circuit.

     Office of the Secretary
     Federal Trade Commission
     600 Pennsylvania Avenue, NW
     Suite CC-5610
     Washington, DC 20580

     I further certify that on October 22, 2024, I will cause one copy of

the foregoing Petition for Review to be mailed to the Clerk of Court for

the United States Court of Appeals for the Fifth Circuit via UPS Next

Day Delivery. There are no parties “admitted to participate in the agency

proceedings” for purposes of Federal Rule of Appellate Procedure 15(c)(1)

other than the respondent.
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October 22, 2024                      Respectfully submitted,

                                      /s/_Helgi C. Walker____________
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                                      Counsel for Petitioners
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                     Exhibit A
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                                                                          Billing Code: 6750-01-P

FEDERAL TRADE COMMISSION

16 CFR Part 425

RIN 3084-AB60

Negative Option Rule

AGENCY: Federal Trade Commission

ACTION: Final Rule.

SUMMARY: The Federal Trade Commission (“FTC” or “Commission”) issues final

amendments to the Commission’s trade regulation “Rule Concerning Use of Prenotification

Negative Option Plans,” retitled the “Rule Concerning Recurring Subscriptions and Other

Negative Option Programs” (“Rule,” “final Rule” or “Negative Option Rule”). The final Rule

now applies to all negative option programs in any media, and, among other things, (1) prohibits

misrepresentations of any material fact made while marketing using negative option features;

(2) requires sellers to provide important information prior to obtaining consumers’ billing

information and charging consumers; (3) requires sellers to obtain consumers’ unambiguously

affirmative consent to the negative option feature prior to charging them; and (4) requires sellers

to provide consumers with simple cancellation mechanisms to immediately halt all recurring

charges. This document also contains the text of the final Rule, the Rule’s Statement of Basis and

Purpose (“SBP”), and a final regulatory analysis.

DATES: The amendments are effective [INSERT DATE 60 DAYS AFTER DATE OF

PUBLICATION IN FEDERAL REGISTER], except that §§ 425.4 through 425.6 are effective

[INSERT DATE 180 DAYS AFTER DATE OF PUBLICATION IN THE FEDERAL

REGISTER].



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ADDRESSES: Relevant portions of the record of this proceeding, including this document, are

available at https://www.ftc.gov.

FOR FURTHER INFORMATION CONTACT: Katherine Johnson, Attorney, (202) 326-

2185, kjohnson3@ftc.gov, Division of Enforcement, Bureau of Consumer Protection, Federal

Trade Commission, 600 Pennsylvania Ave. NW, Washington, DC 20580.

SUPPLEMENTARY INFORMATION:

I.     OVERVIEW

       The Commission commenced this proceeding because it had reason to believe unfair and

deceptive negative option practices are widespread in the marketplace. Negative option programs

can provide substantial benefits for sellers and consumers. However, consumers cannot realize

these benefits when sellers make material misrepresentations to induce consumers to enroll in

such programs, fail to provide important information, bill consumers without their consent, or

make cancellation difficult or impossible. Unfair and deceptive negative option practices have

been a persistent source of consumer harm for decades, saddling shoppers with recurring

payments for products and services they never intended to purchase nor wanted to continue

buying. In the past, the Commission sought to address these practices through individual law

enforcement actions and a patchwork of laws and regulations. Nevertheless, problems persist, as

demonstrated by both a steady stream of state and federal law enforcement actions and thousands

of consumer complaints each year. To address these practices, the Commission proposed

amending the current Negative Option Rule to establish clear, enforceable performance-based

requirements for all negative option features in all media. The Commission solicited comments

first in an advance notice of proposed rulemaking (“ANPR”) and then on proposed amendments

in a notice of proposed rulemaking (“NPRM”). The Commission designed these amendments to



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ensure consumers understand what they are purchasing and allow them to cancel their

participation without undue burden.

       The Commission now promulgates a final Rule. Pursuant to 15 U.S.C. 57a(a)(1)(B), the

Rule, inter alia, defines the following acts and practices as unfair or deceptive within the

meaning of Section 5 of the FTC Act:

           •   to misrepresent any material fact made while marketing using a negative option

               feature (§ 425.3);

           •   to fail to clearly and conspicuously disclose material terms prior to obtaining a

               consumer’s billing information in connection with a negative option feature

               (§ 425.4);

           •   to fail to obtain a consumer’s express informed consent to the negative option

               feature before charging the consumer (§ 425.5); and

           •   to fail to provide a simple mechanism to cancel the negative option feature and

               immediately halt charges (§ 425.6).

Further, the Rule, consistent with the final sentence of 15 U.S.C. 57a(a)(1)(B) includes

requirements prescribed for the purpose of preventing such acts or practices.

       The final Rule differs from the proposed Rule in two significant ways. First, the proposed

Rule would have required sellers to provide annual reminders to consumers of the negative

option feature. Second, the proposed Rule would have prohibited sellers from forcing consumers

to receive saves 1 without first obtaining consumers’ unambiguously affirmative consent. The
                0F




1
  Save was defined in the proposed Rule to mean an attempt by a seller to present any additional
offers, modifications to the existing agreement, reasons to retain the existing offer, or similar
information when a consumer attempts to cancel a negative option feature. Proposed Rule
§ 425.2(f).

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Commission has considered comments both supporting and opposing these proposed provisions.

As explained in the Section-by-Section analysis, the Commission declines to adopt these

provisions of the proposed Rule at this time. Instead, the Commission plans to seek further

comment through a supplemental NPRM (“SNPRM”), and therefore, keeps the record open on

these issues. 2
             1F




        Finally, in response to the comments, the Commission adds two definitions and two

provisions to the final Rule for clarity. The final Rule explicitly defines the terms “material” and

“interactive electronic medium” consistent with how they were defined and discussed in the

NPRM. Additionally, the final Rule includes a severability provision and a provision allowing

requests for exemptions from the final Rule consistent with the Commission’s Rules of Practice. 3  2F




II.     BACKGROUND

        A.        Statutory Authority

        The Commission promulgates the final Negative Option Rule, 16 CFR part 425 pursuant

to Section 18 of the FTC Act, 15 U.S.C. 57a, the Administrative Procedure Act (“APA”), 5

U.S.C. 533; and part 1, subpart B of the Commission’s Rules of Practice, 16 CFR 1.7-1.20.

Section 18 permits the Commission to promulgate, amend, and repeal trade regulation rules that

define with specificity acts or practices that are unfair or deceptive within the meaning of Section

5(a)(1) of the FTC Act, 15 U.S.C. 45(a)(1); and allows the Commission to prescribe

requirements for the purpose of preventing these unfair or deceptive acts and practices.




2
  See 16 CFR 1.11 (“Commission’s Rules of Practice” or “Commission Rules”); cf.
Impersonation Rule, 89 FR 15072 (Feb. 29, 2024).
3
  See 16 CFR 1.16.

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        B.      Negative Option Marketing

                1.      Negative Option Programs

        Negative option programs come in a variety of forms, but all share a central feature: each

contain a term or condition that allows a seller to interpret a customer’s silence, or failure to take

an affirmative action, as acceptance of an offer. 4 Negative option programs generally fall into
                                                  3F




four categories: prenotification plans, continuity plans, automatic renewals, and free trial (i.e.,

free-to-pay or nominal-fee-to-pay) conversion offers.

        Prenotification plans are the only negative option practice currently covered by the

Commission’s current Negative Option Rule, originally promulgated in 1973. Under such plans

(e.g., book-of-the-month clubs), sellers provide periodic notices offering goods to participating

consumers and then send—and charge for—those goods only if the consumers take no action to

decline the offer. The periodic announcements and shipments can continue indefinitely. In

continuity plans, consumers agree in advance to receive periodic shipments of goods or provision

of services (e.g., bottled water delivery), which they continue to receive until they cancel the

agreement. In automatic renewals, sellers (e.g., a magazine publisher, credit monitoring service

provider, etc.) automatically renew consumers’ subscriptions when they expire, unless

consumers affirmatively cancel the subscriptions. Finally, in free-to-pay plans, consumers

receive goods or services for free (or at a nominal fee) for a trial period. After the trial period,

sellers automatically begin charging a fee (or higher fee) unless consumers affirmatively cancel

or return the goods or services.




4
  The Commission’s Telemarking Sales Rule defines a negative option feature as a provision in
an offer or agreement to sell or provide any goods or services “under which the customer’s
silence or failure to take an affirmative action to reject goods or services or to cancel the
agreement is interpreted by the seller as acceptance of the offer.” 16 CFR 310.2(w).

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          Some negative option offers include upsell or bundled offers, where sellers use

consumers’ billing data to sell additional products from the same seller or pass consumers’

billing data to a third party for their sales. An upsell occurs, e.g., when a consumer completes a

first transaction and then receives a second solicitation for an additional product or service. A

bundled offer occurs, e.g., when a seller packages two or more products or services together.

          Importantly, negative option programs are distinct from other continuing agreements

such as installment contracts. In an installment contract, consumers are obligated for the entire

contractual period for the entire contract. A prime example of this type of transaction is a

contract for purchasing a vehicle, which outlines terms, such as price, interest rate, and payment

schedule. The contract thus allows the consumer to pay the purchase price of the vehicle over

time. Consumers’ failure to pay amounts due under an installment agreement may bring the total

balance due, and may trigger halting performance, or provide the seller with other contractual

rights.

          A negative option, in contrast, merely determines whether a seller may continue to send,

and charge for, goods or provide services without the consumer’s further action. Notably, a

contract could have both installment and negative option features. Take, for instance, a software

license agreement. A consumer may purchase a software license for a year, in which the

consumer is obligated for the entire year, payable monthly, to renew automatically at the

conclusion of the year unless the consumer cancels the agreement. 5 Canceling the agreement
                                                                     4F




during the first year does not void a consumer’s obligation to pay for the whole first year, but it

does terminate the consumer’s responsibility for the next year.




5
    See, e.g., United States v. Adobe, Inc., No. 5:24-cv-03630 (N.D. Cal. 2024).

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                2.      Prevalence of Deceptive or Unfair Negative Option Acts and Practices

        Negative option programs are widespread in the marketplace and can provide substantial

benefits for sellers and consumers. For businesses, the benefits of negative option marketing

include “greater revenue predictability, customer base continuity, and the ability to better plan in

advance.” 6 For consumers, such benefits may include opportunities to explore new products
          5F




prior to purchase (e.g., free trials), 7 broader selections at lower prices and transaction costs, 8 and
                                    6F                                                            7F




the convenience of uninterrupted products or services. 9 However, consumers cannot reap these
                                                          8F




benefits when marketers misrepresent material facts, fail to make adequate disclosures, bill

consumers without their consent, or make cancellation difficult or impossible. Over the years,

such problematic practices have remained a persistent source of consumer harm, saddling

consumers with recurring payments for products and services they never intended to purchase

nor wanted to continue buying.

        The Commission tried to address these practices through individual law enforcement

cases and a patchwork of regulations (see discussion at Sections III-IV). Nevertheless, problems

persist, as demonstrated in part by the tens of thousands of complaints consumers submit about

these practices to the FTC each year. Moreover, the Commission and states continue to regularly


6
  News/Media Alliance (“N/MA”), FTC-2023-0033-0873; see also Association of National
Advertisers (“ANA”), FTC-2023-0033-1001; National Retail Federation (“NRF”), FTC-2023-
0033-1005. Citations herein to comments are cited as the name of commenter and unique
identifier (e.g., FTC-2023-0033-____). Comments are available online at regulations.gov,
Negative Option Rule (NPRM), FTC-2023-0033-0001,
https://www.regulations.gov/document/FTC-2023-0033-0001.
7
  N/MA, FTC-2023-0033-0873; Sirius XM Radio Inc. (“Sirius XM”), FTC-2023-0033-0857;
NCTA-The Internet & Television Association (“NCTA”), FTC-2023-0033-0858; Interactive
Advertising Bureau (“IAB”), FTC-2023-0033-1000.
8
  See IAB, FTC-2023-0033-1000; Sirius XM, FTC-2023-0033-0857; Joint Comment from
Entertainment Software Association, Digital Media Association, and Motion Picture Association
(“ESA”), FTC-2023-0033-0867.
9
  N/MA, FTC 2023-0033-0873; NRF, FTC-2023-0033-1005; ANA, FTC-2023-0033-1001.

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bring cases challenging harmful negative option practices, including more than 35 recent FTC

cases. 10 These matters involved a range of deceptive or unfair practices, including inadequate
       9F




disclosures for “free” offers and other products or services, enrollment without consumer

consent, and inadequate or overly burdensome cancellation and refund procedures. 11 As1 0F




discussed further below, the continuing stream of cases; the high volume of ongoing complaints;

and comments on the record all demonstrate prevalent unfair and deceptive practices and

unabated consumer harm.

III.        THE FTC’S EXISTING REGULATORY SCHEME

            A.     The FTC’s Current Negative Option Rule

            The Commission first promulgated the Rule in 1973 pursuant to the FTC Act, 15 U.S.C.

41 et seq., finding some negative option marketers committed unfair and deceptive practices that

violated Section 5 of the Act, 15 U.S.C. 45. Based on practices at the time, however, the Rule

only applied to prenotification plans for the sale of goods, and therefore, does not reach the vast

majority of modern negative option programs. 12 1 1F




10
   See, e.g., FTC v. FloatMe Corp., No. 5:24-cv-00001 (W.D. Tex. 2024); United States v.
Adobe, Inc., No. 5:24-cv-03630 (N.D. Cal. 2024); FTC v. WealthPress, Inc., No. 3:23-cv-00046
(M.D. Fla. 2023); FTC v. Bridge It, Inc., No. 1:23-cv-09651 (S.D.N.Y. 2023); FTC v.
Amazon.com, Inc., No. 2:23-cv-0932 (W.D. Wash. 2023); see also n.60.
11
   E.g., FTC v. Triangle Media Corp., No. 3:18-cv-01388 (S.D. Cal. 2018); FTC v. Credit
Bureau Ctr., LLC, No. 1:17-cv-00194 (N.D. Ill. 2017); FTC v. JDI Dating, Ltd., No. 1:14-cv-
08400 (N.D. Ill. 2014); FTC v. One Techs., LP, No. 3:14-cv-05066 (N.D. Cal. 2014); FTC v.
Health Formulas, LLC, No. 2:14-cv-01649 (D. Nev. 2014); FTC v. NutraClick, LLC, No. 2:16-
cv-06819 (C.D. Cal. 2016); FTC v. XXL Impressions, LLC, No. 1:17-cv-00067 (D. Me. 2017);
FTC v. AAFE Prods. Corp., No. 3:17-cv-00575 (S.D. Cal. 2017); FTC v. Pact, Inc., No. 2:17-cv-
1429 (W.D. Wash. 2017); FTC v. Tarr, No. 3:17-cv-02024 (S.D. Cal. 2017); FTC v. AdoreMe,
Inc., No. 1:17-cv-09083 (S.D.N.Y. 2017); FTC v. DOTAuthority.com, Inc., No. 0:16-cv-62186
(S.D. Fla. 2016); FTC v. BunZai Media Grp., Inc., No. 2:15-cv-04527 (C.D. Cal. 2015); FTC v.
RevMountain, LLC, No. 2:17-cv-02000 (D. Nev. 2017).
12
   The Rule defines “negative option plan” narrowly to apply only to prenotification plans. 16
CFR 425.1(c)(1). In 1998, the Commission clarified the Rule’s application to such plans in all


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        Specifically, the Rule required prenotification plan sellers to disclose their plans’ material

terms clearly and conspicuously before consumers subscribe. To do so, it required sellers to

disclose seven material terms: (1) how subscribers must notify the seller if they do not wish to

purchase the selection; (2) any minimum purchase obligations; (3) the subscribers’ right to

cancel; (4) whether billing charges include postage and handling; (5) that subscribers have at

least ten days to reject a selection; (6) that if any subscriber is not given ten days to reject a

selection, the seller will credit the return of the selection and postage to return the selection,

along with shipping and handling; and (7) the frequency with which announcements and forms

will be sent. 13 In addition, sellers had to disclose the specific periods during which they would
             12F




send introductory merchandise, give consumers a specified period to respond to announcements,

provide instructions for rejecting merchandise in announcements, and promptly honor written

cancellation requests. 14
                        13F




        B.         Other Current Regulatory Requirements

        Several other statutes and regulations also address harmful negative option practices.

First, Section 5 of the FTC Act has served as the Commission’s primary mechanism for

addressing deceptive negative option claims. Additionally, the Restore Online Shoppers’

Confidence Act (“ROSCA”), 15 U.S.C. 8401-8405, the Telemarketing Sales Rule (“TSR”), 16

CFR part 310, the Postal Reorganization Act (i.e., the Unordered Merchandise Statute), 39

U.S.C. 3009, and the Electronic Fund Transfer Act (“EFTA”), 15 U.S.C. 1693-1693r, all address




media, stating that it “covers all promotional materials that contain a means for consumers to
subscribe to prenotification negative option plans, including those that are disseminated through
newer technologies.” 63 FR 44555, 44561 (Aug. 20, 1998).
13
   16 CFR 425.1(a)(1)(i)-(vii).
14
   16 CFR 425.1(a)(2) and (3); id. 425.1(b).

                                                   9
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various aspects of negative option marketing. ROSCA, however, is the only law primarily

designed to do so, but only for online transactions.

               1.      Section 5 of the FTC Act

       Section 5(a) of the FTC Act, 15 U.S.C. 45(a), is the core consumer protection statute

enforced by the Commission. That statute broadly prohibits “unfair or deceptive acts or

practices” but does not specifically address negative option marketing. 15 Therefore, in guidance
                                                                           1 4F




and cases, the FTC has highlighted six basic requirements negative option marketing must follow

to avoid deceptive and unfair practices. 16 First, marketers must disclose the material terms of a
                                         15 F




negative option offer including, at a minimum: the existence of the negative option offer; the

offer’s total cost; the transfer of a consumer’s billing information to a third party, if applicable;




15
   Under the FTC Act, “unfair or deceptive acts or practices” include acts or practices involving
foreign commerce that cause or are likely to cause reasonably foreseeable injury within the
United States or involve material conduct occurring within the United States. 15 U.S.C.
45(a)(4)(A). Section 5(n) of the FTC Act provides that “unfair” practices are those that cause or
are likely to cause substantial injury to consumers which is not reasonably avoidable by
consumers themselves and not outweighed by countervailing benefits to consumers or to
competition. 15 U.S.C. 45(n).
16
   See Negative Options: A Report by the Staff of the FTC’s Division of Enforcement, 26-29 (Jan.
2009) (“Staff Report”), https://www.ftc.gov/reports/negative-options-federal-trade-commission-
workshop-analyzing-negative-option-marketing-report-staff. In discussing the principal Section
5 requirements related to negative options, the report cites the following pre-ROSCA cases, FTC
v. JAB Ventures, LLC, No. 2:08-cv-04648 (C.D. Cal. 2008); FTC v. Complete Weightloss Ctr.,
No. 1:08-cv-00053 (D.N.D. 2008); FTC v. Berkeley Premium Nutraceuticals, No. 1:06-cv-00051
(S.D. Ohio 2006); FTC v. Think All Publ’g, LLC, No. 4:07-cv-00011 (E.D. Tex. 2006); FTC v.
HispaNexo, Inc., No. 1:06-cv-424 (E.D. Va. 2006); FTC v. Consumerinfo.com, No. 8:05-cv-
00801 (C.D. Cal. 2005); FTC v. Conversion Mktg., No. 8:04-cv-01264 (C.D. Cal. 2004); United
States v. Mantra Films, Inc., No. 2:03-cv-9184 (C.D. Cal. 2003); FTC v. Preferred Alliance, Inc.,
No. 1:03-cv-0405 (N.D. Ga. 2003); United States v. Prochnow, No. 1:02-cv-917 (N.D. Ga.
2002); FTC v. Ultralife Fitness, Inc., No. 2:08-cv-07655 (C.D. Cal. 2008); In re America Isuzu
Motors, FTC Docket No. C-3712 (1996); FTC v. Universal Premium Servs., No. 2:06-cv-00849
(C.D. Cal. 2006); FTC v. Remote Response Corp., No. 1:06-cv-20168 (S.D. Fla. 2006). The
report also cited the FTC’s previously issued guidance, Dot Com Disclosures (2002), archived at
https://www.ftc.gov/sites/default/files/attachments/press-releases/ftc-staff-issues-guidelines-
internet-advertising/0005dotcomstaffreport.pdf. See also nn.244-251.

                                                  10
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and how to cancel the offer. Second, Section 5 requires these disclosures to be clear and

conspicuous. Third, sellers must disclose the material terms of the negative option offer before

consumers agree to the purchase. Fourth, marketers must obtain consumers’ consent to such

offers. Fifth, marketers must not impede the effective operation of promised cancellation

procedures and must honor cancellation requests that comply with those procedures. Finally,

marketers cannot make any material misrepresentation regarding any portion of the transaction.

            In addition to these deception-based requirements, the Commission has repeatedly stated

billing consumers without consumers’ express informed consent is an unfair act under the FTC

Act. 17
     1 6F




                        2.   ROSCA

            Enacted by Congress in 2010 to address, in part, ongoing problems with online negative

option marketing, ROSCA contains general provisions related to disclosures, consent, and

cancellation. 18 Specifically, ROSCA prohibits charging or attempting to charge consumers for
                 17 F




goods or services sold on the Internet through any negative option feature unless the marketer:

(1) clearly and conspicuously discloses all material terms of the transaction before obtaining the

consumer’s billing information, regardless of whether a material term directly relates to the terms

of the negative option offer; 19 (2) obtains a consumer’s express informed consent before
                                1 8F




charging the consumer’s account; and (3) provides simple mechanisms for the consumer to stop




17
   Courts have found unauthorized billing to be unfair under the FTC Act. See, e.g., FTC. v.
Neovi, Inc., 604 F.3d 1150, 1157-59 (9th Cir. 2010), amended by 2010 WL 2365956 (9th Cir.
June 15, 2010); FTC v. Amazon.com, Inc., No. 2:14-cv-1038, 2016 WL 10654030, at *8 (W.D.
Wash. Apr. 26, 2016); FTC v. Ideal Fin. Sols., Inc., No. 2:13-cv-00143, 2015 WL 4032103, at *8
(D. Nev. June 30, 2015).
18
   15 U.S.C. 8401-8405.
19
   ROSCA, 15 U.S.C. 8403(1); see also In re MoviePass, Inc., FTC Docket No. C-4751 (2021).

                                                       11
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recurring charges. 20 ROSCA, however, does not prescribe specific steps marketers must follow
                          19F




to comply with these provisions and is limited to online transactions.

       Furthermore, pursuant to the statute, a violation of ROSCA is treated as a violation of a

Commission trade regulation rule under Section 18 of the FTC Act. 21 Thus, the Commission
                                                                         2 0F




may seek a variety of remedies for violations of ROSCA, including civil penalties under

Section 5(m)(1)(A) of the FTC Act; 22 injunctive relief under Section 13(b) of the FTC Act; 23
                                           21 F                                                22 F




and consumer redress, damages, and other relief under Section 19 of the FTC Act. 24   23 F




                     3.         Telemarketing Sales Rule

       The TSR prohibits deceptive telemarketing acts or practices, including those involving

negative option offers, and certain types of payment methods common in deceptive negative

option marketing. Specifically, the TSR requires telemarketers to disclose all material terms and

conditions of the negative option feature, including the need for affirmative consumer action to

avoid the charges, the date (or dates) the charges will be submitted for payment, and the specific

steps the customer must take to avoid the charges. It also prohibits telemarketers from

misrepresenting such information and contains specific requirements related to payment

authorization. 25 The TSR, however, only applies to negative option offers made over the
              2 4F




telephone.




20
   15 U.S.C. 8403. ROSCA incorporates the definition of “negative option feature” from the
TSR, 16 CFR 310.2(w).
21
   15 U.S.C. 8404 (citing Section 18 of the FTC Act, 15 U.S.C. 57a).
22
   15 U.S.C. 45(m)(1)(A).
23
   15 U.S.C. 53(b).
24
   15 U.S.C. 57b(a)(1), (b).
25
   16 CFR 310.3(a).

                                                      12
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                     4.   Other Relevant Requirements

       EFTA 26 and the Unordered Merchandise Statute 27 also contain provisions relevant to
              25 F                                         26 F




unfair and deceptive negative option marketing. EFTA prohibits sellers from imposing recurring

charges on a consumer’s debit cards or bank accounts without written authorization. 28 The
                                                                                    2 7F




Unordered Merchandise Statute provides that mailing unordered merchandise, or a bill for such

merchandise, constitutes an unfair method of competition and an unfair trade practice in

violation of Section 5 of the FTC Act. 29
                                        28 F




IV.    LIMITATIONS OF EXISTING REGULATORY REQUIREMENTS

       The existing patchwork of laws and regulations does not provide industry and consumers

with a consistent legal framework across media and offers. For instance, as discussed above, the

current Rule does not cover common practices such as continuity plans, automatic renewals, and

free-to-pay conversions. 30 In addition, ROSCA and the TSR do not address negative option
                           29 F




26
   15 U.S.C. 1693-1693r.
27
   39 U.S.C. 3009.
28
   EFTA provides that the Commission shall enforce its requirements, except to the extent that
enforcement is specifically committed to some other federal government agency, and that a
violation of any of its requirements shall be deemed a violation of the FTC Act. Accordingly, the
Commission has authority to seek injunctive relief for EFTA violations, just as it can seek
injunctive relief for other Section 5 violations.
29
   The Commission has authority to seek the same remedies for violations of the Unordered
Merchandise Statute that it can seek for other Section 5 violations. The Commission can seek
civil penalties pursuant to Section 5(m)(1)(B) of the FTC Act from violators who have actual
knowledge that the Commission has found mailing unordered merchandise unfair. 15 U.S.C.
45(m)(1)(B).
30
   Indeed, the prenotification plans covered by the Rule represent only a small fraction of
negative option marketing. In 2017, for instance, the Commission estimated that fewer than 100
sellers (“clubs”) were subject to the current Rule’s requirements. 82 FR 38907, 38908 (Aug. 16,
2017).

                                                  13
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programs in all media. Yet, harmful negative option practices that fall outside of ROSCA and the

TSR’s coverage still occur. 31 3 0F




            Additionally, ROSCA lacks specificity about cancellation procedures and the placement,

content, and timing of cancellation-related disclosures. Instead, the statute requires marketers to

provide “simple mechanisms” for the consumer to stop recurring charges without guidance about

what is simple. While the statute provides more than adequate specificity to avoid blatant

violations, it makes law enforcement actions much more difficult for closer calls, even when

these practices cause significant harm.

V.          NEGATIVE OPTION RULEMAKING AND ENFORCEMENT EFFORTS

            The Commission initiated its last regulatory review of the Negative Option Rule in

2009, 32 following a 2007 FTC workshop and subsequent Staff Report. 33 The Commission
     31 F                                                                  3 2F




completed the review in 2014. 34 At the time, the Commission found the comments supporting
                                      33 F




the Rule’s expansion “argue convincingly that unfair, deceptive, and otherwise problematic

negative option marketing practices continue to cause substantial consumer injury, despite

determined enforcement efforts by the Commission and other law enforcement agencies.” 35 It    34F




31
   See, e.g., In re Dun & Bradstreet, Inc., FTC Docket No. C-4761 (2022); FTC v. Nobetes
Corp., No. 2:18-cv-10068 (C.D. Cal. 2018); FTC v. Dill, No. 2:16-cv-00023 (D. Me. 2016); FTC
v. Shopper Sys., LLC, No. 1:12-cv-23919 (S.D. Fla. 2012); FTC v. XXL Impressions, LLC, No.
1:17-cv-00067 (D. Me. 2017); FTC v. Health Rsch. Labs., LLC, No. 2:17-cv-00467 (D. Me.
2017); FTC v. Mktg. Architects, No. 2:18-cv-00050 (D. Me. 2018); see also Individual
commenter, FTC-2023-0033-0007 (discussing deceptive and unfair negative option practices for
in-person enrollment); Individual commenter, FTC-2023-0033-0129 (gym membership in-person
enrollment); Individual commenter, FTC-2023-0033-0299 (same).
32
   74 FR 22720 (May 14, 2009).
33
   See Staff Report, n.16.
34
   79 FR 44271 (July 31, 2014).
35
   79 FR 44275. The Commission cited a number of its law enforcement actions challenging
negative option marketing practices, including, for example, FTC v. Process Am., Inc., No. 2:14-
cv-00386 (C.D. Cal. 2014) (processing of unauthorized charges relating to negative option


                                                      14
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also noted practices not covered by the Rule (e.g., trial conversions and continuity plans)

accounted for most of the Commission’s enforcement activity in this area. Nevertheless, the

Commission declined to expand or modify the Rule because the enforcement tools provided by

the TSR and, especially, ROSCA, which had only recently become effective, might prove

adequate to address the extant problems. The Commission emphasized, however, if ROSCA and

its other enforcement tools failed to protect consumers, the Commission would consider whether

and how to amend the Rule. 36 Since that review, the problems with negative options have
                            35 F




persisted. 37
          3 6F




VI.     RULE REVIEW AND REQUEST FOR COMMENT

        A.       2019 Advance Notice of Proposed Rulemaking

        Given the persistence of unfair and deceptive practices despite significant law

enforcement attention at both the federal and state level, the Commission published its 2019

advance notice of proposed rulemaking (“ANPR”) seeking comments on the current Rule, as

well as possible new measures to reduce consumer harm created by deceptive or unfair negative

option marketing. 38 Specifically, the Commission sought comment on various alternatives,
                   37 F




including amendments to existing rules to further address disclosures, consumer consent, and

cancellation. The Commission also requested input on whether and how it should use its

authority under Section 18 of the FTC Act to expand the Negative Option Rule to address




marketing); FTC v. Willms, No. 2:11-cv-00828 (W.D. Wash. 2011) (Internet free trials and
continuity plans); FTC v. Moneymaker, No. 2:11-cv-00461 (D. Nev. 2011) (Internet trial offers
and continuity programs); FTC v. Johnson, No. 2:10-cv-02203 (D. Nev. 2010) (Internet trial
offers); and FTC v. John Beck Amazing Profits, LLC, No. 2:09-cv-04719 (C.D. Cal. 2009)
(infomercial and telemarketing trial offers and continuity programs).
36
   79 FR 44275-76.
37
   See Sections VI-VII of this SBP.
38
   ANPR, 84 FR 52393 (Oct. 2, 2019).

                                                   15
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prevalent unfair or deceptive practices involving negative option marketing. 39 In response, the
                                                                              38 F




Commission received 17 comments. 40  39 F




       B.          2021 Enforcement Policy Statement

       On November 4, 2021, the Commission published an “Enforcement Policy Statement

Regarding Negative Option Marketing” (“2021 Enforcement Policy Statement” or “EPS”) to

provide guidance regarding its enforcement of various statutes and FTC regulations. 41 The 2021
                                                                                       40F




Enforcement Policy Statement enunciated various principles rooted in FTC case law and restated

previous guidance related to the provision of information to consumers, consent, and

cancellations. Among these principles, the Statement emphasized ROSCA’s requirement that

sellers disclose all material terms related to the underlying product or service that are necessary

to prevent deception, regardless of whether that term relates directly to the terms of the negative

option offer. 42 In addition, consistent with ROSCA, judicial decisions applying Section 5, and
            41 F




cases brought by the Commission, the 2021 Enforcement Policy Statement reiterated sellers

should obtain consumers’ acceptance of the negative option feature separately from any other

portion of the transaction. Finally, the Statement explained sellers should provide cancellation




39
   Section 18 of the FTC Act authorizes the Commission to promulgate rules that define with
specificity acts or practices in or affecting commerce which are unfair or deceptive. 15 U.S.C.
57a(a)(1)(B). The Commission may issue regulations “where it has reason to believe that the
unfair or deceptive acts or practices which are the subject of the proposed rulemaking are
prevalent.” 15 U.S.C. 57a(b)(3). The Commission may make such a prevalence finding if it has
issued cease and desist orders regarding such acts or practices, or any other available information
indicates a widespread pattern of unfair or deceptive acts or practices. Rules under Section 18
“may include requirements prescribed for the purpose of preventing such acts or practices.”
40
   The comments are available online. See Regulations.gov, Negative Option Rule (ANPR),
FTC-2019-0082, https://www.regulations.gov/docket/FTC-2019-0082.
41
   EPS, 86 FR 60822 (Nov. 4, 2021).
42
   The Commission recently alleged a negative option seller’s failure to disclose it was impeding
access to its movie subscription service violates ROSCA. In re MoviePass, Inc., FTC Docket No.
C-4751 (2021).

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mechanisms at least as easy to use as the method the consumer employed to initiate the negative

option feature.

       C.         2023 Notice of Proposed Rulemaking

       After reviewing the comments received in response to the ANPR and issuing the 2021

Enforcement Policy Statement, the Commission issued a notice of proposed rulemaking

(“NPRM”) on April 23, 2023 (88 FR 24716). In the NPRM, the Commission proposed amending

the existing Rule to prohibit material misrepresentations and to require sellers to provide

important information to consumers, obtain consumers’ express informed consent, and ensure

consumers can easily cancel negative option programs if they choose. All these proposed

changes would be applicable to all forms of negative option marketing across all media (e.g.,

telephone, Internet, traditional print media, and in-person transactions). 43
                                                                          4 2F




       The Commission designed the proposed amendments to curb deceptive or unfair

practices occurring in negative option marketing. The Commission sought public comment on

“all aspects” of the proposal, “including the likely effectiveness of the proposed Rule in helping

the Commission combat unfair or deceptive practices in negative option marketing.” 44 The
                                                                                      4 3F




Commission further identified specific questions and areas where it solicited available data and


43
   The Commission proposed to issue such amendments pursuant to Section 18 of the FTC Act,
which authorizes it to promulgate rules specifying acts or practices in or affecting commerce
which are unfair or deceptive. 15 U.S.C. 57a(a)(1)(B). Several commenters raised concerns the
Commission failed to follow Section 18’s procedures for two reasons. First, commenters argued
the Commission’s proposed Rule went beyond the scope of the ANPR. See, e.g., ESA, FTC-
2023-0033-0867; USTelecom-The Broadband Association (“USTelecom”), FTC-2023-0033-
0876; Retail Industry Leaders Association (“RILA”), FTC-2023-0033-0883; U.S. Chamber of
Commerce (“Chamber”), FTC-2023-0033-0885; The Computer & Communications Industry
Association (“CCIA”), FTC-2023-0033-0984; IAB, FTC-2023-0033-1000; National Retail
Federation (“NRF”), FTC-2023-0033-1005). Second, they argued the Commission’s proposed
Rule did not satisfy the specificity and prevalence requirements of Section 18. The Commission
addresses these comments in Section VII.A.
44
   NPRM, 88 FR 24730.

                                                 17
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evidence, including data and evidence supporting alternatives to the proposed regulations. 45 The
                                                                                           4 4F




Commission did not identify any disputed issues of material fact that needed to be resolved at an

informal hearing. 46 The comment period closed on June 23, 2023.
                 45 F




       In response, the Commission received more than 16,000 comments, and published the

1,162 unique comments from stakeholders representing a wide range of viewpoints. 47 Although
                                                                                     46F




some commenters raised concerns and recommended specific modifications or additions to the

proposed Rule (some of which the Commission adopts as discussed herein), the majority

generally supported the Rule. The Commission discusses these comments in Section VII below.




45
   See NPRM, 88 FR 24728 (inviting comments on free trials); id. at 24729 (requesting
comments on proposed annual reminder provision); id. at 24730 (inviting comments on conflicts
with existing state requirements; id. (seeking comments on proposed material changes provision
and exempted activities or entities); id. (inviting submissions of “data, views, and arguments on
the proposed amendments”); id. at 24732-33 (inviting comments on the impacts on small
businesses, including any modifications to reduce costs or burdens for small entities); id. at
24734 (inviting comments on the Paperwork Reduction Act analysis). See also id. at 24730
(NPRM Section XIII, Request for Comments).
46
   See 16 CFR 1.11(e).
47
   Unique public comments to the NPRM are available online. See regulations.gov, Negative
Option Rule (NPRM), FTC-2023-0033-0001, https://www.regulations.gov/document/FTC-2023-
0033-0001. The Commission published 1,162 unique comments. As explained at
regulations.gov, agencies may withhold duplicate/near duplicate examples of a mass-mail
campaign. See Gen. Servs. Admin., Regulations.gov Frequently Asked Questions, Find Dockets,
Documents, and Comments FAQs, “How are comments counted and posted to
Regulations.gov?,” https://www.regulations.gov/faq. The Commission cannot quantify the
number of individuals or entities represented by the comments. The number of comments
undercounts the number of individuals or entities represented by the comments because many
comments, including those from different types of organizations, jointly represent the opinions or
interests of many. Overall, the Commission received 16,612 comments. Of those, 15,449 were
not posted online for various reasons (i.e., 14 unrelated, 23 duplicates, and 15,412 that appear to
be non-unique responses to mass media campaigns) and one comment was withdrawn. The
Commission has considered all timely and responsive public comments it received in response to
its NPRM.

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       D.      Informal Hearing and Recommended Decision

       Section 18 of the Federal Trade Commission Act, 15 U.S.C. 57a, and the Commission’s

Rules of Practice, 16 CFR 1.11(e), 48 provide interested persons the opportunity to make an oral
                                    4 7F




statement at an informal hearing upon request. 49 The Commission received six 50 such requests.
                                                      4 8F                                  49F




Additionally, although the Commission did not designate any disputed issues of material fact in

the NPRM, two interested commenters, IAB and NCTA, proposed the Commission consider

several potential disputed issues of material fact. 51       5 0F




       On December 8, 2023, the Commission published an Initial Notice of Informal Hearing

(88 FR 85525, “Hearing Notice”). The Hearing Notice designated the Honorable Carol Fox

Foelak, Administrative Law Judge for the Securities Exchange Commission, to serve as the

presiding officer of the informal hearing and scheduled the informal hearing for January 16,

2024. In the Hearing Notice, the Commission again did not designate any disputed issues of

material fact, finding the issues raised by IAB and NCTA did not need to be resolved at the

informal hearing through cross-examination. 52 51 F




       On January 16, 2024, Judge Foelak commenced the informal hearing, at which IAB,

NCTA, Performance Driven Marketing Institute (“PDMI”), TechFreedom, and the International

Franchise Association (“IFA”) appeared and made oral submissions subject to cross-




48
   The FTC Act provides that “an interested person is entitled to present his position orally or by
documentary submission (or both).” 15 U.S.C. 57a(c)(2)(A).
49
   16 CFR 1.11(e).
50
   The six requesters were (1) International Franchise Association; (2) TechFreedom;
(3) Performance Driven Marketing Institute; (4) NCTA-The Internet & Television Association;
(5) Frontdoor; and (6) Interactive Advertising Bureau. All but one—TechFreedom—identified
their interest in the proceeding either as industry groups or private companies.
51
   See Notice of Informal Hearing (“Hearing Notice”), 88 FR 85525, 85526 (Dec. 8, 2023).
52
   88 FR 85526-27.

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examination. 53 Included in their oral and written submissions, IAB and NCTA renewed their
             5 2F




requests to have the presiding officer designate disputed issues of material fact. 54 Following the
                                                                                 5 3F




hearing, Judge Foelak designated two disputed issues: (1) will the proposed rule have an annual

effect on the national economy of $100 million or more?; and (2) what will the recordkeeping

and disclosure costs associated with the proposed rule be? Judge Foelak held subsequent

hearings on January 31, 2024, and February 14, 2024. She allowed post-hearing briefs filed by

February 22, and February 28, 2024, respectively, and issued her recommended decision on

April 12, 2024. Based on the evidence, the presiding officer found: (1) the proposed Rule will

have an annual effect on the national economy of $100 million or more; and (2) there is

insufficient evidence to make a finding regarding the size of the recordkeeping and disclosure

costs associated with the proposed Rule. 55
                                          5 4F




VII.   DISCUSSION OF FINAL RULE

       A.           Legal Standard for Promulgating the Final Rule

       As explained above in Section II, the Commission promulgates the final Rule, 16 CFR

part 425, pursuant to Section 18 of the FTC Act, also known as Magnuson-Moss rulemaking

(“Magnuson-Moss”). Under Section 18 and the Commission Rules, 56 to promulgate a rule the
                                                                     55 F




Commission must: (1) issue a SBP with statements detailing: (a) the prevalence of the acts or




53
   The Hearing Notice also allowed interested persons to make additional written submissions.
The following interested parties timely filed additional written submissions on December 22,
2023: (1) BSA-The Software Alliance; (2) PDMI; (3) U.S. Chamber of Commerce; (4) IAB;
(5) NCTA; and two individuals. All filings related to the Hearing Notice are available online at
regulations.gov at https://www.regulations.gov/document/FTC-2023-0073-0001.
54
   Subsequently, IFA also asserted there were disputed issues of material fact regarding the
impact to both small businesses and their consumers. IFA, FTC-2024-0001-0009.
55
   Recommended Decision by Presiding Officer, https://www.regulations.gov/comment/FTC-
2024-0001-0042.
56
   15 U.S.C. 57a and 16 CFR 1.14(a)(1).

                                                 20
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practices treated by the rule; (b) the manner and context in which such acts or practices are unfair

or deceptive; and (c) the economic effect of the rule, taking into account the effect on small

business and consumers; and (2) “define with specificity acts or practices which are unfair or

deceptive.” The Commission addresses these requirements in part A.1-2. In part A.3, the

Commission addresses additional legal issues, including the ANPR’s scope and the “major

questions” doctrine.

               1.          Statements Required Under Section 18(d) of the FTC Act

                           a)    Statement Regarding Prevalence of the Acts and Practices

                           Treated by the Rule

       Under the Magnuson-Moss statute, the Commission may promulgate rules if it “has

reason to believe that the unfair or deceptive acts or practices which are the subject of the

proposed rulemaking are prevalent.” 57 An act or practice is “prevalent” if the FTC has
                                       5 6F




previously issued cease and desist orders regarding the act or practice, or if “any other

information available to the Commission indicates a widespread pattern of unfair or deceptive

acts or practices.” 58 Based on the rulemaking record, the Commission has more than sufficient
                    5 7F




reason to believe unfair or deceptive acts and practices in the negative option marketplace are

prevalent. These practices include: (1) material misrepresentations made while marketing using

negative option features to induce consumers to enter into negative option programs; (2) failure

to provide important information about material terms prior to billing consumers; (3) lack of

informed consumer consent; and (4) failure to provide consumers with a simple cancellation

method, including failure to honor cancellation requests, refusal to provide refunds to consumers


57
  15 U.S.C. 57a(b)(3).
58
  15 U.S.C. 57a(b)(3)(A)-(B); see also Compassion Over Killing v. FDA, 849 F.3d 849, 855 (9th
Cir. 2017).

                                                  21
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who unknowingly enrolled in programs, denying consumers refunds, forcing them to pay to

return the unordered goods, requiring consumers to cancel using a more difficult method than the

one used to sign up for the program, and forcing consumers to contend with multiple upsells

before allowing cancellation. 59 These practices cause consumer harm by luring consumers into
                              58F




purchasing goods and services they do not want, or ensnaring consumers into unwanted recurring

payments that are difficult or impossible to cancel.

       The Commission relies on substantial evidence in the record showing a widespread

pattern of unfair or deceptive conduct in the negative option marketplace. This evidence

generally falls into three categories: state, private, and federal actions (including administrative

and federal court FTC law enforcement actions); consumer complaints and comments; and

studies. The Commission discusses each in turn below.

       Federal, State, and Private Actions. As discussed in the ANPR and NPRM, the volume

of enforcement efforts in recent years seeking to stem illegal negative option marketing is

significant. These matters involve a range of deceptive and unfair practices, including: failure to

adequately disclose the existence of negative options, including after the expiration of free trials;

enrollment without consumer consent; and inadequate or unnecessarily burdensome cancellation

and refund procedures. The FTC itself has brought at least 35 such cases in the years since

ROSCA was enacted. 60 The Consumer Financial Protection Bureau (“CFPB”) also has brought
                      5 9F




59
  NPRM, 88 FR 24725.
60
  In the NPRM, the Commission cited a number of its law enforcement actions challenging
negative option marketing practices, including, for example, FTC v. Process Am., Inc., No. 1:14-
cv-00386 (C.D. Cal. 2014) (processing of unauthorized charges relating to negative option
marketing); FTC v. Willms, No. 2:11-cv-00828 (W.D. Wash. 2011) (Internet free trials and
continuity plans); FTC v. Moneymaker, No. 2:11-cv-00461 (D. Nev. 2011) (Internet trial offers
and continuity programs); FTC v. Johnson, No. 2:10-cv-02203 (D. Nev. 2010) (Internet trial
offers); and FTC v. John Beck Amazing Profits, LLC, No. 2:09-cv-04719 (C.D. Cal. 2009)


                                                    22
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many of its own negative option cases. 61 Truth in Advertising, Inc. (“TINA”), 62 a consumer
                                      6 0F                                    61 F




advocacy organization, stated in 2019 that more than 100 federal class actions involving various

negative option terms and conditions have been filed since 2014. Notwithstanding these actions,

according to TINA, “the incidence of deceptive negative option offers continues to rise.” 63 TINA
                                                                                        62 F




also reports that deceptive negative options “have only continued to grow” since its 2019

comment. 64
         63 F




(infomercial and telemarketing trial offers and continuity programs). Further examples of these
matters include: FTC v. Triangle Media Corp., No. 3:18-cv-01388 (S.D. Cal. 2018); FTC v.
Credit Bureau Ctr., LLC, No. 1:17-cv-00194 (N.D. Ill. 2017); FTC v. JDI Dating, Ltd., No. 1:14-
cv-08400 (N.D. Ill. 2014); FTC v. One Techs., LP, No. 3:14-cv-05066 (N.D. Cal. 2014); FTC v.
Health Formulas, LLC, No. 2:14-cv-01649 (D. Nev. 2014); FTC v. NutraClick, LLC, No. 2:16-
cv-06819 (C.D. Cal. 2016); FTC v. XXL Impressions, LLC, No. 1:17- cv-00067 (D. Me. 2017);
FTC v. AAFE Prods. Corp., No. 3:17-cv-00575 (S.D. Cal. 2017); FTC v. Pact, Inc., No. 2:17-cv-
1429 (W.D. Wash. 2017); FTC v. Tarr, No. 3:17-cv-02024 (S.D. Cal. 2017); FTC v. AdoreMe,
Inc., No. 1:17-cv- 09083 (S.D.N.Y. 2017); FTC v. DOTAuthority.com, Inc., No. 0:16-cv-62186
(S.D. Fla. 2016); FTC v. BunZai Media Grp., Inc., No. 2:15-cv-04527 (C.D. Cal. 2015); and
FTC v. RevMountain, LLC, No. 2:17-cv-02000 (D. Nev. 2017); see also FTC v. WealthPress,
Inc., No. 3:23-cv-00046 (M.D. Fla. 2023); FTC v. Bridge It, Inc., No. 1:23-cv-09651 (S.D.N.Y.
2023); FTC v. Amazon.com, Inc., No. 2:23-cv-0932 (W.D. Wash. 2023); FTC v. FloatMe Corp.,
No. 5:24-cv-00001 (W.D. Tex. 2024); United States v. Adobe, Inc., No. 5:24-cv-03630 (N.D.
Cal. 2024).
61
   See, e.g., CFPB v. Transunion, No. 1:22-cv-01880 (N.D. Ill. 2022); CFPB v. ACTIVE
Network, LLC, No. 4:22-cv-00898 (E.D. Tex. 2022); CFPB v. Sterling Jewelers, Inc., No. 1:19-
cv-00448 (S.D.N.Y. 2019); In re Equifax Inc., et al., CFPB No. 2017-CFPB-0001, 2017 WL
1036710 (Jan. 3, 2017) (consent order); CFPB v. Prime Mktg. Holdings, LLC, No. 2:16-cv-
07111 (C.D. Cal. 2016); In re Transunion Interactive, Inc., et al., CFPB No. 2017-CFPB-0002,
2017 WL 1036711 (Jan. 3, 2017) (consent order); CFPB v. Student Financial Aid Servs., Inc.,
No. 2:15-cv-00821 (E.D. Cal. 2015); CFPB v. Affinion Group Holdings, Inc., No. 5:15-cv-01005
(D. Conn. 2015); CFPB v. Intersections Inc., No. 1:15-cv-835 (E.D. Va. 2015). Notably, the
CFPB has independent authority to enforce FTC rules, and both agencies share some overlapping
jurisdiction. See 12 U.S.C. 5581(b)(5)(B)(ii).
62
   TINA, FTC-2019-0082-0014 (cmt. to ANPR, https://www.regulations.gov/comment/FTC-
2019-0082-0014) and FTC-2023-0033-1139 (cmt. to NPRM).
63
   NPRM, 88 FR 24720.
64
   TINA, FTC-2023-0033-1139.

                                               23
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       Several state Attorneys General 65 also referenced dozens of enforcement actions taken in
                                             6 4F




recent years to address the proliferation of deceptive negative option practices they regularly

encounter, including the “lack of informed consumer consent, lack of clear and conspicuous

disclosures, failure to honor cancellation requests and/or refusal to provide refunds to consumers

who unknowingly enrolled in plans.” 66 These agencies explained their actions “demonstrate that
                                      6 5F




problems persist in this area and that additional regulatory action is needed.” 67 For example,
                                                                               6 6F




over the last decade, New York alone has reached 23 negative option settlements involving a

variety of products and services such as membership programs, credit monitoring, dietary

supplements, and apparel. 68 They also described several multi- and individual state law
                          67 F




enforcement actions involving negative option offers for products and services such as satellite

radio, social networking services, language learning programs, security monitoring, and dietary

supplements. They further recounted numerous, illustrative complaints from consumers who




65
   Several State Attorneys General offered comments to the ANPR (FTC-2019-0082-0012 (state
Attorneys General cmt. to ANPR, https://www.regulations.gov/comment/FTC-2019-0082-
0012)), and additionally 26 Attorneys General for the states of Alabama, Arizona, California,
Colorado, Connecticut, Delaware, District of Columbia, Hawaii, Illinois, Maine, Maryland,
Massachusetts, Michigan, Minnesota, Nebraska, Nevada, New Jersey, New York, North
Carolina, North Dakota, Oklahoma, Oregon, Pennsylvania, Vermont, Washington, and
Wisconsin (“State AGs”) filed comments in response to the NPRM. See State AGs, FTC-2023-
0033-0886 (cmt. to NPRM).
66
   NPRM, 88 FR 24720; State Attorneys General (ANPR), FTC-2019-0082-0012. They further
explained the nature of the underlying products often fails to alert consumers of their enrollment
in a negative option program. For instance, many offers involve credit monitoring or anti-virus
computer programs costing less than $20 a month and have no tangible presence for consumers.
The State AGs explained consumers are often unaware of having ordered these products, never
use them, and never notice them on their bills. The State AGs further explained these
transactions often pull consumers into a stream of recurring payments by obtaining credit card
information to ostensibly pay for a small shipping charge. Consequently, they commented many
consumers have been billed for such services for years before discovering the unauthorized
charges. Id.
67
   NPRM, 88 FR 24721.
68
   State Attorneys General (ANPR), FTC-2019-0082-0012.

                                                    24
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ordered what they thought were free, no-obligation samples but then found themselves enrolled

in costly continuity programs. 69
                               68 F




       Additionally, the State AGs outlined several ongoing investigations into deceptive or

unfair negative option programs since 2019. These investigations include allegations of

misrepresenting offers as free when they were not; and failure to clearly and conspicuously

disclose negative option features. 70         6 9F




       Additionally, consumer advocacy organizations and others explained that the widespread

prevalence of deceptive acts and practices underscores the “ongoing need for state engagement

to limit negative option abuses.” 71 Several commenters observed that more than half of states
                                       7 0F




specifically regulate some aspect of negative option marketing. 72 A group of law professors
                                                                      7 1F




69
   Id.
70
   State AGs, FTC-2023-0033-0886.
71
   See, e.g., Joint comment from Professor Kaitlin Caruso (U. of Maine School of Law),
Professor Jeff Sovern (St. John’s U. School of Law), Professor Dee Pridgen (U. of Wyoming
College of Law), Professor Chrystin Ondersma (Rutgers Law School), Professor Vijay Raghavan
(Brooklyn Law School), Professor David Vladeck (Georgetown U. Law Center), Professor
Edward Janger (Brooklyn Law School), and Professor Susan Block-Lieb (Fordham U. School of
Law) (collectively, “Law Professors”), FTC-2023-0033-0861.
72
   See, e.g., PDMI, FTC-2023-0033-0864 (stating over 27 states regulate negative option
marketing); N/MA, FTC-2023-0033-0873 (stating 35 states and the District of Columbia now
have automatic renewal laws, and at least 20 address all forms of automatic renewals); Service
Contract Industry Council (“SCIC”), FTC-2023-0033-0879 (noting about half of U.S. states
enacted auto-renewal laws); NRF, FTC-2023-0033-1005 (stating at least half of all states have
statutes governing free-trial, negative-option, and/or automatic-renewal programs); see also Law
Professors, FTC-2323-0033-0861 (stating the “number of states that have recently adopted
specific laws targeting negative option marketing, on top of their general prohibitions on unfair
and deceptive practices and ability to enforce ROSCA, is particularly noteworthy.”); IHRSA,
The Global Health & Fitness Association (“IHRSA”), FTC-2023-0033-0863 (noting many states
have laws on negative options). But see The Center for Consumer Law and Economic Justice at
UC Berkeley School of Law (“Berkeley Consumer Law Center”), FTC-2023-0033-0855 (stating
that “fewer than half the states have a law specifically addressing negative option marketing”).

                                                      25
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explain this “ongoing engagement just shows that unscrupulous negative-option business models

remain such a problem that states increasingly find themselves needing to step in.” 73
                                                                                     7 2F




              Consumer Complaints and Comments. The FTC receives tens of thousands of complaints

about negative options each year through its Sentinel complaint database, and marketers receive

many more as demonstrated by evidence in FTC cases. 74 Additionally, TINA explained that
                                                             7 3F




negative options are one of its top complaint categories. These complaints usually involve

consumers who unwittingly enroll in programs and then find it difficult or impossible to

cancel. 75
       7 4F




              Moreover, hundreds of consumer comments detailed specific practices (discussed more

thoroughly in connection with the Section-by-Section analysis below) demonstrating the

prevalence of unfair or deceptive negative option practices. Likewise, comments from public

interest and consumer advocacy groups further describe existing deceptive or unfair practices

prevalent in the negative option marketplace. For example, Berkeley Consumer Law Center

explained businesses regularly use dark patterns 76 to facilitate enrollment in subscription-based
                                                    75F




products and inhibit cancellation, and provided numerous examples of these activities. 77 A group
                                                                                            7 6F




of law professors referenced the burgeoning industry offering to help consumers identify and


73
   Law Professors, FTC-2023-0033-0861. This group also points out that private industry, too,
has felt the need for more action in this area, noting that VISA and Mastercard have their own
requirements for businesses that bill using a negative option model.
74
   See, e.g., United States v. Adobe, Inc., No. 5:24-cv-03630 (N.D. Cal. 2024) (ECF No. 40,
Amd. Compl.); FTC v. Amazon.com, Inc., No. 2:23-cv-0932 (W.D. Wash. 2023) (ECF No. 67,
Amd. Compl.).
75
   TINA, FTC-2023-0033-1139.
76
   The term “dark patterns” has been used to describe design practices that trick or manipulate
users into making choices they would not otherwise have made and that may cause harm See
Bringing Dark Patterns to Light, FTC Staff Report (Sept. 2022),
https://www.ftc.gov/system/files/ftc_gov/pdf/P214800%20Dark%20Patterns%20Report%209.14
.2022%20-%20FINAL.pdf.
77
   Berkeley Consumer Law Center, FTC-2023-0033-0855.

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cancel their unwanted subscriptions. As they explained: “One might expect that, if consumers

experienced the marketplace as one in which they are adequately informed of recurring payments

and readily able to cancel them, there would not be an emerging industry to help them do just

that.” 78
      7 7F




             Members of Congress also detailed ongoing problems in this area. Citing the increase in

consumer complaints and consumer harm in recent years, Representative Takano stated,

“deceptive online marketing and unclear recurring payment plans are leaving too many

consumers on the hook for products they may not want or even know they purchased.” 79         7 8F




Representatives Schiff and Norton noted their constituents’ desire for greater protections in the

negative option marketplace, stating the “proposed updates will help put the consumers back in

control of their purchases and subscriptions.” 80 7 9F




             Studies. Finally, “studies cited by commenters confirm a pattern of consumer

ensnarement in unwanted recurring payments.” 81 A Better Business Bureau study of FTC data,
                                                         80 F




titled “Subscription Traps and Deceptive Free Trials Scam Millions with Misleading Ads and

Fake Celebrity Endorsements,” demonstrated complaints about free trials doubled between 2015

and 2017, with complaints during the period reaching nearly 37,000. 82 The BBB study shows
                                                                               81 F




consumer losses in FTC “free trial offer” cases exceeded $1.3 billion (over the ten years covered




78
   Law Professors, FTC-2023-0033-0861.
79
   NPRM, 88 FR 24720-21.
80
   Schiff and Norton, FTC-2023-0033-0868.
81
   NPRM, 88 FR 24725.
82
   Steve Baker, Subscription Traps and Deceptive Free Trials Scam Millions with Misleading
Ads and Fake Celebrity Endorsements, Better Business Bureau (Dec. 2018),
https://www.bbb.org/article/investigations/18929-subscription-traps-and-deceptive-free-trials-
scammillions-with-misleading-ads-and-fake-celebrity-endorsements.

                                                           27
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by the study). 83 A group of consumer and public interest advocacy organizations, including the
                     82 F




National Consumers League 84 stated that, according to the BBB, the average consumer loss for a
                                          8 3F




free trial is $186. 85      84 F




             Referring to another survey conducted in 2016, TINA noted unwanted fees associated

with trial offers and automatically renewing subscriptions ranked as “the biggest financial

complaint of consumers.” 86 Similarly, TINA noted the FBI’s Internet Crime Complaint Center
                                   8 5F




recorded a rise in complaints about free trial offers, growing from 1,738 in 2015 to 2,486 in

2017. 87 A 2019 Bankrate.com survey cited by NCL found that 59% of consumers have been
      86 F




signed up “against their will” for “free trials” that automatically converted into a recurring

payment. 88   8 7F




             NCL and others also cited a 2017 national telephone survey commissioned by

CreditCards.com finding 35% of U.S. consumers have enrolled in at least one automatically




83
   Id.; see also Better Business Bureau, BBB Investigation Update: Free Trial Offer Scams (Apr.
2020), https://www.bbb.org/article/news-releases/22040-bbb-update-free-trial-offerscams
(reporting the total has risen to nearly $1.4 billion since the 2018 BBB study); id. (observing that
while celebrities, credit card companies and government agencies have increased their efforts to
fight deceptive free trial offer scams, victims continue to lose millions of dollars to fraudsters
after the release of a December 2018 BBB study about the shady practices).
84
   The six public interest and consumer advocacy groups are: Consumer Action, Consumer
Federation of America, Demand Progress Education Fund, National Association of Consumer
Advocates, Nation Consumer Law Center (on behalf of its low income clients,) and National
Consumers League (“NCL”) (collectively, the “Public Interest Groups”).
85
   Steve Baker, Subscription Traps and Deceptive Free Trials Scam Millions with Misleading
Ads and Fake Celebrity Endorsements, Better Business Bureau (Dec. 2018).
86
   NPRM, 88 FR 24720 (citing Rebecca Lake, “Report: Hidden Fees Are #1 Consumer
Complaint,” mybanktracker.com (updated Oct. 16, 2018), https://www.mybanktracker.com/
money-tips/money/hidden-fees-consumer complaint-253387.)
87
   NPRM, 88 FR 24721.
88
   Bankrate, “Despite safety concerns, 64% of U.S. debit or credit cardholders save their
information online” (Oct. 24, 2019), at https://www.bankrate.com/pdfs/pr/20191024-online-
shopping-survey.pdf (as cited by Civil Society Organizations, FTC-2023-0033-0870).

                                                                 28
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renewing contract without realizing it. 89 In response to the NPRM, the Public Interest Groups
                                      88 F




cited more recent studies confirming the continued prevalence of harms from deceptive and

unfair negative option practices. For instance, consumer groups referenced a 2022 study, which

concluded “on average, consumers pay two-and-a-half times what they originally estimated on

monthly subscriptions, likely due to the lack of adequate notice from sellers.” 90 They also noted
                                                                               8 9F




burdensome cancellation procedures remain rampant. “One survey found that more than half of

respondents reported it took an average of three months to cancel unwanted recurring

payments.” 91 That same study reported 71% of individuals lost more than $50 a month in
                 9 0F




unwanted subscriptions. Another study concluded consumers underestimate how much they pay

to maintain their subscriptions by an average of $133/month (or $1,596 per year), and 42% of the

consumers had forgotten about a subscription for which they continued to pay. 92      9 1F




       Finally, TINA also noted a consumer survey by the Washington Attorney General’s

office finding “59% of Washingtonians (3.5 million residents) may have been unintentionally

enrolled in a subscription plan or service when they thought they were making a one-time

purchase.” 93 TINA contended this is “consistent with” the 2022 Bankrate survey finding more
          9 2F




89
   NPRM, 88 FR 24720.
90
   Public Interest Groups, FTC-2023-0033-0880 (citing “Subscription Service Statistics and
Costs,” C+R Research Blog (May 18, 2022)).
91
   Public Interest Groups, FTC-2023-0033-0880 (citing Chase, “Survey from Chase Reveals That
Two-Thirds of Consumers Have Forgotten About At Least One Recurring Payment In The Last
Year” (Apr. 1, 2021), https://media.chase.com/news/survey-from-chase-reveals).
92
   State AGs, FTC-2023-0033-00866 (citing Sarah Brady and Korrena Bailie, “5 Tools To Help
You Cancel Unwanted Subscriptions,” Forbes (July 13, 2022),
https://www.forbes.com/advisor/personal-finance/manage-subscriptions). See also Einav, Liran,
et al., “Selling Subscriptions” (Dec. 1, 2023),
https://nmahoney.people.stanford.edu/sites/g/files/sbiybj23976/files/media/file/mahoney_subscri
ptions.pdf.
93
   TINA, FTC-2023-0033-1139.

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than half of U.S. adults experience unwanted charges from a subscription or membership. 94       9 3F




These findings are further supported by a Chase Bank study in 2021 finding nearly three-quarters

of Americans waste more than $50 a month on unwanted subscription fees. 95       94F




       Despite the robust evidence that unfair or deceptive practices are exceedingly prevalent,

several trade organizations challenged the Commission’s proposed prevalence determination.

However, their arguments, as discussed below, are not persuasive.

       First, they argued the Commission must show prevalence in a specific industry in order to

regulate negative option practices in that industry, but the Commission failed to do so. For

instance, NCTA asserted there is no evidence of widespread deceptive negative option practices

in the broadband, cable, or voice industries warranting regulation. 96 Other commenters argued
                                                                         95 F




the Commission must identify the prevalence of a specific deceptive or unfair act to warrant

regulating that specific act or practice under Section 18. For instance, IAB, NCTA, TechNet, and

TechFreedom argued the Commission failed to show prevalence of misrepresentations about the

underlying product or service in connection with negative option contracts. Similarly, three

commenters argued the Commission should limit the scope of the Rule to business-to-consumer

transactions and exclude business-to-business (“B2B”) transactions, in part, because the

Commission failed to show “the prevalence of harms created by automatically-renewing

subscriptions entered into in the business-to-business context.” 97
                                                                 96 F




       As demonstrated above, however, there is ample evidence in the record demonstrating the

prevalence of the specific unfair and deceptive practices across numerous sectors of the


94
   Id.
95
   See n.91.
96
   NCTA, FTC-2023-0033-0858; see also SCIC, FTC-2023-0033-0879.
97
   BSA, FTC-2023-0033-1015; see also Anonymous commenter, FTC-2023-0033-1007; NCTA,
FTC-2023-0033-0858.

                                                 30
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economy, which the Commission now addresses in an industry-neutral fashion. 98 Moreover,
                                                                                   97 F




nothing in Section 18 requires the Commission to find prevalence regarding a specific industry

or group. 99 The Commission need only find “some basis or evidence” demonstrating the practice
         9 8F




the Commission seeks to regulate “does indeed occur.” 100 Such evidence exists here in
                                                              99 F




abundance. As NCTA itself pointed out, individual consumers complained of deceptive and

unfair practices in its members’ industries. 101 Further, “consumer subscription models are
                                               100F




rapidly growing in popularity,” 102 and there is evidence of the proliferation of negative option
                                101F




features in virtually every industry. 103 The harms outlined here resulted from the negative option
                                       10 2F




98
   See Sections VII.A.1.a-b and Section II.A.1.b of this SBP.
99
   See generally 15 U.S.C. 57a.
100
    Pennsylvania Funeral Dirs. Ass’n, Inc. v. FTC, 41 F.3d 81, 87-88 (3d Cir. 1994) (holding the
FTC did not need “substantial, rigorous, quantitative studies” or to show the practice occurs in a
certain percentage of transactions through the country to find prevalence). “Further, even where
there is a limited record as to the prevalence of a practice on a nationwide basis or where the data
reviewed only relates to a few states, the practice can be found to be prevalent enough to warrant
a regulation.” Id. at 87.
101
    NCTA, FTC-2023-0073-0008.
102
    CTA, FTC-2023-0033-0997. CTA reports that a 2022 study found the global subscription e-
commerce market is expected to reach $904.2 billion by 2026, and between 2021 and 2022,
existing subscription brands grew their customer bases by 31 percent.
103
    According to a 2018 McKinsey & Company study, the subscription e-commerce market
increased more than 100% over a five-year period prior to the study’s publication. Tony Chen,
Ken Fenyo, Sylvia Yang, and Jessica Zhang, “Thinking Inside the Subscription Box: New
Research on E-Commerce Consumers,” McKinsey & Company (February 2018) (as cited by,
e.g., TechNet, FTC-2023-0033-0869 and Individual commenter, FTC-2023-0033-0800). PDMI
also observed that negative options are offered in a wide array of product and services from
major brands including media services, meal preparation kits, shaving and beauty products, beer
and wine, contacts and ordinary household consumables. FTC-2023-0033-0864. Digital Content
Next (“DCN”), FTC-2023-0033-0983, reports the United States had more than one billion paid
subscriptions in Q1 2023 across the digital media landscape, indicating almost all online U.S.
households subscribe to one or more digital media subscription services. See also, e.g.,
Individual commenter, FTC-2023-0033-0137 (detailing difficulty cancelling recurring
subscriptions for newspaper, mobile, and other businesses); Individual commenter, FTC-2023-
0033-0217 (reported spending hours on the phone and online to cancel mobile account);
Individual commenter, FTC-2023-0033-0465 (reported difficulty cancelling rewards program
subscription); Individual commenter, FTC-2023-0033-0674 (complaint reporting difficulty


                                                      31
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transaction itself, and many businesses, regardless of industry, are incentivized to continue to

leverage negative options to the possible detriment of consumers. 104 The Commission also
                                                                   10 3F




declines to limit the scope of the final Rule by excluding business-to-business transactions. As

explained in Section VII.B.1, the Commission has a long history of protecting businesses,

particularly small business, in their role as consumers; the practices and harms described here

impact these consumers, as well.

                       b)     The Manner and Context in Which the Acts or Practices Are

                       Unfair or Deceptive

       Pursuant to Section 18 and the Commission’s Rules, the Commission must also state the

manner and context in which the prevalent acts or practices are unfair or deceptive. The record




canceling mobile device protection subscription); Individual commenter, FTC-2023-0033-0965
(trying to cancel mobile phone service because they bill for different amount every month);
Individual commenter, FTC-2023-0033-0003 (difficulty cancelling “home warranty”
subscription); Individual commenter, FTC-2023-0033-0004 (full cost and refund policy for gym
contract not clearly disclosed); Individual commenter, FTC-2023-0033-0006 (“2 attempts and far
too much time” to cancel radio subscription); Individual commenter, FTC-2023-0033-0008
(discussing how “subscription services in particular pervade the market. Even long-standing
‘buy-it-once’ products such as certain software suits have moved to subscription models”);
Anonymous commenter, FTC-2023-0033-0013 (difficulty canceling home security monitoring
contract, including hearing unwanted upsells); Anonymous commenter, FTC-2023-0033-0023
(webhosting service); Anonymous commenter, FTC-2023-0033-0024 (cable service); Individual
commenter, FTC-2023-0033-0039 (language learning app); Anonymous commenter, FTC-2023-
0033-0046 (software); Individual commenter, FTC-2023-0033-0049 (cannot cancel streaming
service); Individual commenter, FTC-2023-0033-0050 (virus protection software and charity);
Individual commenter, FTC-2023-0033-0052 (e-news service subscription); Individual
commenter, FTC-2023-0033-0057 (magazine subscription service); Individual commenter, FTC-
2023-00330061 (newspaper); Individual commenter, FTC-2023-0033-0063 (big box retailer
membership); Individual commenter, FTC-2023-0033-0064 (cosmetics); Anonymous
commenter, FTC-2023-0033-0066 (home warranty service); Individual commenter, FTC-2023-
0033-0071 (lawncare service).
104
    See Prof. Chris Jay Hoofnagle, UC Berkeley (“Hoofnagle”), FTC-2023-0033-1137
(discussing the subscription economy). See also nn.244-251, collecting cases showing deceptive
and unfair negative option practices occur across a wide range of industries and involve a variety
of claims.

                                                32
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demonstrates consumers are often lured into enrolling in negative option programs through seller

misrepresentations about material facts—for instance, when a seller offers a product for “free”

when it is not. 105 Additionally, sellers misrepresent other aspects of the deal, such as product
              10 4F




features, processing or shipping fees, billing information use, deadlines, consumer authorization,

refunds, cancellations, among other facts. 106
                                           10 5F




       Sellers also often fail to disclose important information about the offer prior to billing the

consumer. As detailed in the comments from, inter alia, State AGs and TINA, sellers fail to

disclose in a clear and conspicuous manner the existence of the negative option feature, refund

and cancellation deadlines, or other material terms of the agreement, resulting in consumers

purchasing goods or services they do not want. 107 All of these unfair or deceptive acts are further
                                                   106F




supported in dozens of FTC, State AG, and class action cases. 108         107F




       The record also demonstrates sellers fail to obtain consumers’ express informed consent

to the negative option feature before charging them. For instance, as detailed in representative

consumer complaints from State AGs and several FTC cases, consumers are often unwittingly

enrolled into recurring subscriptions with promises of no- or low-cost or discounted rates (not

knowing that agreeing will result in subscription to a costly membership), with consumers not




105
    State AGs, FTC-2023-0033-0886 (consumer paid for shipping on “free” gift only to have it
converted to a paid item because she retained the item); id. (Money Map Press), FTC v. Triangle
Media Corp., No. 3:18-cv-01388 (S.D. Cal. 2018) (consumers who clicked on ads for risk free
trials, paid for shipping and handling fees unwittingly enrolled in negative option programs).
106
    See nn.244-251 (collecting cases).
107
    See State Attorneys General (ANPR), FTC-2019-0082-0012 and State AGs, FTC-2023-0033-
0886; TINA, FTC-2019-0082-0014 and FTC-2023-0033-1139.
108
    See, e.g., id.; see also FTC v. Pact, Inc., No. 2:17-cv-1429 (W.D. Wash. 2017); United States
v. MyLife.com, Inc., No. 2:20-cv-6692 (C.D. Cal. 2020); FTC v. NutraClick, LLC, No. 2:20-cv-
08612 (C.D. Cal. 2020); In re Dun & Bradstreet, Inc., FTC Docket No. C-4761 (2022). See
generally Staff Report, n.16.

                                                          33
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realizing the deceptive and unfair enrollment until they see unexpected charges, often after

several billing cycles. 109
                         108F




        Finally, substantial record evidence shows sellers often fail to provide a simple

cancellation method. If consumers cannot easily leave a negative option program when they

wish, the negative option feature is merely a means of charging consumers for goods or services

they no longer want. Commission cases, the Sentinel complaint database, and state Attorneys

General’s complaints all show sellers often use difficult and cumbersome cancellation

mechanisms to prevent or curtail cancellations. 110 This fact is further corroborated by studies
                                                     109F




discussed above. 111
                  110F




                                c)   Statement as to the Economic Effect of the Rule

        Finally, pursuant to Section 18 and the Commission’s Rules, the SBP must include a

statement regarding the economic effect of the Rule. As part of these rulemaking proceedings,

the Commission solicited and received comments on the economic impact of the proposed Rule.

In issuing the final Rule, the Commission has carefully considered the comments and other

information received as well as the costs and benefits of each provision, as discussed in more

detail in Section X, Final Regulatory Analysis. That analysis demonstrates the benefits of the




109
    See, e.g., State Attorneys General (ANPR), FTC-2019-0082-0012 and State AGs, FTC-2023-
0033-0886; FTC v. FloatMe Corp., No. 5:24-cv-00001 (W.D. Tex. 2024); United States v.
Cerebral, Inc., No. 1:24-cv-21376 (S.D. Fla. 2024); FTC v. Bridge It, Inc., No. 1:23-cv-09651
(S.D.N.Y. 2023); FTC v. Benefytt Techs., Inc., No. 8:22-cv-01794 (M.D. Fla. 2022); FTC v. First
Am. Payment Sys., No. 4:22-cv-00654 (E.D. Tex. 2022); FTC v. NutraClick, LLC, No. 2:20-cv-
08612 (C.D. Cal. 2020); FTC v. F9 Advert., LLC, No. 3:19-cv-01174 (D.P.R. 2019); FTC v. Age
of Learning, Inc., No. 2:20-cv-07996 (C.D. Cal. 2020); FTC v. NutraClick, LLC, No. 2:16-cv-
06819 (C.D. Cal. 2016); FTC v. AH Media Grp., LLC, No. 3:19-cv-04022 (N.D. Cal. 2019); In
re Urthbox, Inc., FTC Docket No. C-4676 (2019); FTC v. Health Rsch. Labs., LLC, No. 2:17-cv-
00467 (D. Me. 2017); FTC v HispaNexo, Inc., No. 1:06-cv-424 (E.D. Va. 2006).
110
    See Section VII.B.6.
111
    Section VII.A.1.a.

                                                        34
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Rule far exceed the costs. Benefits were evaluated on a per-cancellation basis; that is, the

analysis assumes the primary consumer benefit of the Rule will come in the form of faster

cancellations. Costs were evaluated primarily to reflect resources spent by businesses to review

and come into compliance with the Rule. The overall net benefit of the Rule is estimated to

exceed $5.3B (and could be as much as $49.2B) over the first 10 years (in 2023 dollars).

               2.      Magnuson-Moss Specificity Requirement

       Pursuant to Magnuson-Moss, the Commission must also define with specificity acts or

practices which are unfair or deceptive and either prohibit those activities or establish rules to

prevent them. The Commission has done just that, despite some commenters’ arguments to the

contrary. Specifically, IAB and others 112 argue the provision prohibiting material
                                        111F




misrepresentations fails to define claims that fall within its scope, and therefore, “fails to identify

covered acts with the requisite level of specificity.” 113
                                                       112F




       First, Section 18 does not require the Commission to define claims with specificity, only

acts or practices. The practice of misrepresenting the material facts of a transaction, for instance,

is a deceptive practice, but could vary depending on the transaction’s terms. Requiring the

Commission to identify particular claims would make its rules no better than a leaky sieve,

unable to effectively address consumer harm.




112
    IAB, FTC-2023-0033-1000; Coalition Comments from CCIA, Direct Selling Association,
Information Technology Industry Council, IAB, Software & Information Industry Association,
and Chamber (“Coalition”), FTC-2023-0033-0884; PDMI, FTC-2023-033-0864; TechNet, FTC-
2023-0033-0869; TechFreedom, FTC-2023-0033-0872; ACT-The App Association (“ACT App
Association”), FTC-2023-0033-0874; USTelecom, FTC-2023-0033-0876.
113
    IAB, FTC-2023-0033-1000.

                                                  35
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       Second, the NPRM and the final Rule do define with the requisite specificity the unfair or

deceptive negative option acts and practices covered by the Rule. 114 While those critical of the
                                                                    113F




proposed Rule cite to Katharine Gibbs School v. FTC, 612 F.2d 658 (2d Cir. 1979), this case is

inapposite. In Katharine Gibbs School, the Second Circuit held the Commission failed to connect

elements of its trade regulation rule to specifically defined unfair or deceptive acts or practices.

The opinion held the Commission may not merely set requirements and then define failure to

meet those requirements as unfair or deceptive acts or practices. The Commission must instead

identify some underlying deceptive or unfair conduct and connect the rule requirements to that

conduct.

       In contrast here, the Commission specifically identified misrepresentation of material

facts as a deceptive practice, and defined the term “material” with the same meaning it has under

Section 5 of the FTC Act. 115 Moreover, the misrepresentations provision goes further, providing
                           114F




categories of potentially material facts to assist the marketplace in understanding the provision

and supporting those examples with cases. 116 Thus, the final Rule’s prohibition against material
                                            115F




misrepresentations is not only connected to underlying deceptive or unfair conduct, but in fact

prohibits that very conduct.




114
    See Section I; Section VII.A, defining the acts and practices covered in § 425.3 through
§ 425.6 as unfair or deceptive and a violation of the Rule. As acknowledged by USTelecom, the
“contours of the ‘specificity’ requirement have not been precisely defined.” FTC-2023-0033-
0876.
115
    See SBP Section VII.B.3 discussing § 425.3.
116
    Id. As explained in the Katharine Gibbs School dissent, “Congress required specific
definitions of such practices so that a rule would ‘reasonably and fairly inform those within its
ambit of the obligation to be met and the activity to be avoided.’” 612 F.2d 658, 672 (quoting
H.R. Rep. No.93-1107, 93d Cong., 2d Sess. 46 (1974), reprinted in (1974) U.S.C.C.A.N., pp.
7702, 7727).

                                                   36
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                3.    Other Legal Issues

       Several commenters raised additional challenges to the Commission’s ability to

promulgate the Rule. These challenges fall into two categories. First, some commenters argued

the Commission failed to give adequate notice of the scope of the proposed amendments to the

Rule in the ANPR in accordance with Section 57a(b)(2)(A) of the FTC Act. Second, four

commenters argued the Commission exceeded its grant of Congressional authority under the

“major questions” doctrine. The Commission addresses each argument below.

                      a)      ANPR

       Several commenters asserted the ANPR, issued in 2019, failed to provide adequate notice

of the acts and practices to be covered by the proposed Rule. Specifically, ESA, USTelecom,

RILA, a coalition of trade associations, Chamber, CCIA, IAB, and NRF argued the ANPR failed

to provide notice the proposed Rule would cover misrepresentations of all material facts; would

require express informed consent to opt-in to receive a save; 117 and would require an annual
                                                                116F




reminder. 118 Thus, according to these commenters, including these provisions in the final Rule
         117F




would violate Section 18(b)(2)(A). They further argued the lack of these topics’ inclusion in the

ANPR meant that affected entities had inadequate opportunity to provide input, leading to an

inadequate rulemaking record. 119
                              118F




       These arguments, however, are unpersuasive. Section 18 imposes no requirement the

ANPR have the level of specificity the commenters demand. In fact, the statute only says the

ANPR must include “a brief description of the area of inquiry under consideration, the objectives


117
    As discussed in Section VII.B.6, the Commission removes the proposed save provision from
the final Rule.
118
    As discussed in Section VII.B.7, the Commission removes the proposed annual reminder
provision from the final Rule.
119
    E.g., IAB, FTC-2023-0033-1000.

                                                37
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which the Commission seeks to achieve, and possible regulatory alternatives under consideration

by the Commission.” 120 The Commission included a discussion of each of these topics in the
                         119 F




ANPR. 121 Moreover, the affected entities have had the chance to raise concerns with the Rule in
       12 0F




their comments to the NPRM, which the Commission has considered and responded to in this

Statement of Basis and Purpose.

                                 b)      Major Questions Doctrine

         Four commenters asserted the Rule implicates the “major questions” doctrine. 122    121F




According to the Supreme Court, the major questions doctrine is implicated in “extraordinary

cases . . . in which the history and the breadth of the authority that the agency has asserted, and

the economic and political significance of that assertion, provide a reason to hesitate before

concluding that Congress meant to confer such authority.” 123 Citing this authority, the
                                                                    122F




commenters argue Congress only granted the FTC “limited and tailored authorities to regulate

certain mediums and types of negative option marketing, but not all mediums and types as the

NPRM encompasses.” 124 Further, they assert Congress never intended for the Commission to
                                 12 3F




create a comprehensive regulatory scheme for negative option marketing that encompasses the

variety of requirements proposed in the NPRM. Because negative option programs play an ever-

increasing role in the economy, these commenters claim the proposed Rule would “dramatically


120
    15 U.S.C. 57a(b)(2)(A). “The Advance Notice [of Proposed Rulemaking] is a formal
invitation to participate in shaping the proposed rule and starts the notice‐and‐comment process
in motion.” Office of the Federal Register, “A Guide to the Rulemaking Process,”
https://www.federalregister.gov/uploads/2011/01/the_rulemaking_process.pdf.
121
    ANPR, 84 FR 52393; see also id. 52396-8 (Request for Comments); Section VII.B.3.b.1
(discussing ANPR in context of § 425.3).
122
    PDMI, FTC-2023-0033-0864; ACT App Association, FTC-2023-0033-0874; Coalition, FTC-
2023-0033-0884; Chamber, FTC-2023-0033-0885.
123
    West Virginia v. EPA, 597 U.S. 697, 721 (2022) (internal quotations cleaned up). Accord
Biden v. Nebraska, 143 S. Ct. 2355, 2372 (2023).
124
    Coalition, FTC-2023-0033-0884.

                                                         38
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alter” how companies structure their subscription services. 125 More specifically, they assert the
                                                              12 4F




prohibition against misrepresentations, together with the ability to seek civil penalties in federal

court, would expand the FTC’s authority beyond that envisioned by Congress.

       However, far from exceeding Congressional intent, the Rule merely effectuates that

intent in a way wholly consistent with the specific requirements set forth in Section 18 of the

FTC Act. Specifically, Congress explicitly authorized the Commission to prescribe “rules which

define with specificity acts or practices which are unfair or deceptive acts or practices in or

affecting commerce (within the meaning of such section 5(a)(1)),” which “may include

requirements prescribed for the purpose of preventing such acts or practices.” 126 As
                                                                                  125F




demonstrated below, each of the Rule’s provisions identifies specific deceptive or unfair acts or

practices that are prevalent throughout the marketplace and ties each Rule provision tightly to

those findings.

       As the Supreme Court explained, courts use the “major questions doctrine” when

examining “extraordinary cases” where agency action would “make a radical or fundamental

change” to a statutory scheme and assert “extravagant” authority over the national economy

through “ambiguous statutory text,” citing “modest words,” “vague terms,” “subtle device[s],” or

“oblique or elliptical language.” 127 Here, no such extraordinary circumstance exists. The
                                  12 6F




prohibitions and disclosures in the Rule do not effect a major change in the economy. In fact, all

the substantive requirements in the Rule are already extant under Section 5 of the FTC Act,

ROSCA, or the TSR. Moreover, the Rules’ terms, as explained below, are neither vague,

oblique, or elliptical—in fact, if anything, they are clearer than the legal authority just cited.


125
    See, e.g., PDMI, FTC-2023-0033-0864.
126
    15 U.S.C. 57a(a)(1)(B).
127
    West Virginia v. EPA, 597 U.S. at 723 (cleaned up).

                                                  39
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       B.      Discussion of Specific Rule Provisions, Section-by-Section Analysis

       Below, for each provision of the proposed Rule, the Commission reviews the provision,

summarizes comments received in response, and sets forth the final Rule with an analysis of the

comments and other record evidence.

               1.      Proposed § 425.1 Scope

       The Commission proposed eliminating the old Rule’s prescriptive requirements

applicable to prenotification plans and replacing them with flexible, but enforceable, standards.

The proposed requirements would apply to all forms of negative option marketing, including

prenotification and continuity plans, automatic renewals, and free trial offers. 128 The expanded
                                                                               127F




coverage would establish a common set of requirements applicable to all types of negative option

marketing. The proposed Rule would cover offers made in all media, including Internet,

telephone, in-person, and printed material, and would apply to all “negative option sellers.” With

certain exceptions, not applicable here, the FTC Act provides the agency with jurisdiction over

nearly every economic sector. 129
                              128F




128
    The proposed Rule stated it applied to any form of negative option plan. Because “negative
option plan” was a defined term in the old Rule specifically referring to prenotification plans, the
Commission modifies the scope to apply to any form of “negative option program.”
129
    Certain entities or activities are wholly or partially exempt from FTC jurisdiction under the
FTC Act, including most depository institutions, charities, transportation and communications
common carriers, and the business of insurance. Under Sections 4 and 5 of the FTC Act,
however, the Commission’s jurisdiction extends to companies organized to carry on business for
their own profit or that of their members, even if those companies are organized under state law
as a not-for-profit entity. See California Dental Ass’n v. FTC, 526 U.S. 756 (1999). But see
n.151.

                                                 40
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                                   a)    Negative Option Seller

      (1)                     Comments

       The scope of the proposed Rule covered “negative option seller,” defined to mean “the

person selling, offering, promoting, charging for, or otherwise marketing goods or services with

a negative option feature.” Several commenters raised concerns regarding the scope of this

definition.

       The Chamber, for example, suggested the Commission delete the term “promoting” from

the definition. 130 It cited a wide variety of actors who could be swept in by the term, including
                      12 9F




“advertising companies, web designers, [and] entities in the supply chain,” who “may not

actually play an active role in determining” what consumers see and hear about negative option

programs. 131 An individual business commenter also criticized the term, saying to include
            130F




“promoting” “would potentially burden our technicians and our business when we provide

service for equipment manufacturers that have their own service contract programs.” 132       131F




       ETA, representing the payments industry, addressed the words “charging for” in the

definition. 133 ETA interpreted those words not to cover “intermediaries, such as payment
              13 2F




processors, that merely effect the transfer of funds from the consumer buyer to the merchant

seller resulting from a negative option feature.” 134 ETA noted that payment intermediaries
                                                         13 3F




typically “do not control the terms of the negative option feature and do not control the interface




130
    Chamber, FTC-2023-0033-0885.
131
    Id.
132
    Individual commenter, FTC-2023-0033-1136.
133
    Electronic Transactions Association (“ETA”), FTC-2023-0033-1004.
134
    Id.

                                                         41
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with the consumer buyer.” 135 ETA therefore suggested the final Rule “include an express
                           134F




exemption for payment processors and other intermediaries.” 136   135F




       Other commenters, while not specifically criticizing the definition of negative option

seller, raised concerns about the scope of the proposed Rule where third parties are involved in

marketing and cancellation. For example, several suggested the Rule exempt a seller who

contracts with a third party for subscription enrollment, management, or cancellation services. 137      136F




PDMI argued, “it is imperative that the Proposed Rule exempt sellers from compliance with

those provisions that are not under their direct control … [and] should also exempt the seller

from any misrepresentations made by a third-party platform.” 138 NRF expressed concern a
                                                                         137F




135
    Id.
136
    Id. IHRSA noted health and fitness membership charges are typically processed on a monthly
basis from the time of agreement, and in many cases by a third-party service provider. IHRSA,
FTC-2023-0033-0863.
137
    NCTA asserted, “The proposed rule also fails to account for third-party sign-up arrangements.
For example, programmers have arrangements with Roku, Amazon, Apple, and others that allow
consumers to sign up through these third parties for their streaming services.” NCTA, FTC-
2023-0033-0858. N/MA suggested the Commission “should make clear that when a sale with a
negative option feature is made through a third party that controls the process of purchasing
and/or cancelling a subscription with a negative option feature, any new requirements would
apply to the third party only, and not to the company that fulfills the subscription.” N/MA, FTC-
2023-0033-0873. Marketplace Industry Association (“MIA”) requested “the Commission clarify
that where there are third-party payment platforms managing Subscriptions on behalf of
businesses … (collectively, “Third Party Subscription Managers”), that such Third Party
Subscription Managers be legally responsible and legally liable for compliance with the
proposed Rule. As is the case with Third Party Subscription Managers, businesses that offer
Subscriptions have zero control over such Subscriptions, including the initiation of Subscriptions
or the cancellation of Subscriptions. Said another way, it is impossible for businesses to comply
with the proposed Rule where there are Third Party Subscription Managers. As such, the
Association requests that the Commission make clear that Third Party Subscription Managers be
responsible for compliance with the proposed Rule, including any penalties for noncompliance.”
MIA, FTC-2023-0033-1008.
138
    PDMI, FTC-2023-003-0864.

                                                  42
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careful retailer could still “face steep financial penalties for negligent misrepresentations

(concerning, e.g., product efficacy) based on information provided by third-party vendors.” 139   138F




      (2)      Analysis

       Based on the record, the Commission revises the definition of “negative option seller” to

remove the word “promoting,” but declines to create status-based exemptions. 140 Moreover, the
                                                                                  139F




Commission clarifies it will enforce the final Rule in accordance with established Section 5

principles regarding parties’ responsibilities for, and involvement in, relevant activity. This

approach should fully address commenters’ concerns while maintaining the Rule’s consumer

protections.

       As several commenters observed, a wide variety of actors may have secondary or tertiary

roles in promoting products or services with a negative option feature. Further, as the Chamber

noted, “many of those participants . . . may not actually play an active role in determining how

the negative option is presented to the consumer.” 141 Similarly, participants in the promotion
                                                    140F




process may have no role in cancellation. Deleting the word “promoting” from the definition of

negative option seller addresses this issue by ensuring those who have no active participation in

the negative option feature are outside the Rule’s coverage. However, this amendment does not

mean all actors involved in promotion are exempt from the Rule. A participant who promotes

and takes on a further role “selling, offering, charging for, or otherwise marketing goods or

services with a negative option feature” remains subject to the final Rule, including the




139
    NRF, FTC-2023-0033-1005.
140
    See also Section VII.B.1; Section VIII.A.1.
141
    Chamber, FTC-2023-0033-0885.

                                                  43
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provisions covering “promoting” such goods or services for those who meet the negative option

seller definition. 142
                   141F




        The Commission declines to adopt a status-based exemption for payment intermediaries.

Such exemptions are overbroad, excluding actors engaged in the practices condemned by the

Rule. For example, a payment processor selling its own services on a negative option basis, as

opposed to just providing payment services for another negative option seller, is no different than

any other business covered by the Rule. Additionally, as ETA correctly noted, the words

“charging for” as used in the Rule do not cover intermediaries merely effecting the transfer of

funds from the consumer buyer to the merchant seller. This is consistent with the Commission’s

interpretation of ROSCA’s coverage of persons who “charge or attempt to charge any

consumer.” 143 Based on longstanding Section 5 principles, the Commission has not enforced
            142F




ROSCA against payment intermediaries solely for their conduct in effecting funds transfers. 144
                                                                                             143F




The Commission will apply the same principles to the Rule. 145
                                                            144F




        Similarly, the Commission will not grant blanket exemptions to sellers who contract with

third parties while offering subscription services. The Commission expects negative option

sellers to evaluate their commercial relationships with the Rule’s provisions in mind. Even where


142
    See, e.g., FTC v. LeadClick Media, LLC, 838 F.3d 158, 172 (2d Cir. 2016) (operator of
affiliate marketing network liable where it did not create ads but “directly participat[ed] in the
deceptive scheme by recruiting, managing, and paying a network of affiliates to generate
consumer traffic through the use of deceptive advertising and allowing the use of deceptive
advertising where it had the authority to control the affiliates participating in its network.”).
143
    15 U.S.C. 8403.
144
    See FTC v. Apex Capital Grp., LLC, No. 2:18-cv-09573 (C.D. Cal. 2018). In this ROSCA
matter, the Commission amended its complaint to add payment intermediary defendants for their
unlawful conduct in connection with the scheme. However, the Commission did not assert
ROSCA claims against the payment intermediary defendants, instead asserting counts for credit
card laundering and manipulation of chargeback levels as Section 5 violations.
145
    Id.; see FTC v. First Am. Payment Sys., No. 4:22-cv-00654 (E.D. Tex. 2022) (ROSCA case
against payment processor for its unlawful acts and practices against its merchant customers).

                                                44
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a seller does not directly manage its negative option feature disclosures, consent, or cancellation,

it can satisfy its obligations under the Rule by choosing to contract with third parties who act in

accordance with the Rule and monitoring those parties’ performance. An exemption for all

sellers who contract with third parties to manage aspects of their negative option programs would

effectively nullify the Rule by incentivizing less than legitimate sellers to contract with actors

engaged in deceptive practices to maximize negative option enrollments and frustrate

cancellation with impunity. A seller cannot evade its responsibility to deal honestly with

consumers by contracting with a third party who does not. 146 14 5F




                        b)     Insurance

      (1)      Comments

       Several commenters asked the Commission to expressly exclude insurance and state-

regulated service contracts from the Rule. 147 They argued Congress prohibited the FTC from
                                           14 6F




regulating the “business of insurance” in Section 2 of the McCarran-Ferguson Act and the FTC

exempted insurance sales in its Cooling-Off Rule. 148 They also asserted, “[s]tate regulations in
                                                    147 F




every jurisdiction require an insurer to give notice of a policy renewal,” and state rules prohibit

negative options. 149 Other commenters argued the Commission should exempt all service
                 148F




146
    E.g., FTC v. LeadClick Media, LLC, 838 F.3d 158, 170 (2d Cir. 2016) (“A defendant may be
held liable for its own acts of deception under the FTC Act, whether by directly participating in
deception or by allowing deceptive acts or practices to occur that are within its control.”); see
also FTC v. Inc21.com Corp., 688 F. Supp. 2d 927, 939 (N.D. Cal. 2010) (“Even if Inc21 did not
approve of the fraud (and it seems likely that it did approve), the fact remains that Inc21 is
responsible for organizing this engine of fraud and reaping its profits. As such, Inc21 may
certainly be held accountable[.]”) (emphasis in original).
147
    Asurion, FTC-2023-0033-0878; Florida Service Agreement Association, FTC-2023-0033-
0882; American Property Casualty Insurance Association (“APCIA”), FTC-2023-0033-0996;
National Association of Mutual Insurance Companies (“NAMIC”), FTC-2023-0033-1143.
148
    See 15 U.S.C. 1012; 16 CFR 429(a)(6).
149
    NAMIC, FTC-2023-0033-1143.

                                                   45
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contract providers from the Rule due to existing state laws and regulations, 150 regardless of
                                                                               149F




whether they are engaged in the “business of insurance” within the meaning of the McCarran-

Ferguson Act.

      (2)       Analysis

       The Commission declines to exempt insurance or service contracts from the Rule. The

final Rule can be enforced by the Commission only against covered persons and activities within

the Commission’s jurisdiction. 151 Restating or further specifying each jurisdictional limit in the
                                15 0F




final Rule’s text, therefore, is not necessary.

       Additionally, the requested industry-wide exemption is considerably broader than the

FTC’s jurisdictional limitations. The McCarran-Ferguson Act does not exempt entities engaged

in the business of insurance from the Commission’s jurisdiction unless such entities are subject

to state regulation. 152 Moreover, activities of entities within the insurance industry that are
                   151F




beyond the scope of the “business of insurance” are subject to the Commission’s jurisdiction. 153  152 F




150
    SCIC, FTC-2023-0033-0879 (noting SCIC’s comment to the ANPR stated most states have
substantial regulatory frameworks for service contracts and that industry operates nationwide
consistent with the intent of the proposed Rule); CTIA, FTC-2023-0033-0866 (noting service
contracts are typically regulated by state departments of insurance and most states with
autorenewal laws, including California, New York, and Oregon, provide an exemption for
entities regulated by the state department of insurance); Frontdoor, Inc. (“Frontdoor”), FTC-
2023-0033-0862 (noting majority of states have rigorous laws for the offering, sale, and renewal
of home service contracts, including the use of automatic renewals and applicable cancellation
rights).
151
    Nothing in this Rule, however, shall limit another agency’s ability to enforce this Rule within
its own statutory authority, even if that authority is different than the FTC’s authority. See, e.g.,
12 U.S.C. 5581(b)(5)(B)(ii).
152
    FTC v. IAB Mktg. Assocs. LP, 746 F.3d 1228, 1235 (11th Cir. 2014) (“[T]he FTC Act applies
to the business of insurance only to the extent that such business is not regulated by state law.”).
153
    The Supreme Court has explained that, under the McCarran-Ferguson Act, a three-part factual
inquiry is necessary to evaluate whether any particular activity constitutes the business of
insurance. See Union Labor Life Ins. Co. v. Pireno, 458 U.S. 119, 129 (1982). First, does the
activity have the effect of transferring or spreading a policyholder’s risk; second, is the activity


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No commenter provided any compelling reason to exempt these otherwise covered activities

from the Rule.

       Finally, commenters’ citations to existing state laws and regulations governing service

contract sellers indicate these sellers already provide disclosures and protections consistent with

the Rule. As a practical matter, sellers who already provide consumers the Rule’s protections

should not be burdened by its application. 154    15 3F




                         c)    Business-to-Business

      (1)           Comments

       Nine commenters noted the NPRM did not expressly address whether the proposed Rule

would apply to business-to-business (“B2B”) transactions. Seven, including five industry

associations, 155 said it should not apply. 156 Two individuals disagreed. 157
             154F                         15 5F                                 156F




       Commenters advocating against including B2B sales in the Rule asserted the

Commission should presume businesses are more sophisticated than individual consumers, 158         15 7F




an integral part of the policy relationship between the insurer and the insured; and third, is the
practice limited to entities within the insurance industry. Id. This inquiry requires a factual
analysis of the activities in question.
154
    Moreover, service contract sellers, like other interested persons, may seek full or partial
exemption from the final Rule. See Section VIII.A.1 (discussing new § 425.8, Exemptions
provision).
155
    BSA, FTC-2023-0033-1015 (B2B software sellers); CTIA, FTC-2023-0033-0866 (wireless
communication industry); ETA, FTC-2023-0033-1004 (payments industry); NCTA, FTC-2023-
0033-0858 (Internet and television); USTelecom, FTC-2023-0033-0876 (broadband). A sixth
association, the U.S. Chamber of Commerce, asked the Commission to ensure that the scope of
its cost-benefit analysis includes business-to-business transactions. FTC-2023-0033-0885.
156
    Anonymous commenter, FTC-2023-0033-1007; BSA, FTC-2023-0033-1015; CTIA, FTC-
2023-0033-0866; ETA, FTC-2023-0033-1004; NCTA, FTC-2023-0033-0858; USTelecom,
FTC-2023-0033-0876; ZoomInfo, FTC-2023-0033-0865.
157
    Individual commenter, FTC-2023-0033-0755; Individual commenter, FTC-2023-0033-0042.
158
    Anonymous commenter, FTC-2023-0033-1007; CTIA, FTC-2023-0033-0866; NCTA, FTC-
2023-0033-0858; ZoomInfo, FTC-2023-0033-0865.

                                                          47
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and contended B2B contracts typically are individually negotiated. 159 For example, ZoomInfo
                                                                      158F




maintained business consumers are generally “more sophisticated than individual consumers,”

explaining B2B contracts “are assumed to result from arm’s-length negotiation and often benefit

from professional legal counsel.” 160 Similarly, NCTA, an organization representing the Internet
                                        159F




and television industry, characterized business consumers as “typically sophisticated,” and said

the Commission should not intervene in transactions based on “[n]on-form contracts that are the

subject of extensive bargaining between sophisticated companies.” 161 160F




       Seller and consumer commenters differed on whether the harmful negative option

practices discussed in the NPRM are extant for B2B consumers. In support of excluding B2B

transactions, two commenters asserted there is insufficient evidence of harm in the B2B context

to support a prevalence finding. 162 A B2B consumer, however, noted individuals and small
                                 161F




businesses both suffer from the harms of deceptive and unfair negative option practices. “As a

small business owner,” the individual wrote, “as well as a consumer, I am especially aware of

how purposely difficult many companies make it to cancel their services. From telephone

companies to travel channel companies … to email targeting campaigns … the cancelling

process is ridiculously complex and at times hidden, if it exists at all on their websites.” 163
                                                                                            162F




       Seller and consumer commenters also differed on the significance of existing state law

B2B exclusions. Three B2B sellers recommended the Commission follow those states that




159
    CTIA, FTC-2023-0033-0866; NCTA, FTC-2023-0033-0858; USTelecom, FTC-2023-0033-
0876; ZoomInfo, FTC-2023-0033-0865.
160
    ZoomInfo, FTC-2023-0033-0865.
161
    NCTA, FTC-2023-0033-0858. NCTA requested any final rule exclude individually
negotiated business-to-business contracts. FTC-2023-0033-0858.
162
    BSA, FTC-2023-0033-1015; NCTA, FTC-2023-0033-0858. The Commission discusses the
subject of prevalence more broadly at Section VII.A.
163
    Individual commenter, FTC-2023-0033-0755.

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exclude B2B transactions. 164 A consumer, however, asserted such exclusions are why this Rule
                                16 3F




is necessary. 165 Specifically, the commenter explained: “negative option marketing also greatly
                   164F




affect[s] many individual sellers and small businesses,” but due to B2B exclusions, “some larger

corporations or companies are able to take advantage of that loophole and use predatory negative

option practices against individual sellers and small businesses.” 166  165F




              Some sellers also referred to other federal regulations to support excluding businesses

from the scope of the Rule. For instance, ETA and NCTA each noted the Commission excluded

most B2B transactions in the TSR. ETA made the same observation about the Cooling Off

Rule. 167 Both CTIA and USTelecom approvingly cited the FCC’s approach. USTelecom
      16 6F




explained, “the FCC has limited certain consumer protection rules to ‘mass-market retail

services’” that are “‘marketed and sold on a standardized basis to residential customers, small

businesses, and other end-user customers such as schools and libraries.’” 168 USTelecom further
                                                                                167F




explained, “Mass-market retail services stand in contrast to ‘customized or individually

negotiated arrangements’ that are typically offered to larger organizations.” 169      16 8F




              ETA questioned whether the Commission has authority to address B2B transactions.

ETA argued the proposed Rule would let the Commission “interpose regulatory influence and

law enforcement authority in contractual arrangements between businesses in a way that has not

been authorized by Congress or justified by the Commission’s own rationale for the Proposed




164
    Anonymous commenter, FTC-2023-0033-1007 (California); BSA, FTC-2023-0033-1015
(California, Colorado, Delaware); ZoomInfo, FTC-2023-0033-0865 (California, Colorado,
Connecticut, Delaware, Hawaii, New York, Oregon, Tennessee, Virginia).
165
    Individual commenter, FTC-2023-0033-0042.
166
    Id.
167
    16 CFR 429.0-429.3.
168
    USTelecom, FTC-2023-0033-0876.
169
    Id.

                                                        49
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Rule.” 170 ETA cited the Commission’s use of ROSCA in the First American Payment Systems
       169F




case to illustrate its view the Rule’s application in the B2B context would be impermissible

regulation of “an automatic renewal clause in an arm’s length commercial agreement.” 171       170F




              Finally, ETA and ZoomInfo argued various provisions of the Rule, such as the disclosure

and notice requirements, could present unusual implementation problems in B2B transactions.

For instance, ETA asserted disclosure requirements could result in operational uncertainty

because the Commission did not consider all the typical terms included in B2B agreements.

Similarly, ZoomInfo explained “B2B agreements are often complex, involving multiple

decision-makers and points of contact, who might rotate or leave their roles over the course of a

contract.” 172  171F




      (2)              Analysis

              The final Rule, like the proposed Rule, covers B2B transactions. It has been the

Commission’s longstanding view that Section 5 of the FTC Act 173 protects business consumers
                                                                            172F




as well as individual consumers. Moreover, commenters’ arguments that, under Section 5, all

business consumers must be held to a heightened standard of sophistication are inconsistent with

settled law.

              The Commission has long enforced the FTC Act against those who deceive and act

unfairly to businesses and other organizations. 174 As the Supreme Court explained in FTC v.
                                                     173F




Standard Educ. Soc., 302 U.S. 112, 116 (1937), “Laws are made to protect the trusting as well as


170
    ETA, FTC-2023-0033-1004.
171
    Id. (citing FTC v. First Am. Payment Sys., No. 4:22-cv-00654 (E.D. Tex. 2022)).
172
    ZoomInfo, FTC-2023-0033-0865. ETA also raised a concern about the definition of negative
option seller, addressed in Section VII.B.1.a.
173
    15 U.S.C. 45(a).
174
    See, e.g., Indep. Directory Corp. v. FTC, 188 F.2d 468 (2d Cir. 1951) (deceptive practices in
selling directory ads to businesses).

                                                            50
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the suspicious.” This principle applies no less to the business consumer than to the individual. 175
                                                                                                174 F




The Commission maintains a decades-long list of business protection cases on its website and

dedicates significant effort to educate and protect small businesses. 176 Indeed, the Commission
                                                                     17 5F




has made protecting small businesses a priority. 177
                                                 176F




        Moreover, the TSR never exempted B2B transactions entirely. Importantly, the

Commission recently amended the TSR to cover a broader scope of B2B activity. Specifically, in

2024, the Commission expanded the TSR to prohibit material misrepresentations and false or

misleading statements in B2B calls due to the ongoing harm to small businesses from such

practices. 178
          177F




        Additionally, recent Commission actions to protect small businesses underscore the fact

deceptive practices pertaining to negative option features occur in B2B transactions just as they

do with individual consumers. None of these cases present the arms-length negotiation of

contracts by sophisticated parties that commenters claim to be universal. For example, in its 2022


175
    Indep. Directory Corp., 188 F.2d at 470 (applying Standard Educ. Soc.); see also, e.g., FTC
v. LoanPointe, LLC, 525 F. App’x 696, 701 (10th Cir. 2017) (FTC need only prove “the
likelihood that a consumer (here, employers)” would be deceived (emphasis added)); FTC v.
Crittenden, 19 F.3d 26 (9th Cir. 1994) (Table) (noting stipulated judgment with B2B office
supplier); FTC v. Inc21.com Corp., 688 F. Supp. 2d 927 (N.D. Cal. 2010) (preliminary
injunction against deceptive and unfair B2B billing scheme); FTC v. IFC Credit Corp., 543 F.
Supp. 2d 925, 934 (N.D. Ill. 2008) (FTC Act applies to B2B sales).
176
    See Fed. Trade Comm’n, “Protecting Small Businesses: Cases,”
https://www.ftc.gov/node/1211663 (last visited {});
                                                 ■ Fed. Trade Comm’n, “Protecting Small
Businesses,” https://www.ftc.gov/tips-advice/business-center/small-businesses (last visited {});
                                                                                             ■
Fed. Trade Comm’n, “Scams and Your Small Business: A Guide For Business,”
https://www.ftc.gov/tips-advice/business-center/guidance/scams-your-small-business-guide-
business (last visited {}).
                       ■
177
    See Press Release, Fed. Trade Comm’n, “FTC, BBB, and Law Enforcement Partners
Announce Results of Operation Main Street: Stopping Small Business Scams Law Enforcement
and Education Initiative” (June 18, 2018), https://www.ftc.gov/news-events/press-
releases/2018/06/ftc-bbb-law-enforcement-partners-announce-results-operation-main (last visited
{}).
■
178
    TSR, 89 FR 26760 (April 16, 2024).

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action against First American Payment Systems, 179 the Commission alleged the defendants
                                                 178F




violated Section 5 and ROSCA by making false claims about fees and cost savings to persuade

merchants in small- and medium-sized businesses, many of whom had limited English

proficiency, to enter into payment processing agreements. 180 Once enrolled, the defendants
                                                                       179F




allegedly withdrew funds from merchants’ accounts without consent, and made it difficult and

expensive to cancel the service. Under a stipulated court order, the defendants must (among other

things) make it easier for merchants to cancel their services.

       In the Commission’s 2022 Dun & Bradstreet 181 matter, the complaint alleged multiple
                                                         180F




deceptive practices pertaining to products the defendant marketed to small- and medium-sized

businesses, in violation of Section 5. The resulting consent order includes substantial provisions

pertaining to negative option features.

       The Commission’s 2022 action against Vonage 182 also illustrates this point. The
                                                                181F




complaint detailed the defendants’ deceptive and unfair practices targeting both business and

residential customers and alleged those practices violated Section 5 and ROSCA. 183 The      182F




stipulated court order includes multiple provisions relating to consent, cancellation, and

disclosures pertaining to both individual and business consumers.

       Nonetheless, two arguments for excluding B2B transactions warrant additional

discussion. First, several commenters elide the distinction between B2B agreements generally


179
    FTC v. First Am. Payment Sys., No. 4:22-cv-00654 (E.D. Tex. 2022).
180
    In describing the basis for the misrepresentations provision of the proposed Rule, the NPRM
cited (among other cases) First Am. Payment Sys. NPRM, 88 FR 24726 n.65. See also ETA,
FTC-2023-0033-1004.
181
    In re Dun & Bradstreet, Inc., FTC Docket No. C-4761 (2022).
182
    FTC v. Vonage Holdings Corp., No. 3:22-cv-06435 (D.N.J. 2022).
183
    The Adobe matter provides another recent example of a matter alleging unlawful negative
option practices targeting both individual and business consumers. United States v. Adobe, Inc.,
No. 5:24-cv-03630 (N.D. Cal. 2024).

                                                 52
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and individually negotiated B2B agreements. It is neither the purpose nor the effect of the final

Rule to prevent businesses from entering into agreements with individually negotiated negative

option terms. By requiring the cancellation mechanism to be “at least as easy to use” as the

consent mechanism, the final Rule incorporates a symmetrical standard that accounts for

individually negotiated B2B agreements. A B2B consumer who consents to a negative option

feature through an individually negotiated term of an agreement can also individually negotiate

the cancellation mechanism. Moreover, as the Commission noted above, it will enforce this Rule

in the same manner in which it enforces Section 5 of the FTC Act. 184 The Commission has not
                                                                        183F




used its consumer protection authority in the type of large individually negotiated B2B

transactions commenters are worried about. 185 Unsurprisingly, no commenter cited any
                                             184F




historical instance to the contrary. Thus, the Rule preserves the ability of sophisticated business

consumers to individually negotiate B2B agreement terms. 186   185F




       Second, it appears several commenters mistakenly thought the required simple

cancellation mechanism would necessarily terminate all aspects of any broader contract or

agreement. In fact, this provision only pertains to cancellation of the negative option feature.

Complex commercial agreements, such as those described by ETA, will have numerous

provisions unrelated to negative option features. Nothing in this Rule prohibits these provisions

from being subject to separate cancellation and termination terms.




184
    See Section VII.B.1.a.
185
    See 16 CFR 2.3.
186
    The Vonage order expressly exempts negative option feature provisions in B2B contracts
where the defendants “possess evidence that consumers negotiated significant terms of the
negative option feature that are only negotiable with business consumers.” FTC v. Vonage
Holdings Corp., No. 3:22-cv-06435 (D.N.J. 2022). The final Rule is less prescriptive and more
flexible than that order, thereby promoting more flexibility in the marketplace.

                                                    53
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                  2.     Proposed § 425.2 Definitions

          In the NPRM, the proposed Rule set forth several definitions. For example, the proposed

Rule defined “negative option feature” as a contract provision under which the consumer’s

silence or failure to take affirmative action to reject a good or service or to cancel an agreement

is interpreted by the negative option seller as acceptance or continuing acceptance of an offer.

This definition is consistent with the TSR and ROSCA (which references the TSR’s definition).

The proposed term includes, but is not limited to, automatic renewals, continuity plans, free-to-

pay conversion or fee-to-pay conversions, and pre-notification negative option plans. 187
                                                                                        18 6F




          Additionally, the proposed Rule defined “clear and conspicuous,” “negative option

seller,” and “save.” To define “clear and conspicuous,” the FTC imported its definition

developed through years of enforcement experience. As explained in the NPRM, the proposed

definition substantially overlaps with the concepts provided in California and District of

Columbia negative option laws, 188 with one exception. Specifically, the District of Columbia
                                   187F




definition requires disclosures to be visually proximate to any request for consumer consent. The

final Rule incorporates this requirement in a separate consent section.

                         a)      Summary of Comments

          The Commission did not receive any comments specifically supporting any proposed

definition, though several commenters generally supported the concepts incorporated in the

definitions, such as “clear and conspicuous disclosures.” Several commenters critiqued the

Commission’s omission of certain definitions, such as “material” in connection with § 425.3 and




187
      Section II of this Notice contains descriptions of these various plans.
188
      Cal. Bus. & Prof. Code section 17601 and DC Code section 28A-202.

                                                   54
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§ 425.4, 189 “simple cancellation mechanism,” 190 “practical,” and “normal business hours,” 191
        188F                                  189F                                                    190F




because these terms are used throughout the Rule. Other commenters asked the Commission to

add a definition for “consumer” that excludes businesses, 192 while another asked the
                                                               191F




Commission to include small businesses in that definition. 193 Similarly, other commenters asked
                                                                      192F




the Commission to “exempt” certain industries from, or otherwise alter the scope of, the

definition of “negative option seller.” 194
                                       193F




       Several commenters critiqued the proposed definitions. For example, ESA stated “the

definition of ‘save’ 195 is overly broad and would prohibit the presentation of useful, consumer-
                    194F




friendly details about a consumer’s subscription before they cancel it.” 196 Other commenters
                                                                                   195F




189
    See, e.g., BSA, FTC-2023-0033-1015 (material is not defined); Chamber, FTC-2023-0033-
0885 (same).
190
    Center for Data Innovation (“CDI”), FTC-2023-0033-0887; see also Act App Association,
FTC-2023-0033-0874; NRF, FTC-2023-0033-1005 (failed to defined “as simple as”).
191
    International Carwash Association, FTC-2023-0033-1142.
192
    See, e.g., Anonymous commenter, FTC-2023-0033-1007; Zoominfo, FTC-2023-0033-0865;
CTIA, FTC-2023-0033-0866; BSA, FTC-2023-0033-1015.
193
    Individual commenter, FTC-2023-0033-0042.
194
    See, e.g., Asurion, FTC-2023-0033-0878 (exempt service contracts); Chamber, FTC-2023-
0033-0885 (exclude promoting); ETA, FTC-2023-0033-1004 (exclude “charging for”). These
requests are more appropriately addressed in the scope and requested exemptions, and the
Commission does not consider them here.
195
    Save was defined in the proposed Rule as an attempt by a seller to present any additional
offers, modifications to the existing agreement, reasons to retain the existing offer, or similar
information when a consumer attempts to cancel a negative option feature.
196
    ESA, FTC-2023-0033-0867. PDMI argued similarly as to the definition of save. FTC-2023-
0033-0864 (arguing sellers should be able to be able to immediately discuss pause, skip or
modification options without having to ask for permission, particularly because it is impossible
to know which customers prefer to cancel as opposed to merely modify their current plan).
Accord USTelecom, FTC-2023-0033-0876 (definition of Save overly broad); RILA, FTC-2023-
0033-0883 (modify definition of save to allow short clarification and confirmation of intent
follow-up communications); Chamber, FTC-2023-0033-0885; CDI, FTC-2023-0033-0887
(“Commission should exclude information about permanent, irreparable harms that may result
from cancellation, and is relevant to the current subscription or product plan.”); CCIA, FTC-
2023-0033-0984; IAB, FTC-2023-0033-1000 (definition of save overly broad and “would
prohibit the presentation of useful, consumer-friendly details about a consumer’s subscription
before they cancel it.”).

                                                     55
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questioned why the “clear and conspicuous” definitions says a disclosure is not clear and

conspicuous, if a consumer must click on a hyperlink to see it. 197 196F




       Additionally, several commenters requested the Commission revise certain of its

proposed definitions for clarity. For instance, the National Federation of Independent Businesses

(“NFIB”) asked the Commission to revise the definitions for “clear and conspicuous” and

“negative option feature” to “make their meanings clearer” 198 by, for example, using simpler
                                                             197F




words in the clear and conspicuous definition (“words and grammar” versus “diction and

syntax”) or by providing detailed examples of each type of program covered in the definition of

negative option feature. NFIB further explained “Those regulated by and served by subsection

425.2(d) most likely would understand the meaning of an automatic renewal, but perhaps not the

meaning of the other examples.” 199
                                 198F




                       b)      Analysis

       Based on the record, the Commission makes several changes to the proposed definitions.

First, as explained in Sections VII.B.1.3 (material) and VII.B.6.c.2.b.ii (interactive electronic




197
    See, e.g., NCTA, FTC-2023-0033-0858 (definition does not take into account small screens);
Chamber, FTC-2023-0033-0885 (“The requirements that disclosure on the internet or mobile
applications be ‘unavoidable’ and ‘immediately adjacent’ rase practical concerns.”); CCIA, FTC-
2023-0033-0984 (definition should “hew closely to the Commission’s guidance in its .com
Disclosures policy to ensure regulatory consistency.”).
198
    NFIB, FTC-2023-0033-0789. Accord Kuehn, FTC-2023-0033-0871 (proposed revised
definition of negative option feature); Chamber, FTC-2023-0033-0885 (requests the definition of
negative option feature to be revised to exclude monthly subscription services). See Section
VII.B.4 for further discussion of proposed modifications. See also ETA, FTC-2023-0033-1004
(clarify and narrow “automatic renewal in the definition).
199
    NFIB, FTC-2023-0033-0789 (requesting specific examples of each type of program be
included in the definition of negative option feature); see also IHRSA, FTC-2023-0033-0863
(observes the Commission does not define what “automatic renewal, continuity plan” and other
examples of negative option features mean).

                                                 56
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medium), it adds definitions of material and interactive electronic medium for clarity. Further, as

discussed in Section VII.B.4, the Commission modifies the definition of clear and conspicuous.

         Second, the Commission removes the definition of save. As discussed in Section

VII.B.6.c the proposed saves provision did not achieve the right balance between protecting

consumers from unfair tactics and allowing sellers to provide necessary and valuable information

about cancellation. Therefore, the Commission declines to include the NPRM’s proposed

limitation on saves, and instead will consider issuing an SNPRM in the future for further

comment. Accordingly, without the saves provision, the Commission determines there is no need

for a defined term at this time.

         Although several commenters critiqued the lack of definitions for such terms as “simple

cancellation mechanism,” “practical,” or “normal business hours,” the Commission addresses

these concerns with further clarification, rather than with formal definitions, in the Section-by-

Section analysis below. As to commenter requests for a definition of “consumer” expressly

excluding (or including) business-to-business transactions, the Commission similarly addresses

these requests in the sections regarding scope and requested exemptions, above.

         Finally, NFIB asked the Commission to add specific examples of each type of negative

option program to the text of the Rule, stating those served by the Rule would likely not

understand these “terms of art.” 200 The Commission discusses examples of each type of negative
                                    19 9F




option program in more detail as part of the SBP at Section II. Further, the Commission typically

engages in robust consumer and business education campaigns when promulgating and issuing




200
      NFIB, FTC-2023-0033-0789.

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final rules and will do so here. The Commission therefore disagrees the Rule must incorporate

these examples into the text. 201    200F




                    3.          Proposed § 425.3 Misrepresentations

             Section 425.3 of the proposed Rule prohibited sellers from misrepresenting “any material

fact related to the transaction, such as the negative option feature, or any material fact related to

the underlying good or service.” 202 As explained in the NPRM, “misrepresentations in negative
                                             201F




option marketing cases often involve deceptive representations not only related to the negative

option feature but to the underlying product (or service) or other aspects of the transaction as

well.” 203 These include “misrepresentations related to costs, product efficacy, free trial claims,
      202F




processing or shipping fees, billing information use, deadlines, consumer authorization, refunds,

[and] cancellation.” 204 203F




             The FTC Act provides the legal basis for the Commission to prevent and remedy

misrepresentations in the negative option context. Specifically, Section 5(a)(1) of the FTC Act

declares unfair or deceptive acts or practices in or affecting commerce to be unlawful. Negative

option sellers making material misrepresentations are engaged in deceptive practices. Addressing

these practices through the Rule prevents deception by giving the Commission the ability to seek


201
    Further, as explained in n.306, the Commission also declines to revise the definition of “clear
and conspicuous” to replace the words “diction and syntax” with “words and grammar.”
202
    NPRM, 88 FR 24734.
203
    NPRM, 88 FR 24726.
204
    Id. (citing e.g., FTC v. Tarr, No. 3:17-cv-02024 (S.D. Cal. 2017); FTC v. First Am. Payment
Sys., No. 4:22-cv-00654 (E.D. Tex. 2022); FTC v. XXL Impressions, LLC, No. 1:17-cv-00067
(D. Me. 2017); United States v. MyLife.com, Inc., No. 2:20-cv-6692 (C.D. Cal. 2020); FTC v.
Health Rsch. Labs., LLC, No. 2:17-cv-00467 (D. Me. 2017); FTC v. Leanspa, LLC, No. 3:11-cv-
01715 (D. Conn. 2011); FTC v. WealthPress, Inc., No. 3:23-cv-00046 (M.D. Fla. 2023); FTC v.
BunZai Media Grp., Inc., No. 2:15-cv-04527 (C.D. Cal. 2015); FTC v. Willms, No. 2:11-cv-
00828 (W.D. Wash. 2011); FTC v. Universal Premium Servs., No. 2:06-cv-00849 (C.D. Cal.
2006); FTC v. Remote Response Corp., No. 1:06-cv-20168 (S.D. Fla. 2006); and FTC v.
Johnson, No. 2:10-cv-02203 (D. Nev. 2016).

                                                            58
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civil penalties (where appropriate under 5(m)(1)(a)), where they are not already provided, thus

deterring misrepresentations, protecting consumers, and leveling the playing field for “honest

sellers who must compete with those who engage in deception.” 205 20 4F




                       a)      Summary of Comments

       The State AGs strongly supported this provision, stating, for example, it would “combat[]

seller misrepresentations, by providing the FTC with authority to seek civil penalties and

consumer redress for material misrepresentations in all types of media.” 206 Echoing the NPRM,
                                                                                  20 5F




they explained, “[l]ike the FTC, we have found that negative option marketing cases ‘often

involve deceptive representations not only related to the negative option feature but to the

underlying product (or service) or other aspects of the transaction as well.’” 207        20 6F




       Law Professors further supported prohibiting “material misrepresentations … whether or

not the false claim is exclusively about the negative option feature.” 208 They, too, offered
                                                                          20 7F




evidence of the prevalence of misconduct, stating “entities like the Better Business Bureau have

long reported, based on FTC and other data, the prevalence of misrepresentation in certain

negative option arrangements, and non-FTC enforcement efforts confirm the problem.” 209 Citing    20 8F




205
    NPRM, 88 FR 24726.
206
    State AGs, FTC-2023-0033-0886.
207
    Id.
208
    Law Professors, FTC-2023-0033-0861.
209
    Id., citing Better Business Bureau, “BBB Investigation Update: Free Trial Offer Scams” (Apr.
2020), https://www.bbb.org/article/news-releases/22040-bbb-update-free-trial-offerscams; C.
Steven Baker & Better Business Bureau, “Subscription Traps and Deceptive Free Trials Scam
Millions with Misleading Ads and Fake Celebrity Endorsements” (Dec. 2018),
https://www.bbb.org/article/investigations/18929-subscription-traps-and-deceptive-free-
trialsscam-millions-with-misleading-ads-and-fake-celebrity-endorsements. The Law professors
further pointed to evidence found by searching BBB’s ScamTracker for terms like
“subscription.” See, e.g., Better Business Bureau, ScamTracker, ID #720953,
https://www.bbb.org/scamtracker/lookupscam/720953. They additionally cited Consumer
Financial Protection Bureau, “CFPB Charges TransUnion and Senior Executive John Danaher


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multiple sources, they argued the “Commission thus has more than ample ‘reason to believe that’

co-occurring negative option violations and other misrepresentations ‘are prevalent.’” 210     209F




       These commenters further argued the Commission should not adopt a narrower provision

limited strictly to the elements of a negative option feature because, in their view, it would be

difficult “to fully separate misrepresentations regarding the negative option feature from all other

material misrepresentations.” 211
                              210F




       Several commenters, largely trade groups and sellers, criticized the proposed provision.

As discussed in Section V.A, several questioned the prevalence of misrepresentations 212 and  211F




asserted the provision was not within the scope of the ANPR. 213 Additionally, several
                                                                     212F




commenters argued the provision is overbroad, and suggested it is unnecessary in light of

existing law. Finally, they proposed ways to narrow the proposed provision.

       Several commenters objected to the scope of the proposed provision. Citing

Commissioner Wilson’s dissent to the NPRM, TechNet noted the proposed Rule “would capture

alleged misrepresentations regarding the underlying product or service ‘wholly unrelated’ to the




with Violating Law Enforcement Order” (Apr. 2022), https://www.consumerfinance.gov/about-
us/newsroom/cfpb-charges-transunion-and-seniorexecutive-john-danaher-with-violating-law-
enforcement-order/; David Pierson, ‘Santa Monica fitness brand Beachbody is fined $3.6 million
over automatic renewals,” L.A. Times (Aug. 29, 2017), https://www.latimes.com/business/la-fi-
beachbody-20170829-story.html; Bruce A. Craig, Negative-Option Billing - Understanding the
Stealth Scams of the ‘90s, 7 Loy. Consumer L. Rev. 5 (1994).
210
    Law Professors, FTC-2023-0033-0861.
211
    Law Professors, FTC-2023-0033-0861.
212
    CTA, FTC-2023-0033-0997; ESA, FTC-2023-0033-0867; IAB, FTC-2023-0033-1000;
N/MA, FTC-2023-0033-0873; RILA, FTC-2023-0033-0883; TechFreedom, FTC-2023-0033-
0872. See Section VII.A for a discussion of prevalence addressing these comments.
213
    ANA, FTC-2023-0033-1001; CCIA, FTC-2023-0033-0984; Coalition, FTC-2023-0033-0884;
ESA, FTC-2023-0033-0867; Frontdoor, FTC-2023-0033-0862; IAB, FTC-2023-0033-1000;
NRF, FTC-2023-0033-1005; RILA, FTC-2023-0033-0883. See Section VII.A for a discussion
addressing these comments.

                                                     60
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negative option feature.” 214 Three commenters asserted no current trade regulation rule prohibits
                         213F




misrepresentations so broadly. 215
                                214F




       Similarly on scope, some commenters also argued the proposed language lacked the

specificity necessary to give sellers notice of what conduct would violate the Rule. 216 For 215F




example, ACT App Association asserted, “Notwithstanding best efforts, tech startups’ ability to

flawlessly adhere to the vague and broad language used in this rule is unrealistic.” 217
                                                                                      216F




       A few commenters provided hypotheticals or asked rhetorical questions to illustrate

concerns about the proposal’s breadth. MIA, for example, stated, “if a streaming service

advertises, ‘movies that you will love,’ but you do not ‘love’ them, is that a violation of this rule

subject to penalties? If a housekeeping service claims, ‘great cleaning every time,’ but the

resulting cleanliness is not up to the consumer’s ‘standards,’ will that trigger this provision and

any resulting penalties?” 218 The Chamber asked, “[c]ould a privacy policy, for example, be
                         217F




considered a material representation covered under this requirement?” 219218F




       Many of these commenters argued the reach of the proposed Rule would negatively

impact consumers by discouraging negative option offerings. TechNet said, “[f]or a variety of


214
    TechNet, FTC-2023-0033-0869.
215
    NCTA, FTC-2023-0033-0858; PDMI, FTC-2023-0033-0864; TechFreedom, FTC-2023-
0033-0872.
216
    For example, the Coalition and IAB both said, “The NPRM fails, however, to identify which
claims would constitute a material fact, and thus fails to identify covered acts with the requisite
level of specificity.” Coalition, FTC-2023-0033-0884; IAB, FTC-2023-0033-1000. PDMI
similarly claimed the proposed provision’s lack of specificity “renders [the proposed Rule]
overly vague and unlawful.” FTC-2023-0033-0864. See also ESA, FTC-2023-0033-0867;
TechFreedom, FTC-2023-0033-0872; USTelecom, FTC-2023-0033-0876 (citing Katharine
Gibbs School v. FTC, 612 F.2d 658 (2d Cir. 1979)).
217
    ACT App Association, FTC-2023-0033-0874.
218
    MIA, FTC-2023-0033-1008.
219
    Chamber, FTC-2023-0033-0885. See also CDI, FTC-2023-0033-0887 (“consumers could
argue that the dish detergent they received through a subscription service did not clean dishes as
advertised.”).

                                                 61
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subscription services, the main drivers of consumer engagement are the subscription services’

ability to provide financial savings, convenience, and access to premium services . . . .

Unfortunately, the NPRM ignores these benefits and would discourage the offering of

subscription services altogether.” 220 ESA feared “this section will discourage industry members
                                  219F




from developing and offering innovative negative option plans that consumers will enjoy.” 221  220F




       Several commenters asserted existing laws and regulations make the proposed provision

unnecessary. Some argued Section 5’s prohibition against deceptive practices already provides

the Commission sufficient authority on this issue. 222 Others asserted state laws and regulations
                                                    221F




prohibiting misrepresentations are sufficient to protect the public. 223
                                                                       222F




       Commenters were divided on ROSCA’s coverage. NRF, for example, said “[i]n light of

the Commission’s decision that ROSCA already prohibits deceptive statements made in

connection with a subscription, even if not directly related to subscription terms, many of the

proposed amendments are unnecessary.” 224 In contrast, PDMI said while MoviePass “perhaps
                                          223F




reflects a colorable approach,” the application of ROSCA there “exceeded Congress’ intent.” 225       224F




Similarly, IAB asserted the proposed Rule would break new ground by “grant[ing] the




220
    TechNet, FTC-2023-0033-0869.
221
    ESA, FTC-2023-0033-0867; see also IAB, FTC-2023-0033-1000 (predicting “autorenewing
(sic) subscriptions will become less common and significantly more costly because of the
regulatory risks” and “businesses and consumers will be harmed by the loss of convenience and
savings offered by autorenewal arrangements.”); Chamber, FTC-2023-0033-0885 (contending
“many entities may forgo negative options altogether. This decreases consumer choice in the
marketplace given the clear popularity and use of negative option features across the
economy.”).
222
    ANA, FTC-2023-0033-1001; Consumer Technology Association (“CTA”), FTC-2023-0033-
0997; N/MA, FTC-2023-0033-0873.
223
    NRF, FTC-2023-0033-1005; RILA, FTC-2023-0033-0883; SFE Energy, Inc. (“SFE”), FTC-
2023-0033-1151.
224
    NRF, FTC-2023-0033-1005.
225
    PDMI, FTC-2023-003-0864.

                                                 62
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Commission authority to seek monetary remedies against a first-time offender for

misrepresentations that would not give rise to monetary relief if made outside the context of an

autorenewal agreement.” 226 225F




       Several commenters recommended changes if the proposed provision remains in the

Rule. BSA, for example, suggested the Commission should define the term “material,” citing the

TSR and the FTC Policy Statement on Deception as examples. 227 Separately, RILA urged the
                                                                      22 6F




Commission “to include clear language stating a ‘reasonable person standard’ will apply to

determinations of ‘material facts’ related to products.” 228  22 7F




       Several commenters suggested the Commission limit the misrepresentation provision to

the terms of the negative option feature. For instance, BSA advocated for limiting the provision

“to facts relating to the transaction and not every material fact relating to the underlying good or

service.” 229 CCIA and CDI agreed, stating the final phrase should instead cover only those
         228F




material facts related to the underlying negative option feature and exclude “any material fact

related to the underlying good or service.” 230
                                              22 9F




                       b)          Analysis

       Based on the record, the Commission adopts a clarified version of the material

misrepresentation section and adds a definition for further clarification. Specifically, the final

Rule omits the proposed language referring to “any material fact related to the transaction, such

as the negative option feature, or any material fact related to the underlying good or service” and


226
    IAB, FTC-2023-0033-1000.
227
    BSA, FTC-2023-0033-1015; see also Chamber, FTC-2023-0033-0885 (noting “materiality”
not defined in NPRM).
228
    RILA, FTC-2023-0033-0883.
229
    BSA, FTC-2023-0033-1015.
230
    CCIA, FTC-2023-0033-0984; CDI, FTC-2023-0033-0887; see also TechFreedom, FTC-
2023-0033-0872.

                                                      63
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instead prohibits misrepresentation of “any material fact,” and defines “material” consistent with

the TSR and Section 5 of the FTC Act. Further, to enhance clarity and specificity, the text lists

several examples of potentially material fact categories, taken from Commission precedent.

          As further explained below: (1) despite commenters’ concerns to the contrary, this

provision is consistent with the ANPR and prevalence requirements of Section 18 of the FTC

Act; (2) consistent with ROSCA, the final provision is not limited to material misrepresentations

about the negative option feature itself; (3) the Commission declines to exclude any subset of

material misrepresentations from the scope of the Rule; and (4) for clarity, the Commission adds

a definition of “material” consistent with established law of Section 5 and other Commission

Rules.

        (1)          Adoption of a prohibition against misrepresentations is consistent with the

        ANPR and is appropriate to address prevalent unfair or deceptive acts or practices.

          Prior to the publication of any notice of proposed rulemaking promulgated under the

Magnuson Moss Act, the Commission must publish an advance notice of proposed rulemaking

(ANPR). 231 That notice must contain a “brief description of the area of inquiry under
              230F




consideration, the objectives which the Commission seeks to achieve, and possible regulatory

alternatives under consideration by the Commission.” 232 The ANPR in this case meets this
                                                          231F




standard. Specifically, in the ANPR, the Commission stated the objective of the Rule was to

prevent deceptive or unfair practices in the marketing of products and services with negative

option features. Several industry associations submitted comments in response to the ANPR,

illustrating the effectiveness of the ANPR in soliciting views of the interested public and affected




231
      15 U.S.C. 57a(b)(2).
232
      15 U.S.C. (b)(2)(A)(i).

                                                   64
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industry before issuing the NPRM. 233 Moreover, as detailed herein, the Commission has
                                    23 2F




reviewed and carefully considered the views of the public and industry as expressed in response

to both the ANPR and NPRM.

       The record demonstrates misrepresentations made to induce consumers to enter into

negative option programs are prevalent. Specifically, the Commission’s enforcement experience

(including consumer complaints, matters cited in the NPRM, and matters cited in this Statement

of Basis and Purpose) as well as the experiences of the State AGs, the information cited by the

Law Professors, and comments by consumer commenters all support this conclusion. 234     23 3F




       As several commenters critical of the proposed provision correctly note,

misrepresentations to induce consumers to join negative option programs are already unlawful

under Section 5, as well as under other state and federal laws and regulations, depending on

(among other things) media used and jurisdiction. This fact, however, does not undermine the

need for the Rule provision. By definition, a Section 18 trade regulation rule addresses conduct

that is already prohibited under Section 5. With such prohibited conduct defined, the trade

regulation rule may also more broadly “include requirements prescribed for the purpose of

preventing such acts or practices,” but the core of a trade regulation rule is the description of acts

or practices already violative of Section 5. 235 The misrepresentations section of the Rule is
                                            234F




narrower than the full scope of tools available under Section 18. It simply prohibits conduct that




233
    Section 425.3 is the only remaining Section as to which commenters made this ANPR
argument.
234
    See Section VII.1.a. In the cited Commission law enforcement matters, the Commission has
applied its established materiality standard, limiting its actions to misrepresentations that are
likely to affect consumers’ choice of, or conduct regarding, goods or services. In re Cliffdale
Assocs., Inc., 103 F.T.C. 110 (1984). That is to say, in the cited matters the Commission alleged
defendants made misrepresentations to induce consumers to enter into negative option programs.
235
    15 U.S.C. 57a(a)(1)(B).

                                                   65
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is already deceptive. Such a provision promotes clarity and confidence in the marketplace and

provides for more effective remedies (i.e., civil penalties, where appropriate) against

wrongdoers.

         Moreover, the fact that ROSCA’s disclosure requirement 236 already essentially prohibits
                                                                     235F




material misrepresentations about online negative option transactions, means much of the

rhetoric predicting the downfall of negative option marketing simply is ill-founded. Indeed, the

Chamber pointed to the “clear popularity and use of negative option features across the

economy” even as ROSCA has been law for over a decade. 237 Far from undermining legitimate
                                                             23 6F




business, the Rule’s express prohibition on misrepresenting material facts in connection with

promoting or offering for sale a negative option feature should increase consumer confidence in

negative option marketing, thus making it easier for legitimate businesses to market their

products.

        (2)     Prohibiting misrepresentation of any material facts, not just those pertaining

        to the negative option feature, promotes clarity consistent with ROSCA and

        Commission precedent.

         The final Rule prohibits misrepresentation of “any material fact.” In doing so, it provides

a non-exhaustive list of categories of potentially material facts (including transaction terms) and

adds a definition of “material,” consistent with Section 5 and the TSR. Specifically, consistent

with Section 5, “material” means “likely to affect a person’s choice of, or conduct regarding,




236
      15 U.S.C. 8403(1).
237
      Chamber, FTC-2023-0033-0885.

                                                 66
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goods or services.” 238 This approach both clarifies the terms most at issue and ensures the Rule
                      237F




accords with longstanding Section 5 precedent.

       The Commission declines to limit the misrepresentations prohibition solely to elements

of the negative option feature. 239 First, the Commission finds imposing such a narrow restriction
                              238F




would be inconsistent with existing protections. Pursuant to ROSCA Section 8403, sellers must

“clearly and conspicuously disclose all material terms of the transaction before obtaining the

consumer’s billing information.” (Emphasis added). As Congress has explained, a healthy

marketplace “must provide consumers with clear, accurate information and give sellers an

opportunity to fairly compete with one another for consumers’ business.” 240 Limiting a
                                                                           239F




misrepresentations prohibition solely to misrepresentations about the negative option feature

itself would fall well short of the scope of ROSCA and the Commission’s responsibility to

protect the public.

       Moreover, seller commenters themselves highlighted transaction elements other than

negative option terms as critical to inducing consumers to choose negative option features. IAB,

for example, pointed to the promise of “broader selection and lower prices” or “convenience and

savings.” 241 Similarly, TechNet identified the “ability to provide financial savings, convenience,
         240F




and access to premium services” as “the main drivers” of varied subscriptions. 242241F




238
     16 CFR 310.2(t) (TSR); 16 CFR 461.1 (Impersonation Rule); Policy Statement on Deception
(Oct. 14, 1983) (appended to In re Cliffdale Assocs., Inc., 103 F.T.C. 110 (1984)). See also BSA,
FTC-2023-0033-1015 (requesting definition of material consistent with TSR and Policy
Statement); Chamber, FTC-2023-0033-0885 (criticizing the proposed Rule for not defining
materiality).
239
     E.g., ESA, FTC-2023-0033-0867; NFIB, FTC-2023-0033-0789; TechFreedom, FTC-2023-
0033-0872.
240
     15 U.S.C. 8401(2).
241
    IAB, FTC-2023-0033-1000.
242
    TechNet, FTC-2023-0033-0869.

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               Furthermore, such a distinction may invite dishonest actors to misrepresent material facts

about a transaction so long as they felt they could evade monetary liability for such

misrepresentations. Moreover, simply refraining from making material misrepresentations is

hardly a significant burden given the fact that such misrepresentations are already illegal under

Section 5 of the FTC Act, and subject to civil penalties when made on the Internet and over the

telephone pursuant to ROSCA and the TSR, respectively.

              (3)     The Commission declines to exclude any material facts from the scope of the

              provision.

               To further promote clarity, the Commission includes a list of non-exclusive examples in

the text of § 425.3. In addition to the negative option feature itself, the examples include certain

characteristics the Commission has identified as presumptively material for more than 40

years 243 and which have in fact appeared as the subject of material misrepresentations in
      24 2F




243
   Policy Statement on Deception (Oct. 14, 1983) (appended to In re Cliffdale Assocs., Inc., 103
F.T.C. 110 (1984)) (describing and citing materiality of purpose, safety, efficacy, and cost); In re
Thompson Medical Co., Inc., 104 F.T.C. 648, 816-17 (1984) (listing cost, purpose, efficacy, and
safety as presumptively material characteristics).

                                                       68
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Commission negative option cases—cost, 244 purpose or efficacy, 245 and health or safety. 246 The
                                           24 3F                    244F                     24 5F




record demonstrates the list must be non-exclusive because the Commission has observed the use

of material misrepresentations other than those enumerated to induce consumers to enter into

transactions with negative option features, including, for example, characteristics of the seller, 247
                                                                                                     24 6F




244
    In the negative option context, material cost misrepresentations may include any cost (and
total costs) from inception through the course of the commercial relationship, including
misrepresentations as to recurring costs and refunds or guarantees. See, e.g., FTC v. FloatMe
Corp., No. 5:24-cv-00001 (W.D. Tex. 2024); United States v. Cerebral, Inc., No. 1:24-cv-21376
(S.D. Fla. 2024); FTC v. Bridge It, Inc., No. 1:23-cv-09651 (S.D.N.Y. 2023); FTC v. Benefytt
Techs., Inc., No. 8:22-cv-01794 (M.D. Fla. 2022); FTC v. First Am. Payment Sys., No. 4:22-cv-
00654 (E.D. Tex. 2022); FTC v. XXL Impressions, LLC, No. 1:17-cv-00067 (D. Me. 2017); FTC
v. Cardiff, No. 5:18-cv-02104 (C.D. Cal. 2018); FTC v. Health Rsch. Labs., LLC, No. 2:17-cv-
00467 (D. Me. 2017); FTC v. Tarr, No. 3:17-cv-02024 (S.D. Cal. 2017); FTC v. AdoreMe, Inc.,
No. 1:17-cv-09083 (S.D.N.Y. 2017); FTC v. Pact, Inc., No. 2:17-cv-1429 (W.D. Wash. 2017);
FTC v. Leanspa, LLC, No. 3:11-cv-01715 (D. Conn. 2011); FTC v. Willms, No. 2:11-cv-00828
(W.D. Wash. 2011); FTC v. Universal Premium Servs., No. 2:06-cv-00849 (C.D. Cal. 2006).
245
    See, e.g., FTC v. FloatMe Corp., No. 5:24-cv-00001 (W.D. Tex. 2024); United States v.
Cerebral, Inc., No. 1:24-cv-21376 (S.D. Fla. 2024); FTC v. NGL Labs, LLC, No. 2:24-cv-05753
(C.D. Cal. 2024); FTC v. Bridge It, Inc., No. 1:23-cv-09651 (S.D.N.Y. 2023); FTC v.
WealthPress, Inc., No. 3:23-cv-00046 (M.D. Fla. 2023); In re Dun & Bradstreet, Inc., FTC
Docket No. C-4761 (2022); FTC v. First Am. Payment Sys., No. 4:22-cv-00654 (E.D. Tex.
2022); In re MoviePass, Inc., FTC Docket No. C-4751 (2021); United States v. MyLife.com, Inc.,
No. 2:20-cv-6692 (C.D. Cal. 2020); FTC v. RagingBull.com, LLC, No. 1:20-cv-03538 (D. Md.
2020); FTC v. Match Grp., Inc., No. 3:19-cv-02281 (N.D. Tex. 2019); FTC v. XXL Impressions,
LLC, No. 1:17-cv-00067 (D. Me. 2017); FTC v. Cardiff, No. 5:18-cv-02104 (C.D. Cal. 2018);
FTC v. JDI Dating, Ltd., No. 1:14-cv-08400 (N.D. Ill. 2014); FTC v. Credit Bureau Ctr., LLC,
No. 1:17-cv-00194 (N.D. Ill. 2017); FTC v. Health Rsch. Labs., LLC, No. 2:17-cv-00467 (D.
Me. 2017); FTC v. Health Formulas, LLC, No. 2:14-cv-01649 (D. Nev. 2014); FTC v. Leanspa,
LLC, No. 3:11-cv-01715 (D. Conn. 2011); FTC v. Willms, No. 2:11-cv-00828 (W.D. Wash.
2011); FTC v. Johnson, No. 2:10-cv-02203 (D. Nev. 2010); FTC v. Remote Response Corp., No.
1:06-cv-20168 (S.D. Fla. 2006).
246
    See, e.g., FTC v. XXL Impressions, LLC, No. 1:17-cv-00067 (D. Me. 2017); FTC v. Cardiff,
No. 5:18-cv-02104 (C.D. Cal. 2018); FTC v. Health Rsch. Labs., LLC, No. 2:17-cv-00467 (D.
Me. 2017); FTC v. Health Formulas, LLC, No. 2:14-cv-01649 (D. Nev. 2014); FTC v. Leanspa,
LLC, No. 3:11-cv-01715 (D. Conn. 2011); FTC v. Willms, No. 2:11-cv-00828 (W.D. Wash.
2011).
247
    E.g., FTC v. Elite IT Partners, Inc., No. 2:19-cv-00125 (D. Utah 2019) (affiliation with well-
known companies); In re Urthbox, Inc., FTC Docket No. C-4676 (2019) (independence of
reviews); FTC v. BunZai Media Grp., Inc., No. 2:15-cv-04527 (C.D. Cal. 2015) (BBB
accreditation and ratings); FTC v. DOTAuthority.com, Inc., No. 0:16-cv-62186 (S.D. Fla. 2016)


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the format of the ad or other sales communication, 248 consumer authorization, 249 consumer
                                                     247F                          248F




privacy or data security, 250 and endorsements or testimonials. 251 The Commission cannot predict
                        249F                                    250F




what other material misrepresentations dishonest actors may employ in the future.

       Some commenters asserted Section 18 does not authorize the Commission to prohibit

material misrepresentations in a given area of commerce. Section 18, however, permits the FTC

to promulgate “rules which define with specificity acts or practices which are unfair or deceptive

acts or practices in or affecting commerce (within the meaning of [Section 5(a)(1)]) . . . [and]

may include requirements prescribed for the purpose of preventing such acts or practices.” 252 It
                                                                                                251F




places no additional restrictions on the scope of this rulemaking.

       Several commenters appear to think Section 18 requires the Commission to define

specific claims as deceptive; for example, two commenters cited the Business Opportunity

Rule’s treatment of misrepresentations. ; 253. While the cited Rules show one way to meet the
                                         252F




(ratings); FTC v. FTN Promotions, Inc., No. 8:07-cv-1279 (M.D. Fla. 2007) (affiliation with
consumer’s bank).
248
    E.g., FTC v. XXL Impressions, LLC, No. 1:17-cv-00067 (D. Me. 2017) (radio news show);
FTC v. Leanspa, LLC, No. 3:11-cv-01715 (D. Conn. 2011) (news reports).
249
    E.g., In re Dun & Bradstreet, Inc., FTC Docket No. C-4761 (2022) (charging for same
product consumer previously purchased); FTC v. Benefytt Techs., Inc., No. 8:22-cv-01794 (M.D.
Fla. 2022) (charging for authorized products); FTC v. Triangle Media Corp., No. 3:18-cv-01388
(S.D. Cal. 2018) (completeness of order); FTC v. Apex Capital Grp., LLC, No. 2:18-cv-09573
(C.D. Cal. 2018) (completeness of order); FTC v. Moneymaker, No. 2:11-cv-00461 (D. Nev.
2011) (purpose of authorization).
250
    E.g., United States v. Cerebral, Inc., No. 1:24-cv-21376 (S.D. Fla. 2024) (data security and
privacy); In re MoviePass, Inc., FTC Docket No. C-4751 (2021) (data security).
251
    E.g., FTC v. XXL Impressions, LLC, No. 1:17-cv-00067 (D. Me. 2017); FTC v. Cardiff, No.
5:18-cv-02104 (C.D. Cal. 2018); FTC v. Willms, No. 2:11-cv-00828 (W.D. Wash. 2011).
252
    15 U.S.C. 57a(a)(1)(B).
253
    PDMI, FTC-2023-003-0864 (contrasting the proposed Rule language with Business
Opportunity Rule language, saying “The Business Opportunity Rule does not prohibit any
misrepresentation in connection with business opportunities. It prohibits specific
misrepresentations about earnings claims.”); TechFreedom, FTC-2023-0033-0872 (“For
example, the Business Opportunity Rule prohibits no fewer than 21 different kinds of


                                                70
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statute’s specificity requirements, the statute does not require the Commission to define claims

with specificity, but instead acts or practices. 254 For example, in the Business Opportunity
                                                253F




Rule, the practice of misrepresenting “any material aspect of any assistance offered to a

prospective purchaser” in a business opportunity transaction is a specific type of deceptive

practice in or affecting commerce. 255 By the same token, the practice of misrepresenting material
                                     254F




facts to induce consumers to consent to negative option features constitutes a specific type of

deceptive practice.

            The record, including the submissions of many industry commenters, shows negative

option features are found across industries, but are consistently distinguishable as a subset of

general commercial practices. As commenters point out, negative option features offer many

distinct benefits to consumers and sellers. These benefits do not lose their distinct character

merely because they occur across different kinds of goods and services sold across different

channels. While the record shows this practice offers distinct benefits, it also shows the practice

is plagued by distinct abuse. This is not a hypothetical statement; the Commission is not

promulgating the final Rule because negative option features may engender deception, whether

relating to the feature itself or to other material facts, but rather because the record shows they

have. 256 Just as with the benefits of negative option marketing, these problems do not lose their
     255F




misrepresentation regarding business opportunities. This specificity is typical of trade regulation
rules.”) (footnotes omitted).
254
    15 U.S.C. 57a(a)(1)(B).
255
    16 CFR 437.6(i).
256
    See, e.g., FTC v. FloatMe Corp., No. 5:24-cv-00001 (W.D. Tex. 2024); United States v.
Cerebral, Inc., No. 1:24-cv-21376 (S.D. Fla. 2024); FTC v. NGL Labs, LLC, No. 2:24-cv-05753
(C.D. Cal. 2024); FTC v. Bridge It, Inc., No. 1:23-cv-09651 (S.D.N.Y. 2023); FTC v.
WealthPress, Inc., No. 3:23-cv-00046 (M.D. Fla. 2023); FTC v. Benefytt Techs., Inc., No. 8:22-
cv-01794 (M.D. Fla. 2022); In re Dun & Bradstreet, Inc., FTC Docket No. C-4761 (2022); FTC
v. First Am. Payment Sys., No. 4:22-cv-00654 (E.D. Tex. 2022); In re MoviePass, Inc., FTC


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distinct character, in other words they are distinct practices, even though they appear in a variety

of contexts.

       In addressing this deceptive practice, the Commission remains guided by core principles

articulated in its 1983 Deception Policy Statement. As the Commission explained, in considering

whether to act against a deceptive practice, the Commission will observe the extent to which

consumers themselves have been able to police and generate consequences for seller deception.

       Finally, as a matter of policy, when consumers can easily evaluate the product or
       service, it is inexpensive, and it is frequently purchased, the Commission will
       examine the practice closely before issuing a complaint based on deception. There
       is little incentive for sellers to misrepresent (either by an explicit false statement
       or a deliberate false implied statement) in these circumstances since they
       normally would seek to encourage repeat purchases. Where, as here, market
       incentives place strong constraints on the likelihood of deception, the
       Commission will examine a practice closely before proceeding. 257 256F




Docket No. C-4751 (2021); United States v. MyLife.com, Inc., No. 2:20-cv-6692 (C.D. Cal.
2020); FTC v. RagingBull.com, LLC, No. 1:20-cv-03538 (D. Md. 2020); FTC v. Match Grp.,
Inc., No. 3:19-cv-02281 (N.D. Tex. 2019); FTC v. Elite IT Partners, Inc., No. 2:19-cv-00125 (D.
Utah 2019); In re Urthbox, Inc., FTC Docket No. C-4676 (2019); FTC v. Triangle Media Corp.,
No. 3:18-cv-01388 (S.D. Cal. 2018); FTC v. Apex Capital Grp., LLC, No. 2:18-cv-09573 (C.D.
Cal. 2018); FTC v. XXL Impressions, LLC, No. 1:17-cv-00067 (D. Me. 2017); FTC v. Cardiff,
No. 5:18-cv-02104 (C.D. Cal. 2018); FTC v. JDI Dating, Ltd., No. 1:14-cv-08400 (N.D. Ill.
2014); FTC v. Credit Bureau Ctr., LLC, No. 1:17-cv-00194 (N.D. Ill. 2017); FTC v. BunZai
Media Grp., Inc., No. 2:15-cv-04527 (C.D. Cal. 2015); FTC v. DOTAuthority.com, Inc., No.
0:16-cv-62186 (S.D. Fla. 2016); FTC v. Health Rsch. Labs., LLC, No. 2:17-cv-00467 (D. Me.
2017); FTC v. Tarr, No. 3:17-cv-02024 (S.D. Cal. 2017); FTC v. AdoreMe, Inc., No. 1:17-cv-
09083 (S.D.N.Y. 2017); FTC v. Pact, Inc., No. 2:17-cv-1429 (W.D. Wash. 2017); FTC v.
RevMountain, LLC, No. 2:17-cv-02000 (D. Nev. 2017); FTC v. AAFE Prods. Corp., No. 3:17-
cv-00575 (S.D. Cal. 2017); FTC v. Health Formulas, LLC, No. 2:14-cv-01649 (D. Nev. 2014);
FTC v. Dill, No. 2:16-cv-00023 (D. Me. 2016); FTC v. Leanspa, LLC, No. 3:11-cv-01715 (D.
Conn. 2011); FTC v. Willms, No. 2:11-cv-00828 (W.D. Wash. 2011); FTC v. Moneymaker, No.
2:11-cv-00461 (D. Nev. 2011); FTC v. Johnson, No. 2:10-cv-02203 (D. Nev. 2010); FTC v.
Inc21.com Corp., 745 F. Supp. 2d 975 (N.D. Cal. 2010); FTC v. JAB Ventures, LLC, No. 2:08-
cv-04648 (C.D. Cal. 2008); FTC v. Ultralife Fitness, Inc., No. 2:08-cv-07655 (C.D. Cal. 2008);
FTC v. FTN Promotions, Inc., No. 8:07-cv-1279 (M.D. Fla. 2007); FTC v. Think All Publ’g,
LLC, No. 4:07-cv-00011 (E.D. Tex. 2007); FTC v HispaNexo, Inc., No. 1:06-cv-424 (E.D. Va.
2006); FTC v. Universal Premium Servs., No. 2:06-cv-00849 (C.D. Cal. 2006); FTC v. Remote
Response Corp., No. 1:06-cv-20168 (S.D. Fla. 2006).
257
    Policy Statement on Deception (Oct. 14, 1983) (appended to In re Cliffdale Assocs., Inc., 103
F.T.C. 110 (1984)) (emphasis added).

                                                 72
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          The record shows the practice of misrepresenting material facts to induce consent to

negative option features has created distinct issues consumers have not been able to address

themselves, enabling sellers to collect numerous recurring payments before consumers detect the

misrepresentation and act to stop the charges. This problem is not confined to a particular subset

of industries or misrepresentations but instead is a too-frequent practice throughout negative

option marketing. 258 Specifically, when a consumer makes a series of purchases from the same
                    25 7F




seller in ordinary circumstances (rather than through a negative option), each purchase requires

the consumer to actively, even if only briefly, re-evaluate the transaction and affirmatively

consent. Dishonest negative option sellers too easily bypass these typical guardrails of “repeat

purchases.” Thus, up-front misrepresentations can induce consumers into recurring transactions

lacking ordinary sales’ built-in interruptions for re-evaluation and renewed consent. As with

other areas where consumers have limited opportunities for critical up-front evaluation (for

example, consumers cannot easily evaluate medical claims about dietary supplements), so too,

here, the Commission finds additional protection warranted.

          The Commission has considered commenters’ Section 18 specificity concerns pertaining

to material misrepresentations and finds them unsupported by the record. These commenters

suggest a hypothetical world where negative option features provide distinguishable commercial

benefits without presenting distinguishable material misrepresentation challenges. The reality is

otherwise. Thus, the final Rule prohibits the specific practice of sellers misrepresenting material

terms or facts in connection with negative option sales.




258
      See n.256.

                                                 73
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      (4)             For clarity, the final Rule adds a definition of “material” consistent with

      precedent.

              As noted above, and as suggested by commenters, the Commission defines “material” in

the final Rule. This definition adds clarity and addresses the rhetorical questions raised by

commenters regarding scope. Specifically, consistent with Section 5, the TSR, and longstanding

Commission policy and case law, the final Rule defines the term to mean likely to affect a

person’s choice of, or conduct regarding, goods or services. 259 Thus, mere puffery is not
                                                                  258F




material. 260  259F




              The hypotheticals posed by MIA—“movies that you will love” or “great cleaning every

time”—are classic examples of puffery, and thus, are not within the scope of materiality. 261 The
                                                                                               260F




response to the question posed by the Chamber—whether misrepresentation of a privacy policy

would be covered—depends, as it always has, on whether the seller misrepresents its privacy

policy in a way likely to affect consumer choice or conduct.

                      4.     Proposed § 425.4 Important Information

              Section 425.4 of the proposed Rule prohibited sellers from failing to disclose “any

material conditions related to the underlying product or service that is necessary to prevent

deception, regardless of whether that term directly relates to the terms of the negative option

offer.” 262 As explained in the NPRM, the Commission drafted this provision because “many
       261F




259
    16 CFR 310.2(t); In re Cliffdale Assocs., Inc., 103 F.T.C. 110 (1984).
260
    See FTC v. Direct Mktg. Concepts, Inc., 624 F.3d 1, 11 (1st Cir. 2010) (“Where a claim is
merely ‘exaggerated advertising, blustering, and boasting upon which no reasonable buyer would
rely,’ it may be un-actionable puffery.”).
261
    The Commission declines to add language defining a “reasonable person standard” as
suggested by RILA, and refers instead to the discussion of reasonableness set forth in the
Commission’s Policy Statement on Deception (Oct. 14, 1983) (appended to In re Cliffdale
Assocs., Inc., 103 F.T.C. 110 (1984)).
262
    NPRM, 88 FR 24727.

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sellers fail to provide adequate disclosures, thereby luring consumers into purchasing goods or

services they do not want.” 263 To address this issue, the proposed Rule required sellers to
                            262F




provide the following important information prior to obtaining a consumer’s billing information:

“(1) that consumers’ payments will be recurring, if applicable; (2) the deadline by which

consumers must act to stop charges; (3) the amount or ranges of costs consumers may incur; (4)

the date the charge will be submitted for payment; and (5) information about the mechanism

consumers may use to cancel the recurring payments.” 264   263F




       The Commission also proposed requirements regarding the form and location of this

important information, as its “law enforcement experience and consumer complaints are replete

with examples of hidden disclosures, including those in fine print, buried in paragraphs of

legalese and sales pitches, and accessible only through hyperlinks.” 265 Thus, under the proposed
                                                                      264F




Rule, information “directly related to the negative option feature … must appear immediately

adjacent to the means of recording the consumer’s consent for the negative option feature.”

Information “not directly related to the negative option feature … must appear before consumers

make a decision to buy (e.g., before they ‘add to shopping cart’).”

       Further, the proposal stated all disclosures must be clear and conspicuous as defined in

§ 425.2(c). Among other elements of the clear and conspicuous definition, the proposed Rule

specified that in any communication using an interactive electronic medium, such as the Internet,

mobile application, or software, the disclosure must be unavoidable. The proposed Rule also

specified that a disclosure is not clear and conspicuous if a consumer “must take any action, such

as clicking on a hyperlink or hovering over an icon, to see it.”


263
    NPRM, 88 FR 24726-27.
264
    NPRM, 88 FR 24726.
265
    NPRM, 88 FR 24727.

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              Finally, the proposed Rule prohibited sellers from including any information that

interferes with, detracts from, contradicts, or otherwise undermines the ability of consumers to

read, hear, see, or otherwise understand the required disclosures. The final clause of this

prohibition “includ[ed] any information not directly related to the material terms and conditions

of any negative option feature.”

              Through these provisions, the Commission sought to prevent deception by businesses

taking advantage of the gray areas in current law, to deter fraudulent actors through the

possibility of monetary relief, and to “level the playing field for legitimate businesses, freeing

them from having to compete against those employing deception.” 266      26 5F




                            a)      Summary of Comments

              Thousands of commenters supported the important information requirement, stating it is

“critically important that companies make it explicitly clear what consumers are signing up

for.” 267 Consumers identified problematic practices the provision would address, including
      26 6F




insufficient and unclear disclosures in small print or those appearing too late in the transaction.

For example, an individual commenter said, “[t]oo many [sellers] hide these details in extra fine

print, and increasingly text is in a very light gray color, making it even harder to read.” 268
                                                                                             26 7F




266
    NPRM, 88 FR 24727.
267
    Thousands of consumers submitted the following identical comment in their own names: “It’s
critically important that companies make it explicitly clear what consumers are signing up for
and to make canceling fast and easy. If you signed up online, you should be able to cancel
online. If it took one click to join, it should take one click to cancel. Implementing this consumer
protection rule has the potential to save American consumers millions of dollars and I hope it is
implemented as soon as possible.” While apparently a response to a mass solicitation, many
consumers further personalized their submission by adding their unique experiences and desire
for the Rule. See, e.g., Individual commenter, FTC-2023-0033-0161; -0163; -0164; 0198; -0204;
-0545; 0658.
268
    Individual commenter, FTC-2023-0033-0268. Similarly, another individual commenter said,
“Businesses should not present agreements in tiny print on an agent’s tablet for the customer to
sign. I can’t read the print.” Individual commenter, FTC-2023-0033-0349.

                                                     76
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Another individual commenter noted, “I ordered skin care from a tv infomercial only to find out

it was a subscription thing though none of this was disclosed by famous actresses on the

promotion…. I went back to my receipt of what I originally ordered and in fine print saw that I

had been duped!” 269
                  268F




       Several individual commenters indicated clear upfront disclosures would help them make

informed choices and improve their willingness to try negative option offerings, particularly if

the disclosure provided an easy cancellation mechanism. As one put it, “I am much more like[ly]

to try—and buy—a new service if I know there is an easy way to cancel online.” 270 Another
                                                                                   269F




said, “I actually subscribe to far fewer services than I would if I knew that I could easily cancel

once I had tried a sample.” 271
                           270F




       Public advocacy commenters also supported the provision. The Berkeley Consumer Law

Center said, “the requirement of ‘clear and conspicuous’ disclosures of ‘any material term related

to the underlying goods or services that is necessary to prevent deception’ will help prevent

cancellation terms from being shrouded in mystery through complicated terms and conditions,

while also blocking the practice of hiding subscription services that are needed to fully use a




269
    Individual commenter, FTC-2023-0033-0345.
270
    Individual commenter, FTC-2023-0033-0781.
271
    Individual commenter, FTC-2023-0033-0031. Accord Individual commenter, 0196 (“I have
had to get to the point of not subscribing to any online offers, as far too many times I have found
it nearly impossible to unsubscribe”); Individual commenter, FTC-2023-0033-0306 (“you could
win over more subscribers to your services if you took away the fear and doubts of the public
that they will probably be hooked into something that would be more troublesome to get out of
… I can tell you that I have passed over many opportunities that I was interested in for this very
reason.”); Individual commenter, FTC-2023-0033-0333 (“I’ve had some difficulty in the past
cancelling enrollments or subscriptions, so that now I’ve become very wary of products or
services I would otherwise appreciate having. Implementing this consumer protection rule would
help me feel more confident again.”).

                                                  77
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product.” 272 Similarly, a coalition of consumer and public interest advocacy organizations
         271F




asserted the proposed disclosure requirement “will clearly inform consumers of the terms of the

contract and how they may terminate the agreement.” 273       272F




       Law enforcement commenters likewise supported the important information

requirements. The State AGs said they would “repel the abusive practices of hidden disclosures,

‘including those in fine print, buried in paragraphs of legalese and sales pitches, and accessible

only through hyperlinks.’” 274 They particularly emphasized their support for “the required
                           273F




disclosure of ‘the information necessary for the consumer to cancel the negative option

feature.’” 275 The California Auto-Renew Task Force (“CART”), a group of Southern California
          274F




prosecutors, supported disclosures appearing “immediately adjacent to the means of recording

the consumer’s consent for the negative option feature.” 276 CART asserted this provision,
                                                                     275F




together with others, “will greatly minimize consumer deception and ensure that consumers fully

understand—and agree to—the nature of the transaction under consideration.” 277         276F




       Other commenters, mostly industry groups, 278 expressed several concerns with the
                                                       277F




proposed requirements, specifically with the definition of “clear and conspicuous,” the scope and




272
    Berkeley Consumer Law Center, FTC-2023-0033-0855. Similarly, for the same reasons they
provided in connection with the misrepresentations provision, the Law Professors encouraged the
Commission to maintain the proposed disclosure provision’s coverage of material terms
necessary to prevent deception, regardless of whether such terms are exclusively about the
negative option feature. Law Professors, FTC-2023-0033-0861.
273
    Public Interest Groups, FTC-2023-0033-0880.
274
    State AGs, FTC-2023-0033-0886.
275
    Id.
276
    CART, FTC-2023-0033-0698.
277
    Id.
278
    Not all industry groups criticized the provision. Specifically, MIA wrote, “The Association
agrees with the important information requirement under the proposed Rule.” MIA, FTC-2023-
0033-1008.

                                                  78
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timing of the material terms to be disclosed, specific disclosure requirements, placement, and

treatment of other information. 279
                               278F




       Multiple commenters claimed the requirement that disclosures using an interactive

electronic medium must be “unavoidable” would be unworkable given the additional provision

that a “disclosure is not clear and conspicuous if a consumer must take any action, such as

clicking on a hyperlink or hovering over an icon, to see it.” 280 Commenters noted it would be
                                                             279F




difficult or impossible to implement this requirement on small screens (such as mobile phones),

and it may reduce rather than improve clarity.

       Several commenters also objected to the requirement sellers disclose material terms other

than those pertaining exclusively to the negative option feature, asserting this would be

overbroad. 281 Additionally, commenters questioned how the Commission would enforce a
           280F




requirement to disclose material terms before obtaining a consumer’s billing information,

especially where a consumer previously elected to save billing information with the seller. 282
                                                                                              281F




279
    In addition, some commenters cited industry-specific laws and regulations pertaining to
disclosures as rendering the proposed provision unnecessary or counterproductive. ACA
Connects-America’s Communications Association (“ACA”), FTC-2023-0033-0881; NCTA,
FTC-2023-0033-0858; SFE, FTC-2023-0033-1151; USTelecom, FTC-2023-0033-0876.
280
    ANA, FTC-2023-0033-1001; CCIA, FTC-2023-0033-0984; Coalition, FTC-2023-0033-0884;
ESA, FTC-2023-0033-0867; IAB, FTC-2023-0033-1000; NCTA, FTC-2023-0033-0858;
Chamber, FTC-2023-0033-0885. NFIB suggested the Commission strike the provision “The
disclosure must use diction and syntax understandable to ordinary consumers” and replace it
with “‘The disclosure must use words and grammar that ordinary consumers would likely
understand.’” FTC-2023-0033-0789.
281
    ACT App Association, FTC-2023-0033-0874; ANA, FTC-2023-0033-1001; BSA, FTC-
2023-0033-1015; CCIA, FTC-2023-0033-0984; NCTA, FTC-2023-0033-0858; NFIB, FTC-
2023-0033-0789; NRF, FTC-2023-0033-1005; PDMI, FTC-2023-003-0864; Sirius XM, FTC-
2023-0033-0857; Chamber, FTC-2023-0033-0885.
282
    CTA, FTC-2023-0033-0997; ESA, FTC-2023-0033-0867; IAB, FTC-2023-0033-1000; NRF,
FTC-2023-0033-1005; RILA, FTC-2023-0033-0883. Sirius XM asserted this requirement could
be interpreted to mean every advertisement must contain disclosure of all material terms. FTC-
2023-0033-0857.

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Commenters also found the requirement that material terms “not directly related to the negative

option feature … must appear before consumers make a decision to buy” to be vague. 283  282F




       Several commenters took issue with the five specific disclosures in the proposed Rule.

For example, the requirement to disclose “the date (or dates) each charge will be submitted for

payment” drew substantial criticism, with several commenters asserting appropriate disclosures

regarding frequency should suffice. 284 Commenters also criticized the requirements to disclose
                                         283F




deadlines to act and the amount or range of costs. 285 A group of direct marketers asserted, for
                                                   284F




example, “the Proposed Rule goes too far in appearing to require a specific date by which

consumers must act to stop charges when certain negative option plans are inherently more

flexible and allow consumers to cancel anytime.” 286 Commenters also found the requirement to
                                                   285F




disclose “the information necessary for the consumer to cancel the negative option feature” was

vague and impractical. They contended the requirement would result in unnecessary details

crowding out other disclosures. 287 IAB contended “[a] more effective strategy [regarding
                                  286F




cancellation disclosures] would be to make clear but concise disclosures of where that

information can be found.” 288
                           287F




283
    Rebecca Kuehn (“Kuehn”), FTC-2023-0033-0871; NRF, FTC-2023-0033-1005.
284
    CCIA, FTC-2023-0033-0984; CTA, FTC-2023-0033-0997; ESA, FTC-2023-0033-0867;
IAB, FTC-2023-0033-1000; NRF, FTC-2023-0033-1005; RILA, FTC-2023-0033-0883; Sirius
XM, FTC-2023-0033-0857.
285
    IAB, FTC-2023-0033-1000 (deadlines); Comment from Kelley Drye & Warren LLP on
behalf of certain direct marketing companies (“Direct Marketing Companies”), FTC-2023-0033-
1016 (deadlines); NRF, FTC-2023-0033-1005 (amount or range of costs); Sirius XM, FTC-
2023-0033-0857 (amount or range of costs).
286
    Direct Marketing Companies, FTC-2023-0033-1016.
287
    CCIA, FTC-2023-0033-0984; ESA, FTC-2023-0033-0867; IAB, FTC-2023-0033-1000;
NRF, FTC-2023-0033-1005.
288
    IAB, FTC-2023-0033-1000.

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        Additionally, multiple commenters criticized the provision requiring the placement of

material terms “directly related to the negative option feature” . . . “immediately adjacent” to

recording the consumer’s consent. 289 Commenters asserted having numerous disclosures in a
                                       288F




constrained space would impair consumers’ ability to make informed choices. As an individual

commenter explained, “this important information may still become overwhelming to a user, or

challenge the integrity of other disclosures if it must compete for space (especially because this

disclosure must be placed immediately adjacent to where a user will consent to the negative

option feature).” 290 NRF found unclear the distinction between which terms are or are not
                 289F




“directly related to the negative option feature.” 291 Other commenters noted the “immediately
                                                 290F




adjacent” requirement may not be appropriate for voice transactions. 292
                                                                       291F




        Finally, one commenter expressed uncertainty about the meaning of the “other

information” provision. NRF said it “asks companies to walk a tight rope between ensuring they

contain all material terms, while risking liability if they include ‘any information not directly

related to the material terms.’” 293
                                292F




        The State AGs also recommended three amendments to this proposal. First, they

recommended requiring sellers to “disclose all material policies concerning cancellation.”

Second, they recommended “sellers be required to disclose ‘all the information necessary for the


289
    ANA, FTC-2023-0033-1001; CCIA, FTC-2023-0033-0984; Coalition, FTC-2023-0033-0884;
CTA, FTC-2023-0033-0997; ESA, FTC-2023-0033-0867; IAB, FTC-2023-0033-1000; Direct
Marketing Companies, FTC-2023-0033-1016; NRF, FTC-2023-0033-1005; SFE, FTC-2023-
0033-1151; Sirius XM, FTC-2023-0033-0857; Chamber, FTC-2023-0033-0885.
290
    Individual commenter, FTC-2023-0033-0552.
291
    NRF, FTC-2023-0033-1005.
292
    Coalition, FTC-2023-0033-0884; Chamber, FTC-2023-0033-0885.
293
    NRF, FTC-2023-0033-1005 (emphasis in comment); see also Chamber, FTC-2023-0033-
0885 (“[T]he [disclosure] requirement is also ambiguous considering it does not clearly outline
the specific material terms that need to be disclosed, which is particularly important considering
the requirement applies not just to the negative option feature, but all terms in the transaction.”).

                                                 81
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consumer to effectively cancel the negative option feature.’” (Emphasis in comment.) They

explained, “[d]isclosures in the form of ‘click-here-to-cancel’ icons, which lead to terms and

conditions pages, confusing cancellation flows, or do not otherwise explain how to cancel online,

should not be permitted.” Third, they recommended “the FTC amend this provision to require

that the important information identified by this proposed Rule be provided to the consumer in a

manner that is capable of being retained by the consumer.” 294
                                                            293F




                        b)     Analysis

         Based on the record, the Commission retains proposed § 425.4 with several clarifications.

First, as explained in Section VII.B.3 of this SBP, the Commission adds a definition of

“material” at § 425.2(e). Second, in § 425.4(a), the Commission clarifies three of the listed types

of important information sellers must provide and omits one to address commenters’ concerns.

Third, as explained in Section VII.B.4.b.2 of this SBP, the Commission revises the definition of

“clear and conspicuous” in § 425.2(c). Fourth, in § 425.4(b)(2) the Commission clarifies

language regarding “placement” of disclosures. Finally, the Commission clarifies the language

prohibiting sellers from including “any other information” that “interferes with, detracts from,

contradicts, or otherwise undermines” consumers’ abilities to read, hear, see, or understand the

required disclosures.

        (1)     The Commission declines to limit the required important information under

        § 425.4(a).

         The Commission declines to limit the scope of the required information under this

provision to only information related to the negative option feature. Section 425.4(a)’s

requirement that sellers disclose “all material terms” prior to obtaining the consumer’s billing


294
      State AGs, FTC-2023-0033-0886.

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information is consistent with ROSCA and Section 5 of the FTC Act. Moreover, in the

Commission’s law enforcement experience such a provision is necessary to prevent

deception. 295 Therefore, extending this requirement is well within the Commission’s rulemaking
                  294F




authority. 296
          29 5F




        To address commenters’ concerns about clarity, however, § 425.2(e) adds a definition of

“material;” specifically, material means “likely to affect a person’s choice of, or conduct

regarding, goods or services.” 297 This definition is consistent with longstanding Section 5 case
                               29 6F




law and other Commission rules defining “material.” 298       297F




        Additionally, the Commission modifies the proposed list of important information. 299   29 8F




The Commission retains the first proposed requirement that sellers must disclose “[t]hat

consumers will be Charged for the good or service, or that those Charges will increase after any

applicable trial period ends, and, if applicable, that the Charges will be on a recurring basis,

unless the consumer timely takes steps to prevent or stop such Charges.” 300 The Commission
                                                                              299F




continues to find this requirement appropriate to combat deception.


295
    See., e.g., In re MoviePass, Inc., FTC Docket No. C-4751 (2021).
296
    15 U.S.C. 57a(a)(1)(B).
297
    Additionally, the Commission changes “any” to “all” material terms, and deletes the phrase
“related to the underlying good or service that is necessary to prevent deception” for clarity.
Specifically, the Commission makes clear that sellers are required to disclose all material terms,
consistent with the requirements of ROSCA.
298
    See In re Cliffdale Associates, Inc., 103 F.T.C. 110, 165 (1984) (misleading impression
created by a solicitation is material if it “involves information that is important to consumers and,
hence, likely to affect their choice of, or conduct regarding, a product.”); see also FTC v.
Cyberspace.com, LLC, 453 F.3d 1196, 1201 (9th Cir. 2006); 16 CFR 310.2(t) (TSR); 16 CFR
461.1 (Impersonation Rule); Policy Statement on Deception (Oct. 14, 1983) (appended to In re
Cliffdale Assocs., Inc., 103 F.T.C. 110, 174 (1984)).
299
    In the misrepresentations provision (§ 425.3), the final Rule uses the term “including” to
provide examples of categories of potentially material facts. In the disclosures provision, the
final Rule retains the proposed Rule’s use of “and including” (rather than just “including”) to
establish all of the specifically listed disclosures as being always material.
300
    NPRM, 88 FR 24735 (proposed 425.4).

                                                       83
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       The Commission revises the second proposed disclosure, that sellers provide “the

deadline (by date or frequency) by which the consumer must act in order to stop all charges.” As

revised, this provision requires sellers to disclose “each deadline (by date or frequency) by

which the consumer must act to prevent or stop the Charges.” This change clarifies there may not

be a single “deadline” by which a consumer must act to “stop all charges.” A single seller, for

example, may offer a single consumer multiple goods or services, and the consumer may wish to

stop some charges without terminating the entire relationship. The Commission also clarifies that

“frequency” as used in the final Rule includes a description of an irregular frequency (e.g.,

within a certain period after the seller notifies the consumer a new item in a series has become

available) as well as a regular one (e.g., the 15th of each month).

       The Commission also clarifies the third proposed disclosure. The proposed Rule required

sellers to disclose “[t]he amount (or range of costs) the consumer will be charged, and, if

applicable, the frequency of such charges a consumer will incur unless the consumer takes timely

steps to prevent or stop those charges”) (emphasis added). 301 The record suggests, however, that
                                                            30 0F




in some circumstances, the amounts to be charged may be inexact before the seller obtains the

consumer’s billing information. For example, taxes or delivery fees may depend in part on the

billing information the consumer provides. Thus, the Commission clarifies under the final Rule

as adopted, the “amount (or range of costs)” need not be exact if an exact figure is impossible,

but the seller must give a reasonable approximation. For example, it is within the meaning of

“amount (or range of costs)” for a seller to disclose an amount “plus tax” where the seller

requires billing information to determine the actual amount of tax. However, a “plus shipping”


301
   The final Rule requires sellers to disclose “The amount (or range of costs) the consumer will
be Charged and, if applicable, the frequency of the Charges a consumer will incur unless the
consumer takes timely steps to prevent or stop those Charges.”

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disclosure may not be sufficient if the amount of shipping is beyond what a consumer would

reasonably expect or is greater than the amount a seller would reasonably incur for shipping. In

such a circumstance, the seller would need to provide an estimate of shipping costs. These

clarifications should address commenters’ concerns about having to disclose an exact cost when

doing so is not possible.

       The final Rule omits the proposed fourth disclosure: the date (or dates) each charge will

be submitted for payment. The Commission is persuaded by commenters’ concern that a specific

date or dates may be cumbersome or impossible to calculate. For example, if the seller will

submit a charge when it ships a new item in a series, the seller may not be able to predict the

specific dates it will submit the charge in the future. In addition, in light of the change to the

placement requirements of § 425.4(b)(2)(i), discussed below, including these dates could reduce

the clarity and conspicuousness of higher priority adjacent disclosures (especially cancellation

deadlines, which will often occur before dates of charges). If, however, disclosure of the date (or

dates) each charge will be submitted for payment is necessary to prevent deception in individual

cases, such disclosure is required under § 425.4(a). However, its placement is governed by

revised § 425.4(b)(2)(ii) rather than § 425.4(b)(2)(i).

       Finally, the Commission clarifies the fifth proposed mandatory disclosure (the fourth in

the final Rule). The proposed Rule required sellers to disclose “[t]he information necessary for

the consumer to cancel the negative option feature” (emphasis added). In contrast, the final Rule

requires sellers to disclose “The information necessary for the consumer to find the simple

cancellation mechanism required pursuant to § 425.6” (emphasis added). This change addresses

commenters’ concern the language of the proposed Rule, combined with the placement

requirements of § 425.4(b)(2)(i), would result in detailed cancellation disclosures crowding out



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other important required disclosures. 302 This new language should provide consumers with
                                      301F




concise critical upfront information about how to cancel, while offering sellers flexibility to

avoid obscuring other important information. 303
                                               302F




       Some sellers expressed concern regarding the timing of disclosures where a consumer

previously elected to save billing information with the seller. To address this concern the

Commission now clarifies that, where a consumer has previously provided account information

to the seller and expressly allowed the seller to store that information, 304 the seller must make
                                                                           303F




the required disclosures prior to obtaining the consumer’s consent to use saved account

information. 305
            304F




302
    For example, IAB suggested the Commission should require sellers “to make clear but
concise disclosures of where [cancellation] information can be found, so consumers can find that
information if and when it is relevant to them.” IAB, FTC-2023-0033-1000.
303
    The Commission declines to adopt the State AGs three suggestions to supplement this
section. The Commission expects the final Rule will address two of those suggestions (disclosure
of “all material policies concerning cancellation” and of “all the information necessary for the
consumer to effectively cancel the negative option feature”) through the requirement that sellers
disclose all material terms (§ 425.4), the prohibition of misrepresentations of material facts or
terms including those pertaining to cancellation (§ 425.3), and the requirement of a simple
cancellation mechanism (§ 425.6). The Commission expects to address the concerns underlying
their third suggestion (“to require that the important information identified by this proposed Rule
be provided to the consumer in a manner that is capable of being retained by the consumer”),
through its further development of the reminders requirement. In the interim, the Commission
expects the Rule provisions as adopted will encourage sellers to make important information
easy to find and easy to retain.
304
    It is a violation of Section 5 for a seller to retain and use a consumer’s payment information
without the consumer’s consent. E.g., FTC v. Classic Closeouts LLC, No. 2:09-cv-2692
(E.D.N.Y. 2009).
305
    See FTC v. Amazon.com, Inc., No. 2:23-cv-00932, 2024 WL 2723812, at *11 (W.D. Wash.
May 28, 2024) (“Nothing in ROSCA says that companies … may not give consumers the option
to autofill the billing information already on file or simply to provide billing information after
the disclosures, but ROSCA requires that consumers be given that choice after the disclosures.”)
(emphasis in original).

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      (2)      The Commission modifies the requirements of § 425.4(b) to promote clarity.

       Section 425.4(b)(1) provides, “[e]ach disclosure required by paragraph (a) of this section

must be clear and conspicuous.” The Commission retains this requirement but revises the

definition of clear and conspicuous at § 425.2(c) to address commenters’ concerns regarding

space-constrained disclosures. 306 Specifically, the Commission deletes the sentence, “A
                               305F




disclosure is not Clear and Conspicuous if a consumer must take any action, such as clicking on

a hyperlink or hovering over an icon, to see it.” This prohibition would have made effective

space-constrained disclosures of the terms required by the final Rule difficult if not impossible.

However, a clear and conspicuous disclosure still must be “unavoidable.” By this requirement,

consumers are protected from buried or inconspicuous disclosures. Sellers, on the other hand,

can make disclosures “unavoidable” even if the consumer must take some action to see it.

Specifically, the seller could make it impossible for the consumer to consent to a transaction or

feature unless and until the consumer has seen the disclosure. For example, a seller dealing with

space constraints on a mobile device might not display a consent button until after the consumer

has scrolled down to a clear disclosure and then clicked a button indicating they have seen the

disclosure.

       Section 425.4(b)(2) (“Placement”) retains the proposed Rule’s structure requiring a

subset of disclosures to “appear immediately adjacent to the means of recording the consumer’s

consent for the negative option feature,” while setting a more general timing requirement




306
   The Commission declines to adopt NFIB’s suggested change to strike the provision “The
disclosure must use diction and syntax understandable to ordinary consumers” and replace it
with “‘The disclosure must use words and grammar that ordinary consumers would likely
understand.’” Particularly in the context of audio disclosures, the terms “diction and syntax”
provide clearer requirements than the terms “words and grammar.” NFIB, FTC-2023-0033-0789.

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regarding other disclosures. However, the Commission has revised some terms to promote

clarity.

           Specifically, final § 425.4(b)(2)(i) requires only the four specific mandatory disclosures

listed in § 425.4(a) to appear “immediately adjacent to the means of recording the consumer’s

consent.” The Commission is persuaded by commenters’ concerns that requiring market

participants to determine which required disclosures are “directly related to the negative option

feature,” and which are not, is too great a burden and could lead to consumer confusion. 307 Thus,
                                                                                             306F




rather than define “directly related to the negative option feature,” the Commission removes this

phrasing and confines the “immediately adjacent” requirement to a specific, narrow list of

disclosures. This change provides clarity and improves predictability for consumers, and should

prevent disclosure overload.

           Several commenters requested clarification of the “immediately adjacent” requirement in

the context of voice transactions. 308 In response, the Commission clarifies to comply with this
                                     307F




requirement, a voice transaction seller must make the required disclosures immediately before

requesting and recording the consumer’s consent to the negative option feature.

           Two commenters expressed concern that requiring sellers to make disclosures “before

consumers make a decision to buy” creates uncertainty because it is unclear when that triggering

event occurs. 309 The Commission agrees. Therefore, it revises § 425.4(b)(2)(ii) to provide
                308F




generally for all required disclosures to appear before the seller obtains consumer consent to the

transaction pursuant to § 425.5. This amended language provides a triggering event based on a

clear point in the process. Additionally, the Commission revises § 425.4(b)(2)(ii) to remove the


307
    NRF, FTC-2023-0033-1005; Law Professors, FTC-2023-0033-0861.
308
    Coalition, FTC-2023-0033-0884; Chamber, FTC-2023-0033-0885.
309
    Kuehn, FTC-2023-0033-0871; NRF, FTC-2023-0033-1005.

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phrase “not directly related to the negative option feature,” doing so for the same clarity reasons

described above for removing the phrase “directly related to the negative option feature” from

§ 425.4(b)(2)(i).

       Finally, the Commission adopts a clarified version of § 425.4(b)(3) (“Other

information”). The Commission retains the proposed Rule’s requirement that sellers not employ

“other information that interferes with, detracts from, contradicts, or otherwise undermines the

ability of consumers to read, hear, see, or otherwise understand the disclosures.” However, the

Commission finds the final clause in the proposed Rule (“including any information not directly

related to the material terms and conditions of any negative option feature”) could be read to

contradict other requirements of the Rule. Specifically, there may be necessary material

disclosures not directly related to the terms and conditions of a negative option feature, and it is

illogical to simultaneously require these disclosures (through §§ 425.4(a) and (b)(2)) and prohibit

them (through § 425.4(b)(3)). The Commission therefore omits the clause from the final Rule.

This revision does not alter the requirement of § 425.4(b)(2)(i) that certain specific disclosures

be made clearly and conspicuously immediately adjacent to the means of recording the

consumer’s consent. A seller who makes additional disclosures immediately adjacent to the

means of recording the consumer’s consent in a manner undermining the clarity and

conspicuousness of the required § 425.4(b)(2)(i) disclosures violates § 425.4(b)(2)(i) and

§ 425.4(b)(3).

                 5.    Proposed § 425.5 Consent

       Section 425.5(a) of the proposed Rule prohibited sellers from charging consumers before

obtaining their express informed consent to the negative option feature. This provision mirrors

15 U.S.C. 8403(2) (ROSCA), but provided specificity for sellers covered by the Rule and to



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prevent unfair and deceptive practices. Specifically, the provision addressed one of the most

pervasive problems of negative option marketing: sellers employing inadequate consent

procedures to increase enrollment. Even for marketers trying to comply with the law, negative

option programs present unique challenges. Specifically, consumers often focus on the aspects of

an offer that mirror the offers they regularly encounter (e.g., the quality, functionality, and one-

time price of the item) and think they are consenting to these core attributes while missing the

negative option feature.

       To address this problem, § 425.5(a)(1) of the proposed Rule required sellers to obtain a

consumer’s unambiguously affirmative consent to the feature separately from any other portion

of the transaction. Section 425.5(a)(2) of the proposed Rule further required the seller to exclude

any information that “interferes with, detracts from, contradicts, or otherwise undermines” the

consumer’s ability to provide express informed consent to the negative option feature. This

prohibition is consistent with longstanding Commission precedent that consent can be subverted,

including by so-called “dark patterns,” sophisticated design practices used to manipulate users

into making choices they would not otherwise have made. 310  30 9F




       Additionally, under § 425.5(a)(3) of the proposed Rule, sellers had to obtain consumers’

unambiguously affirmative consent to the rest of the transaction to ensure consumers agreed to

all elements of the agreement, even those not specifically related to the negative option feature.

Further, § 425.5(a)(4) of the proposed Rule required sellers to obtain and maintain (for three




310
   See, e.g., FTC v. RevMountain, LLC, No. 2:17-cv-02000 (D. Nev. 2017); FTC v.
Cyberspace.com, LLC, 453 F.3d 1196 (9th Cir. 2006); United States v. Mantra Films, Inc., No.
2:03-cv-9184 (C.D. Cal. 2003); FTC v. Crescent Publ’g Grp., Inc., 129 F. Supp. 2d 311
(S.D.N.Y. 2001).

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years or a year after cancellation, whichever is longer) verification of the consumer’s consent.

The Commission specifically sought comment on the appropriate recordkeeping period. 311      310F




         To maintain consistency with the TSR, § 425.5(b) contained a cross-reference to 16 CFR

part 310 so sellers subject to the TSR know they must comply with all applicable provisions of

that Rule, including those related to pre-acquired account information and free-to-pay

conversions.

         Proposed § 425.5(c) provided an exemplar consent mechanism for those making written

offers (including those on the Internet) to illustrate how sellers could obtain consumers’

unambiguously affirmative consent to the negative option feature. Specifically, this provision

stated for all written offers, sellers may obtain such consent through a check box, signature, or

other substantially similar method, which the consumer must affirmatively select or sign to

accept the negative option feature. This consent had to be independent from any other portion of

the offer. 312
           311F




         Finally, the Commission invited comments on whether sellers offering free trials should

be required to obtain an additional round of consent before charging a consumer at the end of a

free trial. 313
           312F




311
    NPRM, FR 88 24727 n.70; see also id. at 24734.
312
    To avoid potential conflict with EFTA, this proposed provision does not apply to transactions
covered by the preauthorized transfer provision of that Act, 15 U.S.C. 1693e, and Regulation E,
12 CFR 1005.10. Those EFTA provisions, which apply to a range of preauthorized transfers
include some used for negative options, contain various prescriptive requirements (e.g., written
consumer signatures that comply with E-Sign, 15 U.S.C. 7001-7006, evidence of consumer
identity and assent, the inclusion of terms in the consumer authorization, and the provision of a
copy of the authorization to the consumer) beyond the measures identified in the proposed Rule.
Consequently, compliance with the proposed Rule would not necessarily ensure compliance with
Regulation E. For example, use of a check box for consent without additional measures may not
comply with Regulation E’s more specific authorization requirements.
313
    NPRM, 88 FR 24728.

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                      a)      Summary of Comments

       Consistent with the Commission’s and states’ enforcement experience, 314 individual
                                                                                31 3F




consumers’ comments confirm the need for clear, unambiguous, affirmative consent to a

negative option feature. These comments identify numerous examples of consumers’ unwitting

enrollment in negative option programs. 315
                                         314F




       Sellers and trade groups also supported the requirement, 316 as did consumer groups. 317
                                                                 31 5F                       316F




However, sellers and trade groups expressed concern about the requirement that sellers obtain

separate, unambiguously affirmative consent to the “rest of the transaction,” as opposed to the

“negative option feature” itself. Specifically, these commenters asserted consumers may be

confused where the product or service itself is only offered as a negative option, such as with


314
    See, e.g., State Attorneys General (ANPR), FTC-2019-0082-0012; State AGs, FTC-2023-
0033-0886 (citing cases); FTC v. Amazon.com, Inc., No. 2:23-cv-0932 (W.D. Wash. 2023); see
also n.109.
315
    See, e.g., Anonymous commenter, FTC-2023-0033-0799 (automatically enrolled in program
without consent); Individual commenter, FTC-2023-0033-0039 (free-trial conversion to one year
plan without consent); Individual commenter-FTC-2023-0033-0052 (discount to full-price
conversion without consent); Individual commenter, FTC-2023-0033-1119 (cancelled, then
automatically re-enrolled without consent); Individual commenter, FTC-2023-0033-0079
(automatically re-enrolled without consent); Individual commenter, FTC-2023-0033-0083 (no
disclosure account would be automatically renewed); FTC-2023-0033-0138 (charged after
cancellation); Individual commenter, FTC-2023-0033-0275 (no affirmative consent to monthly
charge).
316
    Sirius XM, FTC-2023-0033-0857 (businesses should be required to obtain express informed
consent to the negative option feature at the point of sale); PDMI, FTC-2023-0033-0864 (no
objection to the general requirement that sellers obtain a consumer’s consent to a transaction
containing a negative option feature); MIA, FTC-2023-0033-1008 (agreeing with the consent
requirement under the proposed Rule).
317
    Berkely Consumer Law Center, FTC-2023-0033-0855; State AGs, FTC-2023-0033-0886
(noting State Attorneys General support the FTC’s proposed consent requirements and agree this
provision is necessary given how easily marketers can enroll consumers in negative option
programs without actual consent.). One individual consumer generally supported the separate
consent requirements of the proposed Rule, but asked that the regulation prevent businesses from
only offering goods and services through auto-renewal and subscription programs, i.e.,
consumers should have the option to purchase a good or service a la carte and not only on a
recurring basis. Individual commenter, FTC-2023-0033-0026.

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streaming services or periodicals. 318 As explained by one commenter, in these situations a
                                  31 7F




second consent is likely unanticipated, and thus, could be confusing. 319
                                                                       318F




       Other groups asserted if consumers are confused, they may not affirmatively consent to

the rest of the transaction, which could cause uncertainty about the existence of the contract. 320
                                                                                               31 9F




Commenters also noted too many required actions during the purchasing process may lead to


318
    Sirius XM, FTC-2023-0033-0857 (requiring an additional consent will only result in
consumer confusion); NCTA, FTC-2023-0033-0858 (“requiring two consents could lead to
consumer confusion (to say nothing of their exasperation at being forced to read and provide
consent to a plethora of successive and largely duplicative documents). They may wonder why
they are being asked to consent twice to a single transaction. And might worry that they have
somehow misunderstood one or both of the consent notices”); PDMI, FTC-2023-003-0864
(anecdotal evidence received from several PDMI members demonstrates that any time an
additional choice or check box is offered to a consumer during a single transaction, such extra
steps are likely to cause consumer confusion); N/MA, FTC-2023-0033-0873 (“Requiring sellers
to separate a single unified offer into separate components is not only unnecessary, it risks
creating consumer confusion and fatigue” and consumers may “simply abandon the
transaction”); RILA, FTC-2023-0033-0883 (“requirement for two distinct consents . . . may be
confusing and not helpful to consumers.”); DCN, FTC-2023-0033-0983 (“We are concerned that
requiring a separate consent would be confusing for the consumer who may not have the details
of the entire contract readily available in the mandated separate context. For example, most
consumers would likely want to review all of the benefits they would receive as part of a
subscription including any discounts when deciding on whether to choose the option of
automatic renewal.”); APCIA, FTC-2023-0033-0996 (“Requiring a separate consent for a feature
that is inherent in service contracts – continuous coverage – seems unnecessary and detrimental
to consumers.”).
319
    IAB, FTC-2023-0033-1000 (“Furthermore, consumers are familiar with subscription sign-up
experiences and do not expect to have to consent a second time once they choose to purchase an
autorenewal plan.”). One individual consumer confirmed the comment. Individual commenter,
FTC-2023-0033-0552 (“The rule specifically prescribes that users must affirmatively assent
specifically to the negative option feature, but in cases where a user is only purchasing a negative
option product, how should other disclosures be presented?”)
320
    NCTA, FTC-2023-0033-0858; Sonsini Alarm Clients, FTC-2023-0033-0860 (“could lead to
consumers inadvertently failing to consent to auto-renewal (because they did not notice the
second check box) and having an unintended lapse in home security system coverage.”);
Asurion, FTC-2023-0033-0878 (“many consumers who want and could benefit from auto-
renewal protection provisions will neglect to make the requisite two separate affirmative
consents and suffer real consequences when they find themselves with a broken device during a
gap in coverage”); APCIA, FTC-2023-0033-0996 (“A consumer who wants a service contract
but then inadvertently fails to check a box indicating separate consent for the negative option
feature could find that they no longer have coverage at the time they most need it.”).

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“fatigue” and “cognitive overload,” causing consumers to abandon transactions they may have

otherwise wanted. 321 Finally, several commenters complained the separate consent requirements
                   320F




would be difficult (and costly) to implement, but without any benefit to consumers. 322 Thus,
                                                                                        321F




these commenters asked the Commission to exclude transactions where the negative option

feature is not independent of the good or service being sold, i.e., where the good or service is

itself only offered as a negative option, 323 or to delete the requirement that sellers obtain
                                         322F




separate, unambiguous, affirmative consent “to the rest of the transaction.” 324
                                                                               323F




       Two commenters asked the Commission to modify the proposed provision by merging

consent to the transaction and the negative option feature. These commenters suggested a

separate consent should only be necessary where there are two independent portions of the




321
    See, e.g., DCN, FTC-2023-0033-0983 (could lead to over-notification); CCIA, FTC-2023-
0033-0984 (“Adding too much additional information or too many required actions in a purchase
cart has diminishing returns for consumer comprehension and attention, and can increase the
cognitive load for consumers to the point that they simply stop reading or give up on the
purchase.”); ANA, FTC-2023-0033-1001.
322
    NCTA, FTC-2023-0033-0858 (“would require companies to change their current customer
sign-up flows, at significant cost, without providing consumers with any additional benefits”);
PDMI, FTC-2023-003-0864 (“requiring merchants to implement a double opt-in would impose
an extraordinary financial and resource burden on sellers.”); id. (double opt-in requirements
“makes absolutely no sense, where, as is often the case, there is no transaction separate from the
negative option transaction”); SCIC, FTC-2023-0033-0879; Chamber, FTC-2023-0033-0885
(little to no evidence that double opt-in will create any consumer benefit, instead will increase
consumer fatigue); see also IAB, FTC-2023-0033-1000 (double opt-in could be especially
burdensome for bundled services, requiring consumers to check an additional box for each
service, without added benefit to clarity or disclosure); ICA, 2023-0033-1142 (“requiring
recording keeping of “express informed consent” potentially expressed through verbal, digital, or
written records for multiple years will be an onerous and expensive requirement for small
business owners to fulfill.”).
323
    Chamber, FTC-2023-0033-0885 (“unless there is a negative promotional option, service
providers should not be required to have a separate consent for monthly billing and the
underlying transaction when the underlying transaction is for a monthly service.”); see also MIA,
FTC-2023-0033-1008 (“an additional consent to initiate a Subscription is unnecessary and
superfluous”).
324
    See, e.g., Direct Marketing Companies, FTC-2023-0033-1016.

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transaction: one related to the negative option feature and a second for the sale of a separate good

or service (including a free trial). 325 Without this change, commenter Kuehn suggested “the
                                  324F




proposed Rule could have the unintended result of diminishing the efficacy of other important

terms of the contract.” Accordingly, Kuehn suggested the Commission revise the definition of

negative option feature to encompass the entire contract (rather than a provision of the

contract). 326 This alteration, along with changing “rest of the transaction” to “the sale of another
          325F




good or service,” would make it clear separate consent is only required where the seller has both

an auto renewal agreement and the sale of another good or service.

       IAB, DCN, CTA, and several direct marketing companies asserted the Commission could

achieve the same outcome—informed consent—through less restrictive means, e.g., by requiring

a clearer disclosure of the negative option feature. 327 For example, CTA posited: “[a]lternatively,
                                                    326F




to advance the same goal, and because the Proposed Rule already requires clear and conspicuous

disclosure of material terms, the FTC could instead require subscription service providers to

prominently disclose subscription terms in a manner that differentiates them from other

disclosures, such as in bolded or underlined font, in the course of obtaining consumer consent to

the transaction.” 328 Additionally, several commenters questioned “why a seller should be
                 327F




precluded from including other material terms of the transaction in obtaining a single

consent.” 329
         328F




325
    Kuehn, FTC-2023-0033-0871; RILA, FTC-2023-0033-0883.
326
    Kuehn, FTC-2023-0033-0871.
327
    Direct Marketing Companies, FTC-2023-0033-1016 (“the Commission provides no evidence
or rationale that a robust, clear and conspicuous disclosure proximate to the consumer’s consent
would be insufficient to prevent deception and remedy allegedly prevalent unfair or deceptive
acts and practices”).
328
    CTA, FTC-2023-0033-0997.
329
    PDMI, FTC-2023-003-0864; Sirius XM, FTC-2023-0033-0857 (“Businesses should be able


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       Some commenters raised additional concerns. For instance, several commenters

challenged the Commission’s statement that a separate check box or similar method could be

used to record a consumer’s unambiguously affirmative consent. Specifically, PDMI contended

the check box, signature, or “substantially similar” method of consent could quickly become

obsolete and “replaced by far more effective and consumer friendly mechanisms.” 330 Another,
                                                                                    329F




NRF, argued courts routinely hold a separate check box is not required for consumers to manifest

asset to terms and conditions of the agreement, so long as the terms are reasonably

conspicuous. 331 Finally, a group of direct marketing companies, argued standalone consent is not
             330F




necessary or reasonable, and other methods could suffice. They suggested the Commission

include language that it “shall be a question of fact” whether the seller obtained consent through

another means. 332  331F




       Additionally, several trade groups and sellers expressed concern about the NPRM’s

proposed recordkeeping requirements. For instance, one trade group explained the proposed

requirements “would require sellers to maintain records of consumer consent for at least three

years, even for consumers who signed up for a free trial and cancelled it before being charged.

As drafted, the proposed amendments would also require sellers to maintain records of consumer




to obtain such consent in conjunction with the other terms of an offer,[] as long as they clearly
and conspicuously disclose the negative option features and the other material terms of the offer
and refrain from “includ[ing] any information that ‘interferes with, detracts from, contradicts, or
otherwise undermines” the negative option terms.”).
330
    PDMI, FTC-2023-003-0864.
331
    NRF, FTC-2023-0033-1005 (citing Meyer v. Uber Techs., Inc., 868 F.3d 66, 79 (2d Cir.
2017)). It is unclear from NRF’s comment whether it questioned separate consent generally, or
the guidance on a check box.
332
    Direct Marketing Companies, FTC-2023-0033-1016.

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consent for eleven years for individuals who continuously subscribe to negative option features

for at least ten years.” 333
                        332F




        Numerous commenters asserted these recordkeeping requirements would increase costs,

which could ultimately be passed onto consumers, 334 or small businesses, especially with respect
                                                    333F




to in-person and telephone transactions. 335 Others raised concern the proposed recordkeeping
                                       334F




requirement could conflict with best privacy practices. For example, commenters noted the

retention period is at odds with the need to minimize the amount of consumer data that

businesses hold and to enable customers to request deletion of their data. 336 Commenters also
                                                                        335F




suggested the Commission reduce the length of the recordkeeping requirement, e.g., to six




333
    ANA, FTC-2023-0033-1001; see also BSA, FTC-2023-0033-1015 (“the current language
could be read to require a company to retain for three years the records of a customer who signed
up for a free trial but cancelled before the trial ended—and was therefore never a paying
customer.”).
334
    APCIA, FTC-2023-0033-0996; IAB, FTC-2023-0033-1000 (“this requirement will be
significantly costly, as subscription businesses will need to overhaul their sign-up processes to
comply with this requirement. Businesses seeking to offset this increased cost will be forced to
pass this cost to consumers or avoid offering subscriptions at all”).
335
    NCTA, FTC-2023-0033-0858 (“The proposal fails to account for the immense burden the
proposal would impose on companies using alternative means to sell their products and services
by requiring them to create and implement ways to capture and store duplicative layers of
consumer consent.”).
336
    CCIA, FTC-2023-0033-0984 (“This record retention rule also seems to be at odds with key
principles of consumer privacy, namely the need to minimize the amount of consumer data that
businesses hold and to enable customers to request deletion of any data in possession of a third
party. A shorter mandatory retention period is more appropriate for both businesses and
consumers.”); NCTA, FTC-2023-0033-0858 (“Not only is it expensive to maintain these records,
it does not comport with privacy best practices.”).

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months, 337 or revise the proposal to eliminate the requirement for those who do not allow
        336F




customers to purchase without accepting the terms of the negative option feature. 338337F




       Two consumer groups supported the consent provision but asked the Commission to add

clarifying language. Specifically, Berkeley Consumer Law Center asked the Commission to state

the Rule strictly prohibits the use of dark patterns to obtain consent and that consent cannot be

given through silence. A group of professors asked the Commission to clarify that disclosures

“appear in each language in which the representation that requires the disclosure appears.” 339338F




       Finally, commenters split on whether the Rule should require separate affirmative

consent for free-trial offers. Several consumers supported requiring separate consent at the

conclusion of a free-trial period, 340 with one consumer suggesting the Commission ban free-trial
                                  339F




offers that require the prepurchase of the good or service. 341 Other consumer interest and public
                                                            340F




337
    ICA, 2023-0033-1142 (“Decrease the duration of the record-keeping requirement to six
months after the business and the consumer enters into the agreement.”); see also Direct
Marketing Companies, FTC-2023-0033-1016 (change recordkeeping requirement to keep or
maintain records “for at least one year if the consumer is charged at least twice within six months
after the initial charge; or for at least three years if the consumer is not charged at least twice
within six months after the initial charge.”).
338
    PDMI, FTC-2023-003-0864; Chamber, FTC-2023-0033-0885.
339
    Law Professors, FTC-2023-0033-0861.
340
    Individual commenter, FTC-2023-0033-0843 (“In addition to making it easy to cancel an
online subscription, it should be illegal for companies offering a ‘free trial’ to bill for any term of
subscription without an opt-in step. If they really believe trying their product will prompt me to
keep using it, then it needs to be a 2-step process in which at the end of the trial period they must
ask for and receive an opt in before they place a charge on my card.”); Individual commenter,
FTC-2023-0033-0615 (“Rather than automatic renewals, I think subscriptions should only be
renewed following consumer approval. For example, after a 14-day trial of an app, consumers
should be asked if they approve a purchase to continue. If approval isn’t given, the default should
be that the subscription expired and the consumer isn’t charged.”); Individual commenter, FTC-
2023-0033-0993 (“If it’s a trial subscription the company should notify you that your trial is over
and affirm your desire to continue.”).
341
    Individual commenter, FTC-2023-0033-0026; see also Individual commenter, FTC-2023-
0033-0583 (“Require that any entity not require a credit card on file for a trial, or any free
period.”); Individual commenter, FTC-2023-0033-0641 (“Consumers shouldn’t have to be


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advocacy groups reiterated consumers often forget, or are unaware they have signed up for, a

negative option feature in connection with a free trial offer. 342 Sellers and trade groups
                                                                   341F




disagreed, specifically noting the Commission’s own analysis indicating a separate consent may

not be necessary given the other requirements of the Rule 343 and existing state laws. 344
                                                            342F                                343F




                       b)      Analysis

       Based on the record, the Commission removes the proposed requirement that sellers

obtain separate consent to “the rest of the transaction” under § 425.5(a)(3). Further, the

Commission modifies the recordkeeping requirement to require sellers to maintain records only

for three years from the date of consent. Alternatively, if sellers can show by a preponderance of

the evidence they use processes that make it technologically impossible for a consumer to

purchase the good or service without consent, sellers need not retain such records. 345 Finally, the
                                                                                         344F




required to submit credit/debit card information for a trial usage. And, consumers shouldn’t be
automatically charged the day after the trial expires.”); Individual commenter, FTC-2023-0033-
1069 (“A free trial should not create an automatic subscription!”); Individual commenter, FTC-
2023-0033-0607 (“A ‘trial offer’ should be just that—a ONE-TIME purchase.”).
342
    State AGs, FTC-2023-0033-0886 (“the State Attorneys General again respectfully encourage
the FTC to require sellers offering free trials to obtain an additional round of consent before
charging a consumer at the completion of the free trial.”); Law Professors, FTC-2023-0033-0861
(“we ask that the Commission require additional consent from the consumer before a business
may convert a free (or nominal-fee) trial into an expensive subscription. Indeed, it seems that
Congress, in adopting ROSCA, validated consumer expectations that they would “have an
opportunity to accept or reject [a] membership club offer at the end of [a] trial period.”); TINA,
FTC-2023-0033-1139 (“Such consumer complaints are consistent with survey data showing that
42 percent of consumers forget they are still paying for a subscription they no longer use.[]
‘Many of those happen after you get enticed by a free trial for an online streaming service or a
monthly subscription service for clothes or personal items, and then you forget to cancel it after
that trial is over.’”).
343
    Sirius XM, FTC-2023-0033-0857 (“As long as consumers are clearly informed about the
terms of a free trial offer and evince affirmative consent, no further consumer consent should be
required when the free trial period expires.”).
344
    CCIA, FTC-2023-0033-0984; Chamber, FTC-2023-0033-0885.
345
    This change will not affect a seller’s obligation to maintain appropriate records under other
regulations, e.g., the TSR.

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Commission declines to modify the consent provisions to require separate consent for free-trial

offers. However, should the Commission seek additional comments about a provision to require

annual reminders, 346 it will consider addressing such offers at that time.
                    345F




          Prior to addressing each of the issues listed above, it is important to clarify one point. A

negative option feature is not itself a product or service—it is simply a mechanism for repeatedly

consenting to the extension of a contract through silence. Thus, there are not situations in which

the negative option feature is the product, as some commenters suggested. In the example

provided above, a subscription to a streaming entertainment service can be offered with (e.g., the

offer renews each month until cancellation) or without (e.g., the subscription lasts one year and

then must be affirmatively renewed, or it cancels) a negative option feature. There are situations

in which sellers only offer products or services on a negative option basis; however, doing so

does not lessen the need to ensure consumers consent to the negative option mechanism within

the agreement. Therefore, the analysis below does not separately address this issue.

        (1)      The Commission does not adopt a requirement for separate consent to “the

        rest of the transaction” because it is unnecessary, confusing, and hard to implement.

          Based on the comments, the Commission finds requiring consumer consent to “the rest of

the transaction” apart from the negative option feature is unnecessary, potentially confusing, and

may be hard to implement. First, even without the separate consent requirement, the proposed

Rule contained several elements that work together to ensure consumers know they are agreeing

to a negative option feature. Specifically, the proposed Rule required sellers to obtain the

consumer’s unambiguously affirmative consent to the negative option feature separately from




346
      See Section VII.B.7.

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any other portion of the transaction 347 through, for example, a separately presented check
                                        346F




box. 348 It also required sellers to clearly and conspicuously provide important information
      347F




immediately adjacent to the request for consumer consent, including that the charge will be

recurring, the deadline to act to stop charges, the amount of the charges, and information

necessary to cancel. 349 Further, the proposed Rule stated the seller cannot include any
                         348F




information or employ any techniques that interfere with the consumer’s ability to understand

these important disclosures and provide unambiguously affirmative consent to the negative

option feature.

             Given these protections, a separate consent requirement is not necessary. 350 Second, the
                                                                                      349F




Commission agrees the separate consent requirement could cause consumer confusion.

Moreover, compliance with the Rule’s required disclosure and consent provisions should address

the concerns commenters raised regarding deception. Finally, several sellers suggested, and there

is no evidence to the contrary, that seeking consent to both the negative option feature and the

rest of the transaction could be hard to implement for many sellers. Thus, the final Rule does not

contain the separate consent requirement. 351  350F




347
    Section 425.5(a)(1).
348
    Section 425.5(c) allows sellers to comply with the requirement to obtain unambiguously
affirmative consent to the negative option feature through a check box, signature, or other
substantially similar method.
349
    See Rule § 425.4(a)(1)-(4).
350
    The Commission further notes because the seller is obtaining express informed consent to the
negative option feature separately from the rest of the transaction, consumers are, in effect,
agreeing to both the negative option feature and the sale of the good or service separately.
351
    See § 425.5(a)(3).

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      (2)          The Commission modifies the recordkeeping requirements to address

      legitimate privacy concerns and reduce undue burden on small businesses.

       Section 425.5(a)(4) of the proposed Rule required sellers to obtain and maintain (for three

years or a year after cancellation, whichever was longer) verification of the consumer’s consent

to the negative option feature. Implementation of this requirement would undoubtably enhance

the FTC’s ability to enforce the Rule. However, the Commission agrees the proposal creates

privacy concerns. The Commission has long recommended companies employ data retention

policies that “dispose of data once it has outlived the legitimate purpose for which it was

collected.” 352 Therefore, the Rule’s data retention requirement, could, in some instances, be at
            351F




odds with this guidance. Further, several commenters asserted a longer recordkeeping

requirement will be burdensome, particularly for small businesses.

       Balancing the Commission’s interest in robust Rule enforcement against privacy and

burden concerns, the Commission modifies the proposed Rule. Specifically, § 425.5(a)(3) of the

final Rule requires sellers to keep or maintain verification of the consumer’s consent for a period

of three years from the date of consent (rather than three years or a year after cancellation,

whichever is longer). Removing the requirement that sellers keep records until one year after

cancellation prevents the retention of records for very long periods of time while the contract is

still in force. Moreover, as some commenters stated, 353 sellers can employ technological
                                                      35 2F




processes for online consent that could alter the balance of concerns. Specifically, it is




352
    NCTA, FTC-2023-0033-0858 (citing FTC, “Protecting Consumer Privacy in an Era of Rapid
Change” (2012) at 28, www.ftc.gov/reports/protecting-consumer-privacy-era-rapid-change-
recommnedations-businessespolicymakers).
353
    ANA, FTC-2023-0033-1001; ESA, FTC-2023-0033-0867 (for purchases that cannot be
completed without a consumer’s consent, a business will be deemed compliant with any
recordkeeping requirement and is not required to maintain an individual record of consent).

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technologically feasible to make it impossible for customers to enroll without providing

unambiguously affirmative consent. The Commission therefore further modifies the

recordkeeping requirement to eliminate the requirement entirely if a seller can demonstrate it

meets this threshold. The final provision will allow sellers to destroy consumer records more

quickly, while accomplishing the same goal. 354 Finally, the Commission clarifies maintaining
                                             353F




copies of advertisements or telephone scripts documenting the disclosures provided in general

does not meet this requirement. Such information is easily manipulated by deceptive sellers and

cannot show any particular consumer received the disclosures prior to giving consent. Therefore,

sellers must either maintain records of each consumer’s unambiguously affirmative consent or

demonstrate they satisfy the technological exemption provision.

      (3)      Other concerns raised by commenters do not warrant modifications to the

      rule.

       As noted above, a few commenters questioned the Commission’s proposed exemplar

consent mechanism under § 425.5(c). This proposed provision states for written offers, a check

box, signature, or “substantially similar” method can be used to obtain a consumer’s

unambiguously affirmative consent. The Commission notes the mechanism applies to the

negative option feature only, and thus corrects the cross-reference contained in this provision

from (a)(3) to (a)(1).

       The Commission further notes this provision does not require a check box or signature.

The Commission offered these methods only as examples a seller can use to obtain

unambiguously affirmative consent, not the only ways to do so. Thus, the exemplar does not




354
   Importantly, if the seller does not maintain records and cannot satisfy the technological
exemption, the seller has violated the Rule.

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conflict with caselaw holding that a check box is not required to manifest consent. The

Commission also declines to include language in the final Rule, as one commenter suggested, 355    35 4F




stating whether a seller has complied with this provision is a question of fact. This is unnecessary

because the Commission always evaluates sellers’ practices on a case-by-case basis to determine

whether they comply with the law.

         The Commission further declines to remove this provision’s reference to “substantially

similar” methods as some commenters requested. The language is intended to cover any method

that affords consumers all the same protections as a check box or signature. The phrase

“substantially similar” performs this function while allowing for technological advancement,

innovation, and adaption without tying sellers to specific mechanism that may become obsolete.

         Further, the Commission declines to modify the final Rule to allow sellers to obtain

express informed consent by merely “disclosing” the negative option more clearly through, e.g.,

bolded or underlined font, rather than obtaining expressed informed consent separately for the

negative option feature. Although this change would be “less restrictive,” it would not

adequately protect consumers from unknowingly enrolling in negative option programs. In the

NPRM, the Commission balanced the need for clear, unavoidable disclosure of, inter alia, the

negative option feature with the need for flexibility to allow sellers to best communicate their

entire message to consumers. The proposed Rule strikes the right balance. As discussed above,

proposed § 425.4 (Important Information), required sellers to clearly and conspicuously disclose

important information about the negative option feature, immediately adjacent to the means of

recording consent to the feature, and, under § 425.5 (Consent), separately from any other portion




355
      Direct Marketing Companies, FTC-2023-0033-1016.

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of the transaction. The Commission did not specify exact placement, language, or font size

because doing so would have diminished flexibility without a sufficient corresponding benefit.

         While this balance is appropriate, the required disclosure of important information under

§ 425.4 does not replace the requirement that sellers obtain consumers’ express informed

consent. To avoid harm from unfair and deceptive practices, it is imperative consumers

unequivocally understand they are agreeing to enrollment in a negative option program and

demonstrate their agreement.

         The Commission also declines to add language stating (1) the Rule strictly prohibits the

use of dark patterns to obtain consent and (2) consent cannot be given through silence. The Rule

already addresses both concerns. First, the Rule bars any information that “interferes with,

detracts from, contradicts, or otherwise undermines” the consumer’s ability to provide express

informed consent. To the extent dark patterns run afoul of any of these requirements, they are

prohibited. To the extent they do not, consumers’ express informed consent as required by the

Rule is not implicated. Second, under § 425.5, consumers already must give affirmative consent.

         Finally, the Commission does not need to clarify, as some commenters suggested, that

required consents “appear in each language in which the representation . . . appears.” 356 To
                                                                                         355F




obtain a consumer’s express informed consent, each disclosure must be clear and conspicuous

and immediately adject to the means of recording the consumer’s consent. To meet the clear and

conspicuous standard as defined in the Rule, the disclosure must, among other things, “appear in

each language in which the representation that requires the disclosure appears.” 357
                                                                                 35 6F




356
      Law Professors, FTC-2023-0033-0861.
357
      Rule § 425.2(c)(6).

                                                105
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      (4)      The Commission does not modify the Rule to require separate consent for

      free trial offers.

       In the NPRM, the Commission invited comments on whether the Rule should require an

additional (or alternative) round of consent after the end of a free trial offer. As explained in the

NPRM, if the seller follows the proposed Rule’s disclosure and consent requirements, consumers

should understand they are enrolled in, and will be charged for, the negative option feature once

the free trial ends. As discussed above, however, several commenters explained with enough

time between initial enrollment and charge after conversion, consumers are primed to forget the

negative option feature. 358 The Commission agrees this an important issue; however, clear
                            35 7F




upfront disclosures lessen the chance a negative option feature may be unfair or deceptive.

Specifically, clear, accurate upfront disclosures reduce the risk of deception, and the potential

harms caused are more likely to be reasonably avoidable (i.e., the consumer can simply refuse to

enter into the contract). That said, taking advantage of consumers’ “forgetfulness” is extremely

troubling and thus ripe to be addressed by other means.

               6.      Proposed § 425.6 Simple Cancellation (“Click to Cancel”)

       Section 425.6 of the proposed Rule contains several requirements to ensure consumers

can easily cancel negative option features. As explained in the NPRM, “easy cancellation is an

essential feature of a fair and non-deceptive negative option program,” but one that has become

“far too often illusory.” 359 “If consumers cannot easily leave a negative option program, the
                           358F




358
    Deceptive sellers also commonly delay shipment of goods or services until close to the end of
the trial period, giving consumers little time to stop the charge or cancel the negative option. See,
e.g., Individual commenter, FTC-2023-0033-0085.
359
    NPRM, 88 FR 24729; see ANPR, 84 FR 52395 (discussing general requirements for
nondeceptive negative options); id. at 52396 (discussing the ongoing problems in the
marketplace including inadequate or overly burdensome cancellation procedures).

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negative option feature is little more than a means of charging consumers for goods and services

they no longer want.” 360
                      359F




       To prevent unfairly trapping consumers in a transaction they do not want, the proposed

Rule directed sellers to provide a cancellation mechanism that (1) immediately halts recurring

charges; (2) is as simple to use as the mechanism the consumer used to consent to the negative

option feature; and (3) is readily accessible through the same medium the consumer used to

provide that consent. The Commission intended these requirements to erect clear guardrails,

while providing sellers with the flexibility to innovate. Therefore, rather than propose specific

prohibitions, which may lose utility over time, or inadvertently provide a roadmap for deception,

the proposed Rule outlined a performance-based standard mapping the contours of what

constitutes a simple mechanism, without overly prescriptive requirements.

                             a)     Section 425.6(a)-(b) Simple Mechanism Required For

                             Cancellation; And Simple Mechanism At Least As Simple As

                             Initiation.

      (1)      Summary of Comments

       Proposed §§ 425.5(a) and (b) required a fast and easy cancellation mechanism that, at

minimum, allows the consumer to cancel as easily as they enrolled in the program. The

Commission received thousands of comments in support of this provision, with individual

consumers uniformly expressing their desire for a simple easy to use cancellation mechanism. 361 360F




360
   NPRM, 88 FR 24729.
361
   Individual commenter FTC-2023-0033-0029 (“Please implement this necessary rule to protect
consumers and save us hours on the phone cancelling services we signed up for with one click
online.”); Individual commenter, FTC-2023-0033-0072 (“I have had issues with some online
subscriptions which were entered into purely online, but to cancel I had to call a phone number
open only during certain business hours. I would like a rule that requires all subscriptions to be


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Such comments included: “If you signed up online, you should be able to cancel online. If it took

one click to join, it should take one click to cancel;” 362 “I would like the option to cancel my
                                                      36 1F




subscriptions, [and] offers online just as easily as it was to sign up;” 363 “As more and more
                                                                        36 2F




services enter online use, it is ridiculous that consumers have to jump through so many hoops to

cancel services when it is so easy to sign up for them;” 364 and “Consumers need the one-click
                                                              363F




option.” 365
        36 4F




available to cancel through the same means as they were initiated, whether that is online, in
person, phone, mail, or chat. I believe that would be fair to people of all technological levels
while allowing businesses to conduct business how they feel comfortable without allowing them
to create unnecessary hurdles for customers looking to end their service.”).
362
    Individual commenter, FTC-2023-0033-0111. Thousands of individual consumers repeated
this phrase through a mass media campaign. See, e.g., Anonymous commenter, FTC-2023-0033-
0013; Individual commenter, FTC-2023-0033-0016 (“If I can subscribe in one click, I should be
able to unsubscribe in one click.”); Individual commenter, FTC-2023-0033-0017 (“It should be
as easy as one click to cancel an online account.”); Individual commenter, FTC-2023-0033-0068
(“Being able to go online and with a simple click be able to cancel a subscription would be a
dream.”); see also Individual commenter, FTC-2023-0033-0015 (“Ending a subscription should
be as easy as it was to sign up. it makes no sense how hard it is to close out an account with some
places.”); Individual commenter, FTC-2023-0033-0020 (“The time has come to make it as easy
for consumers to cancel subscriptions as it has been to start them.”); Individual commenter, FTC-
2023-0033-0087 (“I think any offer you can buy with a click should also be an offer to
unsubscribe with a click.”).
363
    Individual commenter, FTC-2023-0033-0003; see also Individual commenter, FTC-2023-
0033-0010 (“I for one would be for the Easing of subscription cancellation. Having it be much
harder to cancel a subscription than start it simply shouldn’t be.”); Anonymous commenter,
FTC-2023-0033-0024 (“It should be no harder for consumers to stop giving a company their
money than it is for them to start giving it to them.”); Individual commenter, FTC-2023-0033-
0025 (“In fact, it should be as easy to cancel as it is to sign up.”).
364
    Individual commenter, FTC-2023-0033-0231; Individual commenter, FTC-2023-0033-0109.
365
    Individual commenter, FTC-2023-0033-0403.

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       Some commenters suggested unsubscribing should be easier than enrolling, 366 and36 5F




others, “very easy.” 367 Indeed, several advocated for an “Unsubscribe link,” 368 similar to those
                    366F                                                       367F




available under the CAN-SPAM Act. 369 Numerous commenters complained they often have to
                                       36 8F




resort to disputing the charge with credit card companies (or cancelling the card altogether)

because cancellation is so difficult or impossible. 370 Additionally, commenters described the
                                                   36 9F




simple cancellation mechanism requirements as a “no brainer,” “common sense,” and “only fair”




366
     “Unsubscribing should be easier than subscribing.” Individual commenter, FTC-2023-0033-
0005. Accord Individual commenter, FTC-2023-0033-0021 (same); Anonymous commenter,
FTC-2023-0033-0040 (“I am in favor of making it easier to discontinue services.”); Individual
commenter, FTC-2023-0033-0107 (“Canceling a subscription should be easier that setting up the
subscription.”).
367
     Individual commenter, FTC-2023-0011 (“It should be very easy to cancel a subscription,
artificially creating difficulty or hurdles only serves to hurt the consumer of a service as well as a
company’s image and deplete trust in a brand or service.”); Individual commenter, FTC-2023-
0033-0036 (“It should be very easy to cancel a subscription!!!!!”).
368
    Individual commenter, FTC-2023-0033-0030; Individual commenter, FTC-2023-0033-0035;
see also Individual commenter, FTC-2023-0033-0188 (“If you sign up online, you should be
able to cancel online. If it took one click to join, it should take one click to cancel. Kind of like
‘unsubscribing’ from an email newsletter you don’t want to get anymore.”); Individual
commenter, FTC-2023-0033-0236 (“When I get an email from a politician I’m not interested in
there is always an unsubscribe button. Why can’t paid subscriptions be the same?”).
369
     Controlling the Assault of Non-Solicited Pornography and Marketing Act of 2003 (“CAN-
SPAM Act”), 15 U.S.C. 7701-7713; 16 CFR part 316.
370
     See, e.g., Individual commenter, FTC-2023-0033-0068; Individual commenter, FTC-2023-
0033-0086; Individual commenter, FTC-2023-0033-0203 (“Recently, I had to start a dispute case
with my credit card company because I had subscribed to a service and there was no way to
cancel that service.”); Individual commenter, FTC 2023-0033-0211; Individual commenter,
FTC-2023-0033-0225 (had new card issued); Individual commenter, FTC-2023-0033-0275
(disputed the charge and cancelled card); Individual commenter, FTC-2023-0033-0311
(cancelled credit card); Individual commenter, FTC-2023-0033-0320 (disputed charge);
Individual commenter, FTC-2023-0033-0501 (terminated credit card); Individual commenter,
FTC-2023-0033-1134 (cancelled credit card).

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to consumers. 371 These and others commenters complained of the hundreds of dollars 372 and
                 370F                                                                   371F




hours 373 wasted on unused and unwanted products and services they were not effectively able to
      372F




cancel due to byzantine cancellation procedures. 374
                                                 373F




371
    See, e.g., Individual commenter, FTC-2023-0033-0256; Individual commenter, FTC-2023-
0033-0408 (“common sense”); Individual commenter, FTC-2023-0033-0431 (“no brainer”);
Individual commenter, FTC-2023-0033-0586 (“no brainer”).
372
    Individual commenter, FTC-2023-0033-0232; Individual commenter, FTC-2023-0033-0459
(“I once lost hundreds of dollars because I could not find how to cancel.”); Individual
commenter, FTC-2023-0033-0509; Individual commenter, FTC-2023-0033-0232 (“I’m currently
trapped in at least three subscriptions that are nearly impossible to cancel, costing me hundreds
of dollars per year.”); Individual commenter, FTC-2023-0033-0509; Individual commenter,
FTC-2023-0033-0825 (“I have wasted hundreds of dollars for things that automatically renewed
as a result of not being able to figure out easily how to cancel.”); Individual commenter, FTC-
2023-0033-0572; Individual commenter, FTC-2023-0033-0697 (“I have been caught up in just
this very unfair practice where I’ve been lured in and can’t get out— to the tune of hundreds of
dollars that I don’t have.”); see also Public Interest Groups, FTC-2023-0033-0880.
373
    See, e.g., Individual commenter, FTC-2023-0033-029 (“Please implement this necessary rule
to protect consumers and save us hours on the phone cancelling services we signed up for with
one click online.”); Anonymous commenter, FTC-2023-0033-0040 (“My negative experience
was that it was a simple ‘click’ on-line to sign up for a service but to cancel same service it took
three phone calls and hours of my time.); Individual commenter, FTC-2023-0033-0084 (“I spent
over two hours of my time trying to cancel the subscription.”); Individual commenter, FTC-
2023-0033-0106 (“I’ve definitely lost at least 30 hours of my life dealing with insufferable
‘retention specialists,’ all of whom should be ashamed of what they do.”); Individual commenter,
FTC-2023-0033-0431; Individual commenter, FTC-2023-0033-0385 (“This is not a bot
generating a letter; it’s an actual person, and I want to register strong support for the one Click
rule you are considering. I have wasted hours trying to deal with customer service, whose only
goal is to keep me on board.”); Individual commenter, FTC-2023-0033-0672 (“It’s about time!
Trying to unsubscribe can waste many hours, induce stress, result in unwanted subscription or
cancellation fees, and leave personal data subject to abuse.”); Individual commenter, FTC-2023-
0033-0642 (“There needs to be a substantial penalty when a service is requested to be cancelled,
but the charges continue. I dropped my TV service from Comcast 3 months ago and they
continue to charge me. Every time I need to re-contact them I waste an hour.”).
374
    Individual commenter, FTC-2023-0033-0422 (“Implementing this consumer-protection rule
has the potential to save American consumers millions of dollars, and prevent unscrupulous
companies from using byzantine cancellation procedures to squeeze unwarranted funds out of
their customers.”); Individual commenter, FTC-2023-0033-0233 (“I had to navigate an endless
labyrinth of dark-patterned links in order to cancel an Amazon Prime subscription that took me
one click to sign up for.”); Individual commenter, FTC-2023-0033-0482 (“They make it a
labyrinth of obscure phrases and if you don’t know to click on just the right one, you’ll never be
able to cancel.”).

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       As summarized by the Berkeley Consumer Law Center, “requiring the mechanism of

cancellation be as simple as enrollment” will minimize “overly complex cancellation processes

with multiple steps,” and prevent sellers “from trapping consumers in automatically renewing

subscriptions through obstacles created by tedious processes or confusion.” 375
                                                                              374F




       Sellers and trade organizations argued the proposed requirements were “too vague.” 376 375F




For instance, PDMI asserted the requirement that the simple cancellation mechanism be as easy

to use as the one used to initiate the transaction provides no clear guidance on when a transaction

is “initiated.” Several industry and trade groups echoed this comment, contending “as easy as” is

a difficult, and often subjective, standard. 377 Other businesses complained the proposed Rule
                                           376F




fails to define “simple mechanism” 378 and making cancellation as easy as enrollment was not
                                    377F




possible because they serve different purposes. 379 IAB asserted the proposed requirements were
                                                  378F




overbroad in relation to the prevalent acts or practices the Commission identified. 380
                                                                                     379F




375
    Law Professors, FTC-2023-0033-0861; see also State AGs, FTC-2023-0033-0886 (“state
attorneys general strongly endorse the FTC’s efforts to ensure that consumers enrolled in
subscription services or other negative option plans are continuing to pay for those plans because
they want to maintain their subscriptions, and not because it is too much trouble to cancel.”).
376
    PDMI, FTC-2023-003-0864; ACT App Association, FTC-2023-0033-0874 (elusive
language); IAB, FTC-2023-0033-1000 (unclear how to measure simplicity).
377
    Chamber, FTC-2023-0033-0885 (“ambiguous and hard to implement requirement); NRF,
FTC-2023-0033-1005 (as simple as not defined and no examples).
378
    ACT App Association, FTC-2023-0033-0874. The Commission does indeed define “simple
mechanism” through the requirements of § 425.6, as well as through existing caselaw and the
2021 Enforcement Policy Statement. See n.384.
379
    ESA, FTC-2023-0033-0867; IHRSA, FTC-2023-0033-0863; Chamber, FTC-2023-0033-
0885; BSA, FTC-2023-0033-1015.
380
    IAB, FTC-2023-0033-1000. The Commission addresses IAB’s prevalence assertions
elsewhere. See Section VII.A.

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      (2)      Analysis

       Considering the overwhelming support for a simple cancellation 381 mechanism that
                                                                              380F




immediately halts charges, 382 and given substantial evidence supporting the need for such
                                  38 1F




mechanism to prevent unfair and deceptive acts and practices, the Commission retains proposed

§§ 425.6(a) and (b). 383 The Commission disagrees with commenters’ argument that the “as easy
                          38 2F




as” standard is vague. The Commission has provided considerable guidance on what constitutes

a simple or “easy” cancellation mechanism through numerous cases and its 2021 Enforcement

Policy Statement. 384
                  383 F




381
    Beyond the near universal support by consumers and consumer advocacy groups, some trade
groups also supported the goal of ensuring consumers have a quick and easy mechanism to
cancel. RILA, FTC-2023-0033-0883; see also Sirius XM, FTC-2023-0033-0857 (“All parties
want an easy-to-use and an accessible method of cancellation”); ZoomInfo, FTC-2023-0033-
0865 (“We concur with the FTC’s recognition that negative option terms, often concealed in
‘fine print’, can be difficult for consumers to negotiate or even to comprehend fully, and that
canceling these contracts can be unfairly burdensome.”).
382
    Some commenters asked for clarification regarding whether the requirement under § 425.6(a)
would also immediately cancel the entire contract. See, e.g., N/MA (“The FTC should also
clarify that the “Click to Cancel” proposal applies only to the negative option portion of a
subscription and not to the entire subscription.”). The language of the Rule is clear—cancellation
under the Rule applies only to the negative option portion of the contract, and not the entire
contract. Section 425.6 (“it is violation of this Rule . . . for the negative option seller to fail to
provide a simple mechanism for a consumer to cancel the negative option feature”) (emphasis
added). Thus, when a consumer cancels, all terms and conditions continue until the expiration of
the contract or agreement.
383
    BSA specifically requested the Commission revise subsection (a) to the following: “We
suggest revising this language to clarify the intended result by stating the obligation is ‘to cancel
the negative option feature and immediately stop any recurring charges for the good or service.’”
BSA, FTC-2023-0033-1015. However, this change could create ambiguity regarding application
of the subsection to the initiation of charges under free- and fee-to-paid conversions.
Accordingly, the Commission will not incorporate the suggested change.
384
    See, e.g., EPS, 86 FR 60822; FTC v. FloatMe Corp., No. 5:24-cv-00001 (W.D. Tex. 2024);
United States v. Cerebral, Inc., No. 1:24-cv-21376 (S.D. Fla. 2024); FTC v. Bridge It, Inc., No.
1:23-cv-09651 (S.D.N.Y. 2023); FTC v. Vonage Holdings Corp., No. 3:22-cv-06435 (D.N.J.
2022); FTC v. Benefytt Techs., Inc., No. 8:22-cv-01794 (M.D. Fla. 2022); FTC v. First Am.
Payment Sys., No. 4:22-cv-00654 (E.D. Tex. 2022); United States v. MyLife.com, Inc., No. 2:20-
cv-6692 (C.D. Cal. 2020); FTC v. RagingBull.com, LLC, No. 1:20-cv-03538 (D. Md. 2020);


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       Moreover, the “as easy as” standard is even clearer in context, i.e., a flexible measure that

ensures consumers have similar cancellation and consent experiences in terms of time, burden,

expense, and ease of use, among other things. 385 The Commission is aware these experiences
                                               38 4F




may not always be perfectly symmetrical. Consumers may have to verify or authenticate their

identity, for instance, 386 or they may be asked to confirm their intent to cancel. 387 However,
                      385F                                                        38 6F




reasonable verification, authentication, or confirmation procedures should not create distinctly

asymmetrical experiences, particularly if the cancellation mechanism is located within account or

user settings secured by authentication requirements for access. Any authentication, verification,

or confirmation procedure that creates unreasonable asymmetry runs afoul of Section 5 of the

FTC Act and the Rule. Moreover, given the extensive record and the Commission’s experience

with sellers using verification and authentication tools to thwart or delay cancellation, 388 the
                                                                                          387F




FTC v. Age of Learning, Inc., No. 2:20-cv-07996 (C.D. Cal 2020); FTC v. Match Grp., Inc., No.
3:19-cv-02281 (N.D. Tex. 2019); FTC v. Cardiff, No. 5:18-cv-02104 (C.D. Cal. 2018); FTC v.
AdoreMe, Inc., No. 1:17-cv-09083 (S.D.N.Y. 2017); FTC v. AAFE Prods. Corp., No. 3:17-cv-
00575 (S.D. Cal. 2017); FTC v. JDI Dating, Ltd., No. 1:14-cv-08400 (N.D. Ill. 2014).
385
    Some commenters raised the concern that sellers might create complicated signup procedures
to justify complex cancellation mechanisms. ESA, FTC-2023-0033-0867; State AGs, FTC-2023-
0033-0886; IAB, FTC-2023-0033-1000. As pointed out by the State AGs sellers must comply
with all requirements of a simple cancellation mechanism, including that consumers can
promptly effectuate cancellation through an accessible means.
386
    Commenters insisted that reasonable authentication and verification procedures be allowed
prior to cancellation to ensure that only authorized persons are making changes to an account.
NFIB, FTC-2023-0033-0789; IHRSA, FTC-2023-0033-0863; ESA, FTC-2023-0033-0867;
N/MA, FTC-20230033-0873; RILA, FTC-2023-0033-0883; ANA, FTC-2023-0033-1001.
387
    See, e.g., MIA, FTC-2023-0033-1008.
388
    Berkeley Consumer Law Center, FTC-2023-0033-0855; RocketMoney, FTC-2023-0033-
0998; Anonymous commenter, FTC-2023-0033-0024; Individual commenter, FTC-2023-0033-
0411; Individual commenter, FTC-2023-0033-0850; Individual commenter, FTC-2023-0033-
0861; Individual commenter, FTC-2023-0033-0888; Anonymous commenter; FTC-2023-0033-
0134; Individual commenter, FTC-2023-0033-0326; Individual commenter, FTC-2023-0033-
0778.

                                                       113
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Commission declines to create a safe harbor for these activities as some states have 389 and as
                                                                                          388F




some commenters requested. 390 389F




        Nevertheless, as some commenters point out, the proposed initiation or purchase date

trigger may provide insufficient clarity. 391 Not all negative option features begin with a purchase
                                              390F




(e.g., free trials), and when a transaction is initiated is subject to interpretation or possible

manipulation. Given this ambiguity, businesses attempting to comply with the proposed Rule

may have difficulty, and those attempting to evade the proposed Rule may find loopholes with

the proposed initiation or purchase date trigger. Thus, the Commission revises § 425.6(b) 392 to 391F




require the simple cancellation mechanism be “as easy as” the mechanism the consumer used “to

consent” to the negative option feature, rather than “initiate” or “purchase” the feature. The

moment of consent avoids the lack of clarity the terms “purchase” and “initiate” introduce and

clarifies the action to which the cancellation must be compared.

                        b)            Proposed Section 425.6(c) Minimum Requirements For Simple

                        Mechanisms.

      (1)       Summary of Comments

        The proposed Rule required sellers to provide a simple cancellation mechanism through

the same medium (Internet, phone, in-person) the consumer used to consent to the negative




389
    See, e.g., Cal. Bus. & Prof. Code § 17602(d)(3); Colo. Rev. Stat. § 6-1-732(2)(d)(I)(B).
390
    USTelecom, FTC-2023-0033-0876 (“expressly allow” business to engage in privacy and data
security measures prior to cancellation); ANA, FTC-2023-0033-1001.
391
    For online cancellation, § 425.6(c)(1) of the proposed Rule required sellers to provide a
simple cancellation mechanism through the same medium consumers used “to purchase the
negative option feature.”
392
    The Commission also will make a conforming change to add “consent” in Section
425.6(c)(1).

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option feature. Almost uniformly, consumers supported this requirement. 393 However, a number
                                                                                           39 2F




of a trade groups disagreed, arguing, as explained below, the requirement is too prescriptive, or

could lead to accidental or inadvertent cancellation. 394 Instead, these commenters suggested the
                                                      39 3F




Commission allow consumers to choose their cancellation medium (e.g., based on “consumer

expectations,” convenience, or common use by the seller). 395 394F




       Consumer groups and law enforcement asked the Commission to add minimum

requirements to the simple cancellation mechanism. For instance, the State AGs asked the

Commission to include the various requirements stated in the 2021 Enforcement Policy

Statement, e.g., require negative option sellers “not [to] erect unreasonable barriers to

cancellation or impede the effective operation of promised cancellation procedures, and must

honor cancellation requests that comply with such procedures.” 396 They also urged the
                                                                            39 5F




Commission to adopt language from New York’s statute, which provides simple cancellation

mechanisms must be “cost effective, timely, and easy to use.” 397 Additionally, the Center for
                                                                     396F




393
    See, e.g., Individual commenter, FTC-2023-0033-0072 (“I would like a rule that requires all
subscriptions to be available to cancel through the same means as they were initiated, whether
that is online, in person, phone, mail, or chat.”); Individual commenter, FTC-2023-0033-0252
(“the method provided for signing up for a service must also be provided for cancelling the same
service, be just as easy to find, and require no more steps than it took to sign up.”).
394
    See, e.g., NCTA, FTC-2023-0033-0858; PDMI, FTC-2023-0033-0864; CTA, FTC-2023-
0033-0997; ANA, FTC-2023-0033-1001. See also Wilson Sonsini Goodrich & Rosati on behalf
of certain of its alarm company clients (“Sonsini Alarm Clients”), FTC-2023-0033-0860 (alarm
companies should be able to speak to the customers to verify identity and confirm cancellation
intent); N/MA-FTC-2023-0033-0873 (A “one click” cancellation requirement for an entire
subscription, especially absent some form of authentication, could also lead to accidental and/or
malicious cancellations.); NRF, FTC-2023-0033-1005 (data suggests that one-click-cancellation
functions frequently cause accidental cancellations).
395
    See, e.g., Sirius XM, FTC-2023-0033-0857; N/MA, FTC-2023-0033-0873; State AGs, FTC-
2023-0033-0886.
396
    State AGs, FTC-2023-0033-0886.
397
    Id.

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Data Innovation asked the Commission to create a working group to define simple mechanism

further, including best practices for businesses. 398
                                                   39 7F




        Finally, some commenters suggested the record lacks evidence that it would be unfair or

harmful to consumers to have a cancellation process different from the sign-up process. 399398F




Accordingly, they argued promulgating a trade regulation rule requiring such symmetry is

beyond the Commission’s authority. Further, IAB argued the Commission cannot create new

requirements defining simple cancellation methods beyond ROSCA’s simplicity standard, i.e.,

that sellers provide simple mechanisms to stop recurring charges, because Congress already

decided the appropriate standard. 400399F




        (a)     Proposed § 425.6(c)(1): Online Cancellation

        Section 425.6(c)(1) of the proposed Rule specifically addressed online cancellation,

requiring sellers to provide a cancellation mechanism over the same website or web-based

application the consumer used to consent. Thousands of commenters repeated the mantra: “If

you signed up online, you should be able to cancel online,” noting they often face hurdles finding

a cancellation mechanism, and then must call and spend significant time on the telephone to

cancel their subscriptions. 401
                           40 0F




        In contrast, RILA suggested consumers would not always expect to find a cancellation

function through the same online medium the consumer used to enroll. “For example, contracts


398
    CDI, FTC-2023-0033-0887.
399
    CTA, FTC-2023-0033-0997; IAB, FTC-2023-0033-1000.
400
    IAB, FTC-2023-0033-1000.
401
    Individual commenter, FTC-2023-0033-0215 (“If you signed up online, you should be able to
cancel online. If it took one click to join, it should take one click to cancel.”); Individual
commenter, FTC-2023-0033-0847; Anonymous commenter, FTC-2023-0033-0040 (“My
negative experience was that it was a simple ‘click’ on-line to sign up for a service but to cancel
same service it took three phone calls and hours of my time. If I can sign up with a ‘click’ then I
SHOULD be able to cancel with a ‘click.’”).

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are . . . increasingly concluded online through third parties or via social media apps. Regardless

of how a customer initially signs up, once she/he establishes a purchasing arrangement with a

seller, the customer will logically look to the seller to cancel.” 402 Several commenters agreed,
                                                                401F




stating where a consumer enrolls through a third party, or through an IoT device, the consumer

may naturally look to the seller with whom the consumer has the agreement. 403   40 2F




       Similarly, trade groups, such as NCTA and PDMI, argued mandating consumer

cancellation through the same website or web-based application the consumer used to initiate the

transaction is too prescriptive. 404 Several of these commenters asserted the proposed requirement
                               40 3F




is unnecessary and contrary to consumer expectations. 405 They further contended when
                                                        40 4F




consumers enroll online, any online cancellation mechanism should be adequate. 406 Further,
                                                                                         40 5F




these commenters suggested it may not be possible to offer the same website or web-based

application due to contractual obligations and limitations imposed by third parties. 407         406F




       Additionally, broadband, wireless, and streaming groups, such as NCTA and

USTelecom, suggested the same-medium requirement is particularly troublesome for their

industries because consumers often subscribe to multiple, or bundled, services, rendering

cancellation online through a single click difficult or impossible. These industries posited

consumers often do not, in fact, want to cancel, but rather seek to downgrade or modify services.




402
    RILA, FTC-2023-0033-0883.
403
    ESA, FTC-2023-0033-0867; ANA, FTC-2023-0033-1001.
404
    NCTA, FTC-2023-0033-0858; PDMI, FTC-2023-0033-0864; CTA, FTC-2023-0033-0997;
ANA, FTC-2023-0033-1001.
405
    See, e.g., ESA, FTC-2023-0033-0867; IAB, FTC-2023-0033-1000.
406
    See, e.g., IAB, FTC-2023-0033-1000; MIA, FTC-2023-0033-1008; see also RILA, FTC-
2023-0033-0883 (enrollment online, e.g., Internet-based mobile applications, should be allowed
through seller’s website).
407
    See, e.g., ESA, FTC-2023-0033-0867.

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Therefore, requiring a consumer to speak to a live agent best accomplishes this goal, regardless

of how the consumer enrolled. 408
                               40 7F




       Alarm companies raised a similar concern, i.e., there are no safeguards to ensure the

consumer intended to cancel (rather than, e.g., unsubscribe from marketing emails) when

cancelling online. They also emphasized the importance of verifying a consumer’s identity prior

to cancellation. As explained by a commenter representing various alarm company clients, alarm

companies’ “cancellation procedures are designed to prevent inadvertent or malicious disabling

of alarm monitoring services, often by directing consumers to call trained customer support

representatives who can verify the consumer’s identity via their secure passcode and ensure any

changes made to the account are intentional and fully informed.” 409
                                                                 408F




       (b)     Proposed § 425.6(c)(2): Telephone Cancellation

       Proposed § 425.6(c)(2) addressed situations in which sellers obtain consumer consent by

telephone. In these situations, the proposed Rule required sellers to provide a telephone number

to consumers and “assure” all calls are answered promptly during “normal business hours” and

are no more costly than the call to enroll.




408
    USTelecom, FTC-2023-0033-0876; CTIA, FTC-2023-0033-0866 (“imperative that
businesses are able to have a live representative speak with a customer seeking to cancel,
regardless of the medium used to sign up”); NCTA, FTC-2023-0033-0858; (“Whatever these
consumers’ reasons for seeking to cancel or modify services, in most instances they are best
served by speaking with a live agent, even if they enrolled online.”); see also Chamber, FTC-
2023-0033-0885 (subscriptions to multiple products or services “require[] more time and
personal assistance to address when a customer seeks to cancel only one of such related products
or services”).
409
    Sonsini Alarm Clients, FTC-2023-0033-0860; see also Joint Alarm Industry Comments -
ESA, TMA, SIA and AICC, FTC-2023-0033-1014 (asking for clarification that alarm companies
can require written or verbal confirmation of online cancellation requests). The concerns raised
by these industries are likely an artifact of the Saves provision, which, as proposed, could be
interpreted to prevent verification procedures and cancellation intent. The Commission addresses
these concerns in Section VII.B.6.c.

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        Several commenters asked the Commission to modify this Section. Specifically, N/MA

asked that sellers be allowed to confirm telephone cancellations through email verification. 410 A
                                                                                             409F




group of law professors asked the Commission to require sellers to answer cancellation calls in

“comparable timeframe to sign-up calls.” 411 They also suggested telephone answering systems
                                          410F




should not be limited to normal business hours if they are entirely automated. The State AGs

further asked the Commission to incorporate the guidance for telephone cancellation from the

2021 Enforcement Policy statement, for example, ensuring “the calls are not lengthier or

otherwise more burdensome than the telephone call the consumer used to consent to the negative

option feature,” and prohibiting sellers from “hang[ing] up on consumers who call to cancel;

plac[ing] them on hold for an unreasonably long time; provid[ing] false information about how

to cancel; or misrepresent[ing] the reasons for delays in processing consumers’ cancellation

requests.” 412
          411F




        (c)      Proposed § 425.6(c)(3): In-person Cancellation

        For in-person sales, proposed § 425.6(c)(3) required sellers to offer online or telephone

call cancellation mechanisms in addition to the same in-person mechanism, where practical. The

proposed Rule further required sellers not make telephone cancellation more costly than the

method used to consent to the negative option feature.

        Individual consumers identified the many ways in which demanding in-person

cancellation is unfair. For instance, they observed it may not always be possible to cancel in




410
    N/MA, FTC-2023-0033-0873.
411
    Law Professors, FTC-2023-0033-0861.
412
    State AGs, FTC-2023-0033-0886.

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person, as was true during the COVID pandemic, 413 after a consumer moves from the area, 414 or
                                                    412F                                      413F




for people with young children or who have difficulty leaving their home. 415 Others complained
                                                                            414F




they showed up numerous times in person, only to be told they could not cancel because the

manager was not available. 416 One commenter complained sellers demanded consumers cancel
                            415F




by certified mail if they originally consented in person. 417
                                                           416F




       In contrast, two trade associations requested the Commission allow sellers to require

consumers to cancel in person if they signed up in person. These commenters argued such a

limitation is appropriate due to the unique challenges of their industries. For example, IHRSA,

which represents the health and fitness industry, stated, “it is appropriate for a brick-and-mortar

business” to require customers to cancel in person “to verify their identity.” The International

Carwash Association (“ICA”) stated some of its members sell products and services exclusively

in person; therefore, it asked the Commission to not “force” these small business owners “to set


413
    Individual commenter, FTC-2023-0033-0399 (“Even if I didn’t sign up online, terminating, a
membership in person isn’t always possible. Lock down during Covid being a prime example.”).
414
    Individual commenter, FTC-2023-0033-0677 (“Companies are absolutely being deceptive
about their practices when it comes to canceling a service, including their initial pitch to ‘Cancel
anytime!’ only for you to find out that canceling requires you to go in person to a business in a
place you might not even live anymore”).
415
    Individual commenter, FTC-2023-0033-0741 (“[m]any places . . . require you to go in person
to cancel - they won’t even let you do it over the phone! This harms anyone that may have
trouble leaving the house regularly, including disabled folks and parents of small children and
those caring for older or ailing family members.”). See also TechFreedom, FTC-2023-0033-0872
(“Returning to the in-person venue where the initial sale occurred may be inconvenient, or even
impossible, for the consumer.”); Individual commenter, FTC-202-0033-1141 (“Sometimes an
unexpected move or unforeseen circumstances make it impossible to cancel in person. I would
like to see an option to be able to cancel remotely, even if the subscription was purchased on
site.”).
416
    See, e.g., Individual commenter, FTC-2023-0033-0510 (“I had to go in person 3 different
times because the manager wasn’t there so to cancel it”).
417
    Individual commenter, FTC-2023-0033-0007 (“I work dispute resolutions for a bank. I see so
many cases where someone is trying to cancel something like a gym membership and, while they
can sign up in person, they for some reason have to mail a certified letter to the [company’s]
home office. That has always seemed unreasonable and deliberately contrived.”).

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up an online marketplace” to process cancellations if the seller does not already have an online

presence. 418
            417F




      (2)                 Analysis

       (a)                The Commission retains the general “same medium” requirements of

       § 425.6(c).

       Based on the record, the final Rule retains the general requirements proposed in

§ 425.6(c); specifically, the negative option seller must provide a simple cancellation mechanism

through the same medium (such as Internet, telephone, mail, or in-person) the consumer used to

consent to the negative option feature. Further, the final Rule retains § 425.6(a) that requires

sellers to provide consumers with a simple mechanism to immediately stop charges that is cost-

effective, timely, and easy to use. Such a mechanism cannot include “unreasonable barriers to

cancellation or impede the effective operation of promised cancellation procedures.” 419 This
                                                                                        418F




provision makes adding language from the 2021 Enforcement Policy Statement or the New York

statute unnecessary because the simple mechanism provision already includes it. Further, several

commenters asked the Commission to allow consumers to choose additional, alternate means of

cancellation. 420 This modification, however, is also unnecessary. The “same medium”
                   419F




418
    ICA, FTC-2023-0033-1142. ICA’s comment seems to suggest a misunderstanding that the
Rule would require both telephone and online cancellation for in-person consent. It does not. A
business may elect either online or telephone (or both), but there must be at least one mechanism
in addition to in-person cancellation.
419
    EPS, 86 FR 60823; see also NPRM, 88 FR 24728 (explaining the simple cancellation
mechanism proposed in the Rule should remove barriers, such as unreasonable hold times or
verification requirements).
420
    See, e.g., N/MA, FTC-2023-0033-0873 (subscribers should be allowed to choose method
most convenient; subscribers who sign up by mail may prefer to cancel online or by telephone,
and consumers who subscribed by telephone may prefer to cancel online); Sirius XM, FTC-
2023-0033-0857 (“For example, requiring a customer to use direct mail to cancel if the customer
used direct mail to accept a subscription offer would be inconvenient for the customer and not


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requirement presents a floor, not a ceiling. That is, it only requires businesses to offer consumers

the ability to cancel in the manner they were able to sign up. Sellers are free to provide additional

cancellation mechanisms, giving consumers choices.

       Moreover, despite some commenters’ assertions to the contrary, the Commission has

clear authority to issue a rule requiring sellers to offer cancellation through the same medium as

enrollment. As detailed in Section VII.A, there is a substantial record demonstrating the negative

option practices covered by this Rule are unfair or deceptive, prevalent, and have caused

significant consumer harm. 421 Moreover, Magnuson-Moss empowers the Commission to
                            42 0F




promulgate requirements designed to prevent any unfair or deceptive practice it identifies with

specificity. 422 By promulgating a rule that prevents sellers from making cancellation
           421F




unreasonably difficult, the Commission has done so here. Further, while ROSCA does not

provide for APA rulemaking, it does not limit the Commission’s authority to issue a trade

regulation rule. 423 In fact, the Commission’s Negative Option Rule predates ROSCA, and the
                  42 2F




statute does not rescind that Rule.




the customer’s expected or desired means for cancellation. Instead, the cancellation method
should be an easy-to-use mechanism for a consumer to stop recurring charge which would
closely track consumer expectations and allow for changes in technology.”); State AGs, FTC-
2023-0033-0886 (“We respectfully suggest requiring sellers to allow all consumers to cancel
through any medium that the seller uses to sell subscriptions or memberships, regardless of the
medium through which that particular consumer signed up.”).
421
    See generally Section VII.A.
422
    15 U.S.C. 57a(a)(1)(B).
423
    NPRM, 88 FR 24716 n.9. Although, as stated in the NPRM, Congress did not direct the FTC
to promulgate implementing regulations, it certainly did not preclude them, and the language
contained in ROSCA confirms the FTC’s authority to do so. 15 U.S.C. 8404(a) (“Violation of
this chapter or any regulation prescribed under this chapter shall be treated as a violation of a
rule. . . .”) (emphasis added); see also id. 8404(b) (“Any person who violates this chapter or any
regulation prescribed under this chapter” shall be subject to penalties) (emphasis added); id.
8404(c) (“Nothing in this section shall be construed to limit the authority of the Commission
under any other provision of law.”).

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       (b)     The Commission modifies the requirements of § 425.6(c)(1): Online

       Cancellation.

       In response to comments, the Commission makes several changes to clarify the online

cancellation mechanism requirements. First, it removes the requirement that, for website or web-

based applications, cancellation must be afforded through the same precise means as consent.

Instead, the final Rule provides the simple cancellation must be easy to find. Second, the revised

provision incorporates a definition of “interactive electronic medium” in place of “Internet.”

Third, the Commission excludes cancellation mechanisms requiring interaction with a live or

virtual agent, unless the consumer consented to the negative option feature through such

mechanism. Each modification is discussed below.

         (i)   The simple cancellation mechanism must be easy to find.

       Consumers uniformly opposed having to engage with a representative to cancel when

they could simply click a button to enroll. 424 They also expressed deep frustration over having to
                                          423 F




424
    Individual commenter, FTC-2023-0033-0003 (“When signing up, I didnt talk to a single
individual. So its fair that when cancelling, I should not have to talk to a single individual.”);
Individual commenter, FTC-2023-0033-0006 (was forced to call “and speak with several agents”
because unable to cancel online); Anonymous commenter, FTC-2023-0033-0044 (shouldn’t be
forced to make a phone call and sit on hold for hours if signed up online); Individual commenter,
FTC-2023-0033-0072 (fair to consumers to allow consumers to cancel through same means as
they were initiated); Individual commenter, FTC-2023-0033-0087 (“I think any offer you can
buy with a click should also be an offer to unsubscribe with a click”; having to call instead is a
scam); Anonymous commenter, FTC-2023-0033-0095 (“I would like to specify that [company]
did not allow to terminate the account online. They specifically requested a phone call, which
they then ignored for as long as possible. This practice is unfair and deceptive and needs to be
outlawed.”); Anonymous commenter; FTC-2023-0033-0097 (FTC should ban practice of
companies only offering cancellation via phone call, despite not requiring a phone call for
signup); Individual commenter, FTC-2023-0033-0274 (“having to call the company to cancel
when the party clicked on the website is forced verbal speech”); Individual commenter, FTC-
2023-0033-0356 (“If you signed up online, you should be able to cancel online. If it took one
click to join, it should take one click to cancel. I am tried [sic] of calling some call center,


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hunt to find cancellation mechanisms, usually buried deep within a website or in fine print on a

bill or other correspondence. 425 The Commission has brought numerous cases alleging these
                             424F




waiting on hold, and then having someone go through a long script about why I should not
cancel. Generally make it as easy to cancel as to sign up.”); Individual commenter, FTC-2023-
0033-0379 (“I have now been charged for a full month because I have to call and speak to a
representative instead of clicking to cancel.”); Individual commenter, FTC-2023-0033-0443 (“If
the public is allowed to set up an account online we should be allowed to cancel online without
ever making a phone call. The consumer should have more rights than corporations.”);
Individual commenter, FTC-2023-0033-0617 (“It is truly obnoxious to be able to click to join
but have to research to find the way to cancel, often involving making a phone call and being left
on hold.”); Individual commenter, FTC-2023-0033-0716 (“We shouldn’t have to call the
company to cancel!”); Individual commenter, FTC-2023-0033-0788 (requiring a call when
enrolled online is “coercive and unfair”); Individual commenter, FTC-2023-0033-0822 (“I am
sick of having to call a phone number to cancel something I signed up for on line, and often
speaking to someone who is snide, sarcastic, or downright rude!”).
425
    Individual commenter, FTC-2023-0033-0065 (“Often a company makes it significantly more
difficult to even find out where or how to cancel a subscription.”); Individual commenter, FTC-
2023-0033-0024 (“It took a Google search to find the right Customer Service number because it
was hidden or unavailable on the website.”); Individual commenter, FTC-2023-0033-0084
(finally found corporate number to cancel trampoline park after scouring website for a
membership enrolled online); see also Individual commenter, FTC-2023-0033-0067 (“why are
they allowed to sign you up for automatic renewal with no way to cancel nothing on their web
page in order to cancel a subscription”); Individual commenter, FTC-2023-0033-0071 (biggest
annoyance is that subscriptions can be signed up for so easily with a few buttons on the remote
but nearly impossible to cancel); Anonymous commenter, FTC-2023-0033-0108 (“I certainly
hope this goes through. These companies make it incredibly difficult to even find the cancel or
opt out option.”); Anonymous commenter, FTC-2023-0033-0123 (“Straight forward plain
language cancelation instructions that are easy to locate should be required.”); Individual
commenter, FTC-2023-0033-0124 (“Clearly there should be an easy way to unsubscribe that is
easy to find.”); Individual commenter, FTC-2023-0033-0560 (cancellation page should be easy
to find); Individual commenter, FTC-2023-0033-0642 (“If you signed up online, you should be
able to cancel online. If it took one click to join, it should take one click to cancel. I have had
trouble finding where to cancel on multiple subscription services. Often, they are confusing on
purpose to keep customers like me trapped in the payment cycle. Some require an email or phone
call to a separate customer service representative. Cancelling should not be harder than signing
up for their service.”); Individual commenter, FTC-2023-0033-0685 (“I am tired of having to
screen grab the fine print to figure out my options for cancelling subscriptions-it just shouldn’t
be this hard!?!”); Ashley Sheil on behalf of Maynooth University and in collaboration with
Radboud University, FTC-2023-0033-1006 (observing that companies may take advantage of the
“as easy as” requirement, and recommending any termination button should be highlighted and
in an obvious location).

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practices are unfair or deceptive. 426 The proposed Rule sought to prevent these unfair and
                                 425F




deceptive practices by requiring sellers to provide an easily accessible online cancellation

mechanism to consumers who enrolled online. 427 As several commenters rightly noted, however,
                                                    426F




consumers may not always expect (and it may not always be possible) to use the same precise

means for both enrollment and cancellation. 428
                                             427F




       Accordingly, to clarify the intent of the original language and to better match consumer

expectation with actual cancellation procedures, the Commission now clarifies that where a

consumer enrolls online, whether through a website, a mobile application, chat, email, or

messaging, consumers must be afforded an equally simple online cancellation experience, i.e.,

one that allows them easily to find and use the cancellation mechanism. 429  428F




426
    See n.384 (citing simple cancellation cases).
427
    NPRM, 88 FR 24728 (“On the internet, this ‘Click to Cancel’ provision requires sellers, at a
minimum, to provide an accessible cancellation mechanism on the same website or web-based
application used for sign-up.”).
428
    See, e.g., ESA, FTC-2023-0033-0867 (“Such a requirement would not be helpful for players
seeking to cancel a subscription, as in-game is not the place that most players would expect to
find a cancellation ingress.”); RILA, FTC-2023-0033-0883 (“The method that a consumer uses
for initial sign-up may not be the place where that consumer would expect to find a simple
cancellation function. For example, contracts are also increasingly concluded online through
third parties or via social media apps. Regardless of how a customer initially signs up, once
she/he establishes a purchasing arrangement with a seller, the customer will logically look to the
seller to cancel the arrangement.”).
429
    The Chamber asked the Commission to clarify that web-based chat is an appropriate
cancellation where a consumer signs up online. As is clear from the record, unless the seller
required the consumer to engage with an agent through a web-based chat to enroll, the Rule will
preclude requiring the consumer to do so to cancel. There is substantial evidence this
asymmetrical practice of requiring consumers to engage with agents (live or virtual) for
cancellation but not enrollment is one of the principal methods sellers use to create unfair and
deceptive cancellation procedures. Accordingly, it is appropriate to include limitations within the
Rule to prevent unscrupulous sellers from using such practices.

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        Many commenters agreed consumers would consider a link or button located on a

website or within a user’s account or device settings to be “easy to find.” 430 Providing a clearly-
                                                                           429F




labeled cancellation button in a consumer’s account or user settings is, thus, one example of a

simple online cancellation mechanism. 431 The Commission cautions, however, while such a
                                         430F




mechanism need not be exactly the same as the consent mechanism, the seller cannot make it

more difficult to use or find than the consent mechanism. For example, the seller cannot

prominently label the mechanism within the account settings but make it difficult for consumers

to find the account settings in the first instance.

        Further, the Commission emphasizes that the cancellation mechanism must be easy to

find at the time the consumer decides to cancel. Providing an easy-to-find mechanism at consent

does not mean the mechanism will be easy to find later when the consumer wants to cancel, and

therefore will not prevent unreasonable barriers to cancellation. Thus, providing the information

necessary to find the cancellation mechanism at enrollment (as required under § 425.4) does not




430
    Individual commenter, FTC-2023-0033-0124 (“Clearly there should be an easy way to
unsubscribe that is easy to find.”); Individual commenter, FTC-2023-0033-0252 (“I had been
thinking of contacting my Governor to suggest just such a rule that the method provided for
signing up for a service must also be provided for cancelling the same service, be just as easy to
find, and require no more steps than it took to sign up.”); Individual commenter, FTC-2023-
0033-0560 (“And ensure the bill is explicit with requirement to make it EASY TO FIND HOW
TO REACH the company or cancellation page.”); Individual commenter, FTC-2023-0033-0640
(“The Federal Trade Commission needs to make it mandatory for companies to have an easy to
find button to cancel a subscriptions -online-.”); Individual commenter, FTC-2023-0033-0784
(“And the cancel button should be easy to find and as attractively marketed as an opportunity to
extend a subscription (font size, colors, etc.).”); Individual commenter, FTC-2023-0033-1006
(cancellation should be highlighted and in an obvious location).
431
    See, e.g., Cal. Bus. & Prof. Code § 1702(d)(1)(A); Conn. Gen. Stat. Ann. § 42-158ff
(d)(1)(A); N.J. Stat. Ann. § 56:8-42.1.a.

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discharge the seller’s obligation to ensure cancellation is easy to find when most relevant to the

consumer. 432
          431F




         (ii)    “Interactive electronic medium” is broadly defined to include all methods of

         electronic communication.

       The State AGs asked the Commission specifically to address the requirements for

cancellation by chat, text messaging, and email. The State AGs explained that although chat and

text are increasingly common cancellation mechanisms, they share some of the same qualities

and potential problems as telephone cancellation because they require interaction with a live or

virtual customer representative. 433 Further, the State AGs suggested email should not be an
                                43 2F




acceptable cancellation medium for online consent. 43443 3F




       To address these concerns, the Commission revises the proposed provision to refer to

“interactive electronic medium” rather than “Internet.” This change clearly includes text, chat,

and email within the scope of online cancellation mechanisms. Specifically, the phrase

“interactive electronic medium” used in the “clear and conspicuous” definition includes all

media that involve electronic communications (except telephone calls), whether or not they

strictly use the Internet (and thus would otherwise be “online”). Consumers may not know

whether a text or chat is MMS (online) or SMS (offline), for example. This broader definition

should provide flexibility to sellers while continuing to require parallel cancellation and sign-up

procedures to meet consumers expectations.




432
    See, e.g., Individual commenter, FTC-2023-0033-0022 (“Note that subscriptions are by their
very nature long lasting in time, therefor requirements should not just emphasize some fine print
disclosure at the time of sign up but also it should be easy to check back with the company or
their many layers of subcontractors to cancel at anytime in the future.”).
433
    State AGs, FTC-2023-0033-0886.
434
    Id.

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       Although the State AGs suggested prohibiting the use of email as a cancellation

mechanism, the record provides no basis for doing so. Further, consistent with the Commission’s

definition of interactive electronic medium, several states specifically allow sellers to use email

as an online cancellation method. 435 Thus, the final Rule does not bar the use of email to
                                  43 4F




effectuate online cancellation.

         (iii) No interaction with representatives for online cancellation.

       The State AGs noted, and consumer comments further support, the fact that sellers have

often used chat, text, and messaging to perpetrate the same abuses documented for telephone

cancellation. The Commission, therefore, reiterates all cancellation mechanisms, including chat,

text, messaging, and email, are subject to the same “simple” requirements, i.e., sellers may not

erect unreasonable barriers or prevent consumers from immediately halting charges. Cancellation

mechanisms must be as easy to use as the mechanism the consumer used to sign up, in terms of

time, expense, burden, and ease of use; and the mechanism must be as readily accessible as the

means the consumer used to consent in the first place.

       Consumer comments, as well as the Commission’s and State AGs’ enforcement

experience demonstrate asymmetrical enrollment and cancellation experiences, such as requiring

telephone cancellation when consumers can easily sign up online without speaking with an

agent, are unfair. Specifically, this asymmetry creates unreasonable barriers to cancellation, such


435
   See, e.g., Cal. Bus. & Prof. Code § 17602 (“The business shall provide a method of
termination that is online in the form of either of the following: By an immediately accessible
termination email formatted and provided by the business that a consumer can send to the
business without additional information.”); Conn. Gen. Stat. Ann. § 42-158ff (an electronic mail
message from the business to the consumer, which is immediately accessible by the consumer
and to which the consumer may reply without obtaining any additional information); N.J. Stat.
Ann. § 56:8-42.1 (a termination email formatted and provided by the subscription service
provider that a consumer can email to the subscription service provider without being required to
provide any additional information).

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as unreasonable hold times, unreasonable verification requirements, and aggressive save tactics.

Moreover, comments and the Commission’s enforcement experience indicate consumers likely

understand a simple online enrollment experience as an implied claim that the cancellation

experience also will be simple. 436 As consumers themselves explain, they do not anticipate
                                     43 5F




engaging with a customer service representative (whether by phone, or through a web-based chat

or messaging) if they did not do so to sign up for the negative option feature. 437 Thus, the
                                                                                  436F




Commission further clarifies, for online consent, the seller cannot require the consumer to

engage with an agent or customer service representative to cancel unless the consumer did so at

enrollment. 438   437F




               Finally, the Commission declines to exclude industries providing bundled services from

the same medium requirement. NCTA and other industries with such services insisted their

customers are better served by speaking with a live representative, even when they enroll

online. 439 They expressed concern these sellers cannot confirm a consumer’s cancellation intent
       43 8F




436
    See nn.361-368; see also vlogbrothers, Why isn’t this Illegal?,
https://www.youtube.com/watch?v=FjAw1LMShIA&pp=ygUMdmxvZ2Jyb3RoZXJz (last
visited Aug. 25, 2024).
437
    See, e.g., Anonymous commenter, FTC-2023-0033-0024 (could not cancel online even
though consumer could upgrade online and via TV); Individual commenter, FTC-2023-0033-
0137 (“3 months to cancel, 3 minutes to sign-up. Seriously?”); Individual commenter, FTC-
2023-0033-0252 (detailing three instances where consumer signed up online with a few clicks
but was required to call to cancel, concluding “the method provided for signing up for a service
must also be provided for cancelling the same service, be just as easy to find, and require no
more steps than it took to sign up.”); Individual commenter, FTC-2023-0033-0457 (“If I enrolled
in a subscription online, there are no good reasons why I can’t disenroll that way as well. Forcing
me to call a number to unsubscribe, which is only staffed during ‘normal business hours,’
unnecessarily complicates the process”); Anonymous commenter, FTC-2023-0033-0802 (this
practice of making someone call or chat to someone to cancel a membership is predatory).
438
    The Chamber asked the Commission to “make clear that a web-based chat qualifies as an
appropriate cancellation mechanism where a customer signed up for a service online.” FTC-
2023-0033-0885. The Commission reiterates that a web-based chat cancellation mechanism may
be appropriate, but only if the consumer enrolled through a virtual or live agent.
439
    NCTA, FTC-2023-0033-0858; CTIA, FTC-2023-0033-0866.

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(consumers may want to modify or renegotiate services) or apprise consumers of any negative

consequences of cancellation (loss of access to emergency services, for example) without a live

discussion. 440 They further assert providing this information online could be complicated and
                43 9F




expensive for the seller and not what the consumer would prefer. 441 NCTA noted only 30% of its
                                                                        44 0F




members’ customers sign up online, with the remaining 70% enrolling in person or over the

phone. 442
      441F




             NCTA’s comment seems to suggest the simple cancellation mechanism requirement

demands a certain asymmetry—specifically, no matter how complex online enrollment is, the

proposed Rule would require a simple “one click” cancellation mechanism, which could

preclude the seller from confirming cancellation intent or apprising consumers of negative

consequences of cancellation. The Commission reiterates the simple cancellation requirement

requires symmetry in terms of, inter alia, time, burden, expense, and ease of use. It does not

require use of the exact same mechanism.

             Further, existing verification procedures, such as two-factor authentication, are routinely

used to ensure a consumer’s identity in highly sensitive situations. Thus, they are more than

sufficient to ensure the correct person is cancelling and do not require the use of a cancellation

mechanism different than enrollment. Moreover, at this juncture, the Commission has removed

the proposed “saves” provision from the final Rule, making communication regarding material

consequences of cancelling easier to convey (so long as communicating through the same

medium).




440
    Id.
441
    Id.
442
    NCTA, FTC-2023-0073-0008.

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       (c)            The Commission adopts § 425.6(c)(2): Telephone Cancellation as proposed,

       with one exception.

       The Commission adopts the telephone cancellation provision as proposed, except the

final Rule removes the requirement sellers must assure all calls are answered during normal

business hours. Instead, the final Rule requires sellers to promptly effectuate cancellation

requests by consumers via a telephone number that is answered or records messages during

normal business hours.

       Several commenters suggested specific changes were necessary to enhance the proposed

telephone medium requirements. For instance, the State AGs asked the Commission to include

the various requirements detailed in the 2021 Enforcement Policy Statement, e.g., require

negative option sellers “not [to] erect unreasonable barriers to cancellation or impede the

effective operation of promised cancellation procedures, and . . . honor cancellation requests that

comply with such procedures.” However, the proposed provisions already include these

requirements. 443
              44 2F




       Nonetheless, several commenters correctly pointed out requiring sellers to answer

cancellation calls during normal business hours could create considerable costs for small

businesses while not directly addressing the core problem identified by the Commission—the

unreasonable delay of cancellation requests. To address these concerns, the Commission first

clarifies normal business hours are those hours in which the business would normally engage

with its customers. A seller, however, cannot make telephone cancellation available only at times

that are so inconvenient they erect a barrier to cancellation. For instance, it would be improper to




443
   E.g., the requirements that all cancellation mechanisms be simple and easy to use (§ 425.6),
and the seller disclose where to find the cancellation mechanism prior to the sale (§ 425.4).

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limit cancellation calls to only between midnight and 3 a.m., regardless of whether these are the

seller’s normal business hours. Importantly, however, the final Rule does not require a seller to

physically answer the telephone call (a task that could be difficult for, e.g., a sole proprietorship).

An answering machine that clearly provides for cancellation (e.g., a message stating: if you want

to cancel your subscription please identify that subscription, and leave identifying information)

would comply with this provision of the Rule. To effectuate the provision’s intent, the final Rule

states sellers, whether answering the cancellation call in person or not, must effectuate that

cancellation promptly. Thus, a seller could not, for example, have an answering machine it does

not regularly monitor or for which it does not promptly effectuate cancellation requests.

        Notably, the final Rule retains the requirement that, for the mechanism to be at least as

simple as the one used to initiate the recurring charge, any cancellation call cannot be more

expensive than the call used to enroll (e.g., if the sign-up call is toll free, the cancellation call

must also be toll free). Consumers would not expect such fees, rendering them unfair or

deceptive. 444
           44 3F




444
   Cf. United States v Adobe, Inc., No. 5:24-cv-03630 (N.D. Cal. 2024) (cancellation fees plead
as a failure to disclose and failure to obtain consent to charge in violation of ROSCA); FTC v.
FloatMe Corp., No. 5:24-cv-00001 (W.D. Tex. 2024) (extra cost in relation to timing of receipt
of product deceptive in violation of Section 5); United States v. Cerebral, Inc., No. 1:24-cv-
21376 (S.D. Fla. 2024) (delays in cancellation deceptive and injured consumers in violation of
Section 5); FTC v. Bridge It, Inc., No. 1:23-cv-09651 (S.D.N.Y. 2023) (claims to cancel at any
time without paying any fees, interest, or other charges deceptive); FTC v. Vonage Holdings
Corp., No. 3:22-cv-06435 (D.N.J. 2022) (requiring phone cancellation with roadblocks including
long hold times, frequent disconnects, endless loops, and early termination fee unfair under
Section 5); FTC v. Benefytt Techs., Inc., No. 8:22-cv-01794 (M.D. Fla. 2022) (unexpected cost
for additional product is deceptive and unfair); In re Dun & Bradstreet, Inc., FTC Docket No. C-
4761 (2022) (renewal practices, including at end of designated time periods, deceptive); FTC v.
First Am. Payment Sys., No. 4:22-cv-00654 (E.D. Tex. 2022) (misrepresentations in cancellation
and unfair debiting); United States v. MyLife.com, Inc., No. 2:20-cv-6692 (C.D. Cal. 2020)
(cancellation by phone discouraged or prevented by unavailable or uncooperative agents
specified as a violation of ROSCA); FTC v. Match Grp., Inc., No. 3:19-cv-02281 (N.D. Tex.


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       (d)     The Commission adopts § 425.6(c)(3): In-Person Cancellation as proposed.

       Based on the Commission’s experience and that of other states, as well as many

comments in the record, requiring in-person cancellation presents significant opportunities for

unfair and deceptive practices. To prevent such practices, the final Rule adopts provision

425.6(c)(3) essentially as proposed. Thus, the provision continues to require in-person sellers to

provide alternatives to in-person cancellation, either online or by phone, at the seller’s choice.

The Commission, however, corrects the requirement that if the alternative is a telephone call, the

call cannot be more costly than the in-person consent. That proposal connected two unrelated

costs and thus did not make logical sense. To effectuate the purpose of this provision, however,

the Commission adds language stating the call cannot impose any cost that creates an

unreasonable barrier to cancellation, including by making the call unreasonably expensive. 44544 4F




       To address ICA’s concerns, the Commission clarifies the Rule does not require sellers

who sell in-person to maintain an alternative online presence to process cancellations. Sellers




2019) (pleading cancellation difficulties in violation of ROSCA); In re Urthbox, Inc., FTC
Docket No. C-4676 (2019) (unexpected charges, including for a full 6 months following the first
month of free trial, are a failures to disclose in violation of Section 5); FTC v. Cardiff, No. 5:18-
cv-02104 (C.D. Cal. 2018) (unexpected charges a Section 5 misrepresentation and unfair
charging); FTC v. BunZai Media Grp., Inc., No. 2:15-cv-04527 (C.D. Cal. 2015) (failure to
disclose charge as deceptive and unfair); FTC v. Tarr, No. 3:17-cv-02024 (S.D. Cal. 2017)
(failure to disclose material terms deceptive and unfair); FTC v. AdoreMe, Inc., No. 1:17-cv-
09083 (S.D.N.Y. 2017) (cancelling made difficult by phone, contributing to misrepresentations
regarding store credit); FTC v. RevMountain, LLC, No. 2:17-cv-02000 (D. Nev. 2017)
(unexpected product deceptive); FTC v. AAFE Prods. Corp., No. 3:17-cv-00575 (S.D. Cal.
2017); FTC v. Health Formulas, LLC, No. 2:14-cv-01649 (D. Nev. 2014) (deceptive costs).
445
   N/MA suggested there may be instances where the original method of consent is no longer
available. FTC-2023-0033-0873. For example, if the person signed up a trade show in person,
returning to the in-person venue may be impossible. The Commission notes the in-person
method only must be made available, “where practical.”

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who have no such presence can allow cancellations by phone if they comply with the simple

telephone cancellation requirements detailed above.

                       c)     Section 425.6(d) Saves

      (1)      Summary of Comments

       Proposed § 425.6(d) would have required sellers to immediately effectuate cancellation

unless they obtained the consumer’s unambiguously affirmative consent to receive a save prior

to cancellation. The Commission explained the record shows many businesses have created

unnecessary and burdensome obstacles to cancellation, including forcing uninterested consumers

to sit through multiple upsells before allowing them to cancel. 446 Individual consumer
                                                               44 5F




commenters corroborated the pervasive use of such unfair tactics to thwart cancellation. 447
                                                                                           44 6F




446
    NPRM, 88 FR 24729.
447
    See, e.g., Individual commenter, FTC-2023-0033-0006 (“Last year I had the pleasure of
trying to cancel a radio subscription which took 2 attempts and far too much time to accomplish.
Unable to cancel online, I was forced to call and speak with several agents trying to convince me
to keep their service. After nearly a half hour of insisting I wanted to cancel, they simply hung up
on me which forced me to start the cancellation process all over again from the beginning.”);
Anonymous commenter, FTC-2023-0033-0024 (able to cancel only after listening to a “long sale
pitch about why he shouldn’t”); Anonymous commenter, FTC-2023-0033-0066 (when you
request a cancellation, will pass your call on to a more “experienced representative” in an
attempt to convince you to keep your service. They do not listen to your concerns, instead make
you jump through hoops for a cancellation which makes me not want to be one of their
customers even more); Individual commenter, FTC-2023-0033-0071 (call to cancel and they
repeatedly said “well let’s just see how we can save you money” instead of canceling);
Individual commenter, FTC-2023-0033-0082 (“You have to call them and endure a high
pressure pitch to renew . . . . It wastes time and minutes on your phone bill”); Anonymous
commenter, FTC-2023-0033-0097 (the only way to cancel a service is to call them on the phone,
intended to allow for sales reps to make a pitch); Individual commenter, FTC-2023-0033-0120
(“However, when you attempt to cancel a continuous subscription you are told you cannot do
that and you must call the provided phone number. You are connected to a sales person who then
will negotiate with you to continue at a lower rate.”); Individual commenter, FTC-2023-0033-
0125 (“The only way for me to cancel this service was to CALL THEM DIRECTLY, whereupon
they spent nearly half an hour trying to upsell me into a two year subscription.”); Individual
commenter, FTC-2023-0033-0130 (“It should not be required to call (and sit on hold forever),
only to have to sit through a diatribe of hard-sell techniques to try to convince one not to


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cancel.”); Individual commenter, FTC-2023-0033-0233 (“I had to wait on hold and then get sales
pitch after sales pitch after sales pitch to cancel a digital-only [newspaper] subscription that I
signed up for online.”); Individual commenter, FTC-2023-0033-0228 (had difficulty canceling a
newspaper subscription of all things as it required consumer to call an 800 number during the
day and then had to listen to multiple sales pitches and saying “No! What part of ‘no’ don’t you
understand” to cancel); Individual commenter, FTC-2023-0033-0312 (“I and members of my
family have had to use valuable time to call corporations to cancel subscriptions, each time
getting a long pitch to keep the subscription. If I wanted to keep it, I would not be calling to
cancel it.”); Individual commenter, FTC-2023-0033-0356 (“If it took one click to join, it should
take one click to cancel. I am tired of calling some call center, waiting on hold, and then having
someone go through a long script about why I should not cancel.”); Individual commenter, FTC-
2023-0033-0457 (Forcing me to call a number to unsubscribe, which is only staffed during
“normal business hours,” unnecessarily complicates the process for the provider’s benefit: I
don’t need to give opportunity to upsell or persuade me to continue at a reduced price.);
Individual commenter, FTC-2023-0033-0491 (“Some have even required me to make a phone
call and listen to a hard sell before they will cancel the service.”); Individual commenter, FTC-
2023-0033-0597 (have to sit and turn down multiple offers to cancel); FTC-2023-0033-0677 (sit
and “suffer through a long sales pitch” to cancel); Individual commenter, FTC-2023-0033-0784
(“I suggest limiting the seller’s efforts to pitch additional offers & modifications when trying to
cancel . . . . no one wants to wade through too many of screens until the cancel ‘finally’
appears.”); Anonymous commenter, FTC-2023-0033-0785 (person being “penalized by losing
time waiting to speak to a customer service rep, having to decline further sales, or being stuck
with recurring charges they don’t want”); Individual commenter, FTC-2023-0033-0798 (difficult
to cancel subscriptions, including by repeatedly forcing the customer to turn down “special
offers” to entice the customer not to cancel); Individual commenter, FTC-2023-0033-0815 (No
reason to have to call customer service reps who will keep trying to prevent me from canceling);
Individual commenter, FTC-2023-0033-0835; Individual commenter, FTC-2023-0033-0850
(Have to make a long awkward phone call and wait on hold or long repetitive live chat);
Individual commenter, FTC-2023-0033-0913 (“I’ve experienced having to call to cancel a
subscription only to be forced to listen to a sales spiel in order to do so.”); Individual commenter,
FTC-2023-0033-0967 (“Some have even required me to make a phone call and listen to a hard
sell before they will cancel the service.”); Individual commenter, FTC-2023-0033-0999
(Consumers should have an on-line option to cancel. A national media company ONLY provides
a cancel option with a call to customer service. When doing so, you are met with a CS rep that
will not accept your request to cancel, talks over you, continued harassment, making offer after
offer. We must stop this deceptive practice.); Individual commenter, FTC-2023-0033-1063
(“Now I’m about to cancel my [company name] account. If it's anything like the last time when I
moved, I expect to spend several hours dealing with multiple levels of salespeople, trying to
convince me to stay.”); Individual commenter, FTC-2023-0033-1099 (Once customer service is
contacted, it should not take more than about 90 seconds to cancel a subscription instead of the
endless questions of why you want to cancel. Then try to keep you by offering a discounted rate
on yet another year of useless service. Please make this end.); Individual commenter, FTC-2023-
0033-1138 (The agent, made multiple attempts to sell me the service, disregarding my many
direct statements that I just wanted to cancel.); Individual commenter, FTC-2023-0033-1150


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       However, other commenters explained some of the “barriers” consumers complained

about are necessary to prevent harm, at least in certain situations. Specifically, commenters noted

consumers might not understand the negative consequences of cancellation, 448 and the provision
                                                                                 447F




might prevent consumers from taking advantage of money-saving offers prior to cancellation. 449       448F




Some commenters also expressed confusion regarding whether verification or authentication

procedures, or discussion of consumers’ attempts to pause or modify their existing offers, would

violate the Rule. 450 Finally, commenters noted the proposed provision requiring consumers to
                449F




opt-in to saves could interfere with the simplicity of a cancellation mechanism. 451           450F




      (2)      Analysis

       Based on the record, the Commission determines revisions to this proposed provision are

necessary, for which the Commission would need to seek additional comment. Therefore, the

Commission does not adopt this provision in the final Rule at this time. On one hand, the record

demonstrates saves are often used simply as a barrier to prevent cancellations. 452 On the other,
                                                                                        451F




the proposed opt-in save provision could have unintended consequences. 453 Specifically, the
                                                                          452F




provision may thwart attempts to confirm consumers’ intent or apprise consumers of any



(They make you call their company so that sales retention can try to talk you into staying with
freebies etc.); Individual commenter, FTC-2023-0033-1153 (There is no reason a person should
be subjected to 20 minutes or repeated drilling if they say upfront that they want to cancel
service.).
448
    NCTA, FTC-2023-0033-0858; PDMI, FTC-2023-0033-0864; Chamber, FTC-2023-0033-
0885.
449
    Id.
450
    See, e.g., PDMI, FTC-2023-0033-0864; ANA, FTC-2023-0033-1001; CTIA, FTC-2023-
0033-0866.
451
    See, e.g., CCIA, FTC-2023-0033-0984. Some commenters also argued the saves provision
violates the First Amendment. E.g., PDMI, FTC-2023-0033-0864; Chamber, FTC-2023-0033-
0885; ACT App Association, FTC-2023-0033-0874. The Commission rejects this proposition.
See Mainstream Mktg. Servs., Inc. v. FTC, 358 F.3d 1228 (10th Cir. 2004).
452
    See nn.446-447.
453
    See nn.448-451.

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negative consequences of cancellation (e.g., losing data). Moreover, the opt-in save provision

may prevent consumers from obtaining valuable concessions (e.g., lower prices), which they

would otherwise want.

       Consequently, the proposed saves provision did not achieve the right balance between

protecting consumers from unfair tactics and allowing sellers to provide necessary and valuable

information about cancellation. Therefore, the Commission will consider issuing an SNPRM in

the future seeking a better solution to this difficult problem.

       However, the Commission notes the removal of the saves proposal is not a license to

erect unreasonable and unnecessary barriers to cancellation. The final Rule requires sellers to

provide a simple, easy to use cancellation mechanism. Save attempts that interfere with this

mandate by requiring consumers to navigate through upsells, jump through unreasonable hoops,

or wait unreasonable amounts of time to cancel are neither simple nor easy. 454
                                                                            45 3F




               7.      Proposed § 425.7 Annual Reminders

       In the NPRM, the Commission proposed requiring sellers to provide an annual reminder

to consumers for non-physical goods sold with a negative option feature. Under this proposal,

reminders would have needed to identify the product or service, the frequency and amount of

charges, and the means to cancel. Additionally, the proposal required Negative Option Sellers to

provide the reminders through the same medium the consumer used to consent to the negative

option feature. The Commission opined the delivery of physical goods may remind consumers

they enrolled in a negative option feature. Therefore, these consumers effectively already receive

reminders and can reasonably avoid further payments by canceling their subscription. For




454
  See, e.g., United States v. Adobe, Inc., No. 5:24-cv-03630 (N.D. Cal. 2024); FTC v.
Amazon.com, Inc., No. 2:23-cv-0932 (W.D. Wash. 2023).

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services lacking a regular, tangible presence (e.g., data security monitoring or subscriptions for

online services), however, many consumers may reasonably forget they enrolled and,

consequently, incur charges for services they do not want or use. Thus, the Commission

concluded, the failure to provide reminders for such contracts would meet all elements of

unfairness. 455 The Commission sought comment on this proposal, including whether it should
           454F




narrow the coverage of the proposed language, for example, by types of covered services or the

duration between reminders. 456
                             455F




                       a)           Summary of Comments

       The Commission received 32 comments in response. 457 Consumers, public interest and
                                                                   456F




consumer advocacy groups, and academics, among others, generally supported the reminder

requirement, observing, for example, that “subscription-based products and services have

become so widespread that consumers are having difficulty keeping track of them all.” 458 The457F




commenters asserted the proposed “annual notice will clearly inform consumers of the terms of

the contract and how they may terminate the agreement.” 459 Despite this support, virtually every
                                                            458F




455
    NPRM, 88 FR 24729, citing FTC Policy Statement on Unfairness, appended to In re
International Harvester Co., 104 F.T.C. 949 (1984). “To justify a finding of unfairness the injury
must satisfy three tests. It must be substantial; it must not be outweighed by any countervailing
benefits to consumers or competition that the practice produces; and it must be an injury that
consumers themselves could not reasonably have avoided.” Id.; see also 15 U.S.C. 45(n)
(Commission has no authority to declare a practice unfair “unless the act or practice causes or is
likely to cause substantial injury to consumers which is not reasonably avoidable by consumers
themselves and not outweighed by countervailing benefits to consumers or to competition”).
456
    NPRM, 88 FR 24729; see also id. at Section XIII, Request for Comments (“The Commission
seeks any suggestions or alternative methods for improving current requirements.”).
457
    The Commission received comments from, inter alia, individual consumers;
cable/broadband/communications industry groups; public interest and consumer advocacy
groups; various trade associations representing traditional and digital marketing, technology,
news and magazine media, gaming and entertainment, and retail industries; academic and public
policy groups; and service contract and alarm company industries.
458
    State AGs, FTC-2023-00330-0886.
459
    Public Interest Groups, FTC-2023-0033-0880.

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group of commenters—individuals, consumer advocates, trade organizations, and industry

groups—suggested the Commission modify or clarify its proposal.

       Only three commenters specifically requested the Commission jettison a reminder

provision altogether. Specifically, ESA argued the requirement (1) would impose a significant

burden on businesses because several state laws already require reminders or notices; (2) would

be improper because the Commission did not raise reminders in the ANPR; and (3) would

increase the overall number of notices consumers receive, which could result in consumers

ignoring reminders, thus benefiting bad actors. NCTA suggested the Commission should instead

“allow businesses flexibility to determine whether to provide reminders.” 460 IAB also
                                                                               459F




“recommend[ed] that the Commission remove this requirement for several reasons.” 461 Both
                                                                                      460F




ESA and NCTA conceded, however, the Commission could adopt the provision with additional

modifications, such as making the reminders optional (NCTA) or offering consumers the ability

to opt-out of subscription reminders (ESA). 462 Other commenters agreed, asking for “less
                                            461F




prescriptive” requirements that would allow businesses more flexibility. 463
                                                                        462F




       Several commenters, while not urging the Commission to reject the reminder

requirement, suggested the NPRM proposal did not satisfy the unfairness test. For instance,

CTA, a technology trade association, questioned whether there was sufficient basis to find a lack




460
    NCTA, FTC-2023-0033-0858.
461
    IAB, FTC-2023-0033-1000.
462
    ESA, FTC-2023-0033-0867; NCTA, FTC-2023-0033-0858.
463
    See, e.g., Sirius XM, FTC-2023-0033-0857 (asking Commission not to mandate exactly how
renewal notices must be sent); N/MA, FTC-2023-0033-0873 (allow sellers to obtain consent to
provide notice through alternate means); Chamber, FTC-2023-0033-0885 (proposed revisions);
DCN, FTC-2023-0033-0983 (make annual notice an option company could comply with to
provide adequate notice of obligations); ACT App Association, FTC-2023-0033-0874 (adopt a
less prescriptive approach so same medium can be used to comply with state and federal
requirements).

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of annual reminder is an unfair practice or causes consumer harm. 464 Similarly, two other
                                                                        463F




commenters from the communications industry questioned whether a lack of annual reminder

would be unfair in the specific context of services that are “always on,” such as cable or wireless

services. 465  464F




        A few commenters asked to be exempted from the reminder requirement based on the

nature of their industries or the frequency of existing notices. 466 For instance,
                                                                465F




cable/broadband/wireless/streaming industry groups suggested they should be exempt for the

same reasons they argued the unfairness test did not render the lack of reminders illegal in their

industries. Similarly, these and other sellers, such as service contract providers, suggested

consumers who receive monthly bills are already effectively receiving reminders, and therefore,

these transactions should be exempt. 467
                                      466F




        Several commenters questioned the proposed requirement that sellers provide the annual

reminder through the same medium the consumer used to consent to the negative option

feature. 468 For example, several commenters observed that requiring reminders through a
        467F




telephone call could violate the TCPA, the TSR, or at minimum, be a nuisance, and thus ignored

by consumers. 469 Many of these commenters advocated for letting consumers choose how they
                      468F




464
    CTA, FTC-2023-0033-0997 (no basis to conclude different medium is unfair, or that lack of
reminders is unfair).
465
    NCTA, FTC-2023-0033-0858 (lack of notice for “always on” services not unfair, injury
reasonably avoidable); USTelecom, FTC-2023-0033-0876 (same).
466
    See, e.g., CTIA, FTC-2023-0033-0866 (exempt mobile services offered on a month-to-month
basis); USTelecom, FTC-2023-0033-0876 (exempt broadband and communication services). The
Commission addresses exemptions elsewhere in the SBP at Sections VII.B.1 and VIII.
467
    See, e.g., Chamber, FTC-2023-0033-0885.
468
    Sirius XM, FTC-2023-0033-0857; Kuehn, FTC-2023-0033-0871; N/MA, FTC-2023-0033-
0873; Act App Association, FTC-2023-0033-0874; CTA, FTC-2023-0033-0997; Chamber, FTC-
2023-0033-0885; ANA, FTC-2023-0033-1001.
469
    Sirius XM, FTC-2023-0033-0857; Kuehn, FTC-2023-0033-0871; N/MA, FTC-2023-0033-
0873; Chamber, FTC-2023-0033-0885; SCIC, FTC-2023-0033-0879.

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want to receive annual reminders, 470 or allowing sellers to provide reminders through any
                                  469F




medium they typically use to communicate with consumers. 471     470F




       Additionally, several commenters disagreed with the Commission’s observation that

agreements involving delivery of physical goods inherently create a “regular, tangible presence”

that serves as a reminder of the contract. 472 For example, they noted some companies charge a
                                                471F




monthly fee, but only deliver physical goods at the consumer’s request.

       Some commenters stated that, without federal preemption, the annual reminder

requirement would create another layer of regulatory complexity because several state laws

already require reminders or notices. 473 In contrast, Professor Hoofnagle stated many “credit
                                         472F




card processing service” providers likely afford a simple and inexpensive means for sellers to

comply with state and federal mandates “because policy changes can be made programmatically

in dashboards.” 474
               473F




       Several commenters suggested the Commission amend the proposal. For instance, TINA

and several individual consumers recommended the Commission require reminders at the end of

a free trial period. 475 Others suggested the Commission require more frequent reminders, such as
                      474F




470
    Sirius XM, FTC-2023-0033-0857; Kuehn, FTC-2023-0033-0871; Chamber, FTC-2023-0033-
0885; Public Interest Groups, FTC-2023-0033-0880.
471
    State AGs, FTC-2023-0033-0886.
472
    Individual commenter, FTC-2023-0033-0026; TINA, FTC-2023-0033-1139.
473
    NCTA, FTC-2023-0033-0858; ESA, FTC-2023-0033-0867; IAB, FTC-2023-0033-1000;
ACT App Association, FTC-2023-0033-0874.
474
    Hoofnagle, FTC-2023-0033-1137.
475
    Individual commenter, FTC-2023-0033-0039 (not reminded “that the free trial was up”);
Individual commenter, FTC-2023-0033-0045 (“consumer should get an email reminder their free
period is about to end”); Individual commenter, FTC-2023-0033-0050 (businesses should “be
required to provide advance notice that the free trial is about to expire.”); TINA, FTC-2023-
0033-1139; ACT App Association, FTC-2023-0033-0874 (provide less prescriptive process).

                                                       141
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every six months, or before each charge. 476 They noted that under an annual notice requirement,
                                                475F




a consumer could be charged up to 12 times before discovering a negative option feature. 477 One
                                                                                             47 6F




commenter asked the Commission to require a reminder for so-called “zombie” agreements, ones

that have long periods, e.g., 24 months, of inactivity. 478     47 7F




       In contrast, other commenters noted consumers may suffer from “notice fatigue” given

the increasing popularity of subscription services. 479 Some argued there is no evidence of
                                                         478F




tangible consumer benefit from additional notices, and consumers should be given a choice

whether to opt-in to receive annual reminders (or more frequent reminders), or to opt-out. 480  47 9F




Three commenters suggested sending annual reminder notices could increase opportunities for

phishing and other deceptive practices. 481
                                         480F




       Finally, several commenters asked the Commission to clarify certain aspects of the

reminder requirement. For instance, ANA asked the Commission to explain what constitutes the

“same medium,” and a group of law professors asked for more detail about what constitutes an




476
    Public Interest Groups, FTC-2023-0033-0880 (“consumers deserve to know when they are
about to be charged automatically, with a chance to opt out”); State AGs, FTC-2023-0033-0886;
MIA, FTC-2023-0033-1008; Individual commenter, FTC-2023-0033-0026 (notification within
one month of renewal, stating specific renewal date); Individual commenter, FTC-2023-0033-
0708 (commenting that companies do not provide reminders before being charged, possibly
overdrawing an account).
477
    See, e.g., Public Interest Groups, FTC-2023-0033-0880.
478
    Law Professors, FTC-2023-0033-0861.
479
    NCTA, FTC-2023-0033-0858; USTelecom, FTC-2023-0033-0876; CCIA, FTC-2023-0033-
0985 (recommending a biannual reminder for longer subscriptions); and Coalition, FTC-2023-
0033-0884; see also DCN, FTC-2023-0033-0983 (incorrectly states the current proposed rule
would require monthly notice for month-to-month renewals).
480
    NCTA, FTC-2023-0033-0858 (opt in); ESA, FTC-2023-0033-0867 (opt out); Chamber, FTC-
2023-0033-0885 (opt in); DCN, FTC-2023-0033-0983 (opt out); Public Interest Groups, FTC-
2023-0033-0880 (opt out).
481
    NCTA, FTC-2023-0033-0858; ESA, FTC-2023-0033-0867; DCN, FTC-2023-0033-0983.

                                                       142
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adequate telephone reminder. 482 Additionally, some commenters asked the Commission to
                              481F




clarify that sellers can rely on contact information provided by the consumer at the time of

consent, 483 or to provide that abiding by state reminder requirements satisfies a seller’s
        482F




obligations under this provision. 484  483F




                       b)            Analysis

       After reviewing these comments, the Commission determines it needs additional

information on the scope and particularities of the proposed annual reminder requirement. The

record suggests, given the proliferation of subscription and auto-renewal services, consumers

have difficulty tracking all the negative option services and products in which they may be

enrolled—so much so that there are now companies claiming to help consumers keep track of

these services for a fee. As one commenter noted, consumers should not have to sign up for yet

another service to manage all their subscriptions. 485 Thus, limiting the reminder provision to just
                                                   484F




non-physical goods, and only annually, may not adequately mitigate the harm caused by negative

option practices in the marketplace.

       Additionally, the Commission shares some commenters’ concerns that consumers may

ignore these reminder calls. Further, as some commenters noted, the proposed provision does not

specify the timing for these reminders (e.g., should sellers issue reminders annually from the date




482
    ANA, FTC-2023-0033-1001 (same medium); Law Professors, FTC-2023-0033-0861
(adequate phone reminder).
483
    Sirius XM, FTC-2023-0033-0857; NFIB, FTC-2023-0033-0789.
484
    ACT App Association, FTC-2023-0033-0874.
485
    State AGs, FTC-2023-0033-0886 (“Subscription management has become an entire industry;
consumers can choose from a variety of companies that offer to monitor their recurring
subscriptions. We believe that consumers should not have to sign up for yet another service—
one that comes with privacy and security risks, as subscription monitoring services require
sharing financial account and other sensitive information—in order to effectively manage their
subscriptions.”).

                                                143
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of initial purchase and a specific number of days before the charge?). Accordingly, the

Commission will consider issuing a SNPRM seeking additional comment on these issues at a

later date.

               8.      Proposed § 425.8 Relation to State Laws

        In its NPRM, the Commission proposed that amendments to the Rule would not affect

state laws, regulations, orders, or interpretations relating to negative options, except to the extent

they are inconsistent with the final Rule, and then only to the extent of the inconsistency. A state

provision would not be “inconsistent” with the proposed Rule if it affords any consumer greater

protection than the Rule. 486
                          485F




        The Commission received a range of comments in response. On one end, a commenter

opined the “FTC cannot preempt existing [state] laws,” so it should instead strive for

“harmonization and consistency with existing laws.” 487 At the other end, multiple industry
                                                       486F




groups said the Commission should completely preempt state laws in this area. 488 These
                                                                                   487F




commenters argued having both state and federal standards may confuse consumers and create

financial and operational burdens for sellers, thus raising consumer prices. For example, NCTA

asserted that, without preemption, the proposed Rule “would encourage the enactment of new

state laws with differing standards.” 489 Another industry commenter suggested the Commission
                                      488F




should work with lawmakers on one national standard. 490      489F




486
    See proposed § 425.8.
487
    ANA, FTC-2023-0033-1001.
488
    NCTA, FTC-2023-0033-0858; PDMI, FTC-2023-0033-0864; CCIA, FTC-2023-0033-0984;
ESA, FTC-2023-0033-0867; IAB, FTC-2023-0033-1000.
489
    NCTA, FTC-2023-0033-0858; see also Chamber, FTC-2023-0033-0885 (“A floor just creates
an increased federal burden without actually ensuring consistency of overall regulation on
entities in the different states.”).
490
    IHRSA, FTC-2023-0033-0863 (national standard).

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        Other industry groups and individual businesses supported preemption in various ways.

For example, CTA argued the Rule should “preempt state laws with differing requirements.” 491   490F




Two additional commenters, including a mixed group of industry associations, asserted the Rule

should set the ceiling and preempt any state provision that is more stringent. 492
                                                                               49 1F




        NRF said the Rule should “preempt any state law requirements that contradict or are

inconsistent with the Rule … to the extent of the inconsistency.” 493 To effectuate this change,
                                                                   49 2F




NRF suggested the Commission adopt language from California’s Automatic Renewal Law,

which it said other states have copied. NRF proposed state laws be deemed inconsistent if they

require disclosures or actions “that contradict . . . the [final rule],” and requirements be deemed

contradictory if they use the same terms differently from the final rule or require “using a term

different from the one required in the [final rule] to describe the same item.” 494
                                                                                 493F




        Several industry groups expressed concern regarding potential confusion about

preemption. For example, ACA Connects asserted it “may be unclear whether and to what extent

[a particular state law offers] ‘greater’ or ‘lesser’ protection than [the proposed Rule]” and asked

for more guidance generally or for a process that lets interested parties ask the Commission if a

particular state law is inconsistent. 495 NRF noted such a system has worked well with gift card
                                    494 F




laws, explaining the CARD Act (Pub. L. No. 111-24, 124 Stat. 2385) preempts less restrictive

state laws. 496
           495F




491
    CTA, FTC-2023-0033-0997; see also Sirius XM, FTC-2023-0033-0857; DCN, FTC-2023-
0033-0983.
492
    Coalition, FTC-2023-0033-0884; CCIA, FTC-2023-0033-0984.
493
    NRF, FTC-2023-0033-1005.
494
    Id.
495
    ACA, FTC-2023-0033-0881 (greater or lesser); NRF, FTC-2023-0033-1005 (more guidance);
DCN, FTC-2023-0033-0983 (more guidance).
496
    NRF, FTC-2023-0033-1005.

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              Finally, a group of law professors supported the Commission’s proposed Rule. They

noted “more than half of states … regulate some negative option marketing practices,” and said

the Commission “does not occupy the field or displace non-conflicting state [laws].” 497 The 496F




professors added states “can often move more nimbly to address problematic elements and

evolving business models” and should retain the ability to do so. 498    497F




              Having considered the foregoing comments, the Commission will streamline the text of

the final Rule for clarity and efficiency, while maintaining the substance of the proposed Rule’s

proposed preemption language (renumbered in the final Rule as § 425.7). The FTC Act does not

expressly preempt state law, and the legislative history of the FTC Act indicates Congress did

not intend the FTC to occupy the consumer protection regulation field. 499 Therefore, any
                                                                                498F




preemptive effect of the Rule must be limited to instances where it is not possible to comply with

both state law and the Rule, or where application of state law would frustrate the purposes of the

Rule. 500 This approach preserves states’ ability to continue to act as laboratories to handle new
      49 9F




and changing business models. This approach is consistent with other Commission Rules. 501          500F




              Therefore, § 425.7 of the final Rule specifies the Rule does not supersede, alter, or affect

state statutes, regulations, orders, or interpretations relating to negative option marketing, except

to the extent a state statute, regulation, order, or interpretation is inconsistent with the Rule. The


497
    Law Professors, FTC-2023-0033-0861.
498
    Id.
499
    See, e.g., Am. Fin. Servs. Ass’n v. FTC, 767 F.2d 957, 989 (D.C. Cir. 1985).
500
    Preemption would occur where there is an actual conflict between the two schemes of
regulation such that both cannot stand in the same area. Fla. Lime & Avocado Growers, Inc. v.
Paul, 373 U.S. 132, 141 (1963); see also Am. Fin. Servs. Ass’n v. FTC, 767 F.2d 957 (D.C. Cir.
1985) (Credit Practices Rule); Harry & Bryant Co. v. FTC, 726 F.2d 993 (4th Cir. 1984)
(Funeral Rule); Am. Optometric Ass’n v. FTC, 626 F.2d 896 (D.C. Cir. 1980) (Ophthalmic
Practices Rule).
501
    See, e.g., 16 CFR 437.9(b) (Business Opportunity Rule); id. 435.3(b) (Merchandise Rule); id.
436.10 (Franchise Rule); id. 429.2 (Cooling-Off Rule).

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final language also continues to make clear state requirements are not inconsistent with the Rule

to the extent they afford greater protection to any consumer. The manners in which a state law

may provide greater protection are many. For example, a state law that requires sellers to remind

consumers at the end of a free trial that they are about to be billed would provide greater

protection to consumers and not be inconsistent with the Rule.

VIII. MODIFICATIONS, ALTERNATIVES CONSIDERED

       A.      New Provisions in Final Rule for Clarification

               1.      New § 425.8 Exemptions

       The NPRM sought comment on whether the Rule should exempt any entities or activities

that are otherwise subject to the Commission’s authority under the FTC Act. 502 Several
                                                                               50 1F




commenters requested Rule exemption for their business or industry. 503 These commenters made
                                                                       50 2F




various arguments based on the law and facts in their particular circumstances. For example,

some argued existing state licensing and other requirements that already apply to their activities

adequately address the problems identified in the NPRM and additional rules would only

interfere with the existing regulatory structure. Because such decisions are highly fact dependent,

the Commission must consider exemptions, even of larger groups, on an individualized basis

pursuant to the FTC’s Rules of Practice. 504 Pursuant to these rules, interested persons may file
                                         503F




502
    See, e.g., NPRM, 88 FR 24730.
503
    Categories of products and services for which commenters sought exemptions include: alarm
companies (FTC-2023-0033-0860; FTC-2023-0033-1001); wireless carriers (FTC-2023-0033-
0866); telecommunication providers (FTC-2023-0033-0876; FTC-2023-0033-0881); service
contracts (FTC-2023-0033-0877; FTC-2023-0033-0879; FTC-2023-0033-0882; FTC-2023-
0033-0996; FTC-2023-0033-1136; FTC-2023-0033-1143); insurance agreements, service
contracts on consumer goods, and cancellable month-to-month agreements (FTC-2023-0033-
0878); and retail energy service (FTC-2023-0033-1151). Some of these and others sought to
exclude B2B agreements. See Section VII.B.1.c.
504
    See 16 CFR 1.25, 1.31; see also 86 FR 59851 (Oct. 29, 2021) (amending Commission
procedures and rules on the petition exemption process).

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petitions for exemption with relevant evidence and data. If the Commission deems the petition

sufficient to warrant further consideration, it will follow the procedures outlined in § 1.31 of its

rules.

                 The Commission adopts a new section, § 425.8. Pursuant to this provision, and consistent

with the Commission’s Rules of Practice, sellers and other covered persons may seek full or

partial exemptions if they can demonstrate application of the Rule’s requirements to a particular

product or service, or class of product or service, is not necessary to prevent the acts or practices

to which the Rule relates.

                        2.     New § 425.9 Severability

                 One commenter, NFIB, asked the Commission to address severability in the Rule. 505    504F




Specifically, NFIB proposed a provision stating if a court finds any part of the Rule to be invalid,

then the remainder of the Rule remains in force. The Commission agrees with this proposal. It is

the Commission’s intent that the provisions of the final Rule are separate and severable from one

another; therefore, if any provision is stayed or determined to be invalid, the remaining

provisions shall continue in effect. Thus, the final Rule includes this language in a new section, §

425.9. 506
         50 5F




                 B.     Notice of Material Changes

                 In the NPRM, the Commission sought comment on whether and how sellers should

notify consumers when they make material changes to contracts with a negative option. 507 As   50 6F




discussed in the NPRM, several commenters responding to the ANPR recommended the


505
    NFIB, FTC-2023-0033-0789.
506
    This provision is comparable to the severability provision in other Commission Rules. See 16
CFR 437.10 (Business Opportunity Rule); 16 CFR 455.7 (Used Motor Vehicle Rule); 16 CFR
436.11 (Franchising Rule); 16 CFR 453.8 (Funeral Industry Rule); 16 CFR 310.9 (TSR).
507
    NPRM, 88 FR 24730.

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Commission require sellers to send consumers notices of such changes. TINA, for example,

asserted the Commission should require such notice and provide consumers an opportunity to

cancel before the terms become effective. 508 Several states require similar notices. 509 The
                                                    507F                                      508F




Commission, however, did not require notice of material changes in the proposed Rule. As it

explained at the time, whether a seller’s failure to provide such notice is unfair or deceptive is a

highly fact-specific inquiry that must be determined on a case-by-case basis. Given the

importance of the issue, however, the Commission requested further comment.

               1.          Summary of Comments

       Five commenters responded. 510 TINA reiterated sellers should provide consumers with
                                      509F




notice of material changes to subscription terms. 511 Further, it asserted the Commission’s
                                                            510F




reasoning is at odds with state laws and the Commission’s longstanding position on material

terms, i.e., that they be “clearly and conspicuously disclosed when relevant to the marketing

being presented.” 512 TINA further argued allowing businesses to “hide” material changes to
                    511F




these contracts is likely to cause injury because consumers “do not read these contracts (let alone

monitor them for changes) and a significant minority of consumers are not even aware they are

bound by these subscription contracts.” 513  512F




       In contrast, ESA, USTelecom, ACA, and IAB supported the Commission’s proposal.

IAB and ESA said it is “industry practice for subscription-based services and products to have




508
    NPRM, 88 FR 24724.
509
    Those states include Virginia, California, and Oregon. NPRM, 88 FR 24724.
510
    ESA, FTC-2023-0033-0867; USTelecom, FTC-2023-0033-0876; ACA, FTC-2023-0033-
0881; IAB, FTC-2023-0033-1000; and TINA, FTC-2023-0033-1139.
511
    TINA, FTC-2023-0033-1139.
512
    Id.
513
    Id.

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regular price increases over time,” and consumers expect it. 514 USTelecom agreed with the
                                                              513F




Commission’s rationale that “whether such a practice is unfair or deceptive depends heavily on

the facts presented in each case.” 515 ACA, a telecommunications trade association, noted the
                                  514F




FCC and states already have notice requirements for contract term changes. 516515F




               2.      Analysis

       Based on the record, the Commission does not require notice of material changes to

contract conditions in the final Rule. The final Rule requires the seller disclose important

information prior to charging the consumer. Such information includes all material terms,

including, e.g., the range of costs the consumer will be charged and the frequency of charges that

will incur unless the consumer takes timely steps to prevent or stop them. The seller’s failure to

disclose such information upfront, clearly and conspicuously, violates the Rule.

       Moreover, state laws have different predicate requirements (e.g., less robust initial

disclosures) and, importantly, are often based on different legal authority. Additionally, the

Commission’s final Rule does not conflict with its longstanding advice on clear upfront

disclosure. The final Rule requires just such disclosure, § 425.4; and the Commission has never

required after sale disclosure based on its Section 5 authority.

       Finally, as the Commission explained in the NPRM, whether a seller’s failure to notify a

consumer of material changes is unfair or deceptive could be heavily dependent on the particular

facts and circumstances, such as the seller’s upfront marketing claims. For example, based on a

clear upfront agreement to allow periodic price increases, consumers may understand that firms

can make small price increases over long periods of time. On the other hand, significant


514
    IAB, FTC-2023-0033-1000; ESA, FTC-2023-0033-0867.
515
    USTelecom, FTC-2023-0033-0876.
516
    ACA, FTC-2023-0033-0881.

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unilateral changes to the terms of the agreement, such as huge prices increases over short periods

of time would probably be inconsistent with reasonable consumer expectation, and therefore,

deceptive or unfair. Because the determination of whether a practice runs afoul of Section 5 in

this context is highly fact dependent, the Commission declines to address it at this time.

Nevertheless, the Commission will continue to monitor the need for such a requirement and will

continue to bring enforcement actions when appropriate.

       C.      Consumer Education

       The Commission solicited comments on alternative approaches such as additional

consumer and business education, and received two comments in response. 517 The Commission
                                                                             516F




plans to continue its efforts to provide information to help consumers with their purchasing

decisions and avoid ensnarement in unwanted recurring payment programs. However, consumer

education is not a substitute for improving existing regulatory provisions. Consumer education is

likely to have a limited benefit where sellers lure consumers into an agreement without

consumers’ knowledge, particularly with the use of dark patterns.

       D.      Implementation Date

       Several industry groups and one individual commenter asked the Commission to delay

the final Rule’s effective date. Three commenters sought a delay of at least 12 months or up to

18 months, citing generalized concerns that changes can take time “given the complexities” of

the proposed Rule. 518 The Chamber asked for a two-year period “depending on the scope and
                   517F




517
    See NPRM. 88 FR 24730; NFIB, FTC-2023-0033-0789 (requesting a business education
enforcement provision); Hoofnagle, FTC-2023-0033-1137 (consumer and business education
probably uneconomical intervention).
518
    IAB, FTC-2023-0033-1000 (at least 12 months); ESA, FTC-2023-0033-0867 (12-18 months);
Kuehn, FTC-2023-0033-0871 (12-18 months).

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specific requirements of the final rule.” 519 By contrast, consumers generally encouraged the
                                        518F




Commission to enact the Rule without delay. 52051 9F




       None of the commenters identified a precise period it would take to comply with a

specific provision or otherwise detailed what would necessitate a particular length of time. 521        52 0F




They did, however, detail the general actions they would need to take. For example, NCTA

explained, “this proposal would require companies to change and update their customer

processes and user interfaces to provide the mandated notices, obtain additional consent, and

implement cancellation mechanisms,” as well as troubleshoot those changes in a careful way to

avoid “glitches and issues that would affect service and frustrate and harm consumers.” 522
                                                                                         52 1F




       The Commission recognizes changes to processes and disclosures typically require some

time to address and has regularly provided a grace period for implementation of its rules. 523   522F




Small businesses in particular may require time to ensure their modified processes conform to

the Rule. To address these concerns, the final Rule provides 180 days from the date the final

Rule is published to come into full compliance. However, sellers must comply with § 425.3 60

days after publication of the Rule, consistent with 5 U.S.C. 801(a)(3). This section prohibits

misrepresentations in connection with a negative option feature. Existing law already requires




519
    Chamber, FTC-2023-0033-0885.
520
    Individual commenter, FTC-2023-0033-0257; Individual commenter, FTC-2023-0033-0685.
521
    ACA, FTC-2023-0033-0881; SCIC, FTC-2023-0033-0879 (noting many states require
service contract forms be filed with state regulators for approval); ANA, FTC-2023-0033-1001;
NCTA, FTC-2023-0033-0858.
522
    NCTA, FTC-2023-0033-0858.
523
    E.g., 38 FR 33766 (Dec. 7, 1973) (original Negative Option Rule, 6-month grace period); 60
FR 43842 (Aug. 23, 1995) (TSR. 4-month grace period); 89 FR 26767 (Apr. 16, 2024) (TSR
amendment, 180-day grace period); 79 FR 55615 (Sept. 17, 2014) (Merchandise Rule
amendments, 3-month grace period).

                                                       152
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sellers not to make misrepresentations. Therefore, this provision should not impose an added

time or cost burden on businesses operating lawfully. 524 523F




       The Commission recognizes the remainder of the final Rule may require some businesses

to implement or modify systems, software, or procedures. As detailed in the NPRM, however,

the existing legal landscape already includes a patchwork of relevant federal laws and

regulations in addition to state laws to address sellers’ negative option practices. 525 The
                                                                                    524F




Commission has also issued guidance to businesses on the basic requirements that negative

option marketers must follow to avoid deception. 526 Compliance with these statutes and
                                                   525F




regulations should mean sellers have a significant head start on their compliance efforts.

       Moreover, the Commission has streamlined the final Rule, significantly reducing the

compliance burdens. Specifically, for reasons detailed in Section VII, above, the final Rule omits

or modifies proposed requirements that gave some commenters particular concern. Most notably,

the Commission omitted the entire annual reminder and saves requirements. As commenters

pointed out, these two sections imposed the greatest compliance burdens on sellers. 527 Their
                                                                                           526F




removal, therefore, should substantially reduce the time and expense needed to ensure processes

comply.




524
    Similarly, the various procedural sections of the Rule, e.g., § 425.1 (Scope), § 425.2
(Definitions); § 425.7 (Relation to State Laws), § 425.8 (Exemptions), and § 425.9 (Severability)
are also operative 60 days after publication.
525
    NPRM, 88 FR 24716-18.
526
    See EPS, 86 FR 60822; Staff Report,
https://www.ftc.gov/sites/default/files/documents/reports/negative-options-federal-
tradecommission-workshop-analyzing-negative-optionmarketing-report-
staff/p064202negativeoptionreport.pdf {last visited on Aug. 26, 2024}.
527
    See Sections VII.B.6 (saves) and VII.B.7 (reminders).

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       Similarly, other modifications should clarify and streamline requirements, making

compliance easier. For example, the final Rule eliminates certain recordkeeping requirements. 528  527F




Additionally, the final Rule narrows the required disclosures. 529 These changes combined with
                                                               528F




existing law obviate the need for a lengthy grace period.

       E.      Anti-Abuse Provision

       The Law Professors suggested the Commission include an “anti-abuse” provision to

provide a mechanism for enforcement against sellers’ attempts to evade the Rule. 530 Such a52 9F




provision would make it an “unfair or deceptive act or practice” for a seller to, for example, set

up a facially complicated sign-up process to allow for a similarly complicated cancellation

process, but in practice to simplify the sign-up process to maximize enrollment. 531 As the Law
                                                                                   53 0F




Professors acknowledge, such attempts to evade the Rule already violate the Rule, and the record

does not suggest a need for such an additional anti-abuse provision.

IX.    CONGRESSIONAL REVIEW ACT

       Pursuant to the Congressional Review Act, 5 U.S.C. 801 et seq., we anticipate the Office

of Information and Regulatory Affairs will designate the final Rule as a “major rule,” as defined

by 5 U.S.C. 804(2).

X.     FINAL REGULATORY ANALYSIS

       Under Section 22(a) of the FTC Act, 15 U.S.C. 57b-3(a), the Commission must issue a

preliminary regulatory analysis for a proceeding to amend a rule if the Commission:

(1) estimates that the amendment will have an annual effect on the national economy of $100




528
    See § 425.5(a)(4).
529
    See § 425.4.
530
    Law Professors, FTC-2023-0033-0861.
531
    Id.

                                                154
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million or more; (2) estimates that the amendment will cause a substantial change in the cost or

price of certain categories of goods or services; or (3) otherwise determines that the amendment

will have a significant effect upon covered entities or upon consumers. Although the

Commission preliminarily determined the proposed amendments to the Rule would not have

such effects on the national economy; on the cost of goods and services offered for sale by mail,

telephone, or over the Internet; or on covered parties or consumers, several commenters raised

concerns with the Commission’s preliminary determination. Ultimately, the presiding officer

determined, after receiving additional comments from interested stakeholders, the proposed

amendments would have such effect. 532 In accordance with Section 22, the Commission
                                      531F




therefore issues its final regulatory analysis below.

       A.      Introduction

       Under Section 22 of the FTC Act, 15 U.S.C. 57b-3, the final regulatory analysis must

contain (1) a concise statement of the need for, and objectives of, the final rule; (2) a description

of any alternatives to the final rule which were considered by the Commission; (3) an analysis of

the projected benefits, any adverse economic effects, and any other effects of the final rule; (4)

an explanation of the reasons for the determination of the Commission that the final rule will

attain its objectives in a manner consistent with applicable law and the reasons the particular

alternative was chosen; and (5) a summary of any significant issues raised by the comments

submitted during the public comment period in response to the preliminary regulatory analysis,

and a summary of the assessment by the Commission of such issues.




532
   Recommended Decision by Presiding Officer, https://www.regulations.gov/comment/FTC-
2024-0001-0042.

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       The Commission received comments from trade associations regarding the preliminary

regulatory analysis in the NPRM, and three presented testimony and expert reports at the

informal hearing. Comments and testimony, including reports submitted by experts, were largely

conclusory in nature. 533 The general theme of the comments and testimony, however, was that
                     532F




the compliance costs would be higher than those estimated in the NPRM’s preliminary analysis,

and the Commission herewith presents revised estimates of those compliance costs.

       B.      Regulatory Analysis

               1.                   Concise statement of the need for, and the objectives of, the final Rule.

       As discussed previously, the objective of the proposed amendments is to curb deceptive

or unfair negative option practices . The legal basis for the proposed amendments is Section

18(a)(1)(B) of the FTC Act, which provides the Commission with authority to issue “rules which

define with specificity acts or practices which are unfair or deceptive acts or practices in or

affecting commerce.” 534    53 3F




       As described in this SBP, the amendments address unfair or deceptive negative option

practices. The FTC, other federal agencies, and state attorneys general have brought multiple

administrative and judicial actions to stop and remedy harmful negative option practices. The

record demonstrates, however, that existing legal authorities fall short because they leave

consumers unprotected from certain practices and constrain the relief the Commission may

obtain for law violations to redress consumers and deter future unlawful activity. In the ANPR




533
    Where specific components of the Rule, as anticipated when the NPRM was published, were
discussed, commenters combined them, such that the concerns expressed cannot readily be
separated to reflect what remains in the final Rule. For example, NCTA claims that “(t)he rigid
‘Click-to-Cancel’ requirements and limits on ‘saves’ will harm consumers,” but addresses these
harms only in combined and qualitative ways. FTC-2023-0073-0008.
534
    15 U.S.C. 57a(a)(1)(B).

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and NPRM, the Commission explained it receives thousands of consumer complaints a year

related to negative option marketing.

       As discussed above in Sections III-VII, the final Rule clarifies existing requirements

regarding negative option marketing currently dispersed in other rules and statutes administered

by the FTC and provides a consistent legal framework across media and offers. It also

consolidates all requirements, such as those in the TSR and ROSCA, specifically applicable to

negative option marketing. The final Rule also provides clarity about how to avoid deceptive

negative option disclosures and procedures. For example, ROSCA lacks specificity about

cancellation procedures and the placement, content, and timing of cancellation-related

disclosures. The final Rule now provides clear standards for sellers about, inter alia, the content

and timing of important information disclosures and what constitute “simple mechanisms” for

the consumer to stop recurring charges. Further, the Rule allows the Commission to seek civil

penalties and consumer redress under Section 19(a)(1) of the FTC Act in contexts where such

remedies are currently unavailable, such as deceptive or unfair practices involving negative

options in print materials and face-to-face transactions (i.e., in media not covered by ROSCA or

the TSR).

               2.  A description of any alternatives to the final Rule which the
               Commission considered.

       In formulating the final Rule, the Commission makes every effort to avoid imposing

unduly burdensome requirements on sellers. To that end, the Commission avoids, where

possible, proposing specific, prescriptive requirements that could stifle marketing innovation or

otherwise limit seller options in using new technologies. In the NPRM, the Commission sought

comments on several alternatives, including provisions related to consent requirements

(additional consent for free trials) and reminder requirements (narrowing the scope of product


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types requiring reminders). The Commission also sought comments on how it could modify the

proposed amendments to reduce costs or burdens for small entities. In response to the comments,

and as discussed in the Section-by-Section analysis, the Commission determines not to finalize

the proposed Rule in its entirety. Instead, the Commission finalizes a Rule that limits the material

terms to be disclosed immediately adjacent to consent for the negative option feature; removes

the limitation on saves and the accompanying recordkeeping requirement; removes the annual

reminder provision; and modifies the length of the recordkeeping requirement for verification of

consent to three years and provides an alternative method of compliance.

       One alternative to the final Rule would be to terminate the rulemaking and rely instead on

the existing legal framework to combat unfair or deceptive negative option practices. Another

alternative would be to limit the scope of the final Rule to just those negative option plans that

are marketed in person or through the mail and therefore, currently, are covered only by Section

5 of the FTC Act and not by ROSCA or the TSR. However, failing to proceed in accordance

with the final Rule would substantially reduce or eliminate the benefits of the Rule, including

clarifying the requirements currently spread throughout statutes and regulations and covering

negative options in media not subject to the TSR or ROSCA.

       Given that the Commission expects the unquantified benefits and unquantified costs of

the final Rule to be small, and that there is considerable scope for the net benefits to remain

positive and large even if compliance costs have been substantially underestimated, this

regulatory analysis indicates that adoption of the Rule will result in benefits to the public that

outweigh the costs.

               3.      An analysis of the projected benefits and any adverse economic effects




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                        and any other effects of the final Rule.

                               a)     Summary of Benefits and Costs

        The primary consumer benefits of the final Rule, relative to the existing regulatory

baseline, 535 come in the form of faster cancellations when consumers wish to cancel
         534F




subscriptions. 536
                53 5F




535
    As explained in Section III of the SBP, several other statutes and regulations address harmful
negative option practices. Section 5 of the FTC Act, which prohibits unfair or deceptive acts or
practices, has traditionally served as the Commission’s primary mechanism for addressing
deceptive negative option claims. ROSCA, the TSR, 1the Unordered Merchandise Statute, and
EFTA all address various aspects of negative option marketing.
536
    The final Rule also requires that specific disclosures relating to negative option features be
provided separately to consumers before consent is obtained, whereas the existing regulatory
framework requires that all material terms of a negative option contract be disclosed in a clear
and conspicuous manner. The new disclosure requirements will aid consumers in understanding
both that they are entering a negative option contract and the terms and conditions of that
contract, especially how they can cancel the contract and when such cancellation must occur to
avoid future charges. No consumer testing of the final Rule’s disclosure requirements, relative to
a “control” of “clear and conspicuous” disclosure requirements under the existing regulatory
baseline, has been done. Accordingly, it is not possible to quantify any incremental consumer
comprehension of a negative option plan at the time a consumer provides consent to that plan
that may result from the final Rule’s disclosure requirements. Moreover, some academic studies
claim that “[n]ot only do consumers have a tendency to forget, but also a tendency to forget that
they forget,” suggesting that any gain in comprehension of the negative option features of an
agreement that might be measured under consumer testing might not be durable. See Sophia
Wang, “One Size Does Not Fit All: The Shortcomings of Current Negative Option Legislation,”
26 Cornell J. of L. & Pub. Policy, 197, 212 n.135 (2016) citing Keith M. Marzilli Ericson,
“Forgetting We Forget: Overconfidence and Memory,” 9 J. Eur. Econ. Assoc. 43 (2011).
Additionally, if the disclosures required by the final Rule come to be viewed as “boilerplate”
language that consumers rush through, or consumers consider those disclosures to be less salient
than other aspects of the transaction, such as acquiring a free trial of a product or service, the
final Rule’s disclosures may not offer any incremental benefit over existing “clear and
conspicuous” because “people have limited attentional resources and will overlook non-salient
features of any transaction.” See Tess Wilkinson-Ryan, “A Psychological Account of Consent to
Fine Print,” 99 Iowa L. Rev. 1745 (2014). Concerns such as these are consistent with some
consumer advocacy groups seeking amendments that would require a second round of consent to
be obtained at the end of a free trial and before any recurring charges could be initiated in
addition to routine reminders of recurring charges. See, e.g., TINA, FTC-2019-0082-0014
(seeking amendments to require notice and re-affirmance of consumer consent, prior to being
charged because consumers may forget about the trial and incur unwanted charges or
enrollments at the end of the offer, particularly with long trial periods).

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       The final Rule requires negative option sellers to provide cancellation mechanisms that

are at least as easy to use as the mechanisms by which consumers consent to negative option

plans. For negative option sales made online or over the telephone, “at least as easy to use”

requires that the cancellation mechanism operate in the same medium and take no more time or

effort than the consumer used when enrolling in the negative option plan. For negative option

sales that are made in-person or through the mail, the final Rule requires that, in addition to

offering cancellation through the specific method used for enrollment, the seller must also offer

at least one alternate cancellation mechanism that can be used remotely, e.g., cancellation via a

website, email, or a toll-free telephone number and, again, that the consumer can cancel the

negative option contract at least as quickly as he or she completed enrollment in the negative

option plan.

       In the following analysis, the Commission describes the anticipated effects of the final

Rule. Where possible, it quantifies the benefits and costs. If a benefit or cost is quantified, it

indicates the sources of the data relied upon. If an assumption is needed, the text makes clear

which quantities are being assumed. The Commission measures the benefits and costs of the

Rule against the existing regulatory baseline that consists primarily of ROSCA, the TSR, and

Section 5 enforcement. 537
                        536F




       First, the likely per-cancellation benefits of the final Rule in relation to four scenarios

under the existing regulatory baseline are considered. Next, the number of transactions relevant

to each scenario are estimated. The product of average benefits-per-cancellation in each scenario


537
   The Unordered Merchandise Statute and EFTA also address various aspects of negative
option marketing, but violations of those laws in relation to negative option marketing are
typically pleaded in conjunction with violations of other laws; without loss of generality, the
regulatory analysis expressly considers only ROSCA, the TSR, and Section 5 as the regulatory
baseline against which incremental benefits and costs from the final Rule are measured.

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multiplied by the likely number of consumer cancellation transactions for each scenario, summed

across all scenarios, provides an estimate of the aggregate, quantifiable, consumer benefits

produced by marketers’ compliance with the final Rule’s cancellation requirements. Quantifiable

costs primarily reflect the resources spent by businesses to review the Rule and to take any

preemptive or remedial steps to comply with its provisions, including, when and as needed,

making changes to the manner they receive and process cancellation requests from consumers.

       The Commission estimates the present discounted value of quantified benefits over ten

years, using a 2 percent discount rate, will range between $6.1 and $49.3 billion. Annualized

over 10 years, the Commission estimates the quantified benefits will range between $682.8

million and $5.5 billion per year. The Commission estimates the present discounted value of

quantified costs over ten years, using a 2 percent discount rate, will range between $100.9 and

$826.2 million. Annualized over ten years, the Commission estimates the quantified costs will

range between $11.2 and $92.0 million per year. These estimates are presented in Table 1 below.

Table 1. Summary of Total Quantified Benefits and Costs (in millions, 2023 dollars)

                                                Low               High
 Present Discounted Value over 10 years, 2% discount rate
     Benefits                                $6,133.57          $49,315.39
     Costs                                     $100.89             $826.15
     Net Benefits                            $5,307.43          $49,214.50
 Annualized over 10 years, 2% discount rate
     Benefits                                   $682.83          $5,490.11
     Costs                                       $11.23             $91.97
     Net Benefits                               $590.86          $5,478.88

                       b)     Benefits of the Final Rule

       This section describes the beneficial impacts of the Rule, provides quantitative estimates

where possible, and describes benefits that are only assessed qualitatively.



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       The quantifiable estimates reflect benefits stemming from the decreased amount of time

and effort consumers will need to expend cancelling subscriptions, and in contexts where data

are available, welfare gains from avoided expenditure for unwanted subscriptions, under the final

Rule relative to marketers’ compliance with the existing regulatory baseline. This section first

estimates per-consumer savings from cancellation mechanisms that would become at least as

easy to use as the mechanisms through which consent to the negative option transactions was

given and then estimates the number of cancellation transactions to which those benefits apply.

       In addition to these quantified benefits, there are several benefits we do not quantify.

First, marketers’ compliance with the final Rule is likely to improve consumer confidence in

using subscriptions 538 and increase the number of consumers who are willing to subscribe and
                   537 F




obtain the convenience, and often cost savings, that subscriptions can provide. Second, research

in economics and psychology finds the perceived monetary and psychological costs from

switching products or services can lead consumers to make sub-optimal decisions. The final

Rule, by reducing these costs through simpler cancellation methods, may improve consumer

decision-making by reducing enrollments in subscriptions that consumers do not value and

increasing enrollments in subscriptions that they do value. 539 Marketers’ compliance with the
                                                           538F




538
    One survey found that consumers without subscriptions were much more pessimistic about
the ability to cancel subscriptions than were consumers who had subscriptions. See Jabil,
“Connected Packaging Perceptions and Attitudes: A Consumer Insights Survey” (July 2021),
https://www.jabil.com/dam/jcr:ecdb74e6-c34f-4c30-aa34-c10269617db6/2021-connected-
packaging-survey.pdf#page=3. Another recent study finds that consumers are aware that they
may be inattentive in future and not cancel subscriptions that they no longer desire, and so are
less likely to sign up for negative-option subscriptions. See Klaus Miller, et al., “Sophisticated
Consumers with Inertia: Long-Term Implications from a Large-Scale Field Experiment” (2023),
https://papers.ssrn.com/sol3/papers.cfm?abstract_id=4065098.
539
    A large literature in economics has documented that consumers face switching costs and/or
psychological biases towards inertia. See, e.g., Brigitte Madrian & Dennis Shea, “The Power of
Suggestion: Inertia in 401(k) Participation and Savings Behavior,” 116 Quarterly J. of Econ.


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final Rule, and the consumer confidence that compliance inspires, may also “exert additional

competitive pressures on businesses who offer subscription contracts (and) could increase

productivity in the sector.” 540
                             539F




        Compliance with the final Rule may also result in some allocative effects when

consumers can cancel online instead of by telephone. In such cases, consumers will be able to

cancel subscriptions at times of the day that may be more convenient to them than the hours that

subscription sellers staff their telephone lines and from devices that they find more convenient to

use than telephones. 541
                     54 0F




        Finally, the Commission’s estimates of quantified benefits are based on reductions in

time and effort from cancelling subscriptions to non-business consumers. The Commission

expects small businesses may also benefit in similar ways from less costly cancellations, but it

does not quantify such benefits due to lack of data on business cancellation transactions.

        The following subsections then estimate the quantified benefits from reductions in time

and effort from cancelling subscriptions. First, in subsection (1), the Commission estimates the

per-cancellation benefit relative to the regulatory baseline for i) online cancellation when only

ROSCA-compliant telephonic cancellation was available, ii) simpler online cancellation when



1149 (2001); William Samuelson and Richard Zeckhauser, “Status Quo Bias in Decision
Making,” 1 J. of Risk & Uncertainty 7 (1988). Research has found that many consumers do not
cancel subscriptions due to such inertia effects. See, e.g., Miller, et al. (2023); Liran Einav, et al.,
“Selling Subscriptions” (2023),
https://harris.uchicago.edu/sites/default/files/mahoney_ppe_seminar_paper_9-26-23_0.pdf.
540
    See U.K. Department for Business and Trade, “Impact Assessment—Digital Markets,
Competition and Consumers Bill: Subscription Measures,” at 3 (Apr. 20, 2023),
https://publications.parliament.uk/pa/bills/cbill/58-03/0294/ImpactAssessmentAnnex2.pdf.
541
    In some instances, an online cancellation completed at, say, 11:59 p.m., compared to a
counterfactual in which a call center closed at, say, 8 p.m., could result in sparing a consumer
from a recurring charge that would take effect the next day, and such instances would result in
actual monetary savings to consumers, but we are unable to estimate the frequency of such
occurrences or the monetary savings they would engender.

                                                    163
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only ROSCA-compliant online cancellation was available, iii) simpler telephone cancellation

when only TSR-compliant cancellation was available, and iv) online or telephone cancellation

when only in-person or mail cancellation was available. The Commission then estimates the

number of cancellation transactions in subsection (2), and finally calculates benefits as the per-

cancellation benefit in each scenario multiplied by the number of affected transactions in

subsection (3).

      (1)         Estimating per-Cancellation Benefits

       For each of the four scenarios below, the Commission estimates a range of benefits that a

consumer will gain each time they cancel a negative option subscription. In these scenarios, the

Commission assumes a final Rule-compliant online cancellation should take no more than 30

seconds to one minute, based on the Commission’s experience that the average time for

consumers to read required disclosures and provide consent to a negative option plan online is 30

seconds to one minute. For telephone cancellations under the final Rule, the Commission

assumes that a rule-compliant cancellation should take no more than one to two minutes, based

on the assumption it takes a telemarketer twice as long to read required disclosures to a consumer

as it would take a consumer to read such disclosures to his or herself online.

       (a)        Estimated per-Cancellation Benefit Relative to ROSCA-compliant

       Telephonic Cancellation

       For consumers enrolling in negative option plans online, the existing regulatory baseline,

ROSCA, requires marketers to provide “simple” cancellation mechanisms. A facially ROSCA-

compliant, “simple” telephonic cancellation may, nonetheless, require more time and effort from

consumers than was expended when enrolling in the negative option plan. Online subscription

sellers’ compliance with the final Rule will save consumers that extra measure of time and effort.



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       To estimate the average time savings to consumers of a final Rule-compliant “click-to-

cancel” mechanism compared to a ROSCA-compliant simple telephonic cancellation, this

analysis first assumes that ROSCA-compliant simple telephonic cancellations take no more time

than the “average handle time” for all customer service requests made to call centers, which an

industry source indicates is six minutes and three seconds. 542 As discussed at the beginning of
                                                           541F




this subsection, the Commission assumes a final Rule-compliant cancellation should take no

more than 30 seconds to one minute, saving consumers between five minutes and three seconds

and five minutes and 33 seconds per cancellation relative to a simple telephonic cancellation.

       The Commission then assumes consumers, on average, value their non-work time at 82%

of the mean hourly wage of $31.48, or $25.81 (i.e., .82 x $31.48) per hour. 543 Accordingly, the
                                                                            542F




Commission estimates the faster online cancellations the final Rule will provide, relative to

ROSCA-compliant telephonic cancellations, will be valued at between $2.17 (i.e., 5:03 minutes

x $25.81/hour) and $2.39 (i.e., 5:33 minutes x $25.81/hour).

       (b)     Estimated per-Cancellation Benefit Relative to ROSCA-Compliant Online




542
    See Michelle Hawley and Shane O’Neill, “21 Important Call Center Statistics to Know
About,” (Apr. 3, 2024), https://www.cmswire.com/contact-center/16-important-call-center-
statistics-to-know-about. We use this proxy for the time a ROSCA-compliant telephonic
cancellation takes only for the express purpose of estimating the incremental benefits to
consumers of a final Rule-compliant cancellation replacing a ROSCA-compliant telephonic
cancellation. “Average handle time” has not been used as a standard for ROSCA enforcement
and is not intended to set a standard here.
543
    The Commission uses a mean hourly wage rate of $31.48; see Bureau of Labor Statistics,
“May 2023 National Occupational and Wage Estimates, Unites States,”
https://www.bls.gov/oes/current/oes_nat.htm. A meta-analysis of studies on how consumers
value time used in traveling (an area in which “a huge literature has arisen”) has determined that
consumers value time used in that matter at 82% of their wage rate. See Daniel S. Hamermesh,
“What’s to Know About Time Use?,” 30 J. Econ. Surv. 1, 198-203 (2015). The Commission
assumes for the purpose of the final Rule consumers value transaction costs savings in the same
way that they value travel time.

                                               165
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       Cancellation

       For online cancellations of online-entered subscriptions, the Commission lacks a source

of average cancellation times presumed to be ROSCA-compliant that is as comprehensive as that

used for the average handle times of call centers. The Commission relies, instead, on an

experiment that involved signing up for 16 online subscriptions between August 2 to October 4,

2022, then canceling each one, and recording the time it took to cancel, as well as the variety of

other obstacles faced in canceling. 544 To estimate the average time for online cancellations, the
                                   543F




Commission subtracts the time incurred in canceling the three subscriptions that required

telephonic cancellation from the aggregate time reported to cancel all 16 subscriptions. This

yields an average of two minutes and 4 seconds per online cancellation. 545
                                                                         544F




       Based on the Commission staff’s experience, the average time needed to read the

required disclosures and provide consent to a negative option feature is 30 seconds to one


544
    See Caroline Sinders, “How Companies Make It Difficult to Unsubscribe,”
https://pudding.cool/2023/05/dark-patterns. Among the obstacles noted for otherwise seemingly
simple online cancellations were that some websites did not use straight forward terms, such as
“unsubscribe” or “cancel,” and instead put the cancellation path under titles such as “auto-
renew” or “edit plan.”
545
    The researcher reported the aggregate time expended to cancel all 16 subscriptions was 57
minutes and 31 seconds. Of the three subscriptions that required telephonic cancellations, one
call took 17 minutes and 36 seconds, one took seven minutes, and the time to cancel the third one
was not reported (apart from explaining that it was necessary to call three times due to the
seller’s “technical difficulties”). The Commission replaces this missing value with the average
handle time found by Hawley/O’Neill (2024) of six minutes and three seconds. The Commission
therefore subtracted 30 minutes and 39 seconds from the aggregate cancellation time of 57
minutes and 31 seconds; measured in seconds, this becomes 3,451 - 1,839 = 1,612. Dividing this
result by 13 equals 124 seconds, or two minutes and 4 seconds. The Commission notes this
average cancellation time, though relevant for this regulatory analysis, has not been used as a
standard for ROSCA enforcement and is not intended to set a standard here. Moreover, while we
have calculated this average, the study notes cancellation took under one minute for three large
sellers of digital entertainment subscriptions. Last, the Commission notes one commenter opined,
“(f)or the most part,” companies offer convenient, no-hassle, cancellation options that probably
take about five clicks on average, though the commenter did not indicate a time duration. See
Individual commenter, FTC-2023-0033-0780.

                                                166
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minute. An online cancellation that took no longer than the provision of online consent would

therefore save the consumer between one minute and four seconds and one minute and 34

seconds. Valuing consumers’ time at $25.81 per hour, as assumed above, the final Rule would

therefore save consumers who enroll online and cancel online time that they value at between

$0.46 (i.e., 1:04 seconds x $25.81/hour) and $0.67 (i.e., 1:34 minutes x $25.81/hour).

       (c)     Average per-Cancellation Benefit Relative to TSR-Compliant Cancellation

       For consumers enrolling in negative option plans via telemarketing, the existing

regulatory baseline is the TSR. The TSR does not specify a performance standard specific to

negative option cancellations. Although egregious cancellation delays can be pleaded against

telemarketers under § 310.3(a)(1)(vii) (requiring disclosure of all material terms and conditions

of the negative option feature) or § 310.3(a)(2)(ix) (prohibiting misrepresentation directly or by

implication of any material aspect of a negative option feature), the final Rule’s requirement that

the cancellation mechanism be at least as easy to use as the consent mechanism provides

cancellation-specificity to negative options sold through telemarketing that is lacking under the

existing regulatory baseline. Because telemarketers have substantial discretion in designing and

implementing consent processes specific to their programs, telemarketers will have a clear

benchmark for the speed with which they must complete a final Rule-compliant cancellation.

       As described at the beginning of this subsection, the Commission assumes it takes

telemarketers between one and two minutes to read the required disclosures to consumers and

receive their consent for enrollment in a negative option plan. Using the same average handle

time measure of six minutes and three seconds used a previous scenario to proxy for baseline

time spent for a telephonic cancellation, the Commission assumes the final Rule will save

consumers who consent to a negative option sale via telemarketing, and cancel in the same



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manner, between four minutes and three seconds and five minutes and three seconds. Evaluating

that time saving in the same manner as above, compliance with the final Rule results in a per-

cancellation time saving that is worth between $1.74 (i.e., 4:03 minutes x $25.81/hour) and $2.17

(i.e., 5:03 minutes x $25.81/hour).

        (d)     Estimated per-Cancellation Benefit Related to In-Person Enrollments

        Some sellers market negative option plans in ways that are not covered by ROSCA or the

TSR. Those that involve in-person enrollment and only offer in-person or mail cancellation, in

particular, may be highly burdensome to consumers. The final Rule requires sellers who offer in-

person enrollment to offer at least one alternate cancellation method that consumers may use

remotely, e.g., online 546 or via telephone.
                       545F




        Providing consumers with an alternative to in-person cancellations will give consumers a

faster route to cancel a subscription and may also spare some consumers from incurring

additional recurring charges which might accrue during the pendency of a slow cancellation

mechanism, enabling consumers to reallocate their spending power in directions of greater

utility, resulting in allocative efficiencies.

        Unlike negative option transactions entered into online (ROSCA) or by telephone (TSR),

the Commission lacks comprehensive experience with negative option plans that require

cancellation in person or through the mail. However, because many gym/fitness center/health

studio memberships (hereafter, “gym memberships”) are sold via negative options 547 and may
                                                                                  546 F




546
   At the seller’s choice, an online cancellation method may be through a website or via email.
547
   IHRSA, The Global Health & Fitness Association, commenting on behalf of itself and the
industry (see FTC-2023-0033-0863) claimed there were clear distinctions between in-person,
brick and-mortar health and fitness businesses and online subscription services, explaining a
month-to-month contract is a very different risk to consumers than a long-term contract that
begins after a free trial or auto-renews without notice. IHRSA further claims short-term (e.g.,


                                                 168
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require cancellation via certified mail or in person (sometimes even when consumers can enroll

online 548), the Commission proxies the per-cancellation benefits of an additional, remote,
      54 7F




method of cancellation by looking at those benefits in the context of gym memberships. 549
                                                                                         548F




              As noted in the comment submitted by comment filed by IHRSA, 550 The Global Health
                                                                           54 9F




& Fitness Association, “many (fitness club) operations allow several options for agreement

termination through simple online solutions including online account management, email

cancellation requests, and specific online cancellation buttons or forms” and “[m]any of these




month-to-month) continuous service agreements should be distinguished from purely online
subscription services targeted by the rule. IHRSA further (mis-) characterizes the Rule as
appearing to be concerned with paid contracts that initiate automatically after a free trial period
or auto-renew without notice after a long, pre-paid initial term. IHRSA notes consumers with
membership agreements with firms in its industry are on notice of the recurring cost because of
the monthly charge and have the option to cancel each month under the terms of their contract.
The Commission disagrees with IHRSA’s characterization of the Rule; the Rule is not intended
to exclusively, or even primarily, address online subscription services or long-term contracts that
begin after a free trial or auto-renew without notice, but to address all recurring charge plans
where the consumer’s silence or failure to cancel is interpreted as consent to recurring charges.
Accordingly, consumer memberships with firms in IHRSA’s industry where consumers have the
option to cancel each month squarely fit within the Rule’s coverage of negative option plans.
548
    Individual commenter, FTC-2023-0033-0233.
549
    The International Carwash Association (“ICA”), however, commented many of its 60,000
U.S. members offer carwash subscriptions that offer a reduced price for carwashes to subscribers
and strengthen the relationship with customers and reduce dependence on cash transactions for
these businesses. See FTC-2023-0033-1142. These subscriptions may be purchased in person, on
the world wide web, via a mobile app, or at an automated teller, which indicates at least some of
those subscriptions are covered by ROSCA. ICA asserts cancellation through a means other than
in person may be burdensome to the generally small businesses that operate carwashes. Id.
Although commenter Rocket Money, FTC-2023-0033-0998, mentioned “car wash chains that
require consumers to visit a specific location to cancel their membership as an example of
draconian cancellation requirements they experienced working with consumers, no individual
consumer commenter mentioned difficulties with carwash subscriptions. Because no consumer
commenter provided any other indication of the number of carwash subscriptions purchased or
the costs of cancelling such subscriptions, even anecdotally, they are excluded from the analysis.
The estimate of the consumer benefits that would flow from the final Rule’s provision that an
extra, remote, cancellation mechanism be required of marketers who currently offer only in
person or mail cancellation mechanisms may therefore be an under-estimate of such benefits.
550
    FTC-2023-0033-0863.

                                                  169
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options are currently available for members who have purchased their membership either online

or in person.” IHRSA did not quantify the share of their member organizations that provide such

cancellation opportunities or the number or share of consumer cancellation transactions in which

online cancellation is available. Accordingly, the Commission assumes the low-end of the range

of quantifiable benefits to consumers who purchased negative option plans in person, but could

currently cancel online is the same as the same the low-end of the range for consumers who

purchased negative option plans online and had access to online cancellations: $0.46 per

cancellation.

       Notwithstanding IHRSA’s assertion that many fitness clubs offer online cancellation, at

least 25 individual consumers submitted comments attesting to the difficulties of canceling gym

memberships. Some wrote in general terms of the difficulties consumers experience in canceling

such memberships as something that contributed to their support for the Rule.

           •    “What seems more troublesome tend to be stuff like gym memberships.” 551       550F




           •    “I work dispute resolutions for a bank. I see so many cases where someone is
                trying to cancel something like a gym membership and, while they can sign up in
                person, they for some reason have to mail a certified letter to the companies (sic)
                home office.” 552
                             551F




           •    “I have experienced so much frustration ending memberships with gyms, online
                subscriptions, etc. over many years and welcome help in this matter. So many
                friends I speak to share similar stories of how they were roped into paying for
                longer memberships and subscriptions that they no longer wanted.” 553   552F




           •    “Many places, like [specific fitness center chain], require you to go in person to
                cancel - they won't even let you do it over the phone! This harms anyone that may
                have trouble leaving the house regularly, including disabled folks and parents of
                small children and those caring for older or ailing family members, not to mention
                being horribly inconvenient for everyone else.” 554
                                                                  553F




551
    Individual commenter, FTC-2023-0033-0780.
552
    Individual commenter, FTC-2023-0033-0007.
553
    Individual commenter, FTC-2023-0033-1046.
554
    Individual commenter, FTC-2023-0033-0741.

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          Many others conveyed personal experiences with burdensome gym membership

cancellation. The Commission relies upon these comments to estimate the high-end of the range

of quantifiable benefits that the final Rule will provide to consumers who purchase negative

option plans in-person. Examples of these include:

      •   “I had to write a letter and physically mail it to cancel a gym membership I singed [sic]
          up for on an iPad.” 555
                            554F




      •   “Recently it took me three days and several hours to cancel a gym membership (that) had
          taken less than 20 minutes to join, on line [sic].” 556 555F




      •   “I had to go in person 3 different times because the manager wasn’t there so [sic] to
          cancel it.” This consumer attached a screen shot of the gym’s cancellation policy, which
          read, in part, “There is no contract and you are free to cancel your Direct Debit at any
          time. If you do decide to cancel your membership, you must allow at least 7 days before
          the fifth of the month to ensure your payment is cancelled and advise Reception of the
          cancellation.” Both “(a)t least 7 days before the fifth of the month,” and the failure to
          specify whether “7 days” is seven business days or seven calendar days introduce
          considerable uncertainty as to when, precisely, the consumer must tender a cancellation
          to avoid the next recurring payment. 557
                                              556F




      •   “Years ago, I had signed up for a gym membership, and after a change in job situation,
          was no longer able to make use of it. Repeated attempts to reach the gym membership
          department and cancel my membership went unheeded - a [sic] got a classic runaround,
          and as often forwarded to unattended phone numbers - and I kept racking up monthly
          bills for a membership I didn’t want …. It was only through a personal relationship with
          someone who worked in the corporate office that I was finally able to get past their
          automatic renewals and effect a cancellation.” 558
                                                           557F




      •   “We wanted to cancel the [gym] membership, but when we called and emailed, we were
          told we couldn’t cancel that way. We had to send a certified letter or go in person. We
          have gone in person twice to try to cancel or [sic] membership and it has been a
          nightmare.” 559
                     558F




      •   “Personally, I have been impacted by my local gym’s undisclosed policies and shady
          cancelation policies that have costed me hundreds of dollars.” 560 559F




      •   “They bill you monthly for your gym membership but when you want to cancel your
          membership that’s when the problems arise. You cannot do it over phone or on their
          website. You have to go into the gym personally to cancel said membership. Not only
          that I was told that I’d have to go to the gym [home gym] where I signed up in order to


555
    Individual commenter, FTC-2023-0033-0233.
556
    Individual commenter, FTC-2023-0033-1076.
557
    Individual commenter, FTC-2023-0033-0510.
558
    Individual commenter, FTC-2023-0033-0968.
559
    Individual commenter, FTC-2023-0033-0387.
560
    Individual commenter, FTC-2023-0033-0572.

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          cancel membership. I could only imagine what this would be like had I moved out of the
          state. Please help us stop these practices.” 561
                                                  560F




      •   “I am currently trying to cancel a gym membership and have been overwhelmed by how
          difficult it has been .… I just called my gym … and the pre-recorded automated
          answering message literally says there is no direct line to the gym! That’s
          outrageous!!!” 562
                        561F




      •   “My personal experience is with my gym membership …. Getting out of it was terrible,
          and I’d hate to see it happen to anyone else.” 563
                                                         562F




          Based on these comments, the Commission makes the simplifying assumption that the

worst gym membership cancellation experiences involve three failed attempts at cancellation,

each costing one hour of time, and that, because of those cancellation failures, three unwanted

monthly charges were processed. The Commission assumes a fourth cancellation attempt, also

costing one hour of time, succeeds in halting the recurring payments.

          As above, the Commission values consumers’ time at $25.81/hour. The typical gym

membership costs between $40 and $70 a month. 564 The Commission therefore assumes, at the
                                                  563F




high-end, consumers incur gym membership cancellation costs of $313.25 (i.e., (4 x $25.81) + (3

x $70)) in the absence of this Rule. 565 As stated previously, the Commission assumes a final
                                    564F




Rule-compliant cancellation should take no more one minute at the high end, which has a value

of consumers’ non-market time of $0.43. Then, to estimate the high-end avoided burden that



561
    Individual commenter, FTC-2023-0033-0299.
562
    Individual commenter, FTC-2023-0033-1163.
563
    Individual commenter, FTC-2023-0033-0545.
564
    See Dana George, “This Is How Much the Average American Really Spends on Gym
Memberships,” Jan. 7, 2024, https://www.fool.com/the-ascent/personal-finance/articles/this-is-
how-much-the-average-american-really-spends-on-gym-memberships. Because this report is
from January 2024, the Commission assumes it measured gym membership costs in 2023
dollars.
565
    Note the avoided recurring payments associated with delayed cancellations may overstate the
amount of consumer surplus gained attributable to the final Rule if consumers continue to use
their gym membership during that period of delayed cancellation. However, it is difficult to
estimate the extent to which that occurs due to lack of data. A part of those gains may also be
transfers of producer surplus from firms to consumers.

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such consumers would experience under the final Rule, the Commission takes the difference

between the high-end cancellation costs in the absence of this Rule ($313.25) and the high-end

final Rule-compliant cancellation costs ($0.43), which equates to $312.82. Accordingly, the low-

to-high range of benefits provided by the final Rule to consumers who purchase negative option

plans in person or through the mail ranges from $0.46 to $312.78. 566
                                                                    56 5F




       (e)      Summary of per-Cancellation Benefits

       Table 1 presents a summary of the per-cancellation benefit the Commission estimates

would result from this final Rule. For subscriptions that are currently cancelled over the phone

but would be cancelled online under this final Rule, the Commission estimates consumers would

experience a benefit of between $2.17 and $2.39 per cancellation. For subscriptions that are

currently cancelled online and would move to a simpler online cancellation under this Rule, the

Commission estimates consumers would experience a benefit of between $0.46 and $0.67 per

cancellation. For subscriptions that are currently cancelled over the phone and would move to a

simpler telephone cancellation under this Rule, the Commission estimates consumers would

experience a benefit of between $1.74 and $2.17 per cancellation. For subscriptions enrolled in

person that would be required to provide online or telephone cancellation under this Rule, the

Commission estimates consumers would experience a benefit of between $0.46 and $312.82 per

cancellation.

Table 1. Estimates of Benefit per Cancellation (in 2023 dollars)
                                                          Low               High
 Phone to Online Cancellation                             $2.17             $2.39
 Online to Simpler Online Cancellation                    $0.46             $0.67
 Phone to Simpler Phone Cancellation                      $1.74             $2.17

566
   Other cancellation methods gyms may currently offer, such as in-person visits that succeed in
cancellation and cancellation via certified mail, would fall in between these low/high endpoints,
as would the benefits to consumers if those methods were augmented under the final Rule not
with online cancellations but with telephonic cancellations.

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 In-Person to Online or Phone Cancellation                    $0.46     $312.82


      (2)      Estimating the Number of Consumer Cancellation Transactions

       (a)     Baseline Number of Subscriptions

       The Commission regards “consumers” for the purposes of this analysis as the U.S.

population over the age of 18; 567 this is estimated to be 269 million in 2025, 568 the first year in
                                56 6F                                             567F




the ten-year period over which the Commission estimates the benefits and costs of the final Rule

(“Year 1”).

       Because negative option sales are a form of marketing of goods and services, and not an

industry or type of output, and because no occupational category is uniquely associated with

negative option marketing, no publicly produced data source, such as the Economic Census,

tracks the use of negative option marketing in the United States. Accordingly, the Commission

must look to other data sources, to estimate the number of subscription cancellations and the

channels through which consumer consent was obtained and cancellation mechanisms provided.

       To estimate the aggregate number of consumer cancellation transactions, the Commission

relies upon a credible source that found that, as of mid-2023, 83% of American consumers had at

least one subscription. 569 The Commission assumes, for the purposes of this analysis, that the
                       568F




567
    Although this final Rule also benefits small businesses that purchase negative option plans, the
Commission does not have sufficient data to quantify those effects in this analysis.
568
    See U.S. Census, “Demographic Turning Points for the United States: Population Projections
for 2020 to 2060: Population Estimates and Projections,” Feb. 2020,
https://www.census.gov/library/publications/2020/demo/p25-1144.html. The Commission
linearly extrapolated between the report’s figures for the population over the age of 18 in 2020
and its estimates of the same population in 2030 to estimate the number of consumers in years
2025 through 2029. Similarly, the Commission linearly extrapolated between the report’s
estimates of the over age 18 population in 2030 and 2040 to estimate the over age 18 population
in the years 2031 through 2034.
569
    See Julia Stoll, “SVOD service user shares in the U.S. 2015-2023” (Sept. 7, 2023) (noting 83


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percentage of American consumers with at least one subscription remains constant over ten

years. Accordingly, in Year 1 the Commission assumes 223.27 million consumers (i.e., .83 x 269

million) have at least one subscription.

       To estimate the total number of subscriptions held by U.S. consumers the Commission

looks to data on the average number of subscriptions per subscriber. One source, relying upon a

large sample of U.S. consumers conducted in late 2023 and early 2024, reported, “[t]he average

subscriber now has 4.5 subscriptions.” 570 The Commission therefore applies a multiplier of 4.5 to
                                       569F




the number of consumers estimated to have at least one subscription to estimate the aggregate

number of subscriptions held by consumers in each year. Continuing with the Year 1 example

from above, the Commission assumes the 223.27 million U.S. consumers who have subscriptions

collectively hold 1,004,715 subscriptions (i.e., 223.27 million x 4.5). The Commission

acknowledges some uncertainty in these estimates which could lead to overestimation since

subscriptions may be held by households of multiple individual consumers or underestimation

due to potential growth in subscription-based goods and services.

       (b)     Baseline Number of Cancellations

       The Commission next considers how many subscriptions consumers may want to cancel.

To do so, we look to subscription “churn,” or cancellation, rate data. Churn rates can reflect

intentional cancellations as when a consumer completes a merchant’s cancellation process, but

can also reflect involuntary or passive cancellations, which occur when the payment mechanism




percent of U.S. consumers used a subscription video-on-demand service in 2023),
https://www.statista.com/statistics/318778/subscription-based-video-streaming-services-usage-
usa.
570
    Bango, “Subscription Wars: Super Bundling Awakens,” at 4 (2024) (based on data from
5,000 U.S. subscribers), https://bango.com/resources/subscription-wars-super-bundling-awakens.

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the consumer has on file with the merchant is unable to be processed by the merchant. 571 Churn
                                                                                             570F




rates may be calculated on a monthly, quarterly, or annual basis, 572 and some rates do not
                                                                      571F




disclose a time dimension; mischaracterizing a monthly churn rate as an annual churn rate could

vastly underestimate the volume of annual cancellations.

       One source reports an aggregate measure of voluntary 573 churn of 3% per month. 574 The
                                                               572F                                 573F




Commission assumes this rate is constant from month to month and from year to year and

therefore assume that the average annual churn rate across all subscriptions is 36%. 575 This
                                                                                      574F




571
    See Stripe, “Subscription churn 101: A complete guide for businesses” (Jan. 23, 2024),
https://stripe.com/resources/more/subscription-churn-101.
572
    Id. (noting the choice often depends on your business cycle and how often you want to assess
your performance).
573
    Some consumers may welcome an “involuntary” cancellation of a subscription, and other
cancellations that payment processors perceive as “involuntary” may reflect consumers’
deliberate cancellation of a credit card as a means of escaping a subscription that was difficult to
cancel. The Commission’s analysis nonetheless uses only the reported “voluntary” churn rate to
avoid the possibility of over-estimating the consumer benefits of the final Rule.
574
    Recurly, a subscription management platform used across multiple industries, reports an
overall churn rate of 4.1% per month and parses this rate into that arising from voluntary
cancellations, 3%, and involuntary cancellations, 1%, with, presumably, 0.1% lost to rounding.
Recurly explains its methodology in producing these estimates is based on a sample of over
1,200 subscription sites on the Recurly platform over 12 months (January to December 2023); its
churn rates are monthly, calculated by dividing the number of subscribers who churn during the
month by the total number of subscribers and uses median, 25th, and 75th percentile values to
eliminate outliers and provide a more accurate representation of the data in its view. See Recurly,
“What is a good churn rate?,” https://recurly.com/research/churn-rate-benchmarks. Other
payment processors report similar churn rates but provide fewer details on the data underlying
their churn rate estimates or do not distinguish voluntary from involuntary churn rates.
575
    Because consumers may cancel a subscription and then enroll in a different subscription (or
even re-enroll in a recently canceled subscription), the Commission assumes average, aggregate,
monthly voluntary churn rates are additive across months and that the number of consumers with
subscriptions do not “decay” at a rate of 3% per month. Indeed, another report found one-quarter
of U.S. consumers cancelled a streaming video service in the past 12 months and resubscribed to
the same service, with younger generations significantly more likely to return. See Deloitte,
Digital Media Trends Survey: 16th Edition (2022),
https://www2.deloitte.com/us/en/insights/industry/technology/digital-media-trends-consumption-
habits-survey/summary.html. The Deloitte report also notes the average churn cancellation rate
has remained consistent since 2020 at about 37% across all paid streaming video on demand


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churn rate, multiplied by the number of subscriptions held by consumers each year, provides the

yearly estimate of how many subscriptions are cancelled by consumers. 576 Continuing with the
                                                                          575F




Year 1 example from above, the Commission therefore estimates 361.70 million cancellations

(i.e.,.36 x 1,004.72 million) will occur in Year 1 of the analysis and that this number will

increase to 384.82 million by Year 10. Table 2 presents the number of subscriptions and total

number of cancellations expected in each year.

Table 2. Number of Subscriptions and Total Cancellations per Year (in millions)
 Year                 Subscriptions     Cancellations
 1                       1,004.72           361.70
 2                       1,012.48           364.49
 3                       1,020.25           367.29
 4                       1,028.02           370.09
 5                       1,035.79           372.88
 6                       1,043.56           375.68
 7                       1,049.91           377.97
 8                       1,056.26           380.25
 9                       1,062.61           382.54
 10                      1,068.96           384.82


       (c)     Number of Cancellations by Enrollment and Baseline Cancellation Method

       As discussed in the estimates of per-cancellation benefits, the estimated per-cancellation

benefits stemming from the final Rule depend on the regulatory baseline cancellation methods

relative to those that would be made available under the final Rule. To determine the number of

cancellations for which the four categories of per-cancellation benefits estimates would apply,



services. Similarly, a comment from NCTA, FTC-2023-0073-0008, quotes Congressional
testimony from Consumer Reports that 36% of consumers who subscribed to streaming services,
switched and resubscribed multiple times over a period of 12 months.
576
    The Commission is aware a recent survey of U.S. subscribers found 75% identified one
subscription as one they will never cancel or even pause. See Bango (2024) at 8. The
Commission assumes no adjustment is needed to the reported “churn” rate in light of this finding
as subscriptions with such loyalty are already reflected in the denominator of the reported churn
rate.

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the Commission uses data on its enforcement experience to determine the share of cancellations

likely to occur through online and telephone methods. For cancellations of subscriptions that are

enrolled in person, the Commission uses data on gym membership cancellations as a proxy.

         (i)   In-Person Subscriptions

       As a proxy for the number of subscriptions entered into in person, the Commission uses a

report from Renew Bariatrics that claims 19 percent of the U.S. population are members of gyms

or health clubs. 577 The Commission assumes gym members are uniformly distributed by age and
               576F




multiplies the U.S. adult population by 19 percent to estimate that 51.11 million adults will have

active gym membership subscriptions when this final Rule goes into effect. An IHRSA article

from 2019 stated the average health club has an annual attrition rate of 28.6 percent. 578
                                                                                      577F




Interpreting this to mean 28.6 percent of all adult gym members cancel their memberships each

year, the Commission estimates 14.62 million gym membership subscriptions will be cancelled

in the first year of this Rule. In Year 10, the Commission estimates 15.55 million gym

membership subscriptions will be cancelled. The Commission uses these estimates as a proxy for

the total number of subscriptions that are entered into in person and cancelled each year.

       The Commission acknowledges several limitations with this proxy. To begin, there are

likely many other types of businesses, such as car washes, lawn care, pest control, and personal

care and grooming establishments, that may offer in-person subscription enrollment. To the

extent these subscriptions are not included in the count, the estimates may be understated.


577
    See “28 Gym Membership Statistics: Average Cost of Memberships,” Renew Bariatrics (Jan.
4, 2024), https://renewbariatrics.com/gym-membership-statistics/.
578
    See “Why Health Club Retention Requires a Technology Solution,” IHRSA (May 20, 2019),
https://www.healthandfitness.org/improve-your-club/why-health-club-retention-requires-a-
technology-
solution/#:~:text=Acquiring%20a%20new%20customer%20is%20five%20times,rates%20by%2
05%%20increases%20profits%20from%2025%%2D95%.

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Further, the source that states 19 percent of the population are members of gyms does not specify

the age distribution of the gym members. The Commission has assumed children and adults are

distributed uniformly across that 19 percent; however, if adults are more likely to have gym

memberships than children, the estimates of gym memberships and cancellations among adults

will be understated. On the other hand, gym memberships are not always individual

memberships; multiple family members may share a single-family membership. In estimating the

number of gym memberships and cancellations, the Commission has assumed each adult gym

member has their own subscription, which may overestimate the number of subscriptions and

cancellations.

               (ii)   Online and Telephone Subscriptions

       The Commission assumes all subscriptions that are not entered into in person are instead

entered into either online or over the phone. Subtracting the in-person subscription, as proxied by

gym membership cancellations, from the total number of cancellations, the Commission

estimates 347.08 million subscriptions entered into either online or over the phone will be

canceled in the first year of this Rule. This number would increase to 369.27 million

cancellations in Year 10.

       To estimate the distribution of cancellation methods for these subscriptions that are

entered into online and over the phone, the Commission reviewed matters it has brought and

resolved 579 in which complaints specifically alleged negative option cancellation mechanisms
        578F




579
   This tally does not include ongoing matters or matters that obtained “fencing-in” relief
encompassing the sale of negative options without expressly pleading complaint counts related to
cancellation mechanisms.

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that violated ROSCA, the TSR, or Section 5. 580 The Commission found 54 matters met these
                                              57 9F




criteria.

        Online 581 enrollment was possible in 42 of 54 matters that met the review criteria. In the
                 580F




remaining 12 matters, enrollment occurred over the phone. Among the 42 matters in which

online enrollment was possible, only six firms offered online 582 cancellation, 583 and the
                                                                     581F              58 2F




remaining 36 firms offered only telephonic cancellation. 584 Among the 12 matters in which
                                                             58 3F




580
    In many instances, ROSCA and TSR counts were cross-pled as Section 5 counts; in parsing
cancellation transactions by their enrollment methods, we use “Section 5” to refer to instances in
which neither ROSCA nor TSR violations were pled.
581
    For ease, the Commission includes in this tally two negative option plans that enrolled
consumers via phone apps. Similarly, the Commission regards matters involving online
marketing of negative options that were resolved before the passage of ROSCA (and some others
that were resolved after the passage of ROSCA, but addressed online marketers’ conduct that
occurred prior to the passage of ROSCA), as ROSCA matters for the purposes of assessing the
incremental benefits of the final Rule relative a regulatory baseline of ROSCA’s simple
cancellation mechanism.
582
    In a few of these matters, online cancellation was offered in addition to telephonic
cancellation, and to simplify the analysis, the Commission attributed half to the measure of
telephonic cancellations and half to the measure of online cancellations. In a few other instances
the Commission’s designation of “online” cancellation includes cancellation by email or within
the marketer’s app.
583
    In contrast, other evidence indicated that 81.25% of U.S. online marketers offered online
cancellation. See, e.g., Sinders (2023). Different research looked at nine U.S. news media
publishers that sold subscriptions online. When two “personas” created by the researchers
subscribed to each of the nine publications, and then attempted to cancel, 17 of the 18
subscriptions could be canceled online; one publication permitted only the California resident
persona to cancel online and offered only telephonic cancellation to the persona posing as a
Texas resident. See Ashley Sheil, et al., “Staying at the Roach Motel: Cross-Country Analysis of
Manipulative Subscription and Cancellation Flows,” in Mueller, F.F. (ed.), CHI ‘24: Proceedings
of the CHI Conference on Human Factors in Computing Systems (May 11-16, 2024),
https://repository.ubn.ru.nl/handle/2066/30690.
584
    In some of the 36 matters, no cancellation method was disclosed by the seller, and in a few
other matters consumers were required to return merchandise through the mail to prevent a free
trial from rolling over into a subscription or to obtain a refund for merchandise that was shipped
to a consumer, and for which the consumer was charged. Such instances generally occurred
before the passage of ROSCA, and it is highly unlikely that an online marketer who offered only
a mailed-in cancellation could be in compliance with ROSCA’s requirement that cancellation
mechanisms be “simple.” Without loss of generality, the Commission therefore treats instances


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enrollment occurred over the telephone; none of the firms offered online cancellation, therefore,

the Commission treats these 12 matters as if only telephone cancellation was available. 585 To
                                                                                          584F




summarize, the Commission finds that, among subscriptions that are entered into online and over

the phone, 66.7 percent (i.e., 36/54) offered online enrollment and only telephone cancellation,

11.1 percent (i.e., 6/54) offered online enrollment and online cancellation, and 22.2 percent (i.e.,

12/54) offered telephone enrollment and telephone cancellation. Extrapolating the baseline

cancellation methods from enforcement matters may weight the online enrollment/telephone

cancellation subscriptions and the telephone enrollment/telephone cancellation subscriptions

more heavily than is currently experienced in the market. It also assumes that there are no

subscriptions offered in the baseline with cancellation methods that are already compliant with

the provisions of this Rule. The Commission explores the impacts of these limitations in a

sensitivity analysis in section (d).

        Multiplying the distribution of cancellation methods for subscriptions entered into online

and over the phone by the total number of cancellations of online and telephone subscriptions,

the Commission estimates the annual number of cancellations that fall into each of these

categories. In Year 1, the Commission estimates that, in the absence of this final Rule, there

would be 231.39 million cancellations by telephone of subscriptions entered into online, 38.56

million online cancellations of subscriptions entered into online, and 77.13 million telephone

cancellations of subscriptions entered into over the phone.

         (iii) Summary of Subscription Cancellations by Enrollment and Baseline



in which online cancellation was not offered as instances in which only telephonic cancellation
was offered to consumers.
585
    Some required the return of merchandise through the mail if consumers wanted refunds. In
two matters, no cancellation mechanism was revealed. Without loss of generality, we assume
that cancellation could take place telephonically.

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            Cancellation Method

       Table 3 provides the number of subscription cancellations each year distributed across the

four enrollment and regulatory baseline cancellation method categories: online enrollment and

telephone cancellation; online enrollment and online cancellation; telephone enrollment and

telephone cancellation; and in-person enrollment.

Table 3. Cancellations by Enrollment and Baseline Cancellation Method (in millions)
                    Online           Online          Telephone
                  enrollment,      enrollment,      enrollment,
                   Telephone         Online          Telephone        In-Person
 Year            Cancellation     cancellation      cancellation     enrollment
 1                  231.39            38.56            77.13            14.62
 2                  233.18            38.86            77.73            14.73
 3                  234.96            39.16            78.32            14.84
 4                  236.75            39.46            78.92            14.96
 5                  238.54            39.76            79.51            15.07
 6                  240.33            40.06            80.11            15.18
 7                  241.79            40.30            80.60            15.27
 8                  243.26            40.54            81.09            15.37
 9                  244.72            40.79            81.57            15.46
 10                 246.18            41.03            82.06            15.55


      (3)        Total Quantified Benefits

       To estimate total benefits from this final Rule, the Commission first matches the

enrollment and baseline cancellation method categories from the previous section to the four

scenarios used to estimate the per-cancellation benefit. The Commission assumes that, under this

final Rule, subscriptions enrolled online and cancelled over the phone in the baseline would

move to online cancellations; subscriptions enrolled online and cancelled online would move to

simpler online cancellation; subscriptions enrolled over the phone and cancelled over the phone

would move to simpler telephone cancellation; and subscriptions enrolled in person would allow

online or phone cancellation.



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       Next, the Commission multiplies the number of cancellations in each baseline category

by the matched per-cancellation benefit on the low- and the high-end and then sums across all

four categories to obtain total benefits each year. Those totals are presented in the Error!

Reference source not found.. In the first year following implementation of the final Rule, the

Commission estimates the benefits will range between $661.52 million and $5.32 billion. In Year

10, the Commission estimates the benefits will range between $703.82 million and $5.66 billion.

Using a 2 percent discount rate, the Commission estimates the present discounted value of

benefits over 10 years to range between $6.13 and $49.32 billion. Annualized over 10 years

using a 2 percent discount rate, the Commission estimates the benefits to range between $682.83

million and $5.49 billion per year.

Table 5 Total Quantified Benefits (in millions, 2023 dollars)
 Year                                                    Low       High
    1                                                    $661.52 $5,318.76
    2                                                    $666.63 $5,359.88
    3                                                    $671.75 $5,401.01
    4                                                    $676.86 $5,442.14
    5                                                    $681.98 $5,483.26
    6                                                    $687.09 $5,524.39
    7                                                    $691.27 $5,558.00
    8                                                    $695.45 $5,591.62
    9                                                    $699.63 $5,625.23
    10                                                   $703.82 $5,658.84
 Present Discounted Value of Benefits over 10          $6,133.57 $49,315.39
 years, 2% discount rate
 Annualized Benefits over 10 years, 2% discount          $682.83 $5,490.11
 rate


                       c)     Estimated Costs of the Final Rule

       This section describes the costs associated with firms coming into compliance with the

final Rule, provides quantitative estimates where possible, and describes costs that are only

assessed qualitatively. Whereas benefits were estimated based on cancellation transactions,


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compliance costs are estimated on the basis of firms covered by the final Rule. The Commission

first examines the comment record on compliance costs and then estimates the compliance costs

for the initial year and subsequent nine years following implementation of the final Rule.

        (1)     The Comment Record

         The comment record has not provided specific data useful to the estimation of the costs

of compliance with the disclosure, cancellation, and recordkeeping requirements of the final

Rule.

         Some industry commenters addressed compliance costs by providing broad, aggregate,

conclusory cost estimates; because those costs were not itemized by specific features of the Rule

as proposed in the NPRM, the Commission is unable to use those comments to estimate

compliance costs relevant to the substantially narrowed scope of the final Rule in comparison to

the Rule proposed in the NPRM. 586 The same is generally true of testimony and expert reports
                                  585 F




586
    For example, NCTA, FTC-2023-0073-0008, indicated some major cable operators estimate it
could cost $12-$25 million per company and take 2-3 years to rebuild their systems and one of
its members thought annual costs could be 15-20% of the implementation costs (an industry rule
of thumb). This comment does not itemize costs across different elements of the specific rules
adopted. Additionally, estimates of the annual costs of maintaining systems may be blanket costs
that include a host of programming maintenance features that are unrelated to the specific
disclosures and “click to cancel” features of the final Rule. Moreover, NCTA’s comment
indicated customers of top cable operators enrolled over the phone (43%), online (30%), and in
person (24%) and calls to customer service are answered within 30 seconds and lines are
available 24 hours a day, 7 days a week. Accordingly, no extra compliance steps may be
necessary with respect to offering final Rule-compliant cancellations for enrollments made by
telephone, and compliance with the final Rule’s requirement that firms offer an extra
cancellation mechanism for in-person enrollments likely could be met through reliance on these
firms’ existing telephonic cancellation capabilities. Accordingly, the provision of an online
cancellation mechanism will be required only for the 43% of their consumers who presently
enroll online, and NCTA has not provided estimates of compliance costs that are specifically
tailored to that segment of their consumer base. Because NCTA members who enroll consumers
online already, clearly, have websites, the Commission rejects the notion that adding “click to
cancel” functionality to websites that already include an order path for enrolling, and likely also
include functionality for registering a payment mechanism for automated billing, would cost


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submitted in conjunction with the informal hearing. Those materials did not focus on providing

specific, relevant, data that would permit estimating compliance costs of the final Rule. 587
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       Another commenter addressed the Paperwork Reduction Act cost estimate in the NPRM

in a way that conflated it with the totality of compliance costs. IFA, which represents firms,



$12-$25 million, particularly in light of NCTA’s discussion of compliance with the 2019
Television Viewer Protection Act (“TVPA”) which, NCTA claims, already regulates the very
same practices the FTC is attempting to regulate here. NCTA further claims major cable
operators estimate that it cost approximately $2.5 to 4 million per company and took about one
year for TVPA compliance. However, having already incurred the costs to comply with “the
very same practices” the final Rule addresses in the course of complying with the TVPA, there
would appear to be no incremental costs to comply with the final Rule. Therefore, because the
final Rule is narrower in scope than as proposed in the NPRM and because it offers firms the
opportunity to apply to be excluded, the Commission rejects NCTA’s claim compliance with the
Rule would be multiples of TVPA compliance costs and require building online cancellation
systems virtually from the ground up and expensive ongoing recordkeeping requirements across
all services. Accordingly, the Commission does not include in the estimates of compliance costs
the aggregate, non-specific, and possibly idiosyncratic compliance costs NCTA cites. Similarly,
an expert’s survey submitted by IAB (attachment B to FTC-2024-0001-0010) found only six
respondents (out of more than 100,000 companies subject to the proposed Rule) indicated the
annual cost of compliance would be a total of $50 million, but provided no itemization of these
costs, such that they cannot be disaggregated to comport with the narrower scope of the final
Rule.
587
    For example, an expert report (Christopher Carrigan and Scott Walster, FTC-2024-0001-
0026) filed by IAB concluded the effects of the proposed Rule, if finalized, on the U.S. economy
would surpass $100 million annually. The Commission agrees with this conclusion. The
Commission disagrees, however, with both the initial and on-going compliance costs used by
Carrigan-Walster; both were liberally based on replicating assumptions made in the preliminary
regulatory analysis in the NPRM. Further, their assumptions are inappropriate to this cost
analysis because they fail to account for the fact firms subject to the final Rule, unlike firms
subject to the proposed Unfair or Deceptive Fees Rule, are already required to provide clear and
conspicuous disclosures of all material facts relating to the sale of negative option contracts
under the totality of ROSCA, the TSR, and Section 5 of the FTC Act, and to provide simple
cancellation mechanisms under ROSCA for those firms covered by ROSCA. In addition, firms
subject to the final Rule are also required to comply with a variety of other laws relating to
negative option sales, including the current Prenotification Rule, EFTA, the Unordered
Merchandise Statute, numerous state laws, various laws and regulations that effect specific
industries, such as the Television Viewer Protection Act of 2019 (TVPA), other FCC regulations,
and, for multi-national entities, various foreign laws. Accordingly, the units of specialized labor,
e.g., lawyer, web developer, and business analyst time, that Carrigan-Walster adopt from the
Unfair or Deceptive Fees NPRM are not valid representations of the usage of such inputs that are
incremental to compliance with the final Rule relative to its existing regulatory baseline.

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including small firms, in the fitness, preventative healthcare, personal wellness or children’s

extracurricular activities industries, commented, “the FTC’s estimate (in the NPRM) that it will

cost companies merely three hours annually at $22.15/hr to comply is grossly understated for

IFA’s members.” 588 The Commission agrees the final Rule’s compliance costs will exceed the
                 587F




Paperwork Reduction Act costs discussed in the NPRM because the Paperwork Reduction Act

costs only include burden associated with information collection requirements, such as

recordkeeping and disclosure costs, while the total compliance costs include those costs as well

as costs of familiarization with the Rule and costs to bring cancellation mechanisms into

compliance. IFA did not, however, provide a sufficiently detailed alternative estimate of annual

or ongoing general compliance or recordkeeping costs for its members. 589 Similarly, IFA
                                                                         588F




provided no information on the enrollment mechanisms used by its members nor an estimate of

what share of its members offer negative option plans. 590
                                                        589F




588
    See IFA, FTC-2024-0001-0001.
589
    IFA provided an extreme example relevant to what it identified as a preventative healthcare
franchise system without disclosing how many individual firms belonged to that system. In the
context of that system, IFA stated it would take thousands of hours to access if modifications are
necessary to existing contracts, marketing, and operational processes and implement any
requirements, costing hundreds of thousands of dollars. IFA did not, however, provide detailed,
itemized, estimates of compliance costs that relate to the specific features of the final Rule,
which has been substantially streamlined relative to what was proposed in the NPRM, making
IFA’s highly aggregated notion of compliance costs for one particular group system’
inapplicable to the current cost analysis. The same lack of specificity is present in IFA’s
discussion of “Fitness franchise systems.” With somewhat greater specificity, IFA estimates
costs to comply with disclosure and recordkeeping requirements are 24 hours annually, but IFA
did not disclose what type of labor inputs are involved in those tasks nor the number of fitness
facilities that will incur these costs. Moreover, IFA reveals its members estimate the impact to
member lifetime value will exceed $100,000 per fitness center and lost revenue is expected to be
nearly $40,000 annually per fitness center, but these figures cannot properly be considered
compliance costs as they may, in fact, represent benefits consumers receive from speedier exits
from fitness club memberships that are no longer wanted by consumers.
590
    Some of its members may offer yearly contracts that do not auto-renew, but that apportion
payments over 12 months for the convenience of consumers. Such contracts are installment
plans, and not negative option plans. Others may conduct business on a pay-as-you-go basis.

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              IFA did, however, comment that many of its members already offer consumers the ability

to pause or “freeze” memberships, noting, “consumers take advantage of alternatives to

membership cancellation at rates of 10% to 40%, with many consumers electing to reactivate

their memberships, saving thousands of dollars annually in increased membership rates and

additional initiation fees.” While pause/freeze capabilities are indeed beneficial to consumers,

they do not relieve a firm from an obligation to offer a cancellation mechanism. IFA did not

provide similar data on what percentage of its member firms’ consumers are dissatisfied with

pause/freeze opportunities and seek authentic cancellations or what cancellation mechanisms its

member firms make available to consumers.

              The technological capability to pause or freeze subscriptions suggests the presence of

software architecture “scaffolding” upon which a cancellation mechanism could be built at a

modest incremental cost. Alternatively, the offering of subscription pauses or freezes by some

IFA members may suggest those members use the services of third-party e-commerce hosting

platforms or payment processors who routinely provide consumer subscription account

management tools relied on by businesses, including small businesses. As discussed, below,

existing software scaffolding and the utilization of third-party consumer subscription

management tools can facilitate low- (and even no-) cost compliance with some of the final

Rule’s requirements.

       (2)           Initial Compliance Costs

              The Commission has previously estimated that 106,000 firms offer negative option

plans. 591 The Commission assumes that to come into compliance with the final Rule, all 106,000
      59 0F




  As explained in the NPRM, this estimate is based primarily on data from the U.S. Census
591

North American Industry Classification System (NAICS) for firms and establishments in


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firms selling negative option plans will need to expend some resources to familiarize themselves

with the final Rule and some firms will incur costs related to improvements in their pre-consent

disclosures and cancellation mechanisms.

       Familiarization costs: No commenters presented estimates expressly related to the costs

of legal and managerial review of the final Rule and front-line staff training needed to come into

compliance. The U.K. “Impact Assessment,” using surveys and interviews with managers of

firms that sold goods and services via negative options, found that firms would need between

four and 16 hours of “senior staff” time, depending upon the size of the firm, to gain

familiarization with their proposed rule, and between zero and 80 hours of “service staff” time,

again depending upon the size of the firm. 592 The Commission assumes that similarities between
                                           591F




American and British firms are such that the same units of time are relevant for American firms

to gain familiarity with the final Rule. In the American context, the Commission assumes “senior

staff time” is proxied by “attorney time,” and uses the mean hourly wage for attorneys, $84.84



industry categories wherein some sellers offer free trials, automatic renewal, prenotification
plans, and continuity plans. Based on NAICS information as well as Commission staff’s own
research and industry knowledge, the Commission identified an estimated total of 530,000 firms
involved in such industries. However, the Commission estimates only a fraction of the total firms
in these industry categories offer negative option features to consumers. For example, few
grocery stores and clothing retailers, which account for approximately a third of the of the total
estimate from all industry categories, are likely to regularly offer negative option features. In
addition, some entities included in the total may be exempt from the Commission’s authority.
Accordingly, the Commission estimates approximately 106,000 business entities (20%) offer
negative option features to consumers. See 88 FR 24733. Although no commenter proposed a
different number, ETA, FTC-2023-0033-1004, challenged the Commission’s estimated number
of firms selling negative option plans on the basis that it did not account for “the many providers
of goods and services to business where automatic renewal clauses are used.”
592
    See U.K. “Impact Assessment” (2023) at 26. While the U.K.’s rule may not be directly
analogous to the final Rule, it addresses similar problems associated with consent and
cancellation associated with negative option practices. Therefore, the burden the U.K.’s rule
places upon subscription sellers, in terms of executive and staff resources to read and understand
the rule and assess whether existing procedures are in compliance or need to be revised, may be
highly similar to the familiarization steps that U.S. businesses will need to undertake.

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per hour, to estimate those costs. 593 Similarly, the Commission assumes “service staff time” is
                                 592F




proxied by the average of mean wages for salespersons and clerical workers, which is $23.27. 594  593F




Accordingly, the Commission estimates the aggregate initial year familiarization costs as ranging

between $35.97 million and $341.22 million.

       Disclosures: Clear and conspicuous disclosures are already required by the existing

regulatory baseline; § 425.4(a)(1)–(4) of the final Rule adds specificity to those disclosures,

albeit in a flexible way. 595 As estimated below, the Commission assumes some marketers are
                        594F




already in compliance with the disclosure requirements of the final Rule; for these marketers,

there are no incremental costs of compliance with the disclosure requirements of the final Rule.

       For online marketers, the current regulatory baseline is ROSCA, which requires

marketers to clearly and conspicuously disclose all material terms of the transaction before

obtaining the consumer’s billing information. To the extent ROSCA-covered marketers’ current

disclosures lack the specificity required by the final Rule, the Commission estimates changes

will be needed only to textual elements of such marketers’ websites and that no changes to the

underlying website architecture will be needed. The Commission further assumes any such




593
    The mean hourly wage for lawyers in 2023 was $84.84; see Bureau of Labor Statistics,
“Occupational Employment and Wages, May 2023, 23-1011 Lawyers,”
https://www.bls.gov/oes/current/oes231011.htm.
594
    The Commission uses a mean hourly wage for sales personnel of $25.62; see Bureau of Labor
Statistics, “Occupational Employment and Wages, May 2023, 41-0000 Sales and Related
Occupations (Major Group),” https://www.bls.gov/oes/currenT/oes410000.htm. The
Commission uses a mean hourly wage for clerical workers of $20.94, see Bureau of Labor
Statistics, “Occupational Employment and Wages, May 2023, 43-9061 Office Clerks, General,”
https://www.bls.gov/oes/currenT/oes439061.htm. The average of these two mean wage rates is
$23.27.
595
    The final Rule requires disclosure of: the fact consumers will be charged; the amount(s) they
will be charged; when the consumer must act (by deadline or frequency) to prevent or stop
charges; and the information needed for the consumer to find the simple cancellation mechanism.

                                                189
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changes, if needed, will be made by website developers, whose mean hourly wage is $45.95. 596  595F




Similarly, some telemarketers and in-person negative option marketers may need to modify their

sales agents’ scripts to incorporate the disclosures required by the final Rule. Without loss of

generality, the Commission assumes the mean wage rates of marketers’ staff who will make such

script changes is proxied by the mean wage rates of web developers. 597 Although in the
                                                                      59 6F




Commission’s experience these changes should take very little time, perhaps as little as one hour,

the Commission adopts a range of one to 10 hours to complete this task. 598   59 7F




       Accordingly, the Commission estimates that for those marketers whose disclosures are

not already in compliance with the requirements of the final Rule, disclosure compliance costs

will range between $45.95 and $459.50.

       Cancellation mechanisms: Section 425.6 of the final Rule requires negative option

marketers to provide a simple cancellation mechanism that is in the same medium, and at least as

simple for the consumer to use, as the mechanism by which the consumer provided consent to

the negative option plan. Additional requirements are medium-specific. For example, when

consent is provided through an interactive electronic medium, the cancellation mechanism (also

provided through an interactive electronic medium) must be easy for the consumer to find when

the consumer seeks cancellation information (for example, on a website, the cancellation

mechanism cannot be hidden in “terms and conditions” or otherwise difficult to find) and cannot


596
    See Bureau of Labor Statistics, “Occupational Employment and Wages, May 2023, 15-1254
Web Developers,” https://www.bls.gov/oes/2023/may/oes151254.htm.
597
    This is consistent with the approach taken in the expert report submitted by IAB. See
Carrigan-Walster, FTC-2024-0001-0026 (noting many firms using negative option marketing
present offers through the Internet and, for firms presenting offers through other means, web
developer time is used as a proxy for worker time to create the presentation of the offers).
598
    The assumed range of one to 10 hours is consistent with the time estimate used for
compliance checks and minor modifications of websites in the Unfair or Deceptive Fees NPRM.
See 88 FR 77420 (Nov. 9, 2023).

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require interactions with live or virtual representatives (such as chatbots) if no such interactions

were required when the consumer consented.

       When consent is provided over the telephone, the final Rule requires that telephonic

cancellation must be available during normal business hours and not be more costly for the

consumer to use than the telephone call the consumer used to consent to the negative option

feature.

       When consumer consent to a negative option plan is provided via an in-person method,

the marketer must offer cancellation opportunities, where practical, in a like manner. In addition,

the marketer must offer an alternative simple cancellation mechanism through an interactive

electronic medium or by providing a telephone number that satisfies all final Rule requirements

related to use of those cancellation media.

       The costs negative option sellers will incur in the initial year following implementation of

the final Rule to bring their cancellation mechanisms into compliance with the final Rule will

depend upon their pre-existing cancellation mechanisms. No commenter provided research or

data on the frequency of use of different cancellation mechanisms across negative option

marketers or on the incremental costs to make the existing cancellation mechanism compliant

with the requirements of the final Rule. 599
                                         598F




599
   Trade association commenters who addressed cancellation mechanisms used by their
members, and whether those mechanisms were or were not symmetric with enrollment
mechanism or as easy to use as enrollment mechanisms did so only in a very general manner. For
example, NCTA (FTC-2024-0001-0011) commented that, in 2021 and 2022, customers of top
cable operators enrolled over the phone (43%), online (30%), and in person (24%)” but provided
no information on available cancellation mechanisms. Additionally, NCTA stated its analysis
shows complaints received about cancellation are very limited (approximately 0.017% of
cancellations) out of the approximately 14 million customers who cancelled some or all of their
services from NCTA’s largest cable operator members in 2022. Anecdotes such as these, about
“top” or “largest” companies do not provide sufficiently reliable data for the instant analysis.


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       Because the comment record has not provided sufficient data to estimate the costs of

compliance with the final Rule’s cancellation requirements, the Commission turns to data from

the U.K.’s “Impact Assessment” on regulating subscriptions there. Based on these sources, the

Commission finds some sellers of negative option plans are already in compliance with the

cancellation requirements of the final Rule, and many others will incur only minimal costs to

make their cancellation flows compliant with the final Rule.

       The relevant experimental research looked at the cancellation practices of 16 online

subscription sellers, many of them large and well-known firms, and noted the cancellation

mechanisms made available to consumers and how easy those mechanisms were for consumers

to locate and use. 600 Although the number of firms sampled in this research was small, publicly
                 599F




available data on total enrollments, located for just seven of the 16 firms, collectively numbered

over 350 million, 601 which may lend significance to this research beyond what might otherwise
                 600 F




Similarly, IHRSA’s comment about “many” fitness club operations allowing options to cancel
by simple online solutions is not specific enough to be helpful (see FTC-2023-0033-0863).
600
    See Sinders (2023).
601
    The Commission located subscriber estimates for seven (Amazon, Ancestry, Hulu, Netflix,
Paramount+, The Boston Globe, and The New York Times) of the 16 firms included in the
research. The number of U.S. subscribers to Amazon Prime is estimated to reach 171.8 million in
2024. See https://www.yaguara.co/amazon-prime-statistics. At year-end 2023, Ancestry.com had
over 3 million subscribers. See https://www.ancestry.com/corporate/newsroom/press-
releases/ancestry-releases-2023-annual-impact-report--underscoring-corpor. As of the second
quarter of 2024, Hulu had 50.2 million paid U.S. subscribers. See
https://www.statista.com/statistics/258014/number-of-hulus-paying-subscribers). Also as of the
second quarter of 2024, Netflix had 84.11 million subscribers in the U.S. and Canada. See
https://www.statista.com/statistics/483112/netflix-subscribers. Even if the Commission makes
the extreme assumption that every Canadian held a Netflix subscription, that would still leave
approximately 50 million U.S. subscribers. Paramount+ had over 71 million subscribers as of the
first quarter of 2024. See https://www.theverge.com/2024/4/29/24144766/paramount-plus-now-
has-over-71-million-subscribers). The Boston Globe had 260,000 (mostly digital) subscribers in
2023. See https://pressgazette.co.uk/north-america/us-local-news-subscribers-ranking. As of
mid-year 2024, the New York Times had 10.8 million subscribers. See
https://www.nytimes.com/2024/08/07/business/media/new-york-times-earnings.html. The


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be associated with a sample size of 16 firms. Moreover, the methodology of the study suggests

that the researcher’s experiences with enrollment and cancellation likely would be typical of any

consumer undertaking the same enrollment and cancellation tasks with those firms.

       The experimental research found that 18.75% (i.e., 100 x 3/16) of the online marketers

studied offered online cancellations in a straightforward, easy to use manner such that it took the

researcher less than one minute to complete a subscription cancellation. The Commission

therefore assumes that 18.75% of online sellers of negative option plans will not need to change

their websites to come into compliance with the cancellation requirements of the final Rule.

Although this research did not specifically measure the adequacy of pre-consent disclosures, the

Commission assumes that companies who make cancellation so easy for consumers perform

equally well in making disclosures. Accordingly, the Commission assumes that the 18.75% of

online firms selling negative options that will not incur incremental costs to comply with the

final Rule’s cancellation requirements also will not incur any incremental costs to comply with

the final Rule’s disclosure requirements. The Commission assumes that the remaining 81.25% of

online negative option sellers that lacked such easy-to-use cancellation mechanisms also

performed less well in making the disclosures required by the final Rule, such that they would

incur initial year compliance costs of improving their disclosures as indicated by the range

estimated above.

       The same research found that 62.5% (i.e., 100 x 10/16) of sampled online negative option

sellers had cancellation paths that took longer for consumers to complete as a result of

nomenclature, not website architecture. These sites, rather than using straightforward terms such



Commission was unable to locate subscriber data for some of the other firms sampled (e.g.,
Savage Fenty, Daily Harvest, Deliveroo) and in some other instances found subscriber data
reported only on a global basis (e.g., Google One, Adobe).

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as “unsubscribe” or “cancel,” put the cancellation path under titles such as “auto-renew” or “edit

plan,” 602 and locating the cancellation mechanism delayed the researcher in completing the
      601F




cancellation task because of the non-intuitive labeling of the entry point into the cancellation

mechanism. In such instances, more intuitive, consumer-friendly labeling of the existing

cancellation architecture is assumed to be what is needed for these sites to come into compliance

with the cancellation requirements of the final Rule. The Commission assumes such relabeling

will not require any additional programming or changes to the underlying website architecture.

In the Commission’s experience, such “cosmetic” changes can be made quickly and

inexpensively, possibly in as little as one hour of a website developer’s time. The Commission

notes, however, that the U.K. “Impact Assessment,” in considering “general updates to websites

such as reflecting the clearer communication on contract conditions and updating cancellation

options,” estimated that such changes would “require eight hours’ work from an IT professional

and that these costs are uncorrelated with the size of the business.” 603 The website changes
                                                                     602F




contemplated in that assessment likely exceed those required to merely relabel consumer-facing

elements of an existing cancellation architecture. Out of an abundance of caution, however, the

Commission uses the U.K.’s estimate of eight hours as an upper bound on the time required to

make the needed changes and further assumes that the relevant “IT professionals” are website

developers, which, as noted previously, have a mean wage rate of $45.95. Accordingly, the

Commission assumes each firm that needs to relabel existing cancellation mechanisms to make

those mechanisms easy for consumers to locate and use will spend between $45.95 (i.e., 1 x




602
    In the researcher’s view, this kind of naming is confusing and adds unnecessary friction to the
cancellation process. See Sinders (2023).
603
    U.K. “Impact Assessment” (2023) at 26.

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$45.95) and $367.60 (i.e., 8 x $45.95) to come into compliance with the final Rule’s cancellation

requirements.

              Lastly, the aforementioned research found that 18.75% (i.e., 100 x 3/16) of online

negative option sellers offered only telephonic cancellation. Such firms, because they were

online sellers, clearly had online ordering and payment website architecture in place, and so had

“scaffolding” upon which online cancellation architecture could be built. No commenter

provided relevant data on the costs of building-out a “click-to-cancel” mechanism in such

instances, and the U.K “Impact Assessment” indicated it “lacked high quality evidence on the

costs businesses would incur” to integrate “easy exiting mechanisms into websites.” As a result,

the “Impact Assessment” turned to “external estimates” from “[t]he U.S. eCommerce agency

OuterBox [which] indicates a possible range of costs. It suggests that integrating simple tools

into an existing eCommerce platform would cost most businesses approximately $500” in

2022. 604 In 2023 dollars, that amount is $532.05. 605 The Commission notes, however, that many
      60 3F                                            60 4F




payment processors and website hosting platforms used by many businesses, particularly small

and medium-sized businesses, provide marketers with consumer subscription account




604
    U.K. “Impact Assessment” (2023) at 27 (citing a report from 2022).
605
    See Bureau of Labor Statistics, “CPI Inflation Calculator,”
https://www.bls.gov/data/inflation_calculator.htm. We note that this amount is equal to 10.25
hours of computer programmer time valued at a mean hourly wage rate of $51.90; see Bureau of
Labor Statistics, “Occupational Employment and Wages, May 2023, 15-1251 Computer
Programmers,” https://www.bls.gov/oes/current/oes151251.htm. As such, this is consistent with
the outcome of the approach used by Carrigan-Walster, FTC-2024-0001-0026, in proxying the
first-year costs of compliance costs with each of the six provisions of the Rule proposed in the
NPRM (which differed, substantially, from the narrowed final Rule, although not with respect to
“click to cancel” provisions). That approach made the ad hoc assumption that technological
changes required by the Rule would require the same labor inputs as similar requirements in the
NPRM for the FTC’s Rule on Unfair or Deceptive Fees, notwithstanding the two rules differ
substantially in their regulatory baselines. See 88 FR 77420.

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management tools that provide consumers with “click-to-cancel” functionality at no direct 606
                                                                                         605F




incremental cost to marketers. 607 As no commenter provided information on (1) how many
                              606F




negative option sellers comply with ROSCA by offering only telephonic cancellation, (2) what

specific costs they would face to provide an online cancellation mechanism, or (3) whether they

would build such functionality themselves or use a third-party payment processor or hosting

platform to provide it for them, we estimate such costs to range between $0 and $532.05 per

firm.




606
     To the extent that a marketer uses the easy subscription account management and cancellation
tools offered by hosting platforms or payment processors and the presence of such tools reduces
consumers’ perception of the risks of entering into a subscription agreement with the marketer,
the marketer’s sales may increase along with any payments to the platform or processor that are
based on the number of transactions or aggregate sales.
607
     See, for example, Shopify’s help page at
https://help.shopify.com/en/manual/products/purchase-options/shopify-subscriptions/customer-
experience#subscription-management-for-customers, “Shopify Subscriptions displays
subscription information to customers in the checkout. For example, when buying a subscription
product, the order frequency and discount amount for the subscription is displayed in the order
summary .… During checkout, your customer needs to agree to the cancellation policy terms to
confirm that they understand they’re purchasing a subscription. They can’t complete their
purchase without agreeing to this policy .… Customers can log in to their customer account to
view and manage their subscription orders. Customers can resume, skip, and cancel their
subscriptions, and manage their payment methods and shipping address.” Moreover, Shopify
offers a variety of consumer subscription management tools to merchants that use Shopify for
payment processing (“checkout”) or website hosting at no incremental cost to merchants See
https://apps.shopify.com/categories/selling-products-purchase-options-subscriptions. The fees
Shopify charges merchants varies with a number of merchant-specific features, including website
design elements, whether merchants want “Shopify checkout” to work on social media platforms
in addition to the merchant’s own website, how many of the merchant’s employees will have the
ability to log-in to the merchant’s Shopify account, etc. (see
https://aureatelabs.com/blog/shopify-website-development-cost). So, although what merchants
pay to use Shopify may vary across firms, the incremental cost of using Shopify for consumer
subscription account management is assumed to be zero. See also Hoofnagle, FTC-2023-0033-
1137 (“There are scores of companies like Chargebee that help companies manage subscriptions
. . . . Compliance with new rules is inexpensive because policy changes can be made
programmatically in dashboards” provided by entities such as Chargebee.”).

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              Accordingly, the Commission assumes that most online marketers of negative option

plans will face minimal IT costs of coming into compliance with the cancellation requirements of

the final Rule. 608 607F




              As noted previously, telemarketers have substantial control over both how long the

consent process takes and how long it takes a consumer to complete a cancellation over the

telephone. If compliance with the final Rule expedites the cancellation process over the phone,

telemarketers may experience cost-savings associated with such resources. Furthermore, no

telemarketers or call centers that provide services to telemarketers submitted comments relating

to what costs telemarketers would incur to bring cancellation mechanisms into compliance with

the final Rule. Because of this, and because the Commission has previously found that only

2,000 609 of 106,000 firms selling negative options were telemarketers (and no commenter has
      60 8F




disputed this finding), the Commission proceeds as if telemarketers face no incremental costs in

complying with the final Rule’s cancellation requirements. However, to reduce any potential

downward bias 610 this might introduce into the compliance cost estimate, the Commission does
                           609F




not subtract the estimated number of telemarketers (2,000) from the total estimated number of

online negative option marketers in its calculations of costs. Similarly, the Commission lacks

data on how many of the 106,000 firms selling negative option plans currently offer only in-

person or by-mail cancellations. 611 The final Rule requires such firms to add a cancellation
                                      61 0F




608
    No commenter to the ANPR or NPRM, and no comment, expert report, or testimony in
relation to the informal hearing provided estimates of compliance costs firms would incur that
were specific to the features of the Rule as then-proposed that remain in the final Rule.
609
    See NPRM, 88 FR 24733.
610
    Because telemarketing firms are such a small share of all firms that will be covered by the
final Rule, the Commission does not expect this treatment of telemarketers (or, indeed, even a
total exclusion of telemarketers from the analysis) to impart a significant bias.
611
    Three trade associations, who have some members who either sell or offer cancellation


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mechanism that consumers can easily use in a remote manner, e.g., through interactive electronic

media or by telephone.

       Lastly, the Commission considers the initial year recordkeeping costs required by the

Rule, which are estimated in Section XIII to be $6.54 million when aggregated across all

106,000 firms.

       Because of the aforementioned data limitations emerging from the comment record, the

Commission applies the findings of the experimental research above, which looked only at

online sellers, to the full number of firms, 106,000, that it has previously estimated to be




mechanisms in-person, submitted comments that were not sufficiently detailed to permit
Commission staff to estimate the number of firms that both sell and cancel in-person or through
the mail. For example, IHRSA (FTC-2023-0033-0863) commented many of its members allow
several options for agreement termination through simple online solutions including online
account management, email cancellation requests, and specific online cancellation buttons or
forms, adding many of these options are currently available for members who have purchased
their membership either online or in person. The International Carwash Association (“ICA”),
FTC-2023-0033-1142, commented on subscription-related revenues of member firms (noting
more than half, and sometimes more than 80%, of store revenues can be attributable to
subscription sales), but not on the number of firms that sell subscriptions or how many
subscriptions they sell. Similarly, although it commented subscriptions could be purchased in
person, on the world wide web, via a mobile app, or at an automated teller, it provided no data on
the relative shares of subscription purchases through these channels or the cancellation
mechanisms made available to consumers. The objections ICA raised to a Rule requiring its
members to offer cancellation by any method other than in-person strongly suggests that most
member firms currently only offer cancellation that way, suggesting that those who sell on the
Internet, via a mobile app and (possibly) at an automated teller may already be in violation of
ROSCA if in-person cancellations are a violation of ROSCA’s “simple cancellation mechanism”
requirement. IFA (FTC-2023-0033-0856) provided data from its database on the number of
franchisees operating fitness establishments, spa/massage studios, entertainment facilities, and
preventative healthcare facilities in the U.S., but provided no information on what share of firms
sold subscriptions or the media through which consent was obtained or cancellation mechanisms
were offered. In a later comment (FTC-2024-0001-0009), IFA noted consumers of member firms
used the alternative of “freezing” their memberships at rates of 10%-40% but did not provide
information on what the “freezing” mechanism was or what cancellation mechanisms were
available to consumers.

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marketers of negative option plans. This approach comports with a general proposition made by

the report submitted by IAB. 612
                              61 1F




         Accordingly, the Commission makes the following estimates of initial year compliance

costs.

         Familiarization costs: All 106,000 firms selling negative options will collectively incur

final Rule familiarization costs of between $35.97 million and $341.22 million.

         Disclosure costs: 19,875 firms (i.e., .1875 x 106,000) will incur no costs in bringing their

disclosures into compliance with the requirements of the final Rule because their disclosures are

already compliant. The remaining 86,125 firms will collectively incur costs of between $3.96

million (i.e., $45.95 x 86,125) and $39.58 million (i.e., $459.50 x 86,125) to make their

disclosures compliant with the final Rule.

         Cancellation costs: 19,875 firms (i.e., .1875 x 106,000) will incur no costs in bringing

their cancellation mechanisms into compliance with the final Rule. 66,250 firms (i.e., .625 x

106,000) collectively will incur costs of between $3.04 million (i.e., 1 x $45.95 x 66,250) and

$24.35 million (i.e., 8 x $45.95 x 66,250) to bring their online cancellation mechanisms into

compliance with the final Rule by relabeling consumer-facing elements of their existing

cancellation architecture. 19,875 firms (i.e., .1875 x 106,000) collectively will incur costs of

between $0 and $10.57 million (i.e., 19,875 x $532.05) to bring their telephonic cancellation

mechanisms into compliance with the final Rule.




612
   See Carrigan-Walster, FTC-2024-0001-0026 (employing a similar assumption: “Many firms
using negative option marketing present their offers through the web. For those firms that present
offers through other means, web developer time is used as a proxy for worker time to create the
presentation of the offers.”).

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       The Commission notes that this analysis does not quantify costs for the firms selling

negative option plans that offer only in-person or by-mail cancellation. The Commission

assumes that, in complying with this final Rule, these firms will choose to provide the alternative

cancellation method (by phone, online, or both) that makes the most economic sense. The

Commission also assumes that the cost of processing a cancellation over the phone should be

similar to or less than the cost of processing a cancellation in person or by-mail for these firms.

Therefore, the Commission assumes that these firms will not incur significant compliance costs

to provide an alternative cancellation method.

       Recordkeeping costs: Collectively, firms will incur recordkeeping costs of $6.54 million

annually.

       Total Initial Year Costs: Summing costs enumerated above, the Commission estimates

the costs of the Rule in the first year will range between $49.52 and $422.26 million. These costs

are presented in Table 6. The Commission assumes that these costs will be incurred by the end of

the initial year following the Rule’s implementation.

Table 6: Total Initial Year Compliance Costs (in millions, 2023 dollars)
                                        Low              High
 Familiarization Costs                 $35.97          $341.22
 Disclosure Costs                       $3.96           $39.57
 Cancellation Mechanisms Costs          $3.04           $34.93
 Recordkeeping Costs                    $6.54            $6.54
 Total Initial Year Costs              $49.52          $422.26


      (3)      Ongoing Compliance Costs, Years 2 through 10

       Compliant disclosures, cancellation paths, and consumer-facing information about

cancellation mechanisms will form a “template” that can be used without any incremental

compliance costs as new subscription products are added to a marketer’s retinue of products

offered for sale via a negative option plan. The information relevant to the sale of a new product

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may be “dropped” into the template in a fill-in-the-blank way. The Commission assumes

marketers, in the ordinary course of business, know what is required for the disclosures (e.g., the

amounts consumers will be charged, when, by date or frequency, such charges will occur, when

consumers must act to stop recurring charges, etc.) and consider the costs of entering this

information into established disclosure templates to be a routine cost of doing business, not an

incremental cost required by compliance with the final Rule. The same will also be true for

negative option plans that are telemarketed or sold in person; once a telemarketing script or an

in-person sales disclosure form is developed in the initial year of compliance, it becomes a

template that readily can be used as new subscription products are offered over time.

Accordingly, once a marketer comes into compliance with the final Rule there should be no

incremental costs of ongoing compliance with respect to disclosures and cancellation

mechanisms, and the costs of adding, changing, or deleting products the marketer offers for sale

via negative option will be no different from what they would have been absent the final Rule.

       The Commission can seek redress or civil penalties for violations of the final Rule.

Absent the final Rule, enforcement actions against unfair or deceptive negative option practices

would be brought under Section 5 where civil penalties are not available and where, post-AMG,

it is difficult to obtain redress. Accordingly, some negative option marketers may pay closer

attention to underlying claims made for products marketed using negative option sales because

of the monetary relief available for violations of the final Rule relative to a Section 5

enforcement action. This, however, is no different than what any firm should do to assure that it

is not in violation of Section 5, and the Commission considers the costs of attentiveness to

Section 5 compliance as part of the existing regulatory baseline, not as costs that are incremental

to complying with the final Rule.



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       The U.K.’s “Impact Assessment” of its regulatory treatment of subscription plans did not

estimate ongoing compliance costs because “the size of these costs … are likely small in

comparison to the one-off cost and benefits.” 613 In further support of this, the “Impact
                                              612F




Assessment” cited a report that found that on-going costs were meaningful only in relation to

sending reminders to consumers about their subscriptions, and only for firms that used postal

mail delivery and not electronically delivered reminders. 614 The final Rule does not contain a
                                                                  613F




“reminder” requirement, and so the ongoing costs of sending reminders to consumers, small

though they may be, are not ongoing costs of compliance with the final Rule.

       The experts’ report submitted by IAB estimated 10 hours of attorney time for annual

compliance checks for the Rule proposed in the NPRM. Because the final Rule has removed the

most complex (and, therefore, costly) features of the proposed Rule (e.g., double consent, the

treatment of “saves” in cancellation flows, and the issuance of annual “reminders” for some

subscriptions), the Commission assumes half of the annual compliance check hours assumed in

IAB’s experts’ report, five hours, is an upper bound on attorney hours needed for annual

compliance checks. Moreover, the Commission assumes that some firms will incur no

incremental annual compliance check costs, either because their pre-existing business practices

followed what the final Rule requires or because the platforms or payment processors they use

provide compliant disclosures and cancellation flows. 615  614F




613
    U.K. “Impact Assessment” (2023) at 30.
614
    “We note for example, that Ofcom assessed … the business costs of providing customers with
notifications at the end of their contracts. These involved possible ongoing costs related to
identifying customers that needed notifications on an ongoing basis and providing them with the
notification. After consultation with stakeholders, Ofcom only estimated the costs of providing
consumers with letters, on the basis that only this medium had significant ongoing costs.” Id.
615
    See discussion in Section VII.B.1.a.2 of this SBP and n.146.

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       Accordingly, the Commission estimates the aggregate annual costs of compliance checks

to range between $0 and $44.97 million (i.e., 106,000 x 5 hours x $84.84/hour). Inclusive of

recordkeeping costs, total ongoing costs range between $6.54 million (i.e., $0 + $6.54 million)

and $51.51 million (i.e., $44.97 million + $6.54 million).

      (4)      Summary of Total Costs

       Table 7 presents the initial and recurring costs of this Rule in each year, as well as the

present discounted value and annualized costs over 10 years using a 2 percent discount rate. The

Commission estimates that in Year 1, the initial costs will range between $49.52 and $422.26

million. In each of the following years, the Commission estimates that the recurring costs will

range between $6.54 and $51.51 million. The Commission estimates that the present discounted

value of costs over ten years, using a 2 percent discount rate, will range between $100.89 and

$826.15 million. The Commission estimates that these costs, annualized over ten years using a 2

percent discount rate, would range between $11.23 and $91.97 million per year.

Table 7. Total Quantified Costs (in millions, 2023 dollars)

  Year                                                          Low                     High
    1                                                          $49.52                 $422.26
    2                                                           $6.54                  $51.51
    3                                                           $6.54                  $51.51
    4                                                           $6.54                  $51.51
    5                                                           $6.54                  $51.51
    6                                                           $6.54                  $51.51
    7                                                           $6.54                  $51.51
    8                                                           $6.54                  $51.51
    9                                                           $6.54                  $51.51
    10                                                          $6.54                  $51.51
 Present Discounted Value of Costs over 10                    $100.89                 $826.15
 years, 2% discount rate
 Annualized Costs over 10 years, 2% discount                   $11.23                  $91.97
 rate




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                        d)      Sensitivity Analysis

          As a sensitivity analysis, the Commission considers an alternative method that does not

rely on data from historical enforcement matters for distributing subscription cancellations across

the baseline cancellation methods used to estimate quantified benefits. This alternative method

assumes the majority of subscriptions are enrolled online and can be cancelled online in the

baseline; whereas, in the main analysis, the majority of subscriptions are enrolled online and can

only be cancelled by phone in the baseline. Compared with the main analysis, this alternative

method produces lower total quantified benefits by $419.77 to $449.53 million annualized per

year, yet the estimated range of quantified benefits still exceeds the estimated range of quantified

costs.

         (1)     Number of Cancellations by Enrollment and Baseline Cancellation Method

          Under this sensitivity analysis, the Commission assumes that the baseline number of

subscriptions and cancellations is the same as in the main analysis. The Commission also

assumes the number of in-person subscriptions, as proxied for by gym memberships, is the same

as in the main analysis. What differs here is the approach for determining the share of

cancellations likely to occur through online and telephone methods.

          The main analysis uses enforcement data to determine the share of cancellations likely to

occur through online and telephone methods. This data may suffer from selection bias if, among

other factors, only the more egregious violations are pursued through enforcement methods. This

approach also assumes no marketers of negative option plans comply with this Rule in the

baseline. Further, because the data only include resolved cases and resolved cases tend to be

older, they are less likely to reflect the current state of the market.




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       In this alternative analysis, the Commission uses statistics discussed in the NPRM—that

106,000 firms offer negative option plans and 2,000 of those firms are telemarketers. 616 Based
                                                                                        615F




on that, the Commission assumes 1.9 percent (i.e., 2,000/106,000) of subscriptions and

cancellations are enrolled and cancelled over the phone in the baseline. The Commission then

assumes the remaining cancellations of subscriptions that were not enrolled over the phone or in

person were instead enrolled online. 617
                                     616F




       To estimate the distribution of baseline cancellation methods of subscriptions enrolled

online, the Commission uses the results from an experiment in which a researcher consented to

16 online subscriptions between August 2 to October 4, 2022 and then canceled each one,

recording the time it took to cancel along with a variety of other obstacles faced in cancelling. 618
                                                                                                 617F




Of the 16 online subscriptions, three were found to be easy to cancel online, indicating they are

likely in compliance with this Rule; three required phone calls to cancel; and the remaining 10

had a non-straightforward online cancellation method. Based on these results, the Commission

assumes 18.75 percent (i.e., 3/16) of online subscriptions have Rule-compliant cancellation

methods in the baseline; 18.75 percent (i.e., 3/16) of online subscriptions require telephone

cancellation in the baseline; and 62.5 percent (i.e., 10/16) of online subscription offer non-Rule-

compliant online cancellations in the baseline.

       Table 8 provides the number of subscription cancellations each year distributed across the

enrollment and regulatory baseline cancellation methods: online enrollment and telephone


616
    See NPRM, 88 FR 24733.
617
    The Commission acknowledges this excludes subscriptions that are enrolled by mail, likely
resulting in an overestimate of the number of subscriptions enrolled online.
618
    See Sinders (2023). Among the obstacles noted for otherwise seemingly simple online
cancellations were that some websites did not use straight forward terms, such as “unsubscribe”
or “cancel,” and instead put the cancellation path under titles such as “auto-renew” or “edit
plan.”

                                                  205
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cancellation; online enrollment and non-Rule-compliant online cancellation; online enrollment

and Rule-compliant online cancellation; telephone enrollment and telephone cancellation; and in-

person enrollment.

Table 8. Sensitivity Analysis: Cancellations by Enrollment and Baseline Cancellation Method (in
millions)
                                 Online
                               Enrollment,       Online
                Online            Non-         Enrollment,     Telephone
             Enrollment,       Compliant       Compliant      Enrollment,
              Telephone          Online          Online        Telephone       In-Person
 Year        Cancellation     Cancellation    Cancellation    Cancellation    Enrollment
 1               63.79           212.63          63.79            6.87           14.62
 2               64.28           214.27          64.28            6.93           14.73
 3               64.78           215.92          64.78            6.98           14.84
 4               65.27           217.56          65.27            7.03           14.96
 5               65.76           219.21          65.76            7.08           15.07
 6               66.26           220.85          66.26            7.14           15.18
 7               66.66           222.19          66.66            7.18           15.27
 8               67.06           223.54          67.06            7.22           15.37
 9               67.46           224.88          67.46            7.27           15.46
 10              67.87           226.23          67.87            7.31           15.55

      (2)       Estimating Total Benefits

        To estimate total quantified benefits under this sensitivity analysis, the Commission uses

the same matching of enrollment and baseline cancellation methods to per-cancellation benefit

estimates as in the main analysis. The only difference here is that the Commission assumes

consumers who experience Rule-compliant online cancellations in the baseline will not see any

additional benefit as a result of this final Rule.

        As in the main analysis, the Commission multiplies the number of cancellations in each

category by the matched per-cancellation benefit on the low- and the high-end and then sums

across all five categories to obtain total quantified benefits each year. Those totals are presented

in Table 9 below. In the first year following implementation of the final Rule, the Commission

estimates the benefits under this sensitivity analysis will range between $254.85 million and

                                                     206
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$4.88 billion. In Year 10, the Commission estimates the benefits will range between $271.15

million and $5.20 billion. Using a 2 percent discount rate, the Commission estimates the present

discounted value of benefits over 10 years to range between $2.36 and $45.28 billion.

Annualized over 10 years using a 2 percent discount rate, the Commission estimates the benefits

to range between $263.06 million and $5.04 billion per year. These annualized benefits estimates

are between $419.77 and $449.53 million less per year than the estimates from the main analysis.

Table 9. Sensitivity Analysis: Estimates of Benefits (in millions, 2023 dollars)
 Year                                             Low              High
    1                                           $254.85         $4,883.26
    2                                           $256.82         $4,921.01
    3                                           $258.79         $4,958.77
    4                                           $260.76         $4,996.53
    5                                           $262.73         $5,034.29
    6                                           $264.70         $5,072.05
    7                                           $266.31         $5,102.91
    8                                           $267.92         $5,133.77
    9                                           $269.54         $5,164.63
    10                                          $271.15         $5,195.49
 Present Discounted Value of Benefits over $2,362.97           $45,277.43
 10 years, 2% discount rate
 Annualized Benefits over 10 years, 2%          $263.06         $5,040.58
 discount rate
 Difference in Annualized Benefits from         -$419.77        -$449.53
 Main Analysis

               4.     An explanation of the reasons for the determination of the
               Commission that the final Rule will attain its objectives in a manner
               consistent with applicable law and the reasons the particular alternative was
               chosen.

       As discussed above in Sections I, II, and VII.A, the Commission determines the

following deceptive or unfair practices are widespread in the negative option marketplace and

cause consumer harm: (1) material misrepresentations made while marketing goods or services

with negative option features; (2) failure to provide important information about material terms

prior to obtaining consumers’ billing information and charging consumers; (3) lack of informed


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consumer consent; and (4) failure to provide consumers with a simple cancellation method,

including failure to honor cancellation requests, refusal to provide refunds to consumers who

unknowingly enrolled in programs, denying consumers refunds and forcing them to pay to return

the unordered goods, and requiring consumers to cancel using a different method than the one

used to sign up for the program.

        The final Rule amendments prohibit sellers from misrepresenting material facts in

connection with promoting or offering for sale a good or service with a negative option feature,

require negative option sellers to disclose certain important information about negative option

features, obtain a consumer’s express informed consent and maintain records of consumer

consent for three years after the initial transaction (unless the seller satisfies the technological

exemption), and provide consumers a simple mechanism for cancellation. In promulgating the

final Rule, the Commission sought to enhance consumer protections while avoiding detailed,

prescriptive requirements that would impede innovation.

                5.     A summary of any significant issues raised by the comments
                submitted during the public comment period in response to the preliminary
                regulatory analysis and a summary of the assessment by the Commission of
                such issues.

        Several commenters (e.g., NCTA, IAB) raised concerns over the Commission’s

conclusions regarding the economic effect of the proposed Rule. NCTA asserted the NPRM

lacked any meaningful cost-benefit analysis, suggesting compliance with the proposed Rule

would result in significant costs to its members. 619 Among other things, NCTA said its members
                                                   61 8F




would be required to implement changes to their existing customer processes, review and revise



619
   NCTA, FTC-2023-0033-0858; IAB, FTC-2023-0033-1000. See also IFA, FTC-2023-0033-
0856; USTelecom, FTC-2023-0033-0876; RILA, FTC-2023-0033-0883; Coalition, FTC-2023-
0033-0884; Chamber, FTC-2023-0033-0885 (urging the Commission to refine its cost benefit
analysis).

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existing disclosures, and revamp recordkeeping systems. During the informal hearing process,

NCTA further argued it could cost major cable operator members between $12-25 million to

comply with the proposed Rule. 620 Additional commenters also suggested compliance with the
                                 61 9F




proposed Rule would cost more than what the Commission estimated. None of them, however,

offered any empirical analysis of the issue. In response to these comments, and following the

presiding officer’s recommended decision, the Commission provides the detailed cost-benefit

analysis above in Section X.B.3.

XI.    FINAL REGULATORY FLEXIBILITY ACT ANALYSIS

       The Regulatory Flexibility Act (“RFA”), 5 U.S.C. 601-612, requires the Commission to

conduct an Initial Regulatory Flexibility Analysis (“IRFA”) with a proposed rule and a Final

Regulatory Flexibility Analysis (“FRFA”), if any, with a final rule, unless the Commission

certifies the rule will not have a significant economic impact on a substantial number of small

entities. 621 The Regulatory Flexibility Act further states the required elements of the FRFA may
        62 0F




be performed in conjunction with or as part of any other agenda or analysis required by any other

law if such other analysis satisfies the provisions of the FRFA. 622
                                                                621F




       In the NPRM, the Commission provided an IRFA, stating its belief that the proposal will

not have a significant economic impact on small entities, and solicited comments on the burden

on any small entities that would be covered. Specifically, the Commission acknowledged it did

not have sufficient empirical data to determine whether the proposed amendments may affect a


620
    FTC-2024-0001-0011; see also Asurion, FTC-2023-0033-0878 (stating the Commission’s
estimated annual labor costs are understated, and projecting the costs to Asurion and its clients
would be millions of dollars); SCIC, FTC-2023-0033-0879 (cost of compliance for the service
contract industry would be substantially higher than cost of compliance for unregulated entities,
and disproportionately borne by small businesses; APCIA, FTC-2023-0033-0996 (same).
621
    See 5 U.S.C. 603-605.
622
    5 U.S.C. 605.

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substantial number of small entities; therefore, the Commission sought comment on the

percentage of affected companies that qualify as small businesses.

       The Commission reviewed and considered the comments in response to the NPRM and

determined, as an alternative to finalizing the proposed Rule in its entirety, to modify the Rule.

In particular, the Commission decided to limit the material terms to be disclosed immediately

adjacent to consent for the negative option feature; remove the limitation on saves and the

accompanying recordkeeping requirement; remove the annual reminder provision; and modify

the length of the recordkeeping requirement for verification of consent by fixing it to three years

and provide an alternative method of compliance. After careful consideration of the comments

and following the Commission’s determination not to finalize the proposed Rule in its entirety,

the Commission certifies that the final Rule will not have a significant economic impact on a

substantial number of small entities. Nevertheless, because the Commission included an IFRA in

the NPRM, the Commission has also performed an FRFA below, and comments to the IFRA are

discussed below.

       A.      A statement of the need for, and objectives of, the Rule.

       The Commission describes the need for and the objectives of the final Rule in Section

X.B.1 to the Final Regulatory Analysis.

       B.      A statement of the significant issues raised by the public comments in
       response to the Initial Regulatory Flexibility Analysis, a statement of the assessment
       of the agency of such issues, and a statement of any changes made in the proposed
       Rule as a result of such comments.

       Several commenters raised issues about the proposed Rule’s economic impact on small

businesses. For instance, NFIB asked the Commission to adopt a special provision that would

limit enforcement of the Rule against small businesses (fewer than 50 employees) to instances of




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willful or repeated violations, and set up a program for education on compliance. 623 IFA and
                                                                                     622F




IHRSA encouraged the Commission to conduct a “Small Business Regulatory Impact Analysis”

to determine how the proposal will impact small businesses. 624 IHRSA stated that small
                                                                623F




businesses in the health and fitness industry operate at “much different capacity” than larger

industries, noting 44% of U.S. small businesses have less than three months of cash reserves,

making them more vulnerable to disruptions. 625 Similarly, ACT App Association noted that
                                               624F




roughly 20% of small business startups fail in the first year due to scarcity in financial

resources. 626   625F




        Other commenters, including PDMI, ESA, Joint Small Business Digital Economy

Innovators, and ICA, generally stated the proposed Rule would impose unnecessary and undue

burdens on small businesses, but did not offer any detailed empirical data for the Commission to

consider. 627
          626F




        In response, the Commission first notes its sensitivity to small businesses’ concerns. It

provides numerous free resources through the Bureau of Consumer Protection Business Center

webpage 628 to assist businesses of all sizes in complying with the law and will engage in
         627F




consumer and business education campaigns about this Rule. Second, in consideration of

comments regarding regulatory burden, the Commission clarifies or modifies the Rule in several

significant ways: (1) it defines “material” and provides several concrete categories of material

facts to ensure businesses have a clear understanding of how it will interpret materiality under


623
    NFIB, FTC-2023-0033-0789.
624
    IFA, FTC-2023-0033-0856; IHRSA, FTC-2023-0033-0863.
625
    IHRSA, FTC-2023-0033-0863.
626
    ACT App Association, FTC-2023-0033-0874.
627
    PDMI, FTC-2023-0033-0864; ESA, FTC-2023-0033-0867; Joint Small Business Digital
Economy Innovators, FTC-2023-0033-0875; ICA, FTC-2023-0033-1142.
628
    Https://www.ftc.gov/business-guidance.

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the Rule; (2) it limits the number of terms that must mandatorily appear “immediately adjacent”

to the request for consent to the negative option feature; (3) it removes the requirement to obtain

separate affirmative consent to “the rest of the transaction” and modifies the recordkeeping

requirement; (4) it removes the saves and annual reminder requirements, which also should

reduce recordkeeping and compliance burdens. Additionally, the Commission delays the

effective date of the final Rule for 180 days to allow time for implementation (except for the

provisions related to misrepresentations and other procedural requirements, which should not be

an added burden for businesses already complying with the law and which take effect 60 days

after publication of the final Rule).

          C.      The response of the agency to any comments filed by the Chief Counsel for
          Advocacy of the Small Business Administration in response to the proposed Rule,
          and a detailed statement of any change made to the proposed rule in the final Rule
          as a result of the comments.

          The Small Business Administration did not file comments in response to the proposed

Rule.

          D.    A description of and an estimate of the number of small entities to which the
          Rule will apply or an explanation of why no such estimate is available.

          The final Rule affects sellers, regardless of industry, engaged in making negative option

offers, defined by the final Rule to mean any person “selling, offering, charging for, or otherwise

marketing goods or services with a Negative Option Feature.” 629 Small entities in potentially any
                                                                 628F




industry could incorporate a negative option feature into a sales transaction. 630 The Commission
                                                                                 629F




is unaware, however, of any source of data identifying across every industry the number of small

entities that routinely utilize negative option features. Although the NPRM requested comments




629
      Rule § 425.2(g).


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on the percentage of affected companies that qualify as small businesses, and some trade

association commenters indicated that some of their members were small businesses, these

comments did not identify either the number or share of their small business members that sold

negative option contracts.

       E.      A description of the projected reporting, recordkeeping, and other
       compliance requirements of the Rule, including an estimate of the classes of small
       entities which will be subject to the requirement and the type of professional skills
       necessary for preparation of the report or record.

       The estimates of the recordkeeping requirements under the final Rule are set out within

the Paperwork Reduction Act analysis in Section XII below. As mentioned above, the

Commission preliminarily determined the impact of the proposed requirements on small entities

is most likely not significant. The small entities potentially covered by these amendments will

include all such entities subject to the Rule (e.g., all entities selling goods or services through

negative option programs). The professional skills necessary for compliance with the proposed

amendments would include sales and clerical personnel. The Commission requested comment on

these issues.

       In the NPRM, The FTC estimated the majority of firms subject to the recordkeeping

requirements already retained these types of records in the normal course of business. The FTC

anticipated many transactions subject to the final Rule would be conducted via the Internet,

minimizing burdens associated with compliance. Additionally, most entities subject to the final

Rule were likely to store data though automated means, which reduces compliance burdens

associated with record retention. Furthermore, regarding the disclosure requirements, the

Commission stated it was likely the substantial majority of sellers routinely provide these

disclosures in the ordinary course as a matter of good business practice. Moreover, many state

laws already require the same or similar disclosures as the Rule would mandate. Finally, some


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negative option sellers are already covered by ROSCA and the TSR and thus subject to similar

disclosure requirements.

       Commenters provided additional comments, suggesting small businesses will be

significantly impacted, and the Commission underestimated the burdens. Recordkeeping and

disclosure costs associated with the Rule became one of the issues designated for the informal

hearing, after which the presiding officer determined “the issue is not genuinely disputed,”

noting the failure of interested parties to “provide any evidence to establish what the costs would

be,” as opposed to generalized complaints “costs will be higher than the NPRM’s estimates.” 631  63 0F




As explained in the Paperwork Reduction Act estimates below and elsewhere in this SBP, the

Commission made changes to the Rule based on the record. Specifically, the Commission

determined to specify and thereby limit the types of disclosures required, narrow the scope of

entities covered (by excluding those solely involved in “promoting” negative option plans),

curtail the length of time for retaining records (to only three years), and establish an option for

sellers to eliminate having to keep records of consent if they have the requisite processes in

place. Because neither the Commission nor the presiding officer at the informal hearing received

evidence to dispute the recordkeeping and disclosure costs figures in the NPRM, the

Commission adopts the NPRM’s analysis. Given the narrower scope of the final Rule, that

analysis should be more conservative and tend to overstate the burden.

       F.      A description of the steps the agency has taken to minimize the significant
       economic impact on small entities consistent with the stated objectives of applicable
       statutes, including a statement of the factual, policy, and legal reasons for selecting
       the alternative adopted in the final Rule and why each one of the other significant
       alternatives to the Rule considered by the agency which affect the impact on small




631
   Recommended Decision by Presiding Officer, https://www.regulations.gov/comment/FTC-
2024-0001-0042 (emphasis in original).

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       entities was rejected.

       In formulating the proposed amendments, the Commission made every effort to avoid

imposing unduly burdensome requirements on sellers. To that end, the Commission avoided,

where possible, proposing specific, prescriptive requirements that could stifle marketing

innovation or otherwise limit seller options in using new technologies.

       As explained above, in response to comments regarding regulatory burden, the

Commission clarifies or modifies the Rule in several significant ways: (1) it defines “material”

and provides several concrete categories of material facts to ensure businesses have a clear

understanding of how it will interpret materiality under the Rule; (2) it limits the number of

terms that must mandatorily appear “immediately adjacent” to the request for consent to the

negative option feature; (3) it removes the requirement to obtain separate affirmative consent to

“the rest of the transaction” and modifies the recordkeeping requirement; (4) it removes the saves

and annual reminder requirements, which also should reduce recordkeeping and compliance

burdens. Additionally, the Commission delays the effective date of the final Rule for 180 days to

allow time for implementation (except for the provisions related to misrepresentations and other

procedural requirements, which should not be an added burden for businesses already complying

with the law and which take effect 60 days after publication of the final Rule).

XII.   PAPERWORK REDUCTION ACT

       The Paperwork Reduction Act (“PRA”), 44 U.S.C. 3501 et seq., requires federal agencies

to obtain Office of Management and Budget (“OMB”) approval before collecting information

directed to ten or more persons. The current Rule contains various provisions that constitute

information collection as defined by 5 CFR 1320.3(c), the OMB regulations implementing the

PRA. In January 2024, OMB approved continuation of the Rule’s existing information collection



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(OMB Control No. 3084-0104). The final Rule makes changes in the Rule’s recordkeeping and

disclosure requirements that will increase the PRA burden as detailed below. Accordingly, the

Commission is submitting the final Rule and a Supplemental Supporting Statement to OMB for

review under the PRA. 632 The associated burden analysis follows.
                       631F




       A.      The Proposed Rule

       In the NPRM, the Commission provided time and cost estimates for the proposed Rule’s

recordkeeping and disclosure requirements, and solicited comments about their associated costs,

including on: (1) whether the disclosure, recordkeeping, and reporting requirements are

necessary, including whether the resulting information will be practically useful; (2) the accuracy

of our burden estimates, including whether the methodology and assumptions used are valid; (3)

how to improve the quality, utility, and clarity of the disclosure requirements; and (4) how to

minimize the burden of providing the required information to consumers. 633632F




       The NPRM also included staff’s estimate that the burden for recordkeeping compliance

would be 53,000 hours and the estimated burden for disclosures would be 212,000 hours, for a

total of 265,000 hours. These estimates are explained below.

       Number of Respondents. FTC staff estimated there are 106,000 entities offering

negative option features to consumers. This estimate is based primarily on data from the U.S.

Census North American Industry Classification System (NAICS) for firms and establishments in

industry categories wherein some sellers offer free trials, automatic renewal, prenotification

plans, and continuity plans. Based on NAICS information as well as its own research and

industry knowledge, FTC staff identified an estimated total of 530,000 firms involved in such


632
    The PRA analysis for this rulemaking focuses strictly on the information collection
requirements created by and/or otherwise affected by the amendments.
633
    88 FR 24734.

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industries. 634 However, FTC staff estimated that only a fraction of the total firms in these
          63 3F




industry categories offer negative option features to consumers. For example, few grocery stores

and clothing retailers, which account for approximately a third of the of the total estimate from

all industry categories, are likely to regularly offer negative option features. In addition, some

entities included in the total may qualify as common carriers, exempt from the Commission’s

authority under the FTC Act. Accordingly, the Commission estimated approximately 106,000

business entities (20%) offer negative option features to consumers.

       Recordkeeping Hours. FTC staff estimated the majority of firms subject to the Rule

already retain the types of records in the normal course of business that would be required by the

proposed Rule. Under such conditions, the time and financial resources needed to comply with

disclosure requirements do not constitute “burden” under the PRA. 635 Moreover, staff
                                                                      634F




anticipated that many transactions subject to the Rule are conducted via the Internet and most

entities subject to the Rule are likely to store data though automated means, which reduces

compliance burdens associated with record retention. Accordingly, staff estimated that 53,000

entities subject to the Rule will require approximately one hour per year to comply with the

Rule’s recordkeeping requirements, for an annual total of 53,000 burden hours.



634
   Examples of these industries include sellers of software, streaming media, social media
services, financial monitoring, computer security, fitness services, groceries and meal kits,
dietary supplements, sporting goods, home service contracts, home security systems, office
supplies, pet food, computer supplies, cleaning supplies, home/lawn maintenance services,
personal care products, clothing sales, energy providers, newspapers, magazines, and books. The
NAICS does not provide estimates for all of these categories. Where such data is unavailable, the
staff has used its own estimates based on its knowledge of these industry categories.
635
   Under the PRA, the time, effort, and financial resources necessary to comply with the
collection of information that would be incurred by persons in the normal course of their
activities (e.g., in compiling and maintaining business records) does not constitute a burden
under the Rule where the associated recordkeeping is a usual and customary part of business
activities. 5 CFR 1320.3(b)(2).

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       Disclosure Hours. Staff anticipated that the substantial majority of sellers already

routinely provide the disclosures that would be required by the proposed Rule. For these sellers,

the time and financial resources associated with making these disclosures do not constitute a

“burden” under the PRA because they are a usual and customary part of regular business

practice. 5 CFR 1320.3(b)(2). Moreover, many state laws require the same or similar disclosures

as the Rule mandates. In addition, approximately 2,000 negative option sellers are already

covered by the TSR and subject to its disclosure requirements. Accordingly, FTC estimated the

disclosure burden required by the Rule will be, on average, two hours each year for each seller

subject estimated to be subject the Rule, for a total estimated annual burden of 212,000 hours.

       Estimated Annual Labor Cost. To estimate labor costs for recordkeeping requirements,

staff multiplied the 53,000 hours to comply with the proposed Rule’s recordkeeping provisions

by a clerical wage rate of $18.75/hour. 636 The result is an annual cost of approximately
                                       63 5F




$993,750.

       To estimate annual labor costs for disclosures for all entities, staff multiplied the 212,000

hours to comply with the proposed Rule’s disclosure provisions by a sales personnel wage rate of

$22.15/hour. 637 The result is an annual cost of approximately $4,695,800.
             63 6F




       Thus, the estimated annual labor costs were $5,689,550 [($993,750 recordkeeping) +

($4,695,800 disclosure)].

       Estimated Annual Non-Labor Cost. The NPRM stated capital and start-up costs




636
    This figure is derived from the mean hourly wage shown for Information and Record Clerks.
See Bureau of Labor Statistics, “Occupational Employment and Wages–May 2021,” at Table 1
(Mar. 31, 2022) (National employment and wage data from the Occupational Employment
Statistics survey by occupation, May 2021), https://www.bls.gov/news.release/pdf/ocwage.pdf.
637
    This figure is derived from the mean hourly wage shown for Sales and related occupations.
See id.

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associated with the Rule’s recordkeeping provisions are de minimis. Any disclosure or

recordkeeping capital costs involved with the Rule, such as equipment and office supplies, would

be costs borne by sellers in the normal course of business.

             B.     Comments Received and Informal Hearing

             The NPRM sought comments on the PRA analysis and stated, “comments should provide

any available evidence and data that supports their position, such as empirical data.” 638 The
                                                                                          637F




Commission did not receive such evidence. A few commenters from businesses and industry

groups, however, raised generalized concerns that the NPRM underestimated PRA-related

costs. 639
      638F




             As noted earlier, the Commission set an informal hearing, at the request of interested

parties, and appointed Administrative Law Judge Carol Fox Foelak as the presiding officer. 640    639F




Based on submissions by interested parties, and other information in the record, the presiding

officer designated two disputed issues of material fact, including, “What will the recordkeeping

and disclosure costs associated with the proposed rule be?” 641  640F




             Based on the record, the presiding officer concluded, “There is insufficient evidence to

make a finding concerning the … recordkeeping and disclosure costs associated with the




638
    88 FR 24730.
639
    Sirius XM, FTC-2023-0033-0857; SCIC, FTC-2023-0033-0879; Coalition, FTC-2023-0033-
0884; ETA, FTC-2023-0033-1004; Direct Marketing Companies, FTC-2023-0033-1016. In
addition, one commenter seemingly confused PRA-related costs with full implementation of the
Rule, but still offered only generalized points. See Asurion, FTC-2023-0033-0878. Another
commenter queried whether the Commission’s estimate of the number of firms offering negative
option features include B2B sales with automatic renewal clauses. ETA, FTC-2023-0033-1004.
The staff estimate did not seek to exclude such sellers.
640
    Hr’g Notice, 88 FR 85525.
641
    Recommended Decision by Presiding Officer, https://www.regulations.gov/comment/FTC-
2024-0001-0042.

                                                    219
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proposed rule,” and “in the absence of evidence, the issue is not genuinely disputed.” 642 The
                                                                                         641F




presiding officer further explained: “IAB made a well-reasoned argument that the costs will be

higher than the NPRM’s estimates, generalizing from limited estimates that it, IFA, and NCTA

provided. However, it did not provide any evidence to establish what the costs would be.” 643   64 2F




       C.      Final PRA Analysis

       As previously discussed, the Commission made changes to the Rule based on the record.

Some of these changes, in turn, affect the PRA analysis. Specifically, the Commission

determined to specify and thereby limit the types of disclosures required, narrow the scope of

entities covered (by excluding those solely involved in “promoting” negative option plans),

curtail the length of time for retaining records (to only three years), and establish an option for

sellers to eliminate having to keep records of consent if they have the requisite processes in

place. Neither the Commission nor the presiding officer at the informal hearing received

evidence to dispute the specific PRA-related figures in the NPRM. For the final Rule, the

Commission adopts the following PRA analysis.

       Number of Respondents. The Commission received no evidence to dispute the NPRM’s

statements on the number of entities offering negative option features to consumers, so the

Commission adopts the NPRM estimate that there are 106,000 such entities. Although the final

Rule is narrower in that it excludes the term “promote” from its scope, the Commission retains

the estimate of 106,000 entities for the purposes of this analysis, which would be more

conservative and tend to overstate the burden.




642
    Recommended Decision by Presiding Officer, https://www.regulations.gov/comment/FTC-
2024-0001-0042.
643
    Recommended Decision by Presiding Officer, https://www.regulations.gov/comment/FTC-
2024-0001-0042.

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       Recordkeeping Hours. The Commission received no evidence to dispute the NPRM’s

statements on recordkeeping under the PRA. As the final Rule is narrower, the time and financial

resources needed to comply with disclosure requirements still do not constitute “burden” under

the PRA. 644 Accordingly, the Commission adopts the NPRM estimate that 53,000 entities
         64 3F




subject to the Rule will require approximately one hour per year to comply with the Rule’s

recordkeeping requirements, for an annual total of 53,000 burden hours.

       Disclosure Hours. Similarly, the Commission received no evidence to dispute the

NPRM’s statements on disclosure hours under the PRA. As the final Rule narrowed and

delineated the types of disclosures required, the time and financial resources associated with

making these disclosures is even less than under the proposed Rule, which also did not constitute

a “burden” under the PRA because they are a usual and customary part of regular business

practice. 5 CFR 1320.3(b)(2). Accordingly, the Commission adopts the NPRM estimate that the

disclosure burden required by the Rule will be, on average, two hours each year for each seller

subject estimated to be subject the Rule, for a total estimated annual burden of 212,000 hours.

       Estimated Annual Labor Cost. The Commission received no evidence to dispute the

NPRM’s statements on labor costs under the PRA. For the final Rule, the Commission updates

its labor cost estimates by using more recent wage data. For recordkeeping, staff multiplied the

53,000 estimated hours to comply with the Rule’s recordkeeping provisions by a clerical wage

rate of $20.94/hour, 645 to yield an annual cost of approximately $1,109,820. For disclosure
                    644F




644
    Under the PRA, the time, effort, and financial resources necessary to comply with the
collection of information that would be incurred by persons in the normal course of their
activities (e.g., in compiling and maintaining business records) does not constitute a burden
under the Rule where the associated recordkeeping is a usual and customary part of business
activities. 5 CFR 1320.3(b)(2).
645
    This figure is derived from the mean hourly wage shown for Information and Record Clerks.


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compliance, staff multiplied the 212,000 estimated hours by an hourly wage rate for sales

personnel of $25.62, 646 to yield an annual cost of $5,431,440. Thus, the estimated total annual
                      64 5F




labor costs are $6,541,260 [($1,109,820 recordkeeping) + ($5,431,440 disclosure)].

       Estimated Annual Non-Labor Cost. The Commission received no evidence to dispute

the NPRM’s statements that capital and start-up costs associated with the Rule’s recordkeeping

provisions are de minimis under the PRA. The Commission adopts those findings.

XIII. FINAL RULE LANGUAGE

PART 425—RULE CONCERNING RECURRING SUBSCRIPTIONS AND OTHER

NEGATIVE OPTION PROGRAMS

Sec.

425.1 Scope.

425.2 Definitions.

425.3 Misrepresentations.

425.4 Important Information.

425.5 Consent.

425.6 Simple Cancellation (“Click to Cancel”).

425.7 Relation to State Laws.

425.8 Exemptions.

425.9 Severability.

Authority: 15 U.S.C. 41-58.



See Bureau of Labor Statistics, “Occupational Employment and Wages, May 2023, 43-9061
Office Clerks, General,” https://www.bls.gov/oes/currenT/oes439061.htm.
646
    This figure is derived from the mean hourly wage shown for Sales and related occupations.
See id.

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§ 425.1 Scope.

   This Rule contains requirements related to any form of negative option program in any

media, including, but not limited to, Interactive Electronic Media, telephone, print, and in-person

transactions.

§ 425.2 Definitions.

   (a) Billing Information means any data that enables any person to access a consumer’s

account, such as a credit card, checking, savings, share or similar account, utility bill, mortgage

loan account, or debit card.

   (b) Charge, Charged, or Charging means any attempt to collect money or other

consideration from a consumer, including but not limited to causing Billing Information to be

submitted for payment, including against the consumer’s credit card, debit card, bank account,

telephone bill, or other account.

   (c) Clear and Conspicuous means that a required disclosure is easily noticeable (i.e., difficult

to miss) and easily understandable by ordinary consumers, including in all of the following

ways:

   (1) In any communication that is solely visual or solely audible, the disclosure must be made

through the same means through which the communication is presented. In any communication

made through both visual and audible means, such as a television advertisement, the disclosure

must be presented simultaneously in both the visual and audible portions of the communication

even if the representation requiring the disclosure is made in only one means.

   (2) A visual disclosure, by its size, contrast, location, the length of time it appears, and other

characteristics, must stand out from any accompanying text or other visual elements so that it is

easily noticed, read, and understood.



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   (3) An audible disclosure, including by telephone or streaming video, must be delivered in a

volume, speed, and cadence sufficient for ordinary consumers to easily hear and understand it.

   (4) In any communication using an Interactive Electronic Medium, such as the Internet,

mobile application, or software, the disclosure must be unavoidable.

   (5) The disclosure must use diction and syntax understandable to ordinary consumers and

must appear in each language in which the representation that requires the disclosure appears.

   (6) The disclosure must comply with these requirements in each medium through which it is

received, including all electronic devices and face-to-face communications.

   (7) The disclosure must not be contradicted or mitigated by, or inconsistent with, anything

else in the communication.

   (8) When the representation or sales practice targets a specific audience, such as children,

older adults, or the terminally ill, “ordinary consumers” includes members of that group.

   (d) Interactive Electronic Medium is any electronic means of communicating (except via

telephone calls), including Internet, mobile application, text, chat, instant message, email,

software, or any online service.

   (e) Material means likely to affect a person’s choice of, or conduct regarding, goods or

services.

   (f) Negative Option Feature is a provision of a contract under which the consumer’s silence

or failure to take affirmative action to reject a good or service or to cancel the agreement is

interpreted by the negative option seller as acceptance or continuing acceptance of the offer,

including, but not limited to:

   (1) an automatic renewal;

   (2) a continuity plan;



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   (3) a free-to-pay conversion or fee-to-pay conversion; or

   (4) a pre-notification negative option plan.

   (g) Negative Option Seller means the person selling, offering, charging for, or otherwise

marketing a good or service with a Negative Option Feature.

§ 425.3 Misrepresentations.

   In connection with promoting or offering for sale any good or service with a Negative Option

Feature, it is a violation of this Rule and an unfair or deceptive act or practice in violation of

Section 5 of the Federal Trade Commission Act (“FTC Act”) for any Negative Option Seller to

misrepresent, expressly or by implication, any Material fact, including any of the following:

   (a) the Negative Option Feature or any term of the Negative Option Feature, including

consumer consent, any deadline to prevent or stop a Charge, or the cancellation of the Negative

Option Feature;

   (b) cost;

   (c) purpose or efficacy of the underlying good or service;

   (d) health or safety; or

   (e) any other Material fact.

§ 425.4 Important Information.

   (a) Disclosures. In connection with promoting or offering for sale any good or service with a

Negative Option Feature, it is a violation of this Rule and an unfair or deceptive act or practice in

violation of Section 5 of the FTC Act for a Negative Option Seller to fail to disclose to a

consumer, prior to obtaining the consumer’s Billing Information, all Material terms, regardless

of whether those terms directly relate to the Negative Option Feature, and including but not

limited to:



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    (1) That consumers will be Charged for the good or service, or that those Charges will

increase after any applicable trial period ends, and, if applicable, that the Charges will be on a

recurring basis, unless the consumer timely takes steps to prevent or stop such Charges;

    (2) Each deadline (by date or frequency) by which the consumer must act to prevent or stop

the Charges;

    (3) The amount (or range of costs) the consumer will be Charged and, if applicable, the

frequency of the Charges a consumer will incur unless the consumer takes timely steps to

prevent or stop those Charges; and

    (4) The information necessary for the consumer to find the simple cancellation mechanism

required pursuant to section 425.6.

    (b) Form and Content of Required Information.

    (1) Clear and Conspicuous: Each disclosure required by paragraph (a) of this section must be

Clear and Conspicuous.

    (2) Placement:

    (i) The disclosures required by paragraphs (a)(1-4) of this section must appear immediately

adjacent to the means of recording the consumer’s consent for the Negative Option Feature; and

    (ii) The disclosures required by paragraph (a) of this section (including, but not limited to,

the disclosures required by paragraphs (a)(1-4)) must appear before obtaining the consent

required pursuant to section 425.5.

    (3) Other Information: All communications, regardless of media, must not contain any other

information that interferes with, detracts from, contradicts, or otherwise undermines the ability of

consumers to read, hear, see, or otherwise understand the disclosures required by paragraph (a)

of this section.



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§ 425.5 Consent.

   (a) Express Informed Consent. In connection with promoting or offering for sale any good or

service with a Negative Option Feature, it is a violation of this Rule and an unfair or deceptive

act or practice in violation of Section 5 of the FTC Act for a Negative Option Seller to fail to

obtain the consumer’s express informed consent before Charging the consumer. In obtaining

such expressed informed consent, the Negative Option Seller must:

   (1) Obtain the consumer’s unambiguously affirmative consent to the Negative Option

Feature offer separately from any other portion of the transaction;

   (2) Not include any information that interferes with, detracts from, contradicts, or otherwise

undermines the ability of consumers to provide their express informed consent to the Negative

Option Feature; and

   (3) Keep or maintain verification of the consumer’s consent for at least three years. However,

if the seller can demonstrate by a preponderance of the evidence that it uses processes ensuring

no consumer can technologically complete the transaction without consent, such seller does not

have to maintain these records for such transactions.

   (b) Requirements for Negative Option Features Covered in the Telemarketing Sales Rule.

Negative Option Sellers covered by the Telemarketing Sales Rule must comply with all

applicable requirements provided in part 310 of this title, including, for transactions involving

preacquired account information and a free-to-pay–conversion feature, obtaining from the

customer, at a minimum, the last four (4) digits of the account number to be charged and making

and maintaining an audio recording of the entire telemarketing transaction as required by part

310.




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   (c) Documentation of Unambiguously Affirmative Consent for Written Offers. Except for

transactions covered by the preauthorized transfer provisions of the Electronic Fund Transfer Act

(15 U.S.C. 1693e) and Regulation E (12 CFR 1005.10), a Negative Option Seller will be deemed

in compliance with the requirements of paragraph (a)(1) of this section for all written offers

(including over the Internet or phone applications), if that seller obtains the required consent

through a check box, signature, or other substantially similar method, which the consumer must

affirmatively select or sign to accept the Negative Option Feature and no other portion of the

transaction. The consent request must be presented in a manner and format that is clear,

unambiguous, non-deceptive, and free of any information not directly related to the consumer’s

acceptance of the Negative Option Feature.

§ 425.6 Simple Cancellation (“Click to Cancel”).

   (a) Simple Mechanism Required for Cancellation. In connection with promoting or offering

for sale any good or service with a Negative Option Feature, it is a violation of this Rule and an

unfair or deceptive act or practice in violation of Section 5 of the FTC Act for the Negative

Option Seller to fail to provide a simple mechanism for a consumer to cancel the Negative

Option Feature; avoid being Charged, or Charged an increased amount, for the good or service;

and immediately stop any recurring Charges.

   (b) Simple Mechanism at Least as Simple as Consent. The simple mechanism required by

paragraph (a) of this section must be at least as easy to use as the mechanism the consumer used

to consent to the Negative Option Feature.

   (c) Minimum Requirements for Simple Mechanism. At a minimum, the Negative Option

Seller must provide the simple mechanism required by paragraphs (a) and (b) of this section

through the same medium the consumer used to consent to the Negative Option Feature, and:



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   (1) For cancellation by Interactive Electronic Medium, the simple cancellation mechanism

must be easy to find when the consumer seeks to cancel. Compliance with the disclosure

required under section 425.4(a)(4) does not discharge this obligation. In no event shall a

consumer be required to interact with a live or virtual representative (such as a chatbot) to cancel

if the consumer did not do so to consent to the Negative Option Feature.

   (2) For cancellation by telephone call, the Negative Option Seller must promptly effectuate

cancellations requested by the consumer via a telephone number that is answered or records

messages, made available during normal business hours, and not more costly to use than the

telephone call the consumer used to consent to the Negative Option Feature.

   (3) For cancellation of consent obtained in person, in addition to offering cancellation, where

practical, via an in-person method similar to that the consumer used to consent to the Negative

Option Feature, the Negative Option Seller must offer the simple mechanism through an

Interactive Electronic Medium or by providing a telephone number. The alternate simple

mechanism required by this paragraph must satisfy all requirements of sections 425.6(c)(1) and

(2), as applicable. If the Negative Option Seller offers the alternate mechanism by providing a

telephone number, the seller shall not erect a cost-barrier to cancellation by imposing any

unnecessary or unreasonable cost for the cancellation call.

§ 425.7 Relation to State Laws.

   (a) In General. This part shall not be construed as superseding, altering, or affecting any

State statute, regulation, order, or interpretation relating to negative option requirements, except

to the extent it is inconsistent with the provisions of this part, and then only to the extent of the

inconsistency.




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    (b) Greater Protection under State Law. For purposes of this section, a State statute,

regulation, order, or interpretation is not inconsistent with the provisions of this part if it affords

any consumer greater protection than provided under this part.

§ 425.8 Exemptions.

    Any person to whom this Rule applies may petition the Commission for a partial or full

exemption. The Commission may, in response to petitions or on its own authority, issue partial

or full exemptions from this part if the Commission finds application of the Rule’s requirements

is not necessary to prevent the acts or practices to which the Rule relates. The Commission shall

resolve petitions using the procedures provided in § 1.31 of this chapter. If appropriate, the

Commission may condition such exemptions on compliance with alternative standards or

requirements to be prescribed by the Commission.

§ 425.9 Severability.

    The provisions of this Rule are separate and severable from one another. If any provision is

stayed or determined to be invalid, the remaining provisions shall continue in effect.



    By direction of the Commission, Commissioners Holyoak and Ferguson dissenting.

April J. Tabor,

Secretary.




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